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           United States Court of Appeals
               for the Federal Circuit

     TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC.,
                NORTON (WATERFORD) LTD.,

                                                    Plaintiffs-Appellees,
                                       – v. –

                                   CIPLA LTD.,
                                                    Defendant-Appellant.
               On Appeal from the United States District Court for the
               District of New Jersey in No. 2:20-cv-10172-JXN-MAH
                           Honorable Julien X. Neals, Judge

                               JOINT APPENDIX

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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                    :
    TEVA BRANDED PHARMACEUTICAL                     :
    PRODUCTS R&D, INC., and NORTON                  :   Civil Action No. 20-10172 (JXN) (MAH)
    (WATERFORD) LTD.,                               :     (Consolidated with Civil Action Nos.
                              Plaintiffs,           :           20-14833 and 20-14890)
                                                    :
                          v.                        :                   OPINION
                                                    :                  (Under Seal)
    CIPLA LTD., AUROBINDO PHARMA                    :
    LLC, AUROBINDO PHARMA USA,                      :
    INC., and AUROLIFE PHARMA LLC,                  :
                            Defendants.             :


  NEALS, District Judge:

    I.   INTRODUCTION

         Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc. (“Teva”) and Norton

  (Waterford) Ltd. (“Norton”) (collectively, “Plaintiffs”) bring this consolidated patent infringement

  action against Defendant Cipla Ltd. (“Cipla”) for submitting an Abbreviated New Drug

  Application (“ANDA”) No. 211434 to the U.S. Food and Drug Administration (“FDA”) seeking

  approval to commercially manufacture, use, offer for sale, sell, and/or import generic versions of

  Plaintiffs’ QVAR® (beclomethasone dipropionate) products prior to the expiration of U.S. Patent

  Nos. 9,463,289 (the “’289 Patent”), 9,808,587 (the “’587 Patent”), 10,022,509 (the “’509 Patent”);

  10,022,510 (the “’510 Patent”); 10,086,156 (the “’156 Patent”), and 10,561,808 (the “’808

  Patent”). See Compl., ECF No. 1. This Court has jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331, 1338(a), 2201, and 2202. Venue is proper under 28 U.S.C. §§ 1391(b) and

  1400(b). This opinion addresses allegations of infringement and invalidity with respect to the

  ’289, ’587, and ’808 Patents (collectively, the “Asserted Patents”) that each relate to the dose

  counting system that Teva developed and used in QVAR®.



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         This Court held a three-day bench trial relating to the Asserted Patents. See Transcripts

  (“Tr.”), ECF Nos. 241-244. The parties submitted post-trial briefing with respect to infringement,

  validity, objective indicia, and the admissibility of the Aurobindo materials. See ECF Nos. 254,

  257, 263, 266, 269, 271. This Opinion constitutes the Court’s findings of fact and conclusions of

  law pursuant to Federal Rule of Civil Procedure 52(a). The findings of fact are based on the

  Court’s observations and credibility determinations of the witnesses who testified at trial and a

  thorough review of all the evidence. As to infringement, the Court finds that Cipla’s ANDA

  product infringes each Asserted Claim of the ’289, ’587, and ’808 Patents. As to validity, the

  Court finds that the Asserted Patents are valid and Cipla’s claims of obviousness are invalid.

   II.   BACKGROUND

      A. Patents-in-Suit and Asserted Claims

         1. The ’289 Patent

         The ’289 Patent, entitled “Dose Counters for Inhalers, Inhalers and Methods of Assembly

  Thereof,” issued on October 11, 2016. Cipla’s Finding of Fact (“CFOF”), ECF No. 266. The ’289

  Patent issued from U.S. Patent Application Serial No. 14/103,324. The ’289 Patent was filed on

  December 11, 2013, as a divisional of U.S. Patent Application Serial No. 13/110,532, which in

  turn was filed on May 18, 2011, and is now U.S. Patent No. 8,978,966. The ’289 Patent purports

  to claim the benefit of priority to each of U.S. Provisional Patent Application Serial No.

  61/345,763, which was filed on May 18, 2010, and U.S. Provisional Patent Application No.

  61/417,659, which was filed on November 29, 2010.

         The ’289 Patent includes one independent claim. Plaintiffs assert that Cipla’s ANDA

  product infringes independent claim 1 and dependent claims 2, 4, 6, and 7 of the ’289 Patent. Cipla




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  contends that the ’289 Patent is invalid as obvious in view of the ’406 Publication in combination

  with the ’514 Publication. ECF No. 256. The Asserted Claims in the ’289 Patent read as follows:

         Claim 1:
         An inhaler for metered dose inhalation, the inhaler comprising: a main body having
         a canister housing, a medicament canister, which is moveable relative to the
         canister housing and retained in a central outlet port of the canister housing
         arranged to mate with a canister fire stem of the medicament canister, and a dose
         counter having an actuation member having at least a portion thereof located in the
         canister housing for operation by movement of the medicament canister, wherein
         the canister housing has an inner wall, and a first inner wall canister support
         formation extending inwardly from a main surface of the inner wall, and wherein
         the canister housing has a longitudinal axis X which passes through the center of
         the central outlet port, the inner wall canister support formation, the actuation
         member, and the central outlet port lying in a common plane coincident with the
         longitudinal axis X.

         Claim 2:
         The inhaler as claimed in claim 1 wherein the medicament canister is movable
         relative to the dose counter.

         Claim 4:
         The inhaler as claimed in claim 1, wherein the first inner wall canister support
         formation comprises a support rail which extends longitudinally along an inside
         surface of the main body.

         Claim 6:
         The inhaler as claimed in claim 4 further comprising a plurality of support rails
         each of which extends longitudinally along an inside surface of the main body.

         Claim 7:
         The inhaler as claimed in claim 6, wherein two of the plurality of support rails are
         positioned at opposite ends of the inside surface of the main body to face each other.

         2. The ’587 Patent

         The ’587 Patent, entitled “Dose Counter for Inhaler Having an Anti-Reverse Rotation

  Actuator,” issued on November 7, 2017. The ’587 Patent issued from U.S. Patent Application

  Serial No. 15/269,249, which was filed on September 19, 2016, as a continuation of U.S. Patent

  Application Serial No. 14/103,324, now the ’289 patent, which in turn was filed on December 11,

  2013, as a divisional of U.S. Patent Application Serial No. 13/110,532 (the “’532 Application”),


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  which in turn was filed on May 18, 2011, and is now U.S. Patent No. 8,978,966. The ’587 Patent,

  purports to claim the benefit of priority to each of U.S. Provisional Patent Application Serial No.

  61/345,763, which was filed on May 18, 2010, and U.S. Provisional Patent Application No.

  61/417,659, which was filed on November 29, 2010.

         The ’587 Patent includes three independent claims, two of which Plaintiffs assert against

  Cipla. Plaintiffs assert that Cipla’s ANDA product infringes independent claims 1 and 12, and

  dependent claims 2, 4, 6, and 7 of the ’587 Patent. Cipla contends that the ’587 Patent is invalid

  as obvious in view of the ’406 Publication in combination with the ’514 Publication. ECF No.

  256. The Asserted Claims of the ’587 Patent read as follows:

         Claim 1:
         An inhaler for metered dose inhalation, the inhaler comprising: a main body having
         a canister housing, a medicament canister, which is moveable relative to the
         canister housing and retained in a central outlet port of the canister housing
         arranged to mate with a canister fire stem of the medicament canister, and a dose
         counter having an actuation member having at least a portion thereof located in the
         canister housing for operation by movement of the medicament canister, wherein
         the canister housing has an inner wall, and a first inner wall canister support
         formation extending inwardly from a main surface of the inner wall, wherein the
         canister housing has a longitudinal axis X which passes through the center of the
         central outlet port, and wherein the first inner wall canister support formation, the
         actuation member, and the central outlet port lie in a common plane coincident with
         the longitudinal axis X such that the first inner wall canister support formation
         protects against unwanted actuation of the dose counter by reducing rocking of the
         medicament canister relative to the main body of the inhaler.

         Claim 2:
         The inhaler as claimed in claim 1 wherein the medicament canister is movable
         relative to the dose counter.

         Claim 4:
         The inhaler as claimed in claim 1, wherein the first inner wall canister support
         formation comprises a support rail which extends longitudinally along an inside
         surface of the main body.

         Claim 6:
         The inhaler as claimed in claim 4 further comprising a plurality of support rails
         each of which extends longitudinally along the inside surface of the main body.

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         Claim 7:
         The inhaler as claimed in claim 6, wherein two of the plurality of support rails are
         positioned at opposite ends of the inside surface of the main body to face each other.

         Claim 12:
         An inhaler for metered dose inhalation, the inhaler comprising: a main body having
         a canister housing, a medicament canister, which is moveable relative to the
         canister housing and retained in a central outlet port of the canister housing
         arranged to mate with a canister fire stem of the medicament canister, and a dose
         counter having an actuation member having at least a portion thereof located in the
         canister housing for operation by movement of the medicament canister, wherein
         the canister housing has an inner wall, and a first inner wall canister support
         formation extending inwardly from a main surface of the inner wall, wherein the
         canister housing has a longitudinal axis X which passes through the center of the
         central outlet port, and wherein the first inner wall canister support formation, the
         actuation member, and the central outlet port lie in a common plane coincident with
         the longitudinal axis X such that the first inner wall canister support formation
         protects against dose count errors by reducing rocking of the medicament canister
         towards or away from the actuation member.

         3. The ’808 Patent

         The ’808 Patent, entitled “Dose counter for inhaler having an anti-reverse rotation

  actuator,” issued on February 18, 2020. The ’808 Patent issued from U.S. Patent Application

  Serial No. 15/262,818, which was filed on September 12, 2016, as a continuation of U.S. Patent

  Application Serial No. 14/699,584, now abandoned, which in turn was filed on April 29, 2015, as

  a continuation of U.S. Patent Application Serial No. 14/103,353, now U.S. Patent No. 9,526,850,

  which in turn was filed on December 11, 2013 as a divisional of U.S. Application No. 13/110,532,

  now U.S. Patent No. 8,978,966, which was filed on May 18, 2011. The ’808 Patent purports to

  claim the benefit of priority to each of U.S. Provisional Patent Application Serial No. 61/417,659,

  which was filed on November 29, 2010, and U.S. Provisional Patent Application No. 61/345,763,

  which was filed on May 18, 2010.

         The ’808 Patent includes one independent claim. Plaintiffs assert that Cipla’s ANDA

  product infringes claim 28 of the ’808 patent, which depends from claims 1 and 27. Cipla contends


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  that the ’808 Patent is invalid as obvious in view of the ’406 Publication and 552 Publication,

  among other arguments. ECF No. 256. The Asserted Claims of the ’808 Patent read as follows:

         Claim 1:
         A dose counter for an inhaler, the dose counter having a counter display arranged
         to indicate dosage information, a drive system arranged to move the counter display
         incrementally in a first direction from a first station to a second station in response
         to actuation input, wherein a regulator is provided which is arranged to act upon
         the counter display at the first station to regulate motion of the counter display at
         the first station to incremental movements.

         Claim 27:
         The dose counter as claimed in claim 1 in which the regulator provides a resistance
         force of greater than 0.1 N against movement of the counter display.

         Claim 28:
         The dose counter as claimed in claim 27 in which the resistance force is greater
         than 0.3 N.

     B. Stipulated Facts

                Prior to trial, the parties stipulated to the following facts in the Final Pretrial Order

         (“FPO”):

     1. Teva holds all rights, title, and interest in each of the Asserted Patents.

     2. Each of the Asserted Patents is listed in the FDA’s Approved Products with Therapeutic

         Equivalents (“Orange Book”) in connection with Teva’s Qvar® HFA with Dose Counter

         drug product.

     3. Each of Defendants’ ANDA Products comprises an inhaler for metered dose inhalation.

     4. The inhaler of each of Defendants’ ANDA Products comprises a main body having a

         canister housing.

     5. The inhaler of each of Defendants’ ANDA Products comprises a medicament canister.

     6. The medicament canister of each of Defendants’ ANDA Products is moveable relative to

         the canister housing.



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      7. The medicament canister of each of Defendants’ ANDA Products is retained in a central

          outlet port of the canister housing arranged to mate with a canister fire stem of the

          medicament canister.

      8. Each of Defendants’ ANDA Products comprises a dose counter.

      9. The canister housing of each of Defendants’ ANDA Products has an inner wall.

      10. The inner wall of the canister housing of each of Defendants’ ANDA Products has a

          plurality of ribs.

      11. The canister housing of each of Defendants’ ANDA Products has a longitudinal axis X

          which passes through the center of the central outlet port.

      12. The medicament canister of each of Defendants’ ANDA Products is moveable relative to

          the dose counter.

      13. Each of Defendants’ ANDA Products comprises a dose counter for a metered dose inhaler.

      14. Each of Defendants’ ANDA Products comprises a metered dose inhaler having a body

          arranged to retain a medicament canister of predetermined configuration for movement of

          the medicament canister relative thereto, the medicament canister containing an active

          drug.

      15. Each of Defendants’ ANDA Products comprises a dose counter for an inhaler.

  See ECF No. 210 at 9-10 1; see also Tr. 425:10-426:9.




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   For the sake of clarity, unless otherwise noted, all references to page numbers correspond to the page numbers
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  III.   DISCUSSION

      A. Infringement

         1. Legal Standard

         Under 35 U.S.C. § 271(e)(2)(A), whoever submits “an application under section 505(j) of

  the Federal Food, Drug, and Cosmetic Act . . . for a drug claimed in a patent or the use of which

  is claimed in a patent” infringes the patent. Under 35 U.S.C. § 271(a), “whoever without authority

  makes, uses, offers to sell, or sells any patented invention, within the United States or imports into

  the United States any patented invention during the term of the patent therefor, infringes the

  patent.”

         “Literal infringement exists if each of the limitations of the asserted claim(s) read on, that

  is, are found in, the accused ANDA product.” Baxter Healthcare Corp. v. Spectramed, Inc., 49

  F.3d 1575, 1583 (Fed. Cir. 1995). If a defendant infringes even one claim, it infringes the patent,

  Panduit Corp v. Dennison Mfg. Co., 836 F.2d 1329, 1330 n.1 (Fed. Cir. 1987), and the patentee is

  entitled to a remedy, including all applicable statutory remedies, see 35 U.S.C. § 271(e)(4)(A),

  (B).

         A proper “infringement analysis entails two steps.” Markman v. Westview Instruments,

  Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). “The first step is

  determining the meaning and scope of the patent claims asserted to be infringed.” Id. “The second

  step is comparing the properly construed claims to the ANDA product accused of infringing.” Id.

  Thus, a court “must disregard the testimony of [an] expert . . . [if] based on an incorrect

  understanding of the claim construction.” Cordis Corp. v. Bos. Sci. Corp., 658 F.3d 1347, 1357

  (Fed. Cir. 2011).




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         “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

  which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

  (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc.,

  381 F.3d 1111 (Fed. Cir. 2004)). Infringement can only be assessed by “comparing the asserted

  claim[s] to the accused ANDA product, not by comparing the accused ANDA product to the

  figures of the asserted patent.” Catalina Lighting, Inc. v. Lamps Plus, Inc., 295 F.3d 1277, 1286

  (Fed. Cir. 2002). It is likewise impermissible to compare the asserted claims “with the patentee’s

  commercial embodiment.” Int’l Visual Corp. v. Crown Metal Mfg. Co., 991 F.2d 768, 772 (Fed.

  Cir. 1993) (per curiam).

         “Direct infringement is a strict-liability offense.” Commil USA, LLC v. Cisco Sys., Inc.,

  575 U.S. 632, 639 (2015) (“[A] defendant’s mental state is irrelevant.”). Thus, whether the

  relevant component in the defendant’s product has the “purpose” of performing a claim limitation

  is irrelevant if it performs that limitation. See, e.g., Toshiba Corp. v. Imation Corp., 681 F.3d

  1358, 1368-69 (Fed. Cir. 2012) (rejecting argument that accused product did not infringe because

  accused element did not have the “purpose” of performing the claim limitation); ECF No. 217 at

  5 (Markman Order) (citing Toshiba, 681 F.3d at 1368).

         Infringement is a question of fact, which a patentee can prove by a preponderance of the

  evidence (i.e., that it is “more likely than not” that infringement occurred). See Lucent Techs. Inc.

  v. Gateway, Inc., 580 F.3d 1301, 1309, 1317-18 (Fed. Cir. 2009); Warner-Lambert Co. v. Teva

  Pharms. USA, Inc., 418 F.3d 1326, 1341-42 & n.15 (Fed. Cir. 2005); Eli Lilly & Co. v. Teva

  Parenteral Meds., Inc., 845 F.3d 1357, 1364 (Fed. Cir. 2017). Unlike a defendant who argues that

  a patent is invalid, a patentee need not satisfy any heightened standard. See Lucent Techs., 580

  F.3d at 1317-18.



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            As with other questions of fact, a patentee may prove infringement by direct or

   circumstantial evidence. Lucent Techs., 580 F.3d at 1318. Direct evidence is not required. See

   Symantec Corp. v. Comput. Assocs. Int’l Inc., 522 F.3d 1279, 1293 (Fed. Cir. 2008). “A patentee

   may prove infringement by ‘any method of analysis that is probative of the fact of infringement.’”

   Martek Biosciences Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1372 (Fed. Cir. 2009) (quoting Forest

   Labs., Inc. v. Abbott Labs., 239 F.3d 1305, 1312 (Fed. Cir. 2001)).

            Nevertheless, factual disputes have their limits; a defendant cannot raise a factual dispute

   based on its expert’s conclusory testimony. See Intell. Sci. & Tech., Inc. v. Sony Elecs., Inc., 589

   F.3d 1179, 1184 (Fed. Cir. 2009) (“An expert’s unsupported conclusion on the ultimate issue of

   infringement will not alone create a genuine issue of material fact.”); Arthur A. Collins, Inc. v. N.

   Telecom Ltd., 216 F.3d 1042, 1046 (Fed. Cir. 2000) (“[I]t is well settled that an expert’s

   unsupported conclusion on the ultimate issue of infringement is insufficient to raise a genuine issue

   of material fact.”); Warner-Lambert, 418 F.3d at 1341-42 (“[B]ald assertion” of noninfringement

   insufficient absent “specific evidence”).

            2. Findings of Fact and Conclusions of Law

                 a. The ’289 Patent

            The issue before the Court is whether Plaintiffs have proven, by a preponderance of the

   evidence, that it is more likely than not that Cipla’s ANDA product infringes the ’289 Patent.

   Plaintiffs argue that Cipla’s ANDA product infringes claims 1, 2, 4, 6, and 7 (“the Asserted

   Claims”). ECF No. 262 at 10. 2 Claim 1 of the ’289 Patent recites:

            Claim 1:
            An inhaler for metered dose inhalation, the inhaler comprising:

   2
    Cipla only contested infringement of a single term in a single limitation of claim 1 and did not dispute that its product
   meets any of the other limitations of claim 1 of the ’289 Patent. FOF 4, ECF No. 263; Tr. 503:23-504:4 (claim 1),
   FOF 90-105, ECF No. 263; Tr. 481:23-482:8 (dependent claims); see also 523:3-8, 525:3-527:11. See ECF No. 262
   at 10.

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          a main body having a canister housing, a medicament canister, which is moveable
          relative to the canister housing and retained in a central outlet port of the canister
          housing arranged to mate with a canister fire stem of the medicament canister, and
          a dose counter having an actuation member having at least a portion thereof located
          in the canister housing for operation by movement of the medicament canister,
          wherein the canister housing has an inner wall, and a first inner wall canister
          support formation extending inwardly from a main surface of the inner wall, and
          wherein the canister housing has a longitudinal axis X which passes through the
          center of the central outlet port, the inner wall canister support formation, the
          actuation member, and the central outlet port lying in a common plane coincident
          with the longitudinal axis X.

          The only limitation in claim 1 that the parties dispute is whether Cipla’s ANDA product

   contains an “inner wall canister support formation, the actuation member, and the central outlet

   port lying in a common plane coincident with the longitudinal axis X,” which the parties refer to

   as the “Common Plane Limitation.” There are several construed terms within the Common Plane

   Limitation. The parties agreed that “canister support formation” means “a formation arranged to

   reduce canister rocking.” See ECF No. 102 at 4. The parties further agreed that the term “inner

   wall” should be construed to mean “an internal wall of the inhaler body, which includes a main

   surface of the inner wall and the inner wall through which a portion of the actuation member

   extends, but excludes the bottom surface, or floor, of the inhaler body.” Id. at 5. The term “lying

   in a common plane coincident with the longitudinal axis X” was construed by the Court to mean

   “aligned in a single plane such that a straight line can be drawn through the center of the central

   outlet port, the canister support formation, and the actuation member.” See Markman Order, ECF

   No. 218 at 2. The parties do not dispute that the front rib in Cipla’s ANDA product is “aligned in

   a single plane such that a straight line can be drawn through the center of the central outlet port,

   the canister support formation, and the actuation member.” Thus, the question of infringement of

   claim 1 turns on the question of whether Plaintiffs have proven, by a preponderance of the

   evidence, that the front rib in Cipla’s ANDA product is “arranged to reduce canister rocking,” as

   required by the Common Plane Limitation in claim 1.
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          Plaintiffs offered the testimony of Dr. David Andrew Lewis, who performed a series of

   experiments on Cipla’s ANDA product and presented demonstratives to help explain his

   conclusions. Dr. Lewis testified that the front rib in Cipla’s ANDA product is arranged to reduce

   canister rocking. Tr. 213:6-10. When asked “[h]ow can you tell that the rib is a formation arranged

   to reduce cannister rocking,” Dr. Lewis testified that “you can tell by simply looking. When you

   hold the inhaler, you can just push it and you can see it touches before it touches the inner wall.”

   Id. 213:11-16. Dr. Lewis further testified that “[t]he front rib visibly extends inwardly into the

   inhaler body,” and “by extending into the cavity of the inhaler body . . . [it] necessarily limits the

   canister’s freedom of movement in the direction of the front of the device.” Id. 206:20-207:4,

   370:25-371:8. Plaintiffs argue that “this proposition is confirmed easily by holding the inhaler by

   the mouthpiece, pushing the canister forward, and observing that the canister contacts the rib in

   question and thereby stops its motion[.]” ECF No. 262 at 14. In support of their argument,

   Plaintiffs cite the following excerpts from Dr. Lewis’s testimony:


          •   “When you hold the inhaler, you can just push it [the canister] and you can see
              it touches [the rib] before it touches the inner wall.” Tr. 213:12-16 (Lewis).

          •   “[H]old the mouthpiece so you are not interfering with the body. And then
              simply just push the canister, just tap it down. Then you can see it touches the
              middle [i.e., disputed] rail and there is also gap. Meaning if you took that rail
              out, it would continue to move.” Id. at 217:23-218:4, 218:14-219:5.

          •   “[A]s I touch it, [the canister] meets the rail. And I can also see there is a gap
              still there between the canister and the housing.” Tr. 218:23-219:4.

          •   “I can see the rail supporting the canister.” Id. at 221:25-222:8.

          •   “If you are holding the inhaler by the mouthpiece and then you push, it’s going
              to hit the rib.” Tr. 375:24-376:7.

          •   “I see the canister touching the front rib and I see a gap at the top, as well, of
              the inhaler body. So I see a touching of the canister to that rib.” Tr. 400:11-22
              (explaining “gap between canister and inhaler body . . . mean[s] that the canister
              is not touching the inhaler body.”).

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   See ECF No. 262 at 14-15 (citing FOF 46-48, ECF No. 263). According to Plaintiffs, this is

   sufficient to determine that the front rib in question is arranged to reduce cannister rocking.

          Nevertheless, Dr. Lewis performed multiple experiments in support of his opinion that the

   front rib is “arranged to reduce canister rocking.” In one experiment, Dr. Lewis compared the

   amount of canister rocking that can occur in Cipla’s ANDA product “as supplied”—i.e., with all

   ribs and mounting tabs present—with a version of Cipla’s ANDA product in which he removed

   all the ribs (but not the mounting tabs). Tr. 223:12-224:1. Dr. Lewis testified that “as supplied,

   there is less movement -- there is more movement once you remove the ribs.” Id. 224:4-5. Dr.

   Lewis explained that removal of the ribs results in more than a millimeter of movement. Id.

   224:17-18. Although Dr. Lewis removed both the front and back ribs in Cipla’s ANDA product,

   Dr. Lewis testified that he only rocked the canister forward so the removal of the ribs in the back

   were irrelevant. Id. 229:17-230:12.

          In addition to measuring the rocking, Dr. Lewis also performed an experiment to determine

   whether, if you remove the front rib in Cipla’s ANDA product, is it possible to rock Cipla’s canister

   so far forward that it causes the dose counter to misfire. See PTX-178; Tr. 229:4-13. During the

   experiment, Dr. Lewis rocked the canister in the direction of the front rib (which was removed),

   Tr. 230:1-13, and depressed the canister, Tr. 248:11-2. The canister then slid down the front wall

   of the inhaler in the location where the rib would have been located had it not been removed. See

   Tr. 248:16-21; 249:25-250:2; 372:11-373:2; 385:20-386:8; 403:17-404:7; 404:19-21; PTX-178

   (Video). Plaintiffs contend that this experiment demonstrates that the front rib is arranged to

   reduce canister rocking, since in the rib’s absence, the canister can contact the inhaler wall at the

   rib’s former location.




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          Cipla argues that Dr. Lewis’s experiments do not prove infringement of claim 1 on several

   grounds. First, Cipla contends that there is no evidence in the record that this “tiny” front rib can

   or does ever contact the canister in Cipla’s ANDA product. ECF No. 265 at 18. To the contrary,

   Dr. Lewis testified that the front rib extends inwardly into the inhaler body and thereby restricts

   the freedom of movement of the canister, and the observation that the rib visibly contacts the

   canister when the canister is rocked forward. Tr. 226:13-25. Dr. Lewis demonstrated this in Court

   and testified that if you “hold the mouthpiece so you are not interfering with the body. And then

   simply just push the canister, just tap it down. Then you can see it touches the middle [i.e.,

   disputed] rail and there is also gap. Meaning if you took that rail out, it would continue to move.”

   Tr. 217:23-218:4; 218:14-219:5. Thus, the record does not support Cipla’s argument.

          Second, Cipla contends that the structure of its ANDA product precludes the tiny front rib

   from contacting the cannister. Cipla explains that “[w]hen the ribs extend to the top of the inhaler

   body, the canister will contact the rib prior to the wall because the rib protrudes out from the wall

   at all vertical points.” ECF No. 265 at 19. Cipla contends that the rib in its ANDA product does

   not extend to the top of the wall. Id. Cipla argues that because there is a gap between the top of

   the rib and the top of the inhaler body in Cipla’s ANDA product, Teva cannot simply say the front

   rib “necessarily” reduces rocking. Id. While Cipla’s argument may be true, it is not supported by

   any testimony provided during the trial. Moreover, Cipla did provide any experimental evidence

   to support its conclusions that the structure of its ANDA product precludes the front rib from

   contacting the cannister.

          Next, Cipla argues that Dr. Lewis’s “front-to-back” testing is irrelevant. ECF No. 265 at

   21. Cipla takes issue with how Dr. Lewis conducted the experiment. Cipla complains that “Dr.

   Lewis’s testing improperly changed multiple variables” and did not answer the “question of



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   whether the tiny rib at the front of Cipla’s inhaler body ‘reduces canister rocking.’” Id. As noted

   above, when conducting his experiments Dr. Lewis removed all the ribs in Cipla’s ANDA product

   except for the mounting tabs. Because Dr. Lewis removed all the ribs, Cipla contends that “it is

   still impossible to determine whether the alleged measured increase in canister rocking was due to

   the removal of the front rib, the back ribs, or something else.” Id. at 21-22.

          It is true that Dr. Lewis never performed any tests where he only removed the front rib in

   Cipla’s ANDA product. This was confirmed during trial when the Court asked Dr. Lewis “[w]as

   there ever a test done where the only thing removed from the canister was the front rib,” and Dr.

   Lewis replied “no.” Tr. 382:16-18. Had this test been performed, it may have eliminated some of

   the discussion about whether Cipla’s ANDA product infringes the Common Plane Limitation in

   the ’289 patent. Thus, the Court understands Cipla’s frustration and acknowledges that Dr.

   Lewis’s experiments may not be the perfect tests to prove an “airtight” infringement case. The

   evidentiary standard here, however, is neither clear and convincing nor beyond a reasonable doubt;

   rather, it is preponderance of the evidence. Although the Court believes that Dr. Lewis could have

   performed better experiments to support his conclusions, the Court is not persuaded that Dr.

   Lewis’s experiments as conducted are irrelevant or valueless as evidence.

          Cipla next contends that Dr. Lewis’s testimony that he could see the front rib touching the

   canister is not credible and should be excluded. ECF No. 265 at 25-26. At trial, Dr. Lewis testified

   that he could tell that the front rib in Cipla’s ANDA product is a formation arranged to reduce

   canister rocking by “simply looking.” Tr. 213:14. Dr. Lewis explained that “[w]hen you hold the

   inhaler, you can just push it and you can see it touches before it touches the inner wall.” Id. 213:

   14-16. Cipla objected, contending that Dr. Lewis’s testimony was outside the scope of his report

   because Dr. Lewis never noted that he could see the canister touching the front rib in his report.



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   Id. 213:18-23. In response, Plaintiffs contend that Dr. Lewis explained in his report that he

   “disagree[d with Mr. Anderson] that any analysis would be necessary to establish that the rib

   closest to the mouthpiece of the ANDA product limits rocking—by extending into the cavity of

   the inhaler, it necessarily limits the canister’s freedom of movement in the direction of the front of

   the ANDA product.” See ECF No. 262 at 29 (citing Ex. E (Reply Report) ¶ 61). Plaintiffs further

   contend that “Dr. Lewis did no more than illustrate this very same, fully-disclosed opinion: He

   held up Cipla’s product, moved the canister towards the front of the ANDA product, and

   demonstrated that the canister’s freedom of movement was restricted by its contact with the rib.”

   ECF No. 262 at 29. Moreover, Plaintiffs contend that counsel for Cipla expressly and precisely

   elicited the testimony that Cipla seeks to preclude. In support of their argument, Plaintiffs point

   to the following questions and responses during Dr. Lewis’s cross examination:

          Q. Dr. Lewis, it’s your opinion that by extending into the cavity of the inhaler body
          . . . the front rib necessarily limits the canister’s freedom of movement in the
          direction of the front of the ANDA product. Right? A. Yes.

          Q. And you offered that opinion in your report. Right? A. Yes. Q. And that’s only
          true if the front rib of the inhaler body can actually contact the canister when it
          rocks. Right? A. Yes.

   ECF No. 262 at 30 (citing Tr. 370:25-371:12). Plaintiffs contend that Cipla’s own questioning (1)

   directly called for the testimony its counsel earlier moved to strike, and (2) established that such

   testimony was equivalent to the explicit statement in Dr. Lewis’s report. Id. The Court agrees.

          What is more important and provides grounds for the Court to include Dr. Lewis’s

   testimony, is that Dr. Lewis testified at length about diagrams that the parties displayed and several

   experiments and demonstrations that were conducted. Dr. Lewis explained his analysis and shared

   his observations on both direct and cross examination. Taking into consideration Dr. Lewis’s

   credentials, the testimony provided during trial, and the parties’ post-trial submissions, the Court


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   finds that Dr. Lewis’s testimony about what he observed during his experiments and in-court

   demonstrations were credible, well-supported, and elicited explicitly on cross examination. Thus,

   the Court will not exclude Dr. Lewis’s testimony that he could see the front rib touch the canister

   in Cipla’s ANDA product.

          Finally, Cipla contends that its expert Mr. Gregory Anderson’s testimony should be

   credited. ECF No. 265 at 30. More specifically, Cipla argues that the Court should credit Mr.

   Anderson’s testimony that the rib does not prevent rocking. Id. Plaintiffs do not explicitly request

   that the Court give little or no weight to Mr. Anderson’s testimony, but their argument strongly

   supports such a demand. In their post-trial brief, Plaintiffs contend that Mr. Anderson offered

   conclusory testimony using the wrong claim construction. ECF No. 262 at 21-23. At trial, Mr.

   Anderson testified that the parties’ construction requires “prevention” of rocking. Tr: 406:16-25

   (emphasis added). That is incorrect—the parties agreed that “canister support formation” means

   “a formation arranged to reduce canister rocking.” See ECF No. 102 at 4 (emphasis added). Next,

   Plaintiffs argue that Mr. Anderson’s testimony is conclusory. ECF No. 262 at 21-23. Plaintiffs

   note that Mr. Anderson did not offer his own opinion as to whether the front rib is arranged to

   prevent—let alone reduce—rocking. Id. at 22 (citing Tr. 479:14-21). Finally, Plaintiffs contend

   that Mr. Anderson contradicted his sworn testimony. ECF No. 262 at 23. Plaintiffs note that Mr.

   Anderson testified four separate times under oath that the front rib—located between the two

   mounting tabs—is an inner wall canister support formation. Id. In support of their argument,

   Plaintiffs cite the following excerpts from Mr. Anderson’s testimony:

          • Q. In between the two mounting tabs is a small inner wall canister support
          formation, right?” A. Yes.

          • Q. Sorry, you agree that there are seven inner wall canister support formations in
          defendants’ ANDA products that do not lie in a common plane with the center of
          the central outlet port and castellation [actuation member], right? A. Well wait a

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          minute. There is one that is in the common plane, yes, that has been marked with a
          yellow dot.

          • Q. . . . There is one inner wall canister support formation, that is the one between
          the two mounting tabs, right? A. Yes.

          • Q. So the inner wall canister support formation in between the two mounting tabs
          of defendants’ ANDA product does lie in a common plane with a castellation [i.e.,
          actuation member] and the center of the central outlet port as shown by the red line,
          right? A. Yes.

   ECF No. 262 at 24 (citations omitted).

          The Court finds that Mr. Anderson’s testimony is conclusory and not supported by any

   testimony, experiments, or data. Mr. Anderson testified that Cipla’s ANDA product does not have

   an inner wall canister support formation lying in the common plane, and therefore does not

   infringe.   Tr. 479:22-480:18.    Mr. Anderson, however, did not provide any explanation,

   experiments, or data to support his conclusion. Mr. Anderson could have conducted tests that

   demonstrate that the front rib in Cipla’s ANDA product was not arranged to reduce canister

   rocking, but he did not do so. What is even more damaging to Cipla’s request is that Mr. Anderson

   also used the wrong claim construction and provided inconsistent testimony during trial. Thus,

   the Court cannot give much weight to Mr. Anderson’s testimony.

          The Court finds that Plaintiffs’ evidence of infringement deserves significant weight.

   Plaintiffs, through Dr. Lewis, presented evidence that the front rib in Cipla’s ANDA product was

   arranged to reduce cannister rocking. Dr. Lewis testified that “[t]he front rib visibly extends

   inwardly into the inhaler body,” and “by extending into the cavity of the inhaler body . . . [it]

   necessarily limits the canister’s freedom of movement in the direction of the front of the ANDA

   product.” Tr. 206:20-207:4, 370:25-371:8. Dr. Lewis further testified that there was more

   movement in Cipla’s ANDA product when he removed the front and back ribs, then there was as

   supplied (with all the ribs). Tr. 223:12-224:1. This is compelling evidence because Dr. Lewis’s


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   experiment demonstrates that, at the very least, when the front and back ribs are in Cipla’s ANDA

   product they are arranged to reduce cannister rocking. More compelling is Dr. Lewis’s testimony

   that he only rocked the canister forward so the removal of the ribs in the back was irrelevant. Id.

   229:17-230:12. The only evidence to the contrary was Mr. Anderson’s opinion, which the Court

   does not give much weight for the reasons stated above. The Court finds that Dr. Lewis isolated

   the front rib in his experiment, and that, in view of the applicable evidentiary standard, the

   experimental evidence and testimony by Dr. Lewis supports the inference that it is more likely

   than not that the front rib in Cipla’s ANDA product is arranged to reduce canister rocking.

   Accordingly, the Court concludes that Plaintiffs have proven, by a preponderance of the evidence,

   that Cipla’s ANDA product infringes claim 1 of the ’289 Patent. 3

                 b. The ’587 Patent

            The issue before the Court is whether Plaintiffs have proven, by a preponderance of the

   evidence, that it is more likely than not that Cipla’s ANDA product infringes the ’587 Patent.

   Plaintiffs argue that Cipla’s ANDA product infringes independent claims 1 and 12, and dependent

   claims 2, 4, 6, and 7 of the ’587 Patent (“the Asserted ’587 Claims”). ECF No. 262 at 34. 4 The

   Court will address the claims at issue in turn.

            Claims 1 and 12 of the ’587 patent recite:

            Claim 1:
            An inhaler for metered dose inhalation, the inhaler comprising: a main body having
            a canister housing, a medicament canister, which is moveable relative to the
            canister housing and retained in a central outlet port of the canister housing
            arranged to mate with a canister fire stem of the medicament canister, and a dose
            counter having an actuation member having at least a portion thereof located in the
            canister housing for operation by movement of the medicament canister, wherein

   3
     The Court adopts by reference Plaintiffs’ proposed findings of facts related to claims 2, 4, 6, and 7 of the ’289 patent.
   ECF No. 263 ¶¶ 90-105
   4
     The dependent limitations of claims 2, 4, 6, and 7 of the ’587 Patent mirror the dependent limitations of claims 2, 4,
   5, and 7 of the ’289 Patent. Because the Court finds that Cipla’s ANDA product infringes the ’289 Patent and Cipla
   did not contest that its products meet these additional limitations, the Court need not address these limitations.

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          the canister housing has an inner wall, and a first inner wall canister support
          formation extending inwardly from a main surface of the inner wall, wherein the
          canister housing has a longitudinal axis X which passes through the center of the
          central outlet port, and wherein the first inner wall canister support formation, the
          actuation member, and the central outlet port lie in a common plane coincident with
          the longitudinal axis X such that the first inner wall canister support formation
          protects against unwanted actuation of the dose counter by reducing rocking of the
          medicament canister relative to the main body of the inhaler.

          Claim 12:
          An inhaler for metered dose inhalation, the inhaler comprising: a main body having
          a canister housing, a medicament canister, which is moveable relative to the
          canister housing and retained in a central outlet port of the canister housing
          arranged to mate with a canister fire stem of the medicament canister, and a dose
          counter having an actuation member having at least a portion thereof located in the
          canister housing for operation by movement of the medicament canister, wherein
          the canister housing has an inner wall, and a first inner wall canister support
          formation extending inwardly from a main surface of the inner wall, wherein the
          canister housing has a longitudinal axis X which passes through the center of the
          central outlet port, and wherein the first inner wall canister support formation, the
          actuation member, and the central outlet port lie in a common plane coincident with
          the longitudinal axis X such that the first inner wall canister support formation
          protects against dose count errors by reducing rocking of the medicament canister
          towards or away from the actuation member.

          The independent claims 1 and 12 of the ’587 Patent are nearly identical to claim 1 of the

   ’289 Patent, except that the ’587 Patent claims include an additional limitation relating to

   “unwanted actuation of the dose counter” or “dose count errors.” JTX-003; JTX-004; see also

   ECF No. 265 (noting that “[a]ll claims of the ’587 Patent include the same Common Plane

   Limitation discussed above in connection with the ’289 Patent.”). Cipla disputes that it infringes

   the additional limitations. The Court will address these claims in turn.

          Infringement of Claim 1

          Claim 1 of the ’587 Patent includes the limitation that “the first inner wall canister support

   formation protects against unwanted actuation of the dose counter by reducing rocking of the

   medicament canister relative to the main body of the inhaler.” The parties agreed that this

   limitation means “guards against unwanted actuation by reducing rocking of the medicament


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   canister relative to the main body of the inhaler that would otherwise be of a magnitude sufficient

   to move the dose counter’s actuator enough to cause unwanted incrementing (or decrementing) of

   the dose counter.” ECF No. 102 at 5.

          At trial, Dr. Lewis testified that Cipla’s ANDA product meets the limitation at issue, based

   on his experiment recorded in PTX-178. During the experiment, Dr. Lewis altered Cipla’s ANDA

   product by removing all the ribs, but not the mounting tabs. Dr. Lewis slid the canister down the

   front wall of the inhaler (against the wall where the “front” rib in question would have been located,

   had it not been removed). PTX-178. Dr. Lewis explained that after he seated the canister in the

   stem block by twisting it, he rocked the canister towards the front of the inhaler, and observed

   multiple unwanted actuations of the dose counter (i.e., “count not fires”), because “when the

   support formation is not there, it doesn’t limit the movement and it causes the count and the

   rocking.” Tr. 268:12-23. Dr. Lewis testified that the rail he removed, the rail that was in the

   common plane, guarded against unwanted actuation of the dose counter. Id. 269:16-22. Dr. Lewis

   further testified that you could see “unwanted actuations” and rocking the medicament canister

   relative to the main body of the inhaler” in his video (PTX-178).          Id. 269:23-270:2. When

   Plaintiffs’ counsel asked, “can we see that the kind of unwanted -- rocking that this rail was

   guarding against, is that sufficient to move the dose counter’s actuator enough to cause unwanted

   incrementing or decrementing of the dose counter,” Dr. Lewis answered in the affirmative. Id.

   270:3-7. Based on this, Plaintiffs contend that Dr. Lewis experiment recorded at PTX-178

   demonstrates that the front rib “guards against unwanted actuation of the dose counter . . . by

   reducing rocking of the medicament canister relative to the main body of the inhaler.” ECF No.

   262 (citing FOF 115-16).




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           Cipla contends that its ANDA product does not meet the limitation in claim 1. ECF No.

   265 at 32. Cipla submits that Mr. Anderson performed calculations showing that it is not possible

   to rock the canister in Cipla’s ANDA product in an amount sufficient to cause an unwanted

   actuation of the dose counter. Id. At trial, Mr. Anderson testified to the following:

          I did a bit of math modeling just to try and understand how much rocking was going
          to be needed to cause a count. And based on the information that I had, I did an
          analysis and the summary was that Cipla[’s] ANDA product does not meet that
          common plane limitation or unwanted actuation of the dose counter by reducing
          rocking, which is, obviously, the limitation of the ’587 patent, but, in summary, it
          is not possible to rock Cipla’s canister enough to create a count. So it does not
          infringe Claim 1 of the unwanted actuation.
   Tr. 489:12-20. This statement is the entirety of Mr. Anderson’s testimony regarding whether

   Cipla’s ANDA product meets the limitation in claim 1. Following Mr. Anderson’s testimony there

   was a brief objection, before Cipla’s counsel shifted Mr. Anderson’s attention to claims 2, 4, 6,

   and 7 of the ’587 Patent. See Tr. 489:22-490:17 (discussing Plaintiffs’ objection); Id. 490:19

   (questioning Mr. Anderson about claims 2, 4, 6, and 7). Mr. Anderson did not explain his analysis

   or discuss what calculations he used to reach his conclusion. In sum, Mr. Anderson did not show

   his work.

          Cipla next argues that Plaintiffs rely on an incorrect interpretation of rocking. ECF No.

   265 at 34.    At the outset, Cipla contends that “the Asserted Patents conflate rocking and

   ‘wobbling’” and that “titling” could be referred to as rocking. Id. at 34-35. Cipla, however, takes

   issue with Dr. Lewis’s interpretation of rocking, which Cipla claims includes “rocking and

   pressing.” Id. Cipla argues that “[a] canister ‘wobbling’ is not pressing down and rocking it like

   Lewis did.” Id. at 34. Cipla further argues that the “agreed construction of the claim terms does

   not say anything about pressing down on the canister while rocking” and “there is no evidence that

   Lewis’s rock-and-press-until-his-fingers-are-strained tests constituted normal conditions for

   use of the inhaler.” Id. at 35 (emphasis in original). Cipla’s argument is unpersuasive. There is
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   no evidence that “rocking” cannot be interpreted as the canister moving side to side (rocking) while

   being depressed.

           Finally, Cipla argues that Dr. Lewis’s tests do not demonstrate infringement. ECF No. 265

   at 35. Cipla contends that Plaintiffs’ infringement case relies solely on Dr. Lewis’s experiment

   recorded at PTX-178 and the testimony thereto. Id. Cipla complains that Dr. Lewis only presented

   what happens when all the ribs were removed but failed to show what happens when no ribs or the

   rib in the common plane is removed. Id. Cipla notes that “[t]he claim requires specifically that

   ‘the first inner wall canister support formation protects against unwanted actuation of the

   dose counter by reducing rocking of the medicament canister.’” Id. at 36 (emphasis in original).

   Cipla argues that for Plaintiffs to “[demonstrate] that limitation through experimental evidence

   requires a control test (i.e., no ribs removed). It is the change in result that would be circumstantial

   evidence of the presence of this limitation. The existence of allegedly unwanted actuation alone

   is not enough.” Id. Because Plaintiffs did not present evidence of a control test or test what

   happens when only the rib in the common plane is removed, Cipla contends that Plaintiffs cannot

   prove infringement of claim 1. Id.

           The Court addressed this issue in the discussion related to the ’289 Patent above. For the

   sake of clarity, the Court will reiterate that it is true that Dr. Lewis never performed any tests where

   he only removed the front rib in Cipla’s ANDA product. Dr. Lewis testified that he did test Cipla’s

   ANDA product “as supplied”—i.e., with all ribs and mounting tabs present—with a version of

   Cipla’s ANDA product in which he removed all the ribs (but not the mounting tabs). Tr. 223:12-

   224:1. He further testified that removal of the front rib is responsible for at least some of the

   increase in canister rocking possible when all ribs are removed. Tr. at 226:7-25. When the canister

   is rocked in the direction of the missing front rib, and is then depressed such that it slides down



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   the wall where the rib would have been, increased canister rocking can lead to a “fire-not-count”

   error whereby the dose counter increments even though medication is not dispensed. See Tr.

   229:4-250:23. In Dr. Lewis’s experiment recorded at PTX-178, when the canister is rocked

   forward, only the effect of the front rib is measured—the fact that other ribs in the back of the

   inhaler have also been removed is irrelevant. See Tr. 223:12-22; 224:2-226:6; 267:22-270:19.

   While a test demonstrating the results of what happens when only the front rib is removed from

   Cipla’s ANDA product would be beneficial, it is not required to prove infringement. Thus, the

   Court finds Cipla’s argument unpersuasive.

          Having considered all Cipla’s challenges to Plaintiffs’ infringement case, the Court finds

   that Plaintiffs have proven, by a preponderance of the evidence, that Cipla’s ANDA product

   infringes claim 1 of the ’587 Patent. Dr. Lewis’s experiment demonstrates that more likely than

   not that the front rib in Cipla’s ANDA Product guards against unwanted actuation of the dose

   counter by reducing rocking of the medicament canister relative to the main body of the inhaler.

   Thus, Cipla’s ANDA product infringes claim 1 of the ’587 Patent.

          Infringement of Claim 12

          Claim 12 of the ’587 Patent is nearly identical to claim 1 of the ’587 Patent, except that its

   final limitation requires “that the first inner wall canister support formation protects against dose

   count errors by reducing rocking of the medicament canister towards or away from the actuation

   member.” JTX-004. Unlike ’587 Patent claim 1’s requirement to protect against only “unwanted

   actuation” (i.e., “count-not fire errors”), claim 12’s reference to “dose count errors” includes both

   “count-not-fire” and “fire-not-count” errors, and limits the direction of rocking to rocking “towards

   or away from the actuation member.” JTX-004; Tr. 277:13-278:3.




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          At trial, Plaintiffs, again, rely on Dr. Lewis’s experiment recorded at PTX-178 and the

   testimony thereto. Plaintiffs also rely on Dr. Lewis’s experiment recorded at PTX-179, in which

   he demonstrated that the absence of the front rib can also lead to “fire-not-count” errors. PTX-

   179; Tr. 279:14-282:12. Dr. Lewis removed all the support ribs from Cipla’s product, but left the

   mounting tabs in place, then rocked the canister towards the front of the inhaler (in the direction

   of the removed, front rib) and observed that the inhaler could expel medication (“fire”) without

   the dose counter recording a count. Id. During the trial, Dr. Lewis narrated his experiment as

   recorded in the PTX-179 video. The following excerpt is from Dr. Lewis’s testimony:


          Counsel: I’m going to simply suggest perhaps . . . that we watch the video first and
          then perhaps Dr. Lewis could narrate what happens. So we will put up PTX-179.

          Dr. Lewis: This is a 40 microgram product. We removed the ribs, but not the
          mounting tabs. Here we are on 103. Again, with pushing towards the common plane
          direction. And the mounting tab -- sorry. We are getting a fire. You can hear the
          fire. We are still on 103. Fire. Not count. And here we can see the dose counter
          here. Fire. So here we are -- that inner wall support formation, which is here, is not
          reducing the rocking. It’s not protecting against a second type of dose counter error,
          which is you’re firing, but you don’t count.

   Tr. 279:20-280:17. In other words, without the front rib, rocking in the direction of the actuation

   member (i.e., in the same direction as the missing rib) can cause “fire-not-count” errors in Cipla’s

   ANDA product. Id. On this basis, Dr. Lewis concluded that the front rib protects against dose

   count errors in the manner that claim 12 requires. Id. at 282:18-283:1.

          Cipla asserts that Plaintiffs cannot prove infringement. Cipla repeats many of the same

   arguments it raised in support of its argument for non-infringement of claim 1 of the ’587 Patent.

   Specifically, Cipla contends that Dr. Lewis did not perform any control test. ECF No. 265 at 37.

   Cipla further argues that Dr. Lewis misused Cipla’s ANDA product during his experiment. Id. at

   38. In support of this argument, Cipla points to Mr. Anderson’s testimony. During trial, Mr.

   Anderson testified that Dr. Lewis did not prime the ANDA product. Tr. 495:18-19. Mr. Anderson

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   further testified that “it says in all the instructions . . . when you take the can out, you have to put

   the can back in, seat it, test fire, and recommendations certainly on this leaflet are two primes.”

   Id. at 495:20-23. Mr. Anderson concludes that “if it was primed, it would have . . . worked I think

   perfectly.” Id. at 495:19-21.

           Cipla has, at best, persuaded the Court that Dr. Lewis’s experiments are not the perfect

   tests to prove an “airtight” infringement case. Dr. Lewis should have primed Cipla’s ANDA

   product. The fact that he did not prime Cipla’s ANDA product before conducting his experiment

   does not make his tests irrelevant or valueless as evidence. As Plaintiffs noted in their post-trial

   submission, “Dr. Lewis’s video showed three consecutive instances in which Cipla’s inhaler fired

   but did not count. Even were one to consider those first two fires of the canister ‘priming’ doses,

   the video still reflects a third dose counter error caused by rocking.” ECF No. 262 at 38-39 (citing

   PTX-179; Tr. 405:9-13). Although Dr. Lewis’s tests are not flawless, they are enough to

   demonstrate more likely than not that Cipla’s ANDA product infringes claim 12 of the ’587 Patent.

   Accordingly, the Court finds that Plaintiffs have proven, by a preponderance of the evidence, that

   Cipla’s ANDA product infringes the asserted claims of the ’587 Patent.

               c. The ’808 Patent

           The issue before the Court is whether Plaintiffs have proven, by a preponderance of the

   evidence, that it is more likely than not that Cipla’s ANDA product infringes the ’808 Patent.

   Plaintiffs argue that Cipla’s ANDA product infringes claim 28 of the ’808 Patent. Claim 28

   depends from claim 27, which in turn depends from claim 1. Claims 1, 27, and 28 of the ’808

   Patent recite:

           Claim 1:
           A dose counter for an inhaler, the dose counter having a counter display arranged
           to indicate dosage information, a drive system arranged to move the counter display
           incrementally in a first direction from a first station to a second station in response

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             to actuation input, wherein a regulator is provided which is arranged to act upon
             the counter display at the first station to regulate motion of the counter display at
             the first station to incremental movements.

             Claim 27:
             The dose counter as claimed in claim 1 in which the regulator provides a resistance
             force of greater than 0.1 N against movement of the counter display.

             Claim 28:
             The dose counter as claimed in claim 27 in which the resistance force is greater
             than 0.3 N.

             To infringe claim 28, a dose counter must satisfy claim 1 and further comprise a “regulator”

   that “provides a resistance force” of “greater than 0.3 N” “against movement of the counter

   display.” ECF No. 262 at 40; PDX-2-087. Cipla argues that its product does not include:

   “regulator,” “regulate motion of the counter display at the first station to incremental movements,”

   and “provides a resistance force of greater than 0.3 N against movement of the counter display.”

   ECF No. 265 at 39. The parties agreed that a “regulator” was “a structure of the dose counter that

   modulates motion of the counter display.” ECF No. 102 at 4. The parties also agreed that “regulate

   motion of the counter display” means “modulate motion of the counter display.” Id. Because the

   parties do not dispute every limitation in the claim, the Court will only focus on the contested

   issues.

             Whether Cipla’s ANDA Product Comprises a Regulator that Regulates
             Motion of the Counter Display to Incremental Movements

             At trial, Dr. Lewis testified that the leaf spring in Cipla’s ANDA product modulates motion

   of the counter display. Tr. 291:5-10. Dr. Lewis further testified that the leaf spring acts upon the

   counter display. Id. 291:18-21. Dr. Lewis explained that “[t]he leaf spring is pushing up on the

   unit’s teeth ring, which is the drive surface and, of course, if it’s pushing up, by the laws of Newton,

   third law equal -- and every action has an equal and opposite reaction, then it must be pushing

   down also and modulating that unit’s display ring.” Id. 291:23-292:2. To summarize Dr. Lewis’s


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   testimony, when Cipla’s ANDA Product is assembled, the canister sits on top of the indexer, which

   sits on top of the leaf spring, which “sits in the units display ring.” Thus, when a patient pushes

   down on the canister, the canister pushes down on the indexer, which pushes down on the leaf

   spring, which pushes down on the units display ring. See Tr. 291:5-293:11; PTX-411 (Cipla

   ANDA Product Sample); PTX-372 (Cipla Design Drawing); PTX-181 (Video). If a patient pushes

   down on the canister with too little force, the leaf spring ensures that the units display ring does

   not move so as to record a count. 294:1-295:2 (Lewis); PTX-411 (Cipla ANDA Product Sample);

   PTX-372 (Cipla Design Drawing); PTX-181 (Video). If the patient pushes down with enough

   force, the leaf spring ensures that the units display ring does not “allow the dose counter to hover

   between two doses,” but instead ensures that the units display ring increments completely such

   that it displays the next digit. Tr. 295:3-12 (Lewis); PTX-411 (Cipla ANDA Product Sample);

   PTX-372 (Cipla Design Drawing); PTX-181 (Video).

          In their post-trial submission, Plaintiffs take issue with Mr. Anderson’s testimony at trial.

   First, Plaintiffs argue that “Mr. Anderson’s argument that Cipla has no ‘regulator’ because ‘it’s

   not a tape-based ANDA product’ reflects a legally improper infringement inquiry.” ECF No. 262

   at 44. Plaintiffs point to the plain language of claim 28 and note that the claim does not require

   that the dose counter be “taped based.” Second, Plaintiffs argue that Mr. Anderson is wrong in his

   assertion that Cipla’s leaf spring only provides an “upwards” force against the indexer and does

   not exert any downwards force against the unit’s teeth ring. ECF No. 262 at 44. Plaintiffs point

   to Dr. Lewis’s testimony wherein he explained that the fundamental principles of physics—the

   “laws of Newton”—dictate that if the leaf spring pushes upwards, it must also push downwards

   against the leaf spring with an “equal and opposite force.” Id. (citing FOF 174; Tr. 291:18-293:11,

   294:19-295:22; PTX-411 (Cipla ANDA Product Sample); PTX-181 (Video)).



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           In response, Cipla contends that “the leaf spring is not a regulator nor does it modulate

   motion of the alleged counter display.” ECF No. 265 at 39. Cipla points to the testimony of Mr.

   Anderson who testified that the “[leaf spring] just sits there. It’s not attached to a frame or anything

   . . .. It is free to move. It is not constrained. And you wouldn’t want it to be.” Tr. 463:18-464:8.

   Cipla makes several other arguments, none of which point to any evidence or testimony that refutes

   Dr. Lewis’s conclusions. Accordingly, the Court finds that Cipla’s ANDA Product comprises a

   “regulator” “arranged to act upon the counter display at the first station to regulate motion of the

   counter display to incremental movements.

           Whether Cipla’s ANDA Product Comprises a Regulator that Provides a
           Resistance Force of Greater than 0.3 N Against the Movement of the Counter
           Display

           At trial, Dr. Lewis concluded that the leaf spring exerts a downwards force of greater than

   0.3 N. Dr. Lewis conducted an experiment in which he measured the upwards resistance force

   that the leaf spring exerts against the canister. Dr. Lewis explained that as a matter of physics,

   measuring the upwards resistance “directly” measures the downward resistance force that the leaf

   spring exerts against the counter display. Tr. 410:13-22. Applying this principle, Dr. Lewis

   measured the upward force and concluded that the leaf spring exerts an upwards and downwards

   force of greater than 0.3 N, which establishes infringement.

           In response, Cipla argues that Dr. Lewis only calculated the “vertical” force and did not

   provide and testimony or calculations of force in any other direction. ECF No. 265 at 45. While

   this may be true, Dr. Lewis did explain that as a matter of physics, measuring upwards resistance

   directly measures downward resistance because the forces that the leaf spring exerts are the same.

   Cipla also takes issue with the “force” Dr. Lewis measured. ECF No. 265 at 45-46. As best the

   Court can construe, Cipla appears to argue that Dr. Lewis’s testing was erroneous because he did



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   not measure whether Cipla’s leaf spring exerts a “counterclockwise” force in the “opposite”

   direction of the clockwise-moving counter display. Despite Cipla’s argument, claim 28 does not

   require the regulator to provide a resistance force in the “opposite direction” of the counter display;

   rather, it requires that the “regulator” provide a “resistance force” “against movement of the

   counter display.” Tr. 408:19-410:7. Dr. Lewis opined that Cipla’s leaf spring “provides a

   resistance force opposite to the direction of the movement of the counter display”—in other words,

   the leaf spring provides a resistance that opposes the movement of the counter display. Tr. 313:10-

   17. Consistent with that opinion, Dr. Lewis testified that the regulator provides a resistance force

   “against movement of the counter display.” That is all the claim language requires to establish

   infringement.

            Having considered all Cipla’s challenges to Plaintiffs’ infringement case, the Court finds

   that Plaintiffs have proven, by a preponderance of the evidence, that Cipla’s ANDA product

   infringes claim 28 of the ’808 Patent. Dr. Lewis’s testimony demonstrates that more likely than

   not that Cipla’s ANDA Product comprises a regulator that regulates motion of the counter display

   to incremental movements and provides a resistance force of greater than 0.3 N against movement

   of the counter display. Thus, Cipla’s ANDA product infringes the ’808 Patent. 5

       B. Obviousness

            1. Legal Standard

            The presumption that all patents are valid is the starting point for any obviousness

   determination. 35 U.S.C. § 282. A patent claim is invalid as obvious under 35 U.S.C. § 103 “if

   the differences between the claimed invention and the prior art are such that the claimed invention



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     The Court notes that there are several undisputed limitations that Cipla and its expert did not dispute. For sake of
   clarity, the Court adopts Plaintiffs’ findings of fact related to those undisputed limitations. Accordingly, the Court
   adopts by reference ¶¶ 157-165 at ECF No. 263.

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   as a whole would have been obvious before the effective filing date of the claimed invention to a

   person having ordinary skill in the art to which the claimed invention pertains.” Id. § 103(a); see

   also KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 406–07 (2007). Obviousness is a question of law

   that depends on the following factual inquiries: (1) the scope and content of the prior art; (2) the

   differences between the claims and the prior art; (3) the level of ordinary skill in the relevant art;

   and (4) any objective indicia of nonobviousness. See KSR, 550 U.S. at 406, 127; see also

   Transocean Offshore Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1347

   (Fed. Cir. 2012). As noted above, a court is required to consider secondary considerations, or

   objective indicia of nonobviousness, before reaching an obviousness determination, as a “check

   against hindsight bias.” See In re Cyclobenzaprine Hydrochloride Extended–Release Capsule

   Patent Litig., 676 F.3d at 1078–79. Relevant secondary considerations include commercial

   success, long felt but unsolved needs, failure of others, praise, unexpected results, and copying,

   among others. Graham v. John Deere Co. of Kansas City, 383 U.S. 17–18 (1966).

          “Generally, a party seeking to invalidate a patent as obvious must demonstrate . . . that a

   skilled artisan would have had reason to combine the teaching of the prior art references to achieve

   the claimed invention, and that the skilled artisan would have had a reasonable expectation of

   success from doing so.” In re Cyclobenzaprine Hydrochloride, 676 F.3d at 1068–69. “The

   Supreme Court has warned, however, that, while an analysis of any teaching, suggestion, or

   motivation to combine known elements is useful to an obviousness analysis, the overall

   obviousness inquiry must be expansive and flexible.” Id. at 1069. The improvement over prior

   art must be “more than the predictable use of prior art elements according to their established

   functions.” KSR, 550 U.S. at 417. Evidence of obviousness, however, especially when that

   evidence is proffered in support of an “obvious-to-try” theory, is insufficient unless it indicates



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   that the possible options skilled artisans would have encountered were “finite,” “small,” or “easily

   traversed,” and “that skilled artisans would have had a reason to select the route that produced the

   claimed invention.” In re Cyclobenzaprine Hydrochloride, 676 F.3d at 1072. Obviousness must

   be proven by clear and convincing evidence. Id. at 1078.

            2. Findings of Fact and Conclusions of Law

                a. Objective Considerations of Nonobviousness

            Before the Court turns to Cipla’s obviousness defense, the Court must first consider

   secondary considerations or objective indicia of nonobviousness.                       See Sanofi v. Lupin Atl.

   Holdings S.A., 282 F. Supp. 3d 818, 824 (D. Del. 2017) (citing In re Cyclobenzaprine

   Hydrochloride Extended–Release Capsule Patent Litig., 676 F.3d 1063, 1078–79 (Fed. Cir.

   2012)). Relevant secondary considerations include commercial success, long felt but unsolved

   needs, failure of others, praise, unexpected results, and copying, among others. Graham, 383 U.S.

   at 1, 17–18; Ruiz v. A.B. Chance Co., 234 F.3d 654, 662–63 (Fed. Cir. 2000); Tex. Instruments,

   Inc. v. U.S. Int'l Trade Comm'n, 988 F.2d 1165, 1178 (Fed. Cir. 1993). Here, Plaintiffs offer

   evidence and testimony of industry praise.

            Plaintiffs contend that the praise from healthcare providers and patients compels a

   conclusion of nonobviousness. ECF No. 262 at 50. At trial, Plaintiffs offered the testimony of

   Dr. Reynold Panettieri who was qualified as an expert in the medical use of inhaler devices. Tr.

   801:4-804:4 6 Dr. Panettieri has over thirty years of experience treating pulmonary disorders and

   has prescribed inhalers to thousands of patients. Id. Dr. Panettieri testified that “based . . . on my

   30-plus years of experience taking care of patients, and talking to my colleagues who are providers

   and physicians . . . [m]y opinion is that ProAir® and Qvar® are really best in class inhalers that


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    The Court notes that Dr. Panettieri was submitted as an expert in the medical use of inhaler devices without objection.
   See Tr. 804:1-4.

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   have dose counters.” Tr. 805:3-14. Dr. Panettieri further testified that he has “never had a

   complaint about ProAir® or Qvar®” and that his “colleagues also pretty uniformly would describe

   ProAir®, Qvar® dose counter and the inhalers as really state of the art, best in class.” Id. 807:4-

   17. At trial, Dr. Panettieri reviewed a study authored by Brad Chipp. Tr. 807:18-808:8; PTX-120.

   Dr. Panettieri explained that the study compared “ProAir® HFA with dose counter versus the exact

   same device without a dose counter.” Id. 808:2-4. Dr. Panettieri noted that the author of the study

   identified “that the dose counter . . . greatly enhanced the clinical outcomes for the patient,

   decreased hospitalizations, decreased exacerbations” and that the dose counter “was really quite a

   profound piece of work.” Id. 808:5-8. Finally, Dr. Panettieri testified that the conclusion in the

   study was consistent with his observations in his clinical practice. Id. 808:9-11.

          In response, Cipla argues that Plaintiffs’ secondary considerations should not be given any

   weight. ECF No. 265 at 52. In support of its argument, Cipla contends that the two products that

   Plaintiffs rely on for secondary consideration were discontinued. Id. at 49; Tr. 812:9-19. Cipla

   notes that Plaintiffs did not explain why they were discontinued, which calls into question the

   praise that these products received. Cipla further argues that the two studies Plaintiffs relied on

   for industry praise are irrelevant because they compare ProAir® HFA with a dose counter and one

   without the dose counter. ECF No. 265 at 50. Cipla contends that these studies do not provide

   any insight on why Plaintiffs’ devices were praiseworthy over those existing devices that also

   include dose counters. Id. Next, Cipla argues that Dr. Panettieri’s testimony about Plaintiffs’

   devices being “best in class” and “state of the art” are not the type of industry praise required.

   Finally, Cipla contends that Plaintiffs failed to establish a nexus between the claim inventions and

   the alleged praise. ECF No. 265 at 51.




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             Having considered the evidence and testimony presented at trial and the parties’ post-trial

   submissions, Plaintiffs’ secondary considerations of nonobviousness will not be given substantial

   weight. The Court finds Dr. Panettieri to be an impressive, highly credible expert witness who,

   based on his thirty years of experience treating patients and prescribing inhalers, is uniquely

   qualified to opine on the quality of Plaintiffs’ devices. The Court finds Dr. Panettieri’s testimony

   about Plaintiffs’ devices to be persuasive. Nevertheless, the Court finds it slightly problematic

   that some of the documents Dr. Panettieri relied on to form his opinion only compared Plaintiffs’

   devices with and without the dose counter. Given the fact that dose counters existed before

   Plaintiffs’ patent claims, it would have been more compelling had Plaintiffs presented evidence

   that their devices received industry praise over those preexisting devices with dose counters.

   Thus, the Court cannot give Plaintiffs’ secondary considerations of nonobviousness substantial

   weight.

                 a. The ’808 Patent 7

             Cipla contends that claim 28 of the ’808 Patent would have been obvious over the ’406

   Publication or ’552 Publication. ECF No. 256 at 17.

                           i. Scope and Content of the Prior Art

             The ’808 Patent purports to claim the benefit of priority to each of U.S. Provisional Patent

   Application Serial No. 61/417,659, which was filed on November 29, 2010, and U.S. Provisional

   Patent Application No. 61/345,763, which was filed on May 18, 2010. 8




   7
     The parties raised no material disputes about the characteristics of the person of ordinary skill in the art (“POSA”);
   both parties contend that the opinions of their expert witnesses would not change if the definition of the POSA was
   the definition offered by the other side. Tr. 548:21-549:1; 674:14-20.
   8
     Although there is some dispute over the priority date, Plaintiffs represent that that the difference in the priority date
   does not matter for the asserted references. ECF No. 271 at 5 ¶ 6. Thus, the Court will use May 18, 2010, as the
   priority date.

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                                                          Appx34
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                        1) The ’406 Publication (DTX-161)

           International Patent Publication No. WO 2007/124406 (“the ’406 Publication”) published

   on November 1, 2007. The ’406 Publication was therefore available more than a year before the

   earliest priority date of the Asserted Patents under pre-AIA 35 U.S.C. § 102(b). It is undisputed

   the ’406 Publication is prior art to the Asserted Claims. ECF No. 210 at Undisputed Fact 16(h).

                        2) The ’552 Publication (DTX-162)

           International Patent Publication No. WO 2008/119552 (“the ’552 Publication”) published

   on October 9, 2008. The ’552 Publication was therefore available more than a year before the

   earliest priority date of the Asserted Patents under pre-AIA 35 U.S.C. § 102(b). It is undisputed

   the ’552 Publication is prior art to the Asserted Claims. ECF No. 210 at Undisputed Fact 16(i).

                      ii. The Differences Between the Claims and the Prior Art

           At issue here is claim 28, which depends from claims 1 and 27. The Asserted Claims read

   as follows:

           Claim 1:
           A dose counter for an inhaler, the dose counter having a counter display arranged
           to indicate dosage information, a drive system arranged to move the counter display
           incrementally in a first direction from a first station to a second station in response
           to actuation input, wherein a regulator is provided which is arranged to act upon
           the counter display at the first station to regulate motion of the counter display at
           the first station to incremental movements.

           Claim 27:
           The dose counter as claimed in claim 1 in which the regulator provides a resistance
           force of greater than 0.1 N against movement of the counter display.

           Claim 28:
           The dose counter as claimed in claim 27 in which the resistance force is greater
           than 0.3 N.

   Cipla contends that claim 28 of the ’808 Patent would have been obvious over the ’406 Publication

   or the ’552 Publication. ECF No. 256 at 17. The Court will address each of Cipla’s arguments in

   turn.
                                                     35

                                                 Appx35
             Case: 23-2241
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                           Document 301      Page: 40 Filed:
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          At trial, Mr. Anderson testified that Cipla’s ANDA Product has “every single component

   that we discussed today, [in] the ’406 [Publication].” Tr. 560:1-2. In support of his conclusion,

   Mr. Anderson points to the schematic drawings of the dose-counter in Cipla’s ANDA Product and

   the dose-counter disclosed in Fig. 26 of the ’406 Publication. See ECF No. 256 at 17 (citing PTX-

   372 (colored); DTX-161, Fig. 26 (colored)). After reviewing the above comparison between the

   dose-counter of Cipla’s ANDA Product and the dose-counter disclosed in the ’406 Publication,

   Mr. Anderson concluded that “when you have a look at the number [of components] and the way

   they are laid out, they are the same.” Tr. 563:12-15.

          In its post-trial submission, Cipla argues that if the leaf spring in its product is a “regulator,”

   then so is the leaf spring in the ’406 Publication. ECF No. 256 at 19. In support of this argument,

   Cipla contends that “Dr. Lewis ignores that the dose counter disclosed in the ’406 Publication has

   the same leaf spring found in Cipla’s Product,” even though he conceded “that ‘there are

   similarities’ between the dose-counter disclosed in the ’406 Publication and Cipla’s Product, and

   that the dose-counter in the ’406 Publication ‘looks the same’ as the dose-counter used in Cipla’s

   Product.” Id. With respect to this argument, Cipla did not point to any testimony provided by its

   expert witness.

          Cipla next argues that the force limitation of claim 28 does not render the claim non-

   obvious. ECF No. 265 at 19. Cipla notes that Mr. Anderson explained that the claimed force

   values “are experimental” and based on routine testing. Id. (citing Tr. 557:12-22 (discussing this

   same claimed force limitation in the context of the ’552 Publication prior art analysis)). Mr.

   Anderson further testified “as a matter of routine optimization for any POSA, they would find the

   appropriate force against movement of the counter display . . ..” Id.




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                                                  Appx36
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          In addition to arguing that claim 28 of the ’808 Patent would have been obvious over the

   ’406 Publication, Cipla contends that claim 28 of the ’808 Patent would have been obvious over

   the ’552 Publication. In support of its argument, Cipla asserts that the limitations recited in claim

   1 of the ’808 Patent are met by the ’552 Publication. ECF No. 256 at 23. Cipla notes that the ’552

   Publication discloses the following: “a dose counter for an inhaler,” “dose counter having a counter

   display arranged to indicate dosage information,” and “a drive system arranged to move the

   counter display incrementally in a first direction from a first station to a second station in response

   to actuation input.” Id. at 23-25. Cipla contends that it is undisputed that the ’552 Publication

   discloses the above limitations. Id.

          In response, Plaintiffs argue that both of Cipla’s obviousness theories on claim 28 of the

   ’808 Patent fail for several reasons. First, Plaintiffs contend that Cipla’s theory based on the ’552

   Publication has already been rejected by a scientifically trained, three-judge panel of the Patent

   Trial and Appeal Board (“PTAB”). ECF No. 270 at 44. Plaintiffs note that during prosecution of

   the ’808 Patent, the examiner considered whether claim 28 would have been obvious based on the

   ’950 Publication—a reference indistinguishable from the ’552 Publication that Cipla relies on. Id.

   The PTAB, considering the issue on appeal from the examiner, held that just because the ’950

   Publication’s figures resembled those of the ’808 Patent, the ’950 Publication did not render the

   ’808 Patent obvious. Although Cipla has not advanced an obviousness theory on claim 28 of ’808

   Patent based on the ’950 Publication, the PTAB decision is important because Mr. Anderson

   advanced obviousness theories in his reports based on both the ’950 and ’552 Publications, where

   he admitted that both references “disclose the same configuration.” Plaintiffs’ FOF 188. Mr.

   Anderson also acknowledged this at trial. Tr. 587:16-25.




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                                                 Appx37
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          Plaintiffs next contend that Cipla failed to prove that the POSA would have selected the

   ’406 and ’552 Publications. ECF No. 270 at 46. The Court agrees. As the Federal Circuit noted,

   “[t]oo often the obviousness analysis is framed as an inquiry into whether a person of skill, with

   two (and only two) references sitting on the table in front of him, would have been motivated to

   combine . . . the references in a way that renders the claimed invention obvious. The real question

   is whether that skilled artisan would have plucked one reference out of the sea of prior art . . ..”

   WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1337 (Fed. Cir. 2016). To demonstrate that a skilled

   artisan would have had reason to combine the teaching of the prior art references to achieve the

   claimed invention, Cipla, at the least, must explain why the POSA would have selected the ’406

   and ’552 Publications.

          As a final note, with respect to this obviousness theory, Cipla focuses too much attention

   comparing schematic drawings of the dose-counters and discussing Dr. Lewis’s credibility. In so

   doing, Cipla failed to prove that claim 28 would have been obvious over either the ’406 Publication

   or ’552 Publication. Accordingly, the Court finds that Cipla has failed to prove that claim 28 of

   the ’808 Patent would have been obvious by clear and convincing evidence.

              b. The ’289 and ’587 Patents

          Cipla contends that independent claim 1 and dependent claims 2, 4, 6, and 7 of the ’289

   Patent and independent claims 1 and 12 and dependent claims 2, 4, 6, and 7 of the ’587 Patent

   would have been obvious over the ’406 Publication in combination with the ’514 Publication.

   ECF No. 256 at 36, 46.

                      i. Scope and Content of the Prior Art

          The ’289 Patent purports to claim the benefit of priority to each of U.S. Provisional Patent

   Application Serial No. 61/345,763, which was filed on May 18, 2010, and U.S. Provisional Patent



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                                                Appx38
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   Application No. 61/417,659, which was filed on November 29, 2010. DFOF ¶ 10. The ’587 Patent

   purports to claim the benefit of priority to each of U.S. Provisional Patent Application Serial No.

   61/345,763, which was filed on May 18, 2010, and U.S. Provisional Patent Application No.

   61/417,659, which was filed on November 29, 2010. Id. ¶ 14. 9

                            1) The ’406 Publication (DTX-161)

            International Patent Publication No. WO 2007/124406 (“the ’406 Publication”) published

   on November 1, 2007. The ’406 Publication was therefore available more than a year before the

   earliest priority date of the Asserted Patents under pre-AIA 35 U.S.C. § 102(b). It is undisputed

   the ’406 Publication is prior art to the Asserted Claims. ECF No. 210 at Undisputed Fact 16(h).

                            2) The ’514 Publication (DTX-165)

            International Patent Publication No. WO 2003/101514 (“the ’514 Publication”) published

   on December 11, 2003. The ’514 Publication was therefore available more than a year before the

   earliest priority date of the Asserted Patents under pre-AIA 35 U.S.C. § 102(b). It is undisputed

   the ’514 Publication is prior art to the Asserted Claims. ECF No. 210 at Undisputed Fact 16(j).

                          ii. Differences Between the Claims and the Prior Art

            At issue here is independent claim 1 and dependent claims 2, 4, 6, and 7 of the ’289 Patent

   and independent claims 1 and 12 and dependent claims 2, 4, 6, and 7 of the ’587 Patent would

   have been obvious over the ’406 Publication in combination with the ’514 Publication. ECF No.

   256 at 36, 46. The Asserted Claims in the ’289 Patent read as follows:

            Claim 1:
            An inhaler for metered dose inhalation, the inhaler comprising: a main body having
            a canister housing, a medicament canister, which is moveable relative to the
            canister housing and retained in a central outlet port of the canister housing
            arranged to mate with a canister fire stem of the medicament canister, and a dose

   9
    Although there is some dispute over the priority date, Plaintiffs represent that that the difference in the priority date
   does not matter for the asserted references. ECF No. 271 at 5 ¶ 6. Thus, the Court will use May 18, 2010, as the
   priority date.

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                                                          Appx39
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         counter having an actuation member having at least a portion thereof located in the
         canister housing for operation by movement of the medicament canister, wherein
         the canister housing has an inner wall, and a first inner wall canister support
         formation extending inwardly from a main surface of the inner wall, and wherein
         the canister housing has a longitudinal axis X which passes through the center of
         the central outlet port, the inner wall canister support formation, the actuation
         member, and the central outlet port lying in a common plane coincident with the
         longitudinal axis X.

         Claim 2:
         The inhaler as claimed in claim 1 wherein the medicament canister is movable
         relative to the dose counter.

         Claim 4:
         The inhaler as claimed in claim 1, wherein the first inner wall canister support
         formation comprises a support rail which extends longitudinally along an inside
         surface of the main body.

         Claim 6:
         The inhaler as claimed in claim 4 further comprising a plurality of support rails
         each of which extends longitudinally along an inside surface of the main body.

         Claim 7:
         The inhaler as claimed in claim 6, wherein two of the plurality of support rails are
         positioned at opposite ends of the inside surface of the main body to face each other.

         The Asserted Claims in the ’587 Patent read as follows:

         Claim 1:
         An inhaler for metered dose inhalation, the inhaler comprising: a main body having
         a canister housing, a medicament canister, which is moveable relative to the
         canister housing and retained in a central outlet port of the canister housing
         arranged to mate with a canister fire stem of the medicament canister, and a dose
         counter having an actuation member having at least a portion thereof located in the
         canister housing for operation by movement of the medicament canister, wherein
         the canister housing has an inner wall, and a first inner wall canister support
         formation extending inwardly from a main surface of the inner wall, wherein the
         canister housing has a longitudinal axis X which passes through the center of the
         central outlet port, and wherein the first inner wall canister support formation, the
         actuation member, and the central outlet port lie in a common plane coincident with
         the longitudinal axis X such that the first inner wall canister support formation
         protects against unwanted actuation of the dose counter by reducing rocking of the
         medicament canister relative to the main body of the inhaler.

         Claim 2:
         The inhaler as claimed in claim 1 wherein the medicament canister is movable
         relative to the dose counter.
                                                  40

                                               Appx40
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          Claim 4:
          The inhaler as claimed in claim 1, wherein the first inner wall canister support
          formation comprises a support rail which extends longitudinally along an inside
          surface of the main body.

          Claim 6:
          The inhaler as claimed in claim 4 further comprising a plurality of support rails
          each of which extends longitudinally along the inside surface of the main body.

          Claim 7:
          The inhaler as claimed in claim 6, wherein two of the plurality of support rails are
          positioned at opposite ends of the inside surface of the main body to face each other.

          Claim 12:
          An inhaler for metered dose inhalation, the inhaler comprising: a main body having
          a canister housing, a medicament canister, which is moveable relative to the
          canister housing and retained in a central outlet port of the canister housing
          arranged to mate with a canister fire stem of the medicament canister, and a dose
          counter having an actuation member having at least a portion thereof located in the
          canister housing for operation by movement of the medicament canister, wherein
          the canister housing has an inner wall, and a first inner wall canister support
          formation extending inwardly from a main surface of the inner wall, wherein the
          canister housing has a longitudinal axis X which passes through the center of the
          central outlet port, and wherein the first inner wall canister support formation, the
          actuation member, and the central outlet port lie in a common plane coincident with
          the longitudinal axis X such that the first inner wall canister support formation
          protects against dose count errors by reducing rocking of the medicament canister
          towards or away from the actuation member.

          Cipla contends that independent claim 1 and dependent claims 2, 4, 6, and 7 of the ’289

   Patent would have been obvious over the ’406 Publication in combination with the ’514

   Publication. ECF No. 256 at 36. Cipla further contends that claims 1, 2, 4, 6, 7, and 12 of the ’587

   Patent would have been obvious over the ’406 and ’514 Publications. The Court will discuss

   Cipla’s obvious arguments related to these patents together.

          Mr. Anderson, Cipla’s expert, opined that a POSA would have been motivated to combine

   the ’406 Publication with a ’514 Publication. Tr. 576:7-12. Consistent with this opinion, Cipla

   contends that the ’406 Publication disclosed every limitation in claim 1 of the ’289 Patent except

   for the Common Plane Limitation. ECF No. 256 at 37. In its post-trial brief, Cipla notes that the
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   “’406 Publication does not expressly disclose an ‘inner wall canister support formation’ in a

   ‘common plane,’ which requires ‘the inner wall canister support formation, the actuation member,

   and the central outport’ to lie in a common plane coincident with the longitudinal axis X.” Id.

   Cipla also notes that the “’514 Publication discloses four inner wall canister formations equally

   spaced on the front, back, and sides of an inhaler body.” Id. Cipla contends that if the formations

   in the ’514 Publication were added to the ’406 Publication, then the common plane limitation

   would have been met.

          At trial, Mr. Anderson explained how “ribs have been used . . . in the main body for many,

   many years. . .. And I believe 1965 was the first year that they were actually mentioned, you know,

   in publications, in papers. So these ribs are not new. They have been around almost as long as the

   MDIs themselves.” Tr. 570:6-14. Mr. Anderson pointed to several examples of ribs in prior art

   inhalers. See ECF No. 256 (citing Tr. 570:15-571:17; 571:20-572:19; DTX-137 at 5:37-40; DTX-

   174 at Fig. 6; DTX-165 at Fig 8a; DTX-172 at Fig. 1C; DTX-153 at Fig. 7). Based on this

   evidence, Mr. Anderson opined that “ribs were ubiquitous prior art” and by “2010 the use of ribs

   were ubiquitous and all over the industry. They were known. It doesn’t cost you anything to add a

   rib, so why wouldn’t you put it in to enhance the product.” Tr. 571:16-17; Id. at 575:1-4.

          Plaintiffs, however, contend that Mr. Anderson’s opinion that a POSA would have selected

   the ’406 and ’514 Publications—and no others—and combined them in ways that just so happen

   to produce an inhaler that meets the Common Plan Limitation is based on hindsight, and must be

   rejected. The Court agrees.

          Even accepting Cipla’s arguments that the ’406 and ’514 Publications combined meet

   every limitation in claim 1 of the ’289 Patent, Cipla has not shown, by clear and convincing

   evidence, that the POSA would have been motivated to add the specific support rails disclosed in



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   the ’514 Publication to the specific inhaler body and dose counter of the ’406 Publication, and

   would have been motivated to align at least one such rail according to the Common Plane

   Limitation. Cipla and its expert never addressed why a POSA would have selected the ’406 and

   ’514 Publications for combination.            “[W]hether a [POSA] would be motivated to make a

   combination includes whether he would select particular references in order to combine their

   elements.” WBIP, 829 F.3d at 1337 (emphasis added). “Too often the obviousness analysis is

   framed as an inquiry into whether a [POSA], with two (and only two) references sitting on the

   table in front of him, would have been motivated to combine . . . the references in a way that

   renders the claimed invention obvious.” Id. “The real question is whether that [POSA] would

   have plucked one reference out of the sea of prior art . . . and combined it with [elements of a

   second reference] to address some need present in the field.” Id. Because Mr. Anderson did not

   address why a POSA would have selected the ’406 and ’514 Publications combination, the Court

   infers that Cipla selected these references with the assistance of hindsight, which is expressly

   forbidden. See In re Rouffet, 149 F.3d 1350, 1358 (Fed. Cir. 1998) (“This court forbids the use of

   hindsight in the selection of references that comprise the case of obviousness.”). Accordingly, the

   Court finds that Cipla has failed to prove that the Asserted Claims of the ’289 Patent would have

   been obvious by clear and convincing evidence. 10

        C. Admissibility of Aurobindo Evidence

           Plaintiffs request that the Court admit their proffer of Aurobindo deposition testimony and

   documents. ECF No. 262 at 53. Cipla opposes Plaintiffs’ request. ECF No. 265 at 52. Based on

   the evidence already admitted in the record, the Court finds that Cipla’s ANDA Products infringe

   each Asserted Claim of the ’289, ’587, and ’808 Patents. Thus, the Court need not consider


   10
     Because claims 2, 4, 6, and 7 of the ’289 Patent depend from claim 1, the Court need not address those claims
   specifically. Moreover, Cipla’s obvious arguments related to the ’587 Patent fail for the same reasons.

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   Plaintiffs’ request to have the Court consider additional evidence. Accordingly, Plaintiffs’ request

   is denied as moot.

   IV.    CONCLUSION

          For the reasons set forth above, the Court finds that Plaintiffs have demonstrated by a

   preponderance of the evidence that Cipla’s ANDA product infringes each Asserted Claim of the

   ’289, ’587, and ’808 Patents. The Court also finds that Cipla has failed to demonstrate by clear

   and convincing evidence that the Asserted Patents are invalid as obvious. Accordingly, the Court

   will enter judgment in favor of Plaintiffs and against Cipla as to the ’289, ’587, and ’808 Patents.

   The parties shall submit a joint proposed judgment.



                                                                s/ Julien Xavier Neals
          DATED: June 21, 2023                                  JULIEN XAVIER NEALS
                                                                United States District Judge




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                                                Appx44
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                    :
    TEVA BRANDED PHARMACEUTICAL                     :
    PRODUCTS R&D, INC., and NORTON                  :   Civil Action No. 20-10172 (JXN) (MAH)
    (WATERFORD) LTD.,                               :     (Consolidated with Civil Action Nos.
                              Plaintiffs,           :           20-14833 and 20-14890)
                                                    :
                          v.                        :                     ORDER
                                                    :
    CIPLA LTD., AUROBINDO PHARMA                    :
    LLC, AUROBINDO PHARMA USA,                      :
    INC., and AUROLIFE PHARMA LLC,                  :
                            Defendants.             :


  NEALS, District Judge:

         Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc. (“Teva”) and Norton

  (Waterford) Ltd. (“Norton”) (collectively, “Plaintiffs”) bring this consolidated patent infringement

  action against Defendant Cipla Ltd. (“Cipla”) for submitting an Abbreviated New Drug

  Application (“ANDA”) No. 211434 to the U.S. Food and Drug Administration (“FDA”) seeking

  approval to commercially manufacture, use, offer for sale, sell, and/or import generic versions of

  Plaintiffs’ QVAR® (beclomethasone dipropionate) products prior to the expiration of U.S. Patent

  Nos. 9,463,289 (the “’289 Patent”), 9,808,587 (the “’587 Patent”), 10,022,509 (the “’509 Patent”);

  10,022,510 (the “’510 Patent”); 10,086,156 (the “’156 Patent”), and 10,561,808 (the “’808

  Patent”). See Compl., ECF No. 1. This Court has jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331, 1338(a), 2201, and 2202. Venue is proper under 28 U.S.C. §§ 1391(b) and

  1400(b).

         The Court having held a bench trial on November 16, 17, and 18, 2022, having entertained

  closing arguments on March 28, 2023, and having considered the parties’ post-trial briefing and




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  weighed all credible testimony and other evidence in the record as well as all other relevant docket

  entries,

             IT IS on this 21st day of June 2023,

             ORDERED and ADJUDGED that Plaintiffs have demonstrated by a preponderance of

  the evidence that Cipla’s ANDA product infringes each Asserted Claim of the ’289, ’587, and ’808

  Patents; and it is further

             ORDERED and ADJUDGED that Cipla failed to demonstrate by clear and convincing

  evidence that the ’289, ’587, and ’808 Patents are invalid as obvious; and it is further

             ORDERED that the parties are directed to submit a joint proposed form of judgment

  consistent with this Order and the accompanying Opinion within 7 days of this Order; and it is

  further

             ORDERED that an unredacted version of this Court’s Opinion shall be filed under

  temporary seal and emailed separately to the parties, and the parties shall submit a joint, proposed

  redacted version of the Court’s Opinion, as well as a statement of reasons as to why each redaction

  is necessary, within 7 days of this Order.



                                                                s/ Julien Xavier Neals
                                                                JULIEN XAVIER NEALS
                                                                United States District Judge




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            andNorton
                 Norton(Water   ford) Ltd.
                          (Wate/ford)  Ltd

                         IN THE
                         IN THE UNITED
                                UNITED STATES
                                       STATESDISTRICT
                                              DISTRICT COURT
                                                       COURT
                            FOR THE
                            FOR     DISTRICT OF
                                THE DISTRICT OF NEW
                                                NEW JERSEY
                                                    JERSEY

 TEVA
 TEV   BRANDED PHARMACEUTICAL
     A BRANDED  PHARMACEUTICAL :                           Consolidated Civil
                                                           Consolidated Civil Action
                                                                              Action No.
                                                                                     No. 20-10172
 PRODUCTS R&D,
 PRODUCTS  R&D, INC.,
                INC, and
                      and                                                (JXN)(MAH)
                                                                         (JXN)(MAH)
 NORTON (WATERFORD)
 NORTON  (WATERFORD) LTD.,
                        LTD.,

         Plaintiffs,

 CIPLALTD.,
 CIPLALTD.,

         Defendant.


                               JOINT FINAL
                               JOINT FINAL .JUDGMENT
                                            JUDGMENT ORDER
                                                     ORDER

        WHEREAS, the
        WHEREAS,  theCourt
                      COUltheld
                            heldaathree-day
                                   three-daybench
                                             benchtrial
                                                   trial in
                                                          in the
                                                             the above-captioned
                                                                 above-captionedmatter
                                                                                 matter on
                                                                                        on

 November 16,
          16, 17,
              17, and
                  and 18, 2022. (ECF
                      18,2022.   (ECF Nos.
                                      Nos. 241-244.)
                                            241-244.)For
                                                      Forthe
                                                          thereasons
                                                              reasons set
                                                                      set forth
                                                                          forth in
                                                                                in the
                                                                                   the Court's

 Opinion and
         and Opinion dated June 21,
                     dated June 21, 2023
                                    2023 (BCF
                                         (ECF Nos. 301,
                                                   301, 302),
                                                         302),and
                                                               andall
                                                                   allparties
                                                                       pmties having
                                                                              havingconsented
                                                                                     consented

 to the form and entry
                 enlly hereof, Judgment is entered
                               Judgment is entered in
                                                    in favor
                                                        favor of
                                                              of Plaintiffs Teva Branded


 Pharmaceutical ProductsR&D,
 Pharmaceutical Products R&D, Inc.
                              Inc. and
                                   and NOlton
                                       Norton (Waterford)
                                               (Waterford) Ltd.
                                                           Ltd. (collectively,
                                                                (collectively, "Plaintiffs")
                                                                               "Plaintiffs")and
                                                                                             and

 against Defendant
 against Defendant Cipla
                   Cipla Ltd.
                         Ltd. ("Cipla"):
                              ("Cipla"):

         1. Cipla's
         I.         filing
                Cipla's     of Abbreviated
                         filing             New
                                of Abbreviated   Drug
                                               New DrugApplication
                                                        Application("ANDA")
                                                                    ("ANDA")No.
                                                                             No.211434
                                                                                 211434

 ("Cipla's ANDA")
           ANDA")infringes
                  infringes claims
                             claims 1-2, 4, and
                                     1-2,4, and 6-7
                                                6-7 ofU.S.
                                                    of U.S.Patent
                                                            Patent No.
                                                                   No. 9,463,289
                                                                       9,463,289 (the
                                                                                  (the '"289
                                                                                       '''289

 patent"); claims
 patent"); claims 1-2,4,6-7,
                  1-2, 4, 6-7, and    ofU.S.
                               and 12 of U.S.Patent
                                             Patent No. 9,808,587 (the
                                                                  (the "'587
                                                                       "'587patent");
                                                                             patent"); and
                                                                                       and claim
                                                                                           claim

 28 ofU.S.
    of U.S.Patent
            Patent No.
                   No. 10,561,808
                        10,561,808(the
                                   (the '"808
                                         ", 808patent").
                                                patent").The
                                                          Themanufacture,
                                                              manufacture,use,
                                                                           use, sale,
                                                                                 sale, or
                                                                                       01' offer
                                                                                           offerfor
                                                                                                 for


                                                    1


                                               Appx47
          Case: 23-2241          Document: 27-1           Page: 52       Filed: 03/22/2024

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             the United States,
 sale within the        States, or importation into the
                                                    the United States,
                                                               States, of
                                                                       ofthe
                                                                          the product
                                                                              productthat
                                                                                      that is
                                                                                           is the
                                                                                              the

 subject of
 subject ofCipla's
            Cipla's ANDA
                    ANDA("Cipla's
                         ("Cipla'sANDA
                                   ANDAProduct"),
                                        Product"),would
                                                   wouldinfi'mge
                                                          infringethe
                                                                   thesame
                                                                       sameclaims.
                                                                            claims.

         2. Claims
         2.        1-2, 1-2,4,
                Claims  4, and and
                               6-7 6-7
                                   of the  '289
                                       of the   patent;
                                              '289      claims
                                                   patent;      1-2,
                                                           claims    4, 6-7, and
                                                                  1-2,4,6-7,  and1212ofofthe
                                                                                          the?587
                                                                                              '587

 patent; and
 patent; and claim
             claim 28
                   28 of
                      of the
                         the '808
                              '808patent
                                   patent are
                                          are not invalid.

         3. Pursuant
         3.          to 35
                Pursuant to U.S.C. § 271(e)(4)(A),
                            35 U.S.C.              thethe
                                      § 271 (e)(4)(A), U.S. Food
                                                          U.S.   & Drug
                                                               Food      Administration
                                                                    & Drug Administrationshall
                                                                                          shall

             Cipla's ANDA
 not approve Cipla's ANDAProduct
                          Producton
                                  onaadate
                                       datewhich
                                           whichisisearlier
                                                     earlierthan
                                                             than the
                                                                  the expiration
                                                                      expiration date
                                                                                 date of
                                                                                      of the
                                                                                         the

 latest-expiring claim that
 latest-expiring            Cipla has
                       that Cipla has been
                                      been adjudged
                                           adjudged to
                                                     to infringe
                                                        infringe (for the '289
                                                                          '289 and
                                                                               and '587
                                                                                    '587patents,
                                                                                         patents, May
                                                                                                  May

 18, 2031; and for the 808
 18,2031;              '808patent,
                            patent,January
                                    January 1, 2032), including
                                            1,2032),   includingany
                                                                 any extensions
                                                                      extensions and
                                                                                  and market
                                                                                      market

 exclusivities.

         4. Pursuant
         4.          to 35
                Pursuant to U.S.C. § 27l(e)(4)(B),
                            35 U.S.C.              Cipla,
                                      § 271 (e)(4)(B),    its its
                                                       Cipla,  officers, agents,
                                                                  officers, agents,servants,
                                                                                    servants,

 employees, and
            and attorneys;
                attorneys; and any other persons
                                         persons who are in active concert or
                                                                           01' participation
                                                                               participation with

 anyone described above
                  above are
                        are hereby enjoined from
                                            from commercially
                                                 commerciallymanufacturing,
                                                              manufacturing, using,
                                                                             using, offering
                                                                                    offering

 to sell, or
          01' selling
              selling within
                      within the
                             the United States, or importing into the United States,
                                        States, 01'                          States, Cipla's
                                                                                     Cipla's ANDA
                                                                                             ANDA

 Product before
         before the
                 the expiration
                     expirationdate
                                date of the latest"
                                     ofthe          expiring claim
                                             latest-expiring claim that
                                                                   that Cipla has
                                                                              has been adjudged
                                                                                       adjudged to
                                                                                                to

 infringe
 infringe (for the '289
                   '289 and
                        and '587
                             '587patents.
                                  patents, May
                                           May 18, 2031; and
                                               18,2031;  and for
                                                             for the
                                                                  the '808
                                                                       '808patent,
                                                                            patent, January 1,2032),
                                                                                    January 1,2032),

 including any extensions and
                          and market
                              market exclusivities.

         5. Judgment
         5.          is hereby
                Judgment        entered
                         is hereby      (a)(a)
                                   entered  in in
                                               favor  of of
                                                  favor  Plaintiffs
                                                            Plaintiffsand
                                                                       andagainst
                                                                           against Cipla
                                                                                   Cipla on
                                                                                         on

 Plaintiffs' claims for infringement of claims
                        infringement of claims 1-2,4,
                                               1-2,4, and
                                                      and 6-7 of
                                                              ofthe
                                                                 the '289
                                                                      '289patent;
                                                                          patent; claims
                                                                                  claims 1-2, 4, 6-7,
                                                                                         1-2,4,6-7,

 and 12
 and 12 of
        of the
           the ?587 patent; and
               '587 patent; andclaim
                                claim 28
                                      28 of
                                         ofthe
                                            the '808
                                                 '808 patent;
                                                      patent; and
                                                              and (b)
                                                                  (b) in
                                                                       in favor
                                                                          favor of
                                                                                ofPlaintiffs
                                                                                   Plaintiffs and
                                                                                              and

 against Cipla
 against Cipla on Cipla's counterclaims
                          counterclaims and
                                        and defenses.
                                            defenses. {See
                                                       (SeeECF
                                                            ECFNo.
                                                               No. 1;I;ECF
                                                                        ECF No. 7.)
                                                                            No.7.)

         6.
         6. This This
                 is the  FINAL
                      is the     JUDGMENT
                             FINAL        of of
                                   JUDGMENT  thetheCourt.
                                                    Court.


 IT IS
 IT IS SO
       SO ORDERED
          ORDEREDthis
                  this29th
                       29 th day
                             day of
                                 ofJune,
                                    June, 2023
                                          2023



                                                                    IERNEALS
                                                                    district Judge




                                               Appx48
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                              Case: 23-2241           Document: 27-1           Page: 53     Filed: 03/22/2024

                                         Query      Reports        Utilities     Help     Log Out

                                                                                            ANDA,APPEAL,PRETRL,SCHEDO

                                                  U.S. District Court
                                      District of New Jersey [LIVE] (Newark)
                               CIVIL DOCKET FOR CASE #: 2:20-cv-10172-JXN-MAH


          TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D,                                  Date Filed: 08/07/2020
          INC. et al v. CIPLA LTD. et al                                             Date Terminated: 06/29/2023
          Assigned to: Judge Julien Xavier Neals                                     Jury Demand: None
          Referred to: Magistrate Judge Michael A. Hammer                            Nature of Suit: 835 Patent - Abbreviated
          Case in other court: Federal Circuit, 23-02241                             New Drug Application(ANDA)
          Cause: 15:1126 Patent Infringement                                         Jurisdiction: Federal Question

          Plaintiff
          TEVA BRANDED                                              represented by KATELYN O'REILLY
          PHARMACEUTICAL PRODUCTS                                                  WALSH PIZZI O'REILLY FALANGA
          R&D, INC.                                                                LLP
                                                                                   THREE GATEWAY CENTER
                                                                                   100 MULBERRY STREET
                                                                                   15TH FLOOR
                                                                                   NEWARK, NJ 07102
                                                                                   973-757-1100
                                                                                   Email: koreilly@thewalshfirm.com
                                                                                   ATTORNEY TO BE NOTICED

                                                                                        SELINA MIRIAM ELLIS
                                                                                        WALSH PIZZI O'REILLY FALANGA
                                                                                        LLP
                                                                                        THREE GATEWAY CENTER
                                                                                        100 MULBERRY STREET
                                                                                        15TH FLOOR
                                                                                        NEWARK, NJ 07102
                                                                                        973-757-1100
                                                                                        Email: sellis@walsh.law
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        WILLIAM T. WALSH , JR
                                                                                        WALSH PIZZI O'REILLY FALANGA
                                                                                        LLP
                                                                                        THREE GATEWAY CENTER
                                                                                        100 MULBERRY STREET
                                                                                        15TH FLOOR
                                                                                        NEWARK, NJ 07102
                                                                                        United Sta
                                                                                        973-757-1030
                                                                                        Email: wwalsh@proskauer.com

                                                                   Appx49
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241           Document: 27-1      Page: 54       Filed: 03/22/2024

                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  WALSH PIZZI O'REILLY FALANGA
                                                                                  LLP
                                                                                  THREE GATEWAY CENTER
                                                                                  100 MULBERRY STREET
                                                                                  15TH FLOOR
                                                                                  NEWARK, NJ 07102
                                                                                  973.757.1100
                                                                                  Email: lwalsh@walsh.law
                                                                                  ATTORNEY TO BE NOTICED

          Plaintiff
          NORTON (WATERFORD) LTD.                                  represented by KATELYN O'REILLY
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  SELINA MIRIAM ELLIS
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM T. WALSH , JR
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED


          V.
          Defendant
          CIPLA LTD.                                               represented by PETER LOUIS GIUNTA
                                                                                  K&L Gates LLP
                                                                                  599 Lexington Avenue
                                                                                  NEW YORK, NY 10022
                                                                                  212-536-3910
                                                                                  Email: Peter.Giunta@klgates.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  GREGORY D. MILLER
                                                                                  RIVKIN RADLER LLP
                                                                                  25 MAIN STREET, SUITE 501
                                                                                  COURT PLAZA NORTH
                                                                                  HACKENSACK, NJ 07601
                                                                                  201-287-2460
                                                                                  Fax: 201-489-0495
                                                                                  Email: gregory.miller@rivkin.com
                                                                   Appx50
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                              Case: 23-2241           Document: 27-1      Page: 55       Filed: 03/22/2024

                                                                                  ATTORNEY TO BE NOTICED

          Defendant Consolidated
          AUROBINDO PHARMA LTD.                                    represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  MCNEELY HARE & WAR
                                                                                  12 ROSZEL ROAD
                                                                                  SUITE C104
                                                                                  PRINCETON, NJ 08854
                                                                                  609-731-3668
                                                                                  Email: chris@miplaw.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE
                                                                                  McNeely, Hare & War, LLP
                                                                                  12 Roszel Road
                                                                                  Ste C104
                                                                                  Princeton, NJ 08540
                                                                                  609-240-2533
                                                                                  Email: bill@miplaw.com
                                                                                  ATTORNEY TO BE NOTICED

          Defendant Consolidated
          AUROBINDO PHARMA USA, INC.                               represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

          Defendant Consolidated
          AUROLIFE PHARMA LLC                                      represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

          Counter Claimant Consolidated
          AUROBINDO PHARMA USA, INC.                               represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE

                                                                   Appx51
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241           Document: 27-1      Page: 56       Filed: 03/22/2024

                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

          Counter Claimant Consolidated
          AUROBINDO PHARMA LTD.                                    represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

          Counter Claimant Consolidated
          AUROLIFE PHARMA LLC                                      represented by CHRISTOPHER S. CASIERI
          TERMINATED: 12/08/2022                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM HARE
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED


          V.
          Counter Defendant Consolidated
          NORTON (WATERFORD) LTD.                                  represented by KATELYN O'REILLY
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM T. WALSH , JR
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

          Counter Defendant Consolidated
          TEVA BRANDED                                             represented by KATELYN O'REILLY
          PHARMACEUTICAL PRODUCTS                                                 (See above for address)
          R&D, INC.                                                               ATTORNEY TO BE NOTICED

                                                                                  WILLIAM T. WALSH , JR
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  (See above for address)
                                                                   Appx52
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                                                                                  ATTORNEY TO BE NOTICED

          Counter Claimant
          CIPLA LTD.                                               represented by PETER LOUIS GIUNTA
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  GREGORY D. MILLER
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED


          V.
          Counter Defendant
          NORTON (WATERFORD) LTD.                                  represented by KATELYN O'REILLY
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  WILLIAM T. WALSH , JR
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

          Counter Defendant
          TEVA BRANDED                                             represented by KATELYN O'REILLY
          PHARMACEUTICAL PRODUCTS                                                 (See above for address)
          R&D, INC.                                                               ATTORNEY TO BE NOTICED

                                                                                  WILLIAM T. WALSH , JR
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  LIZA M. WALSH
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED


          Date Filed          #     Docket Text
          08/07/2020            1 COMPLAINT against All Defendants ( Filing and Admin fee $ 400 receipt number
                                  ANJDC-11181243), filed by TEVA BRANDED PHARMACEUTICAL PRODUCTS
                                  R&D, INC., Norton (Waterford) Ltd/. (Attachments: # 1 Civil Cover Sheet, # 2 Exhibit
                                  A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 AO120
                                  Patent Form (I of II), # 9 AO120 Patent Form (II of II))(WALSH, LIZA) (Entered:
                                  08/07/2020)


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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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          08/07/2020            2 Corporate Disclosure Statement by Norton (Waterford) Ltd/, TEVA BRANDED
                                  PHARMACEUTICAL PRODUCTS R&D, INC. identifying Teva Pharmaceutical
                                  Industries Ltd. as Corporate Parent.. (WALSH, LIZA) (Entered: 08/07/2020)
          08/08/2020                Case assigned to Judge Madeline Cox Arleo and Magistrate Judge Michael A.
                                    Hammer. (jr) (Entered: 08/08/2020)
          08/10/2020            3 AO120 Patent/Trademark Form filed. (Attachments: # 1 Complaint and Exhibits) (sm)
                                  (Entered: 08/10/2020)
          08/10/2020            4 NOTICE of Appearance by KATELYN O'REILLY on behalf of Norton (Waterford)
                                  Ltd/, TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC. (O'REILLY,
                                  KATELYN) (Entered: 08/10/2020)
          08/10/2020            5 NOTICE of Appearance by WILLIAM T. WALSH, JR on behalf of Norton
                                  (Waterford) Ltd/, TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC.
                                  (WALSH, WILLIAM) (Entered: 08/10/2020)
          08/13/2020            6 WAIVER OF SERVICE Returned Executed by TEVA BRANDED
                                  PHARMACEUTICAL PRODUCTS R&D, INC., Norton (Waterford) Ltd/. CIPLA
                                  LTD. waiver sent on 8/10/2020, answer due 10/9/2020. (WALSH, LIZA) (Entered:
                                  08/13/2020)
          10/09/2020            7 ANSWER to Complaint , COUNTERCLAIM against Norton (Waterford) Ltd/, TEVA
                                  BRANDED PHARMACEUTICAL PRODUCTS R&D, INC. by CIPLA LTD..
                                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5,
                                  # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10)(MILLER,
                                  GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    10/09/2020)
          10/09/2020            8 Corporate Disclosure Statement by CIPLA LTD.. (MILLER, GREGORY) (Entered:
                                  10/09/2020)
          10/12/2020            9 REDACTION to 7 Answer to Complaint,,,, Counterclaim,,, by CIPLA LTD..
                                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5,
                                  # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10)(MILLER,
                                  GREGORY) (Entered: 10/12/2020)
          10/16/2020          10 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: Pro Hac Vice
                                 Application on Consent. (Attachments: # 1 Certification of David I. Berl, # 2
                                 Certification of Elise M. Baumgarten, # 3 Certification of Kathryn S. Kayali, # 4
                                 Certification of Ben Picozzi, # 5 Certification of Liza M. Walsh, # 6 Text of Proposed
                                 Order)(WALSH, LIZA) (Entered: 10/16/2020)




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          10/16/2020          11 APPLICATION/PETITION for the Pro Hac Vice Admission of William R.
                                 Zimmerman, Joseph M. Reisman, Mark Rubinshtein, William O. Adams, and Brandon
                                 G. Smith for by CIPLA LTD.. (Attachments: # 1 Declaration of Gregory D. Miller, # 2
                                 Declaration of William R. Zimmerman, # 3 Declaration of Joseph M. Reisman, # 4
                                 Declaration of Mark Rubinshtein, # 5 Declaration William O. Adams, # 6 Declaration
                                 Brandon G. Smith, # 7 Text of Proposed Order, # 8 Certificate of Service)(MILLER,
                                 GREGORY) (Entered: 10/16/2020)
          10/19/2020          12 ORDER GRANTING ADMISSION PRO HAC VICE as to David I. Berl, Elise M.
                                 Baumgarten, Kathryn S. Kayali and Ben Picozzi; etc. Signed by Magistrate Judge
                                 Michael A. Hammer on 10/19/2020. (sm) (Entered: 10/19/2020)
          10/19/2020          13 ORDER GRANTING PRO HAC VICE ADMISSION as to William R. Zimmerman,
                                 Joseph M. Reisman, Mark Rubinshtein, William O. Adams and Brandon G. Smith; etc.
                                 Signed by Magistrate Judge Michael A. Hammer on 10/19/2020. (sm) (Entered:
                                 10/19/2020)
          10/26/2020                Pro Hac Vice Fee Received as to David I. Berl, Elise M. Baumgarten, Kathryn S.
                                    Kayali, and Ben Picozzi: $ 600, receipt number TRE115032 (jmh) (Entered:
                                    10/26/2020)
          10/26/2020          14 Application and Proposed Order for Clerk's Order to extend time to answer. (WALSH,
                                 LIZA) (Entered: 10/26/2020)
          10/26/2020          15 TEXT ORDER: Telephone Scheduling Conference set for 1/5/2021 at 2:00 p.m.
                                 before Magistrate Judge Michael A. Hammer. The parties shall electronically file a
                                 joint discovery plan by 12:00 p.m. on 1/4/2021. To join the conference call, dial
                                 1-888-684-8852 and access code 1456817#. So Ordered by Magistrate Judge Michael
                                 A. Hammer on 10/26/2020. (jqb, ) (Entered: 10/26/2020)
          10/27/2020                Clerk`s Text Order - The document 14 submitted by TEVA BRANDED
                                    PHARMACEUTICAL PRODUCTS R&D, INC. has been GRANTED. The answer
                                    due date has been set for 11/13/2020. (sm) (Entered: 10/27/2020)
          10/27/2020          16 Notice of Request by Pro Hac Vice Elise M. Baumgarten to receive Notices of
                                 Electronic Filings. (WALSH, LIZA) (Entered: 10/27/2020)
          10/27/2020          17 Notice of Request by Pro Hac Vice David I. Berl to receive Notices of Electronic
                                 Filings. (WALSH, LIZA) (Entered: 10/27/2020)
          10/27/2020          18 Notice of Request by Pro Hac Vice Kathryn S. Kayali to receive Notices of Electronic
                                 Filings. (WALSH, LIZA) (Entered: 10/27/2020)
          10/27/2020          19 Notice of Request by Pro Hac Vice Ben Picozzi to receive Notices of Electronic
                                 Filings. (WALSH, LIZA) (Entered: 10/27/2020)
          11/02/2020          20 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: Pro Hac Vice
                                 Application on Consent. (Attachments: # 1 Certification of Ricardo Leyva, # 2
                                 Certification of Liza M. Walsh, # 3 Text of Proposed Order)(WALSH, LIZA) (Entered:
                                 11/02/2020)
          11/04/2020          21 ORDER granting pro hac vice admission of Ricardo Leyva; etc. Signed by Magistrate
                                 Judge Michael A. Hammer on 11/4/2020. (sm) (Entered: 11/04/2020)
          11/13/2020          22 ANSWER to Counterclaim (CONFIDENTIAL- FILED UNDER SEAL) by Norton
                                 (Waterford) Ltd/, TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D,

                                                                   Appx55
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 60         Filed: 03/22/2024

                                    INC..(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/13/2020)
          11/18/2020          23 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. requesting to
                                 unseal Teva's Answer to Cipla's Counterclaims (D.E. 22) re 22 Answer to
                                 Counterclaim,,. (WALSH, LIZA) (Entered: 11/18/2020)
          11/18/2020                Pro Hac Vice fee received as to Ricardo Leyva $150, receipt number TRE115596 (jal,
                                    ) (Entered: 11/18/2020)
          11/23/2020          24 ORDER granting plaintiffs' request to unseal D.E. 22. Signed by Magistrate Judge
                                 Michael A. Hammer on 11/23/2020. (sm) (Entered: 11/23/2020)
          11/30/2020          25 Notice of Request by Pro Hac Vice Ricardo Leyva to receive Notices of Electronic
                                 Filings. (WALSH, LIZA) (Entered: 11/30/2020)
          12/01/2020          26 MOTION to Seal by CIPLA LTD.. (Attachments: # 1 Statement in Lieu of Brief, # 2
                                 Declaration of Gregory D. Miller, # 3 Exhibit A to the Declaration of Gregory D.
                                 Miller, # 4 Text of Proposed Order, # 5 Certificate of Service)(MILLER, GREGORY)
                                 (Entered: 12/01/2020)
          12/01/2020                Set Deadlines as to 26 MOTION to Seal . Motion set for 1/4/2021 before Judge
                                    Madeline Cox Arleo. Unless otherwise directed by the Court, this motion will be
                                    decided on the papers and no appearances are required. Note that this is an
                                    automatically generated message from the Clerk`s Office and does not supersede any
                                    previous or subsequent orders from the Court. (sm) (Entered: 12/01/2020)
          12/03/2020                Pro Hac Vice fee as to William R. Zimmerman, Joseph M. Reisman, Mark
                                    Rubinshtein, William O. Adams and Brandon G. Smith: $ 750, receipt number
                                    NEW043832 (sm) (Entered: 12/04/2020)
          12/04/2020          27 MOTION for Judgment on the Pleadings by CIPLA LTD.. (Attachments: # 1 Text of
                                 Proposed Order, # 2 Certificate of Service)(MILLER, GREGORY) (Entered:
                                 12/04/2020)
          12/04/2020          28 MEMORANDUM in Support filed by CIPLA LTD. re 27 MOTION for Judgment on
                                 the Pleadings (MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    12/04/2020)
          12/07/2020                Set deadlines as to 27 MOTION for Judgment on the Pleadings . Motion set for
                                    1/4/2021 before Judge Madeline Cox Arleo. Unless otherwise directed by the Court,
                                    this motion will be decided on the papers and no appearances are required. Note that
                                    this is an automatically generated message from the Clerk`s Office and does not
                                    supersede any previous or subsequent orders from the Court. (sm) (Entered:
                                    12/07/2020)


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          12/09/2020          29 TEXT ORDER: The Telephone Scheduling Conference set for 1/5/2021 will be held at
                                 11:00 a.m. before Magistrate Judge Michael A. Hammer. The parties shall
                                 electronically file a joint discovery plan by 1/4/2021. Dial 1-888-684-8852 and access
                                 code 1456817# to join the conference call. Please mark your calendar accordingly. So
                                 Ordered by Magistrate Judge Michael A. Hammer on 12/9/2020. (jqb, ) (Entered:
                                 12/09/2020)
          12/21/2020          30 Letter from Liza M. Walsh to the Hon. Madeline Cox Arleo, U.S.D.J. requesting an
                                 extension of time to respond to Defendant's Motion for Judgment on the Pleadings re
                                 27 MOTION for Judgment on the Pleadings . (WALSH, LIZA) (Entered: 12/21/2020)
          12/28/2020          33 ORDER granting 30 Letter request for extension of time to respond to defendant's
                                 counter claim, through 1/26/2021, etc. Signed by Magistrate Judge Michael A.
                                 Hammer on 12/28/2020. (lag, ) (Entered: 12/29/2020)
          12/29/2020          31 TEXT ORDER: Plaintiff shall mail a tabbed copy of the complaint to the Court by
                                 1/4/2021. So Ordered by Magistrate Judge Michael A. Hammer on 12/29/2020. (jqb, )
                                 (Entered: 12/29/2020)
          12/29/2020          32 TEXT ORDER: The parties shall electronically file a joint discovery plan by 1/4/2021.
                                 So Ordered by Magistrate Judge Michael A. Hammer on 12/29/2020. (jqb, ) (Entered:
                                 12/29/2020)
          12/30/2020          34 Letter from Liza M. Walsh to Hon. Michael A. Hammer. (Attachments: # 1 Text of
                                 Proposed Order)(WALSH, LIZA) (Entered: 12/30/2020)
          01/04/2021          35 ORDER granting 26 the parties Joint Motion to Seal; the Clerk of the Court shall
                                 permit the Confidential Material to be sealed permanently and take such other steps as
                                 may be reasonably necessary to maintain the confidentiality of the Confidential
                                 Material; that nothing herein shall constitute a ruling concerning future requests to
                                 seal. Signed by Magistrate Judge Michael A. Hammer on 1/4/2021. (sm) (Entered:
                                 01/04/2021)
          01/04/2021          36 Joint Discovery Plan by All Plaintiffs. (Attachments: # 1 Joint Discovery
                                 Plan)(WALSH, LIZA) (Entered: 01/04/2021)
          01/05/2021          37 TEXT ORDER: Counsel for Aurobindo is granted leave to participate in the Rule 16
                                 scheduling conference in Civ. No. 20-10172 and 20-14890 today at 11:00 a.m., for the
                                 purpose of addressing possible consolidation of these matters with Civ. No. 20-14833.
                                 So Ordered by Magistrate Judge Michael A. Hammer on 1/5/2021. So Ordered by
                                 Magistrate Judge Michael A. Hammer on 1/5/2021. (Hammer, Michael) (Entered:
                                 01/05/2021)
          01/05/2021          38 TEXT ORDER: The parties are directed to file a proposed order of consolidation by
                                 the close of business on January 8, 2021. So Ordered by Magistrate Judge Michael A.
                                 Hammer on 1/5/21. (TAD) (Entered: 01/05/2021)
          01/05/2021                Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Telephone Scheduling Conference held on 1/5/2021. (ECR) (jqb, ) Modified on
                                    3/12/2021 (jqb, ). (Entered: 01/06/2021)
          01/08/2021          39 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. encl. proposed
                                 Order of Consolidation. (Attachments: # 1 proposed Order of Consolidation)(WALSH,
                                 LIZA) (Entered: 01/08/2021)


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           01/08/2021         40 ORDER Consolidating Cases for All Purposes; All filings going forward shall be filed
                                 in Civil Action No. 20-10172 and that Civil Action Nos. 20-14890 and 20-14833 shall
                                 be administratively terminated. Signed by Magistrate Judge Michael A. Hammer on
                                 1/8/2021. (ams, ) (Entered: 01/08/2021)
           01/08/2021         41 PRETRIAL SCHEDULING ORDER. Signed by Magistrate Judge Michael A.
                                 Hammer on 1/8/2021. (sm) (Entered: 01/08/2021)
           01/14/2021         42 APPLICATION/PETITION for the Pro Hac Vice Admission of Karen M. Cassidy for
                                 by CIPLA LTD.. (Attachments: # 1 Declaration of Gregory D. Miller, # 2 Declaration
                                 of Karen M. Cassidy, # 3 Text of Proposed Order, # 4 Certificate of Service)(MILLER,
                                 GREGORY) (Entered: 01/14/2021)
           01/14/2021         43 Letter from Liza M. Walsh to the Hon. Madeline Cox Arleo, U.S.D.J. re: page limits.
                                 (WALSH, LIZA) (Entered: 01/14/2021)
           01/15/2021         44 ORDER granting Teva's request to file a single responsive brief of 40 pages (in 12
                                 point font) addressing both motions, and in turn, Cipla will file a single reply brief of
                                 20 pages (in 12 point font). Signed by Judge Madeline Cox Arleo on 1/15/2021. (sm)
                                 (Entered: 01/15/2021)
           01/19/2021         45 ORDER granting pro hac vice admission f Karen M. Cassidy, Esq.; etc. Signed by
                                 Magistrate Judge Michael A. Hammer on 1/19/2021. (sm) (Entered: 01/19/2021)
           01/19/2021         46 Application and Proposed Order for Clerk's Order to extend time to answer as to
                                 Defendants Aurobindo Pharma Ltd., Aurobindo Pharma USA, Inc., and Aurolife
                                 Pharma LLC's Answer, Affirmative Defenses and Counterclaims filed in Civil Action
                                 No.: 2:20-cv-14833, D.E. 12.. (WALSH, LIZA) (Entered: 01/19/2021)
           01/19/2021         47 Letter from Liza M. Walsh to Hon. Michael A. Hammer. (WALSH, LIZA) (Entered:
                                 01/19/2021)
           01/20/2021         48 ORDER granting Plaintiff and Counter-Defendants a two-week extension to submit a
                                 Consent Discovery Confidentiality Order until 2/2/2021. Signed by Magistrate Judge
                                 Michael A. Hammer on 1/20/2021. (sm) (Entered: 01/21/2021)
           01/25/2021         49 ORDER EXTENDING TIME TO ANSWER OR OTHERWISE REPLY PURSUANT
                                 TO LOCAL CIVIL RULE 6.1(b) that Plaintiff's time to respond to Defendants
                                 Answer, Affirmative Defenses and Counterclaim is extended for 14 days to 2/3/2021.
                                 Signed by Magistrate Judge Michael A. Hammer on 1/25/2021. (sm) (Entered:
                                 01/25/2021)
           01/26/2021         50 BRIEF in Opposition filed by All Plaintiffs re 27 MOTION for Judgment on the
                                 Pleadings (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    01/26/2021)
           01/26/2021         51 DECLARATION of Liza M. Walsh re 50 Brief in Opposition to Motion,, by All
                                 Plaintiffs. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(WALSH, LIZA) (Entered:
                                 01/26/2021)



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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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           02/02/2021         52 Letter from Liza M. Walsh to Hon. Michael A. Hammer enclosing Proposed Stipulated
                                 Confidentiality Order. (Attachments: # 1 Stipulated Proposed Discovery
                                 Confidentiality Order, # 2 Declaration of Liza M. Walsh, # 3 Declaration of
                                 Christopher Casieri, # 4 Declaration of Gregory Miller)(WALSH, LIZA) (Entered:
                                 02/02/2021)
           02/03/2021         53 Discovery Confidentiality Order. Signed by Magistrate Judge Michael A. Hammer on
                                 2/3/2021. (sm) (Entered: 02/03/2021)
           02/03/2021         54 ANSWER to Complaint Aurobindo's Counterclaims by All Plaintiffs.(WALSH, LIZA)
                                 (Entered: 02/03/2021)
           02/05/2021         55 Letter from Liza M. Walsh to Hon. Michael A. Hammer re 41 Scheduling Order.
                                 (WALSH, LIZA) (Entered: 02/05/2021)
           02/09/2021         56 REPLY BRIEF to Opposition to Motion filed by CIPLA LTD. re 27 MOTION for
                                 Judgment on the Pleadings (Attachments: # 1 Certificate of Service)(MILLER,
                                 GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    02/09/2021)
           02/09/2021         57 ORDER that the time for parties to respond to both the initial discovery requests and
                                 discovery requests served after 2/15/2020 shall be 30 days; etc. Signed by Magistrate
                                 Judge Michael A. Hammer on 2/9/2021. (sm) (Entered: 02/09/2021)
           02/18/2021         58 MOTION for Issuance of Letters Rogatory ( Filing fee $ 47 receipt number ANJDC-
                                 12149926.) by All Plaintiffs. (WALSH, LIZA) (Entered: 02/18/2021)
           02/18/2021         59 BRIEF in Support filed by All Plaintiffs re 58 MOTION for Issuance of Letters
                                 Rogatory ( Filing fee $ 47 receipt number ANJDC-12149926.) (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    02/18/2021)
           02/24/2021               Set Deadlines as to 58 MOTION for Issuance of Letters Rogatory ( Filing fee $ 47
                                    receipt number ANJDC-12149926.). Motion set for 3/15/2021 before Judge Madeline
                                    Cox Arleo. Unless otherwise directed by the Court, this motion will be decided on the
                                    papers and no appearances are required. Note that this is an automatically generated
                                    message from the Clerk`s Office and does not supersede any previous or subsequent
                                    orders from the Court. (sm) (Entered: 02/24/2021)
           02/25/2021               Pro Hac Vice fee as to Karen M. Cassidy: $ 150, receipt number NEW044219 (sm)
                                    (Entered: 02/25/2021)
           03/01/2021         60 Letter from Cipla to the Hon. Madeline Cox Arleo, U.S.D.J. re: response to application
                                 for Letters Rogatory re 59 Brief in Support of Motion,,. (Attachments: # 1 Exhibit
                                 A)(MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                                                      Appx59
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CM/ECF LIVE - U.S. District Court for the District of New Jersey              https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1             Page: 64        Filed: 03/22/2024
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    03/01/2021)
           03/03/2021         61 Letter from Liza M. Walsh to the Hon. Madeline Cox Arleo, U.S.D.J. and to the Hon.
                                 Michael A. Hammer, U.S.M.J. (Confidential - Filed Under Seal) re 60 Letter,,.
                                 (Attachments: # 1 Exhibit A-B (Confidential - Filed Under Seal))(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    03/03/2021)
           03/04/2021         62 REDACTION to 60 Letter,, from Cipla to the Hon. Madeline Cox Arleo, U.S.D.J. re:
                                 response to application for Letters Rogatory by CIPLA LTD.. (Attachments: # 1
                                 Exhibit A)(MILLER, GREGORY) (Entered: 03/04/2021)
           03/04/2021         63 REDACTION to 61 Letter,, by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Exhibit
                                 A-B)(WALSH, LIZA) (Entered: 03/04/2021)
           03/04/2021         64 REDACTION to 59 Brief in Support of Motion,, by NORTON (WATERFORD) LTD.,
                                 TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA)
                                 (Entered: 03/04/2021)
           03/10/2021         65 REDACTION to 28 Memorandum in Support of Motion,, by CIPLA LTD.. (MILLER,
                                 GREGORY) (Entered: 03/10/2021)
           03/10/2021         66 REDACTION to 56 Reply Brief to Opposition to Motion,, by CIPLA LTD..
                                 (MILLER, GREGORY) (Entered: 03/10/2021)
           03/10/2021         67 MOTION to Seal by CIPLA LTD.. (Attachments: # 1 Statement in Lieu of Brief, # 2
                                 Declaration of Gregory D. Miller, # 3 Exhibit A to the Declaration of Gregory D.
                                 Miller, # 4 Exhibit B to the Declaration of Gregory D. Miller, # 5 Text of Proposed
                                 Order, # 6 Certificate of Service)(MILLER, GREGORY) (Entered: 03/10/2021)
           03/10/2021         68 MOTION for Issuance of Letters Rogatory ( Filing fee $ 47 receipt number ANJDC-
                                 12251513.) by All Plaintiffs. (WALSH, LIZA) (Entered: 03/10/2021)
           03/10/2021         69 BRIEF in Support filed by All Plaintiffs re 68 MOTION for Issuance of Letters
                                 Rogatory ( Filing fee $ 47 receipt number ANJDC-12251513.) (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    03/10/2021)
           03/10/2021         70 REDACTION to 50 Brief in Opposition to Motion,, by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 03/10/2021)
           03/11/2021         71 REDACTION to 69 Brief in Support of Motion,, by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 03/11/2021)
           03/15/2021               Set Deadlines as to 67 MOTION to Seal , 68 MOTION for Issuance of Letters
                                    Rogatory ( Filing fee $ 47 receipt number ANJDC-12251513.). Motion set for
                                    4/5/2021 before Judge Madeline Cox Arleo. Unless otherwise directed by the Court,
                                                                      Appx60
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    this motion will be decided on the papers and no appearances are required. Note that
                                    this is an automatically generated message from the Clerk`s Office and does not
                                    supersede any previous or subsequent orders from the Court. (sm) (Entered:
                                    03/15/2021)
           03/17/2021         72 APPLICATION/PETITION for the Pro Hac Vice Admission of Ashley C. Morales for
                                 by CIPLA LTD.. (Attachments: # 1 Declaration of Gregory D. Miller, # 2 Declaration
                                 of Ashley C. Morales, # 3 Text of Proposed Order, # 4 Certificate of Service)
                                 (MILLER, GREGORY) (Entered: 03/17/2021)
           03/17/2021         73 MOTION to Seal by CIPLA LTD.. (Attachments: # 1 Statement in Lieu of Brief, # 2
                                 Declaration of Gregory D. Miller, # 3 Exhibit A to the Declaration of Gregory D.
                                 Miller, # 4 Exhibit B to the Declaration of Gregory D. Miller, # 5 Text of Proposed
                                 Order, # 6 Certificate of Service)(MILLER, GREGORY) (Entered: 03/17/2021)
           03/18/2021         74 ORDER GRANTING PRO HAC VICE ADMISSION of Gregory D. Miller; etc.
                                 Signed by Magistrate Judge Michael A. Hammer on 3/18/2021. (sm) (Entered:
                                 03/19/2021)
           03/24/2021         75 MOTION to Seal by CIPLA LTD.. (Attachments: # 1 Statement in Lieu of Brief, # 2
                                 Declaration of Gregory D. Miller, # 3 Exhibit A to the Declaration of Gregory D.
                                 Miller, # 4 Exhibit B to the Declaration of Gregory D. Miller, # 5 Text of Proposed
                                 Order, # 6 Certificate of Service)(MILLER, GREGORY) (Entered: 03/24/2021)
           03/25/2021         76 Letter from Liza M. Walsh on Behalf of All Parties. (WALSH, LIZA) (Entered:
                                 03/25/2021)
           03/26/2021               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 3/26/2021. (ECR) (jqb, ) (Entered: 03/26/2021)
           03/26/2021         77 ORDER granting the motions for issuance of letters rogatory, D.E. 58 & 68, are
                                 granted; that Tevas request for the identity of the third parties Cipla contacted, as well
                                 as the substance of their response, is granted; TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC., and NORTON (WATERFORD)
                                 LTD.,Plaintiffs, v. CIPLA LTD., AUROBINDO PHARMA LTD., AUROBINDO
                                 PHARMA USA, INC., and AUROLIFE PHARMA LLC, Defendants; the parties shall
                                 meet and confer regarding the format of compliance with respect to the identity of the
                                 third parties and substance of the response; the next call in this matter will be held on
                                 June 14, 2021 at 12:00 p.m.; etc. Signed by Magistrate Judge Michael A. Hammer on
                                 3/26/2021. (sm) (Entered: 03/26/2021)
           03/26/2021         78 ORDER re: Letters Rogatory. Signed by Magistrate Judge Michael A. Hammer on
                                 3/26/2021. (sm) (Entered: 03/30/2021)
           03/26/2021         79 ORDER re: Letter of Request to the Central Authority of the Republic of India for
                                 International Judicial Assistance. Signed by Magistrate Judge Michael A. Hammer on
                                 3/26/2021. (sm) (Entered: 03/30/2021)
           03/30/2021               Set Deadlines as to 75 MOTION to Seal , 73 MOTION to Seal . Motion set for
                                    4/19/2021 before Judge Madeline Cox Arleo. Unless otherwise directed by the Court,
                                    this motion will be decided on the papers and no appearances are required. Note that
                                    this is an automatically generated message from the Clerk`s Office and does not
                                    supersede any previous or subsequent orders from the Court. (sm) (Entered:
                                    03/30/2021)


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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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           04/01/2021         80 Transcript of Status Conference held on March 26, 2021, before Magistrate Judge
                                 Michael A. Hammer. Transcriber: King Transcription Services (973-237-6080).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Transcription Agency due, but
                                 not filed, by 4/22/2021. Redacted Transcript Deadline set for 5/3/2021. Release of
                                 Transcript Restriction set for 6/30/2021. (wh) (Entered: 04/05/2021)
           04/06/2021         81 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J.. (WALSH,
                                 LIZA) (Entered: 04/06/2021)
           04/07/2021         82 TEXT ORDER: Plaintiff's April 6, 2021 request [D.E. 81] to extend the deadline to
                                 produce documents until April 30, 2021 is granted for the reasons set forth in the April
                                 6, 2021 letter. So Ordered by Magistrate Judge Michael A. Hammer on 4/7/2021.
                                 (Hammer, Michael) (Entered: 04/07/2021)
           04/13/2021               Pro Hac Vice fee: $150.00. Receipt number NEW044450 for Ashley C. Morales. (ps)
                                    (Entered: 04/14/2021)
           04/15/2021         84 ORDER that the parties joint motion to seal is GRANTED; that the Clerk of the Court
                                 shall permit the Confidential Material to be sealed permanently.. Signed by Magistrate
                                 Judge Michael A. Hammer on 4/15/2021. (ld, ) (Entered: 04/21/2021)
           04/19/2021         85 ORDER that based upon the foregoing findings of fact and conclusions of law, that the
                                 parties' joint motion to seal is hereby GRANTED; that the Clerk of the Court shall
                                 permit the Confidential Material to be sealed permanently and take such other steps as
                                 may be reasonably necessary to maintain the confidentiality of the Confidential
                                 Material; that nothing herein shall constitute a ruling concerning future requests to
                                 seal.. Signed by Magistrate Judge Michael A. Hammer on 4/19/2021. (ld, ) (Entered:
                                 04/21/2021)
           04/19/2021         86 ORDER that based upon the foregoing findings of fact and conclusions of law, that the
                                 parties' joint motion to seal is hereby GRANTED; that the Clerk of the Court shall
                                 permit the Confidential Material to be sealed permanently and take such other steps as
                                 may be reasonably necessary to maintain the confidentiality of the Confidential
                                 Material;etc. Signed by Magistrate Judge Michael A. Hammer on 4/19/2021. (ld, )
                                 (Entered: 04/21/2021)
           04/20/2021         83 Letter from Liza M. Walsh to Hon. Michael A. Hammer re 78 Order. (Attachments: #
                                 1 Text of Proposed Order)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    04/20/2021)
           04/21/2021         87 Order re Letter of request to the Central Authorities of The United Kingdom for
                                 International Judicial Assistance from Liza M. Walsh. (ld, )

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,

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                              Case: 23-2241            Document: 27-1            Page: 67         Filed: 03/22/2024
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. Modified on
                                    4/23/2021 (jqb, ). (Entered: 04/23/2021)
           04/21/2021         88 ORDER granting Letter of request to the Central Authorities of The United Kingdom
                                 for International Judicial Assistance. Signed by Magistrate Judge Michael A. Hammer
                                 on 4/21/2021. (ld, ) (Entered: 04/23/2021)
           04/27/2021         89 Letter from Liza M. Walsh to Hon. Madeline Cox Arleo. (Attachments: # 1 Text of
                                 Proposed Order)(WALSH, LIZA) (Entered: 04/27/2021)
           04/28/2021               Clerk's Note - Please disregard D.E. 87 . See D.E. 88 . (ld, ) (Entered: 04/28/2021)
           05/19/2021         90 Letter from Liza M. Walsh to the Hon. Madeline Cox Arleo, U.S.D.J. encl. Stipulation
                                 and proposed Order re: U.S. Patent Nos. 10,022,509 and 10,022,510. (Attachments: #
                                 1 Text of Proposed Order)(WALSH, LIZA) (Entered: 05/19/2021)
           06/01/2021         91 STIPULATION AND ORDER REGARDING U.S. PATENT NOS. 10,022,509 AND
                                 10,022,510. Signed by Judge Madeline Cox Arleo on 6/1/2021. (sm) (Entered:
                                 06/01/2021)
           06/11/2021         92 MOTION for Issuance of Letters Rogatory ( Filing fee $ 47 receipt number ANJDC-
                                 12539401.) by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered:
                                 06/11/2021)
           06/11/2021         93 BRIEF in Support filed by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC. re 92 MOTION for Issuance of
                                 Letters Rogatory ( Filing fee $ 47 receipt number ANJDC-12539401.) (Confidential -
                                 Filed Under Seal) (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    06/11/2021)
           06/11/2021         94 Letter from Liza M. Walsh to Hon. Michael A. Hammer. (WALSH, LIZA) (Entered:
                                 06/11/2021)
           06/14/2021               Set Deadlines as to 92 MOTION for Issuance of Letters Rogatory ( Filing fee $ 47
                                    receipt number ANJDC-12539401.). Motion set for 7/6/2021 before Judge Madeline
                                    Cox Arleo. Unless otherwise directed by the Court, this motion will be decided on the
                                    papers and no appearances are required. Note that this is an automatically generated
                                    message from the Clerk`s Office and does not supersede any previous or subsequent
                                    orders from the Court. (sm) (Entered: 06/14/2021)
           06/14/2021               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 6/14/2021. (jqb, ) (Entered: 06/14/2021)
           06/15/2021         96 ORDER granting Letter of Request To The Central Authorities of The United
                                 Kingdom For International Judicial Assistance;etc. Signed by Magistrate Judge
                                 Michael A. Hammer on 6/15/2021. (ld, ) Modified on 6/17/2021 (ld). (Entered:
                                 06/17/2021)


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           06/16/2021         95 ORDER granting 92 Motion for Issuance of Letters Rogatory; that the next call in this
                                 matter will be held on September 20, 2021 at 2:00 p.m.. Signed by Magistrate Judge
                                 Michael A. Hammer on 6/15/2021. (ld, ) (Entered: 06/16/2021)
           06/18/2021         97 Letter from Liza M. Walsh on Behalf of All Parties. (WALSH, LIZA) (Entered:
                                 06/18/2021)
           06/28/2021         98 Letter from Liza M. Walsh to the Honorable Michael A. Hammer, U.S.M.J. re: claim
                                 construction deadlines. (WALSH, LIZA) (Entered: 06/28/2021)
           06/28/2021         99 ORDER granting the parties a one-week extension of the current claim construction
                                 deadlines; etc. Signed by Magistrate Judge Michael A. Hammer on 6/28/2021. (sm)
                                 (Entered: 06/28/2021)
           06/29/2021        100 ORDER granting the parties a brief extension of certain claim construction deadlines;
                                 etc. Signed by Magistrate Judge Michael A. Hammer on 6/29/2021. (sm) (Entered:
                                 06/29/2021)
           06/30/2021        101 TEXT ORDER REASSIGNING CASE. Case reassigned to Judge Julien Xavier Neals
                                 for all further proceedings. Judge Madeline Cox Arleo no longer assigned to case. So
                                 Ordered by Chief Judge Freda L. Wolfson on 6/30/2021. (smf) (Entered: 06/30/2021)
           07/06/2021        102 STATEMENT Joint Claim Construction and Prehearing Statement on Behalf of All
                                 Parties by All Plaintiffs. (Attachments: # 1 Exhibit)(WALSH, LIZA) (Entered:
                                 07/06/2021)
           07/19/2021        103 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3)
                                 filed by CIPLA LTD.. (MILLER, GREGORY) (Entered: 07/19/2021)
           07/26/2021        104 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 07/26/2021)
           07/27/2021        105 Letter from Cipla to the Hon. Julien X. Neals, U.S.D.J. re 104 Letter. (MILLER,
                                 GREGORY) (Entered: 07/27/2021)
           07/27/2021        106 Letter from Aurobindo. (CASIERI, CHRISTOPHER) (Entered: 07/27/2021)
           07/29/2021        107 LETTER ORDER that the page limit for claim construction briefing is extended from
                                 40 pages to 60 pages. Signed by Judge Julien Xavier Neals on 7/29/2021. (sm)
                                 (Entered: 07/29/2021)
           08/03/2021        108 Third Party Litigation Funding disclosure statement pursuant to L.Civ.R 7.1.1(a)(1-3)
                                 filed by AUROBINDO PHARMA LTD., AUROBINDO PHARMA USA, INC.,
                                 AUROLIFE PHARMA LLC. (CASIERI, CHRISTOPHER) (Entered: 08/03/2021)
           08/06/2021        109 MARKMAN OPENING BRIEF on behalf of Defendants (Attachments: # 1
                                 Declaration of Karen M. Cassidy, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                                 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11
                                 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16
                                 Exhibit 15)(MILLER, GREGORY) (Entered: 08/06/2021)
           08/06/2021        110 MARKMAN OPENING BRIEF (Attachments: # 1 Declaration of Liza M. Walsh, # 2
                                 Exhibit 1-10, # 3 Exhibit 11-17, # 4 Exhibit 19-23)(WALSH, LIZA) (Entered:
                                 08/06/2021)



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           08/06/2021        111 Exhibit to 110 Markman Opening Brief (18) by All Plaintiffs. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    08/06/2021)
           09/15/2021        112 NOTICE of Appearance by WILLIAM HARE on behalf of AUROBINDO PHARMA
                                 LTD., AUROBINDO PHARMA USA, INC., AUROLIFE PHARMA LLC (HARE,
                                 WILLIAM) (Entered: 09/15/2021)
           09/17/2021        113 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J.. (WALSH, LIZA)
                                 (Entered: 09/17/2021)
           09/20/2021               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 9/20/2021. (ECR) (jqb, ) (Entered: 09/20/2021)
           09/21/2021        114 ORDER that the deadline to raise discovery disputes is extended to December 5, 2021;
                                 that the next call in this matter will be held on December 23, 2021 at 10:00 a.m.; etc.
                                 Signed by Magistrate Judge Michael A. Hammer on 9/21/2021. (sm) (Entered:
                                 09/22/2021)
           09/24/2021        115 MARKMAN RESPONSE BRIEF re 110 Markman Opening Brief (Attachments: # 1
                                 Declaration of Karen M. Cassidy, # 2 Exhibit 16, # 3 Exhibit 17, # 4 Exhibit 18, # 5
                                 Exhibit 19, # 6 Exhibit 20)(MILLER, GREGORY) (Entered: 09/24/2021)
           09/24/2021        116 MARKMAN RESPONSE BRIEF re 109 Markman Opening Brief, (Attachments: # 1
                                 Declaration of Liza M. Walsh, # 2 Exhibit 24, # 3 Exhibit 25)(WALSH, LIZA)
                                 (Entered: 09/24/2021)
           10/04/2021        117 Letter from All Parties re Joint Proposed Markman Schedule. (WALSH, LIZA)
                                 (Entered: 10/04/2021)
           11/03/2021        118 TEXT ORDER - The Court will conduct an in-person Markman hearing with the
                                 parties on November 30, 2021 at 10:00 AM in Newark - Courtroom 5D in the MLK
                                 Building before District Judge Julien Xavier Neals.So Ordered by Judge Julien Xavier
                                 Neals on 11/3/2021. (kd) (Entered: 11/03/2021)
           11/23/2021        119 Letter from Liza M. Walsh to the Honorable Julien X. Neals, U.S.D.J. re: Markman
                                 Hearing. (WALSH, LIZA) (Entered: 11/23/2021)
           11/23/2021        120 LETTER ORDER re 119 Joint Letter; Markman Hearing rescheduled to 11/30/2021 at
                                 09:30 AM in Newark - Courtroom 5D before District Judge Julien Xavier Neals. etc.
                                 Signed by Judge Julien Xavier Neals on 11/23/2021. (ams, ) (Entered: 11/23/2021)
           11/30/2021        121 Minute Entry for proceedings held before Judge Julien Xavier Neals: Markman
                                 Hearing held on 11/30/2021. (Court Reporter, Melissa Mormile (732-977-0047)) (kd)
                                 (Entered: 11/30/2021)
           12/06/2021        122 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J. re 114 Order.
                                 (WALSH, LIZA) (Entered: 12/06/2021)
           12/07/2021        123 ORDER granting Teva a two-week extension until 12/20/2021 to raise discovery
                                 disputes. Signed by Magistrate Judge Michael A. Hammer on 12/7/2021. (sm)
                                 (Entered: 12/07/2021)

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           12/17/2021        124 TEXT ORDER: The Telephone Status Conference on 12/23/2021 is rescheduled to
                                 12/22/2021 at 10:00 a.m. The parties will dial 1-888-684-8852 and access code
                                 1456817# to join the conference. Please mark your calendar accordingly. So Ordered
                                 by Magistrate Judge Michael A. Hammer on 12/17/2021. (jqb, ) (Entered: 12/17/2021)
           12/21/2021        125 Transcript of Proceedings held on November 30, 2021, before Judge Julien Xavier
                                 Neals. Court Reporter: Melissa Mormile (732-977-0047). NOTICE REGARDING
                                 (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                                 MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to
                                 file with the Court a Notice of Intent to Request Redaction of this Transcript to comply
                                 with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this
                                 Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to
                                 Redact and Seal utilizing the event `Redact and Seal Transcript/Digital Recording`.
                                 Redaction Request to Court Reporter Agency due, but not filed, by 1/11/2022.
                                 Redacted Transcript Deadline set for 1/21/2022. Release of Transcript Restriction set
                                 for 3/21/2022. (krg) (Entered: 12/21/2021)
           12/21/2021        126 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: December
                                 22, 2021 teleconference. (WALSH, LIZA) (Entered: 12/21/2021)
           12/22/2021        127 TEXT ORDER: On or before January 10, 2022, Teva shall file a status report
                                 concerning the status of its subpoena to the U.S. Third Party entity. There will be a
                                 telephone conference with the Undersigned on April 11, 2022, at 11:00 a.m. Counsel
                                 shall join the call by dialing 1-888-684-8852 and entering access code 1456817#. So
                                 Ordered by Magistrate Judge Michael A. Hammer on 12/22/21. (tad) (Entered:
                                 12/22/2021)
           12/22/2021               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 12/22/2021. (ECR) (jqb, ) (Entered: 12/22/2021)
           01/10/2022        128 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J. re 127 Order,.
                                 (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    01/10/2022)
           01/11/2022        129 TEXT ORDER: Plaintiffs shall provide a second status update on or before January
                                 18, 2022, to inform the Court whether Kindeva US has agreed to produce documents
                                 on an acceptable timeline. So Ordered by Magistrate Judge Michael A. Hammer on
                                 1/11/22. (tad) (Entered: 01/11/2022)
           01/18/2022        130 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. (Confidential -
                                 Filed Under Seal) re 129 Order,. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    01/18/2022)
           02/08/2022        131 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: discovery
                                 deadlines. (WALSH, LIZA) (Entered: 02/08/2022)

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                              Case: 23-2241           Document: 27-1      Page: 71       Filed: 03/22/2024

           02/09/2022        132 ORDER that the close of fact discovery is 3/25/2022; opening expert report is due
                                 4/29/2022; responsive report by 6/3/2022; etc. Signed by Magistrate Judge Michael A.
                                 Hammer on 2/9/2022. (sm) (Entered: 02/09/2022)
           02/09/2022               Set Deadlines: Fact Discovery due by 3/25/2022. (sm) (Entered: 02/09/2022)
           02/11/2022        133 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J.. (Attachments: # 1
                                 Text of Proposed Order)(WALSH, LIZA) (Entered: 02/11/2022)
           02/14/2022        134 STIPULATION AND ORDER. Signed by Magistrate Judge Michael A. Hammer on
                                 2/14/2022. (sm) (Entered: 02/14/2022)
           04/01/2022        135 TEXT ORDER: Telephone Status Conference set for 4/4/2022 at 3:30 p.m. The parties
                                 will dial 1-888-684-8852 and access code 1456817# to join the conference. Please
                                 mark your calendar accordingly. So Ordered by Magistrate Judge Michael A. Hammer
                                 on 4/1/2022. (jqb, ) (Entered: 04/01/2022)
           04/04/2022               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 4/4/2022.(ECR) (jqb, ) (Entered: 04/05/2022)
           04/08/2022        136 Letter from the Parties to the Hon. Michael A. Hammer, U.S.M.J. re: Joint Status
                                 Update. (MILLER, GREGORY) (Entered: 04/08/2022)
           04/11/2022        137 ORDER that the parties will consider Aurobindo joining in Ciplas pending motion to
                                 dismiss by way of filing a short letter that does not raise or add any additional
                                 arguments; that the parties shall continue to meet and confer regarding the issues
                                 raised in the parties April 8, 2022 letter in light of the discussions during the April 11,
                                 2022 telephone call and shall file a joint status report on or before April 25, 2022; that
                                 there will be an in-person Final Pretrial Conference on September 7, 2022, at 10:00
                                 a.m. The parties shall file a proposed Final Pretrial Order by September 1, 2022. The
                                 Court requests that the parties send a copy of the Final Pretrial Order via mail or
                                 overnight delivery by September 1, 2022. Signed by Magistrate Judge Michael A.
                                 Hammer on 4/11/2022. (sm) (Entered: 04/11/2022)
           04/11/2022        138 TEXT ORDER, Motions terminated: 27 MOTION for Judgment on the Pleadings filed
                                 by CIPLA LTD.. The motion for judgment on the pleadings [ECF No. 27] is hereby
                                 administratively terminated pending a decision on the parties Markman motions [ECF
                                 Nos. 109, 110]. Following the Courts Markman decision, Defendant Cipla Ltd. may
                                 renew its motion based on the Markman rulings.So Ordered by Judge Julien Xavier
                                 Neals on 4/11/2022. (kd) (Entered: 04/11/2022)
           04/11/2022               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 4/11/2022. (bt) (Entered: 04/11/2022)
           04/25/2022               Set Hearings: Final Pretrial Conference is set for 9/7/2022 at 10:00 AM before
                                    Magistrate Judge Michael A. Hammer. (sm) (Entered: 04/25/2022)
           04/25/2022        139 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J. re 137 Order,,,.
                                 (WALSH, LIZA) (Entered: 04/25/2022)
           04/28/2022        140 TEXT ORDER: The Court is in receipt of the parties' April 25, 2022 letter to the
                                 Court, D.E. 139. It will take no action at time as it appears the parties are continuing to
                                 work toward a resolution of the issue which is the subject of that letter. No later than
                                 May 31, 2022, the parties shall file a joint status report. So Ordered by Magistrate
                                 Judge Michael A. Hammer on 4/28/22. (tad) (Entered: 04/28/2022)

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           05/02/2022        141 NOTICE of Change of Address by LIZA M. WALSH (WALSH, LIZA) (Entered:
                                 05/02/2022)
           05/04/2022        142 Transcript of Status Conference held on April 4, 2022, before Magistrate Judge
                                 Michael A. Hammer. Transcriber: King Transcription Services (973-237-6080).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Transcription Agency due, but
                                 not filed, by 5/25/2022. Redacted Transcript Deadline set for 6/6/2022. Release of
                                 Transcript Restriction set for 8/2/2022. (krg) (Entered: 05/09/2022)
           05/27/2022        143 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. encl. Stipulation
                                 and Proposed Order. (Attachments: # 1 Stipulation and Proposed Order)(WALSH,
                                 LIZA) (Entered: 05/27/2022)
           05/31/2022        144 STIPULATION AND ORDER REGARDING JUDGMENT OF NON-
                                 INFRINGEMENT OF U.S. PATENT NO. 10,695,512. Signed by Judge Julien Xavier
                                 Neals on 5/31/2022. (sm) (Entered: 05/31/2022)
           05/31/2022        145 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: discovery
                                 deadlines. (WALSH, LIZA) (Entered: 05/31/2022)
           05/31/2022        146 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J. re 140 Order,.
                                 (WALSH, LIZA) (Entered: 05/31/2022)
           06/01/2022        147 LETTER ORDER that responsive expert reports are due 6/14/2022; reply expert
                                 reports by 7/12/2022; close of expert discovery is 8/2/2022. Signed by Magistrate
                                 Judge Michael A. Hammer on 6/1/2022. (sm) (Entered: 06/01/2022)
           06/03/2022        148 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. encl. Stipulation
                                 and Proposed Order. (Attachments: # 1 Stipulation and Proposed Order)(WALSH,
                                 LIZA) (Entered: 06/03/2022)
           06/06/2022        149 Transcript of Status Conference held on April 11, 2022, before Magistrate Judge
                                 Michael A. Hammer. Transcriber: King Transcription Services (973-237-6080).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Transcription Agency due, but
                                 not filed, by 6/27/2022. Redacted Transcript Deadline set for 7/7/2022. Release of
                                 Transcript Restriction set for 9/6/2022. (krg) (Entered: 06/07/2022)
           06/06/2022        150 STIPULATION AND ORDER REGARDING JUDGMENT OF NQN-
                                 INFRINGEMENT OF U.S. PATENT NO. 10,695,512. Signed by Judge Julien Xavier
                                 Neals on 6/6/2022. (sm) (Entered: 06/07/2022)
           07/21/2022        151 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 07/21/2022)
                                                                   Appx68
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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           07/27/2022        152 LETTER ORDER granting the parties' request that any proposed Findings of Fact and
                                 Conclusions of Law are due the same day. Signed by Judge Julien Xavier Neals on
                                 7/27/2022. (sm) (Entered: 07/27/2022)
           08/10/2022        153 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re: Pro Hac Vice
                                 Application on Consent. (Attachments: # 1 Certification of Benjamin M. Greenblum, #
                                 2 Certification of Liza M. Walsh, # 3 Text of Proposed Order)(WALSH, LIZA)
                                 (Entered: 08/10/2022)
           08/11/2022        154 ORDER GRANTING PRO HAC VICE ADMISSION of Benjamin M. Greenblum.
                                 Signed by Magistrate Judge Michael A. Hammer on 8/11/2022. (sm) (Entered:
                                 08/11/2022)
           08/22/2022               Pro Hac Vice fee: $150.00, receipt number NEW047051 for Benjamin M. Greenblum.
                                    (ps) (Entered: 08/22/2022)
           08/22/2022        155 Notice of Request by Pro Hac Vice Benjamin M. Greenblum to receive Notices of
                                 Electronic Filings. (WALSH, LIZA) (Entered: 08/22/2022)
           08/24/2022               Pro Hac Vice counsel, BENJAMIN M. GREENBLUM, has been added to receive
                                    Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled
                                    to sign and file papers, enter appearances and receive payments on judgments, decrees
                                    or orders. (lag, ) (Entered: 08/24/2022)
           08/25/2022        156 TEXT ORDER: The parties shall file a proposed Final Pretrial Order by 9/1/2022. The
                                 Court requests that the parties send a copy of the Final Pretrial Order via mail or
                                 overnight delivery by 9/1/2022. So Ordered by Magistrate Judge Michael A. Hammer
                                 on 8/25/2022. (jqb, ) (Entered: 08/25/2022)
           09/01/2022        157 Proposed Order PROPOSED JOINT PRETRIAL ORDER (CONFIDENTIAL - FILED
                                 UNDER SEAL) by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                 Opening Expert Report of Dr. David Lewis, Ph.D. as to Aurobindo Defendants, dated
                                 April 29, 2022, # 9 Opening Expert Report of Dr. David Lewis, Ph.D. as to Defendant
                                 Cipla Ltd., dated April 29, 2022, # 10 Opening Expert Report of Dr. Reynold A.
                                 Panettieri, Jr., M.D., dated April 29, 2022, # 11 Report of Dr. David Lewis, Ph.D.,
                                 dated June 14, 2022, # 12 Reply Report of Dr. David Lewis, Ph.D. as to Defendant
                                 Aurobindo Ltd., dated July 12, 2022, # 13 Reply Report of Dr. David Lewis, Ph.D. as
                                 to Defendant Cipla Ltd., dated July 12, 2022, # 14 Reply Expert Report of Dr. Reynold
                                 A. Panettieri, Jr., M.D., dated July 12, 2022, # 15 Expert Report of Gregor Anderson,
                                 dated April 29, 2022, # 16 Supplemental Invalidity Expert Report of Gregor Anderson,
                                 dated May 24, 2022, # 17 Rebuttal Expert Report of Gregor Anderson on
                                 Noninfringement (Aurobindo), dated June 14, 2022, # 18 Rebuttal Expert Report of
                                 Gregor Anderson on Noninfringement (Cipla), dated June 14, 2022, # 19 Rebuttal
                                 Expert Report of Gregor Anderson on Secondary Considerations, dated June 14, 2022,
                                 # 20 Reply Expert Report of Gregor Anderson on Invalidity, dated July 12, 2022, # 21
                                 Cover Letter)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/01/2022)

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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 74         Filed: 03/22/2024

           09/01/2022        158 Letter from defendants requesting Final Pretrial Conference be converted to phone or
                                 video. (MILLER, GREGORY) (Entered: 09/01/2022)
           09/06/2022        159 TEXT ORDER: Tomorrow's Final Pretrial Conference will proceed in-person in the
                                 Courtroom of the Undersigned. So Ordered by Magistrate Judge Michael A. Hammer
                                 on 9/6/22. (tad) (Entered: 09/06/2022)
           09/06/2022        160 TEXT ORDER: The Court requests that the parties hand deliver a copy of the
                                 Proposed Final Pretrial Order by the close of business today. So Ordered by Magistrate
                                 Judge Michael A. Hammer on 9/6/22. (tad) (Entered: 09/06/2022)
           09/06/2022        161 TEXT ORDER: The parties can disregard Text Order 160. So Ordered by Magistrate
                                 Judge Michael A. Hammer on 9/6/22. (tad) (Entered: 09/06/2022)
           09/07/2022               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer: Final
                                    Pretrial Conference held on 9/7/2022. (ECR) (jqb, ) (Entered: 09/07/2022)
           09/07/2022        162 TEXT ORDER: As discussed at the Final Pretrial Conference, counsel will make the
                                 revisions to the draft Final Pretrial Order that were noted at the conference and submit
                                 a revised Final Pretrial Order by September 30, 2022. Any in limine motion shall be
                                 filed by September 12 2022. Any opposition shall be filed by September 23, 20222.
                                 Any reply shall be filed by September 28, 2022. So Ordered by Magistrate Judge
                                 Michael A. Hammer on 9/7/2022. (Hammer, Michael) (Entered: 09/07/2022)
           09/12/2022        163 MOTION in Limine Text of Proposed Order by CIPLA LTD.. (MILLER, GREGORY)
                                 (Entered: 09/12/2022)
           09/12/2022        164 BRIEF in Support filed by CIPLA LTD. re 163 MOTION in Limine Text of Proposed
                                 Order TO PRECLUDE EVIDENCE AND EXPERT TESTIMONY THAT CLAIMS
                                 13-22 OF U.S. PATENT NO. 9,808,587 ARE INFRINGED (Attachments: # 1
                                 Declaration of Brandon G. Smith, # 2 Exhibit 1 to the Declaration of Brandon G.
                                 Smith, # 3 Exhibit 2 to the Declaration of Brandon G. Smith, # 4 Exhibit 3 to the
                                 Declaration of Brandon G. Smith, # 5 Exhibit 4 to the Declaration of Brandon G.
                                 Smith, # 6 Exhibit 5 to the Declaration of Brandon G. Smith, # 7 Exhibit 6 to the
                                 Declaration of Brandon G. Smith)(MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/12/2022)
           09/12/2022        165 MOTION in Limine Plaintiffs Notice of Motion In Limine No. 2 to Preclude Argument
                                 or Evidence Regarding Obviousness Theories Based on Undisclosed Prior Art
                                 Combinations by All Plaintiffs. (Attachments: # 1 Text of Proposed Order)(WALSH,
                                 LIZA) (Entered: 09/12/2022)
           09/12/2022        166 BRIEF in Support filed by All Plaintiffs re 165 MOTION in Limine Plaintiffs Notice
                                 of Motion In Limine No. 2 to Preclude Argument or Evidence Regarding Obviousness
                                 Theories Based on Undisclosed Prior Art Combinations (Attachments: # 1 Declaration
                                 of Liza M. Walsh with Exhibits A-D)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:

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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    09/12/2022)
           09/12/2022        167 MOTION in Limine Plaintiffs Notice of Motion In Limine No. 1 to Preclude Argument
                                 or Expert Opinion that the 406 Publication Discloses or Otherwise Encompasses the
                                 Inhaler Bodies Used in Defendants ANDA Products by All Plaintiffs. (Attachments: #
                                 1 Text of Proposed Order)(WALSH, LIZA) (Entered: 09/12/2022)
           09/12/2022        168 BRIEF in Support filed by All Plaintiffs re 167 MOTION in Limine Plaintiffs Notice
                                 of Motion In Limine No. 1 to Preclude Argument or Expert Opinion that the 406
                                 Publication Discloses or Otherwise Encompasses the Inhaler Bodies Used in
                                 Defendants ANDA Products (Attachments: # 1 Declaration of Liza M. Walsh with
                                 Exhibits A-H)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/12/2022)
           09/13/2022        170 Transcript of Final Pretrial Conference held on September 7, 2022, before Magistrate
                                 Judge Michael A. Hammer. Transcriber: King Transcription Services (973-237-6080).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Transcription Agency due, but
                                 not filed, by 10/4/2022. Redacted Transcript Deadline set for 10/14/2022. Release of
                                 Transcript Restriction set for 12/12/2022. (adc) (Entered: 09/14/2022)
           09/14/2022        169 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. requesting leave
                                 to file a joint omnibus motion to seal. (WALSH, LIZA) (Entered: 09/14/2022)
           09/14/2022               Set Deadlines as to 167 MOTION in Limine Plaintiffs Notice of Motion In Limine No.
                                    1 to Preclude Argument or Expert Opinion that the 406 Publication Discloses or
                                    Otherwise Encompasses the Inhaler Bodies Used in Defendants ANDA Products.
                                    Motion set for 10/17/2022 before Judge Julien Xavier Neals. Unless otherwise
                                    directed by the Court, this motion will be decided on the papers and no appearances
                                    are required. Note that this is an automatically generated message from the Clerk`s
                                    Office and does not supersede any previous or subsequent orders from the Court. (lag,
                                    ) (Entered: 09/14/2022)
           09/14/2022               Set Deadlines as to 163 MOTION in Limine Text of Proposed Order, 167 MOTION in
                                    Limine Plaintiffs Notice of Motion In Limine No. 1 to Preclude Argument or Expert
                                    Opinion that the 406 Publication Discloses or Otherwise Encompasses the Inhaler
                                    Bodies Used in Defendants ANDA Products, 165 MOTION in Limine Plaintiffs Notice
                                    of Motion In Limine No. 2 to Preclude Argument or Evidence Regarding Obviousness
                                    Theories Based on Undisclosed Prior Art Combinations. Motion set for 10/17/2022
                                    before Judge Julien Xavier Neals. Unless otherwise directed by the Court, this motion
                                    will be decided on the papers and no appearances are required. Note that this is an
                                    automatically generated message from the Clerk`s Office and does not supersede any
                                    previous or subsequent orders from the Court. (lag, ) (Entered: 09/14/2022)


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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 76         Filed: 03/22/2024

           09/19/2022        171 LETTER ORDER that the parties joint omnibus sealing motion, together with the
                                 redacted versions of all submissions subject to the sealing motion, be due 45 days after
                                 post-trial briefing is complete. Signed by Magistrate Judge Michael A. Hammer on
                                 9/19/2022. (sm) (Entered: 09/19/2022)
           09/19/2022        172 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. encl. Stipulation
                                 and Proposed Order. (Attachments: # 1 Stipulation and Proposed Order)(WALSH,
                                 LIZA) (Entered: 09/19/2022)
           09/21/2022        173 STIPULATION AND ORDER entering judgment of non-infringement as to Counts V
                                 and XII of Teva's Complaint in Civil Action No. 20-14833. Aurobindo accordingly
                                 stipulates the dismissal of Count V of its Answer, Affirmative Defenses, and
                                 Counterclaims in Civil Action No. 20-14833, for a declaratory judgment that the '156
                                 Patent is not infringed and is invalid. Signed by Judge Julien Xavier Neals on
                                 9/20/2022. (dam) (Entered: 09/21/2022)
           09/23/2022        174 MEMORANDUM in Opposition filed by AUROBINDO PHARMA LTD.,
                                 AUROBINDO PHARMA USA, INC., AUROLIFE PHARMA LLC, CIPLA LTD. re
                                 167 MOTION in Limine Plaintiffs Notice of Motion In Limine No. 1 to Preclude
                                 Argument or Expert Opinion that the 406 Publication Discloses or Otherwise
                                 Encompasses the Inhaler Bodies Used in Defendants ANDA Products (Attachments: #
                                 1 Declaration of Brandon G. Smith, # 2 Exhibit 1 to the Declaration of Brandon G.
                                 Smith, # 3 Certificate of Service)(MILLER, GREGORY) (Entered: 09/23/2022)
           09/23/2022        175 MEMORANDUM in Opposition filed by AUROBINDO PHARMA LTD.,
                                 AUROBINDO PHARMA USA, INC., AUROLIFE PHARMA LLC, CIPLA LTD. re
                                 165 MOTION in Limine Plaintiffs Notice of Motion In Limine No. 2 to Preclude
                                 Argument or Evidence Regarding Obviousness Theories Based on Undisclosed Prior
                                 Art Combinations (Attachments: # 1 Declaration of Brandon G. Smith, # 2 Exhibit 1 to
                                 the Declaration of Brandon G. Smith, # 3 Exhibit 2 to the Declaration of Brandon G.
                                 Smith, # 4 Exhibit 3 to the Declaration of Brandon G. Smith, # 5 Certificate of
                                 Service)(MILLER, GREGORY) (Entered: 09/23/2022)
           09/23/2022        176 BRIEF in Opposition filed by All Plaintiffs re 163 MOTION in Limine Text of
                                 Proposed Order (Attachments: # 1 Declaration of Liza M. Walsh, # 2 Exhibit A, # 3
                                 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/23/2022)
           09/28/2022        177 REPLY to Response to Motion filed by All Defendants re 163 MOTION in Limine
                                 Text of Proposed Order (MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/28/2022)
           09/28/2022        178 REPLY BRIEF to Opposition to Motion filed by All Plaintiffs re 167 MOTION in
                                 Limine Plaintiffs Notice of Motion In Limine No. 1 to Preclude Argument or Expert
                                 Opinion that the 406 Publication Discloses or Otherwise Encompasses the Inhaler
                                                                      Appx72
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    Bodies Used in Defendants ANDA Products (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/28/2022)
           09/28/2022        179 REPLY BRIEF to Opposition to Motion filed by All Plaintiffs re 165 MOTION in
                                 Limine Plaintiffs Notice of Motion In Limine No. 2 to Preclude Argument or Evidence
                                 Regarding Obviousness Theories Based on Undisclosed Prior Art Combinations
                                 (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    09/28/2022)
           09/30/2022        180 Letter from Liza M. Walsh on Behalf of All Parties. (WALSH, LIZA) (Entered:
                                 09/30/2022)
           10/03/2022        181 LETTER ORDER granting 180 Plaintiffs' and Counter-Defendants' Request for an
                                 extension of the deadline for the parties to submit a revised Final Pretrial Order from
                                 9/30/2022 through and including 10/7/2022. Signed by Magistrate Judge Michael A.
                                 Hammer on 10/3/2022. (dam) (Entered: 10/03/2022)
           10/07/2022        182 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. requesting an
                                 extension of the deadline for the parties to submit a revised final pretrial order.
                                 (WALSH, LIZA) (Entered: 10/07/2022)
           10/11/2022        183 STIPULATION AND ORDER OF DISMISSAL REGARDING US. PATENT NOS.
                                 10,022,509 AND 10,022,510 that Counts III and IV of its Answer 12 for a declaratory
                                 judgment that the '509 and '510 patents are not infringed and are invalid. Signed by
                                 Judge Julien Xavier Neals on 10/11/2022. (sm) (Entered: 10/12/2022)
           10/14/2022        184 Letter from Liza M. Walsh to Hon. Michael A Hammer, U.S.M.J. requesting an
                                 extension of the deadline for the parties to submit a revised final pretrial order..
                                 (WALSH, LIZA) (Entered: 10/14/2022)
           10/17/2022        185 LETTER ORDER granting 184 Plaintiffs' and Counter Defendants' Letter requesting
                                 an extension of time until 10/20/2022 to submit a revised Final Pretrial Order. Signed
                                 by Magistrate Judge Michael A. Hammer on 10/17/2022. (dam) (Entered: 10/17/2022)
           10/19/2022        186 Letter from Christopher Casieri requesting an extension of the page limit for the pre-
                                 trial brief. (CASIERI, CHRISTOPHER) (Entered: 10/19/2022)
           10/20/2022        187 LETTER ORDER granting 186 Defendants' Request for an extension of the page limit
                                 for the pre-trial brief due 10/31/2022 from 40 pages to 60 pages. Signed by Judge
                                 Julien Xavier Neals on 10/20/2022. (dam) (Entered: 10/20/2022)
           10/20/2022        188 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J. and Hon. Michael A.
                                 Hammer re 185 Order. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                                 C)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials

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CM/ECF LIVE - U.S. District Court for the District of New Jersey              https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1             Page: 78        Filed: 03/22/2024
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    10/20/2022)
           10/21/2022        189 TEXT ORDER: There will be a telephone conference with the Undersigned on
                                 October 27, 2022 at 10:00 a.m. to address the parties' joint letter, D.E. 188. Counsel
                                 shall dial 1-888-684-8852 and enter access code 1456817# to join the call. So Ordered
                                 by Magistrate Judge Michael A. Hammer on 10/21/22. (tad) (Entered: 10/21/2022)
           10/24/2022        190 APPLICATION/PETITION for the Pro Hac Vice Admission of Jonathan E. Bachand
                                 for by CIPLA LTD.. (Attachments: # 1 Declaration of Gregory D. Miller, # 2
                                 Declaration of Jonathan E. Bachand, # 3 Text of Proposed Order, # 4 Certificate of
                                 Service)(MILLER, GREGORY) (Entered: 10/24/2022)
           10/25/2022        191 ORDER granting 190 Application for the Pro Hac Vice Admission of JONATHAN E.
                                 BACHAND. Signed by Magistrate Judge Michael A. Hammer on 10/25/2022. (dam)
                                 (Entered: 10/25/2022)
           10/27/2022        192 TEXT ORDER: Today's telephone conference is rescheduled to October 31, 2022 at
                                 3:00 p.m. Counsel shall dial 1-888-684-8852 and enter access code 1456817# to join
                                 the call. So Ordered by Magistrate Judge Michael A. Hammer on 10/27/22. (tad)
                                 (Entered: 10/27/2022)
           10/31/2022        193 TRIAL BRIEF by CIPLA LTD.. (MILLER, GREGORY) (Entered: 10/31/2022)
           10/31/2022        194 Proposed Findings of Fact by CIPLA LTD.. (Attachments: # 1 Appendix A, # 2
                                 Appendix B, # 3 Appendix C, # 4 Appendix D)(MILLER, GREGORY) (Entered:
                                 10/31/2022)
           10/31/2022        195 MOTION to Dismiss as to Defendant Cipla Ltd. by All Plaintiffs. (Attachments: # 1
                                 Text of Proposed Order)(WALSH, LIZA) (Entered: 10/31/2022)
           10/31/2022        196 BRIEF in Support filed by All Plaintiffs re 195 MOTION to Dismiss as to Defendant
                                 Cipla Ltd. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    10/31/2022)
           10/31/2022        197 Letter from Liza M. Walsh on Behalf of Plaintiffs Requesting Expedited Briefing re
                                 195 MOTION to Dismiss as to Defendant Cipla Ltd.. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    10/31/2022)
           10/31/2022        198 Proposed Findings of Fact by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Teva's Pretrial
                                 Conclusions of Law)(WALSH, LIZA) (Entered: 10/31/2022)
           10/31/2022        199 TRIAL BRIEF by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Appendix A, # 2
                                 Declaration of Liza M. Walsh with Exhibit A)(WALSH, LIZA) (Entered: 11/01/2022)

                                                                      Appx74
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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           10/31/2022               Minute Entry for proceedings held before Magistrate Judge Michael A. Hammer:
                                    Status Conference held on 10/31/2022. (ECR) (jqb, ) (Entered: 11/01/2022)
           11/01/2022               Set Deadlines as to 195 MOTION to Dismiss as to Defendant Cipla Ltd.. Motion set
                                    for 12/5/2022 before Judge Julien Xavier Neals. Unless otherwise directed by the
                                    Court, this motion will be decided on the papers and no appearances are required. Note
                                    that this is an automatically generated message from the Clerk`s Office and does not
                                    supersede any previous or subsequent orders from the Court. (lag, ) (Entered:
                                    11/01/2022)
           11/01/2022        200 Letter from Cipla Ltd. to Hon. Julien Xavier Neals, U.S.D.J. re Opposition to Plaintiffs
                                 request for expedited briefing re 197 Letter,,. (MILLER, GREGORY) (Entered:
                                 11/01/2022)
           11/01/2022               Pro Hac Vice fee for Jonathan E. Bachand: $ 150, receipt number NEW047347 (jr)
                                    (Entered: 11/01/2022)
           11/02/2022        201 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. re 200 Letter.
                                 (WALSH, LIZA) (Entered: 11/02/2022)
           11/02/2022        202 TEXT ORDER - The Court is in receipt of Plaintiffs Motion to Dismiss U.S. Patent
                                 No. 10,086,156 for lack of subject-matter jurisdiction. See ECF Nos. 195-196. In
                                 connection with their motion, Plaintiffs filed a letter requesting expedited briefing
                                 [ECF No. 197], to which Cipla opposed [ECF No. 200], and Plaintiffs replied [ECF
                                 No. 201]. Having considered the parties submissions, the Court directs Cipla to file its
                                 response to the motion to dismiss by no later than November 8, 2022, and further
                                 directs Plaintiffs to file their reply by no later than November 9, 2022. The Court will
                                 render a decision on the motion and the parties Markman disputes prior to the start of
                                 trial. The in-person pretrial hearing currently scheduled for November 7, 2022 is
                                 rescheduled to November 10, 2022 at 10:30 AM in Newark - Courtroom 5D before
                                 Judge Julien Xavier Neals.So Ordered by Judge Julien Xavier Neals on 11/2/2022.
                                 (kd) (Entered: 11/02/2022)
           11/03/2022        203 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 11/03/2022)
           11/03/2022        204 Letter from Cipla Ltd. to Hon. Michael A. Hammer, U.S.M.J. re 197 Letter,, 195
                                 MOTION to Dismiss as to Defendant Cipla Ltd., 188 Letter,,. (MILLER, GREGORY)
                                 (Entered: 11/03/2022)
           11/03/2022        207 Transcript of Status Conference held on October 31, 2022, before Magistrate Judge
                                 Michael A. Hammer. Transcriber: King Transcription Services (973-237-6080).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Transcription Agency due, but
                                 not filed, by 11/28/2022. Redacted Transcript Deadline set for 12/5/2022. Release of
                                 Transcript Restriction set for 2/1/2023. (adc) (Entered: 11/08/2022)
           11/04/2022        205 LETTER ORDER granting 204 Defendant's Request for an extension of the deadline
                                 to file a Motion to Seal the Joint Letter and Exhibits filed by the parties on 10/20/2022

                                                                   Appx75
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 80         Filed: 03/22/2024

                                    and permission to file an omnibus motion to seal. Signed by Magistrate Judge Michael
                                    A. Hammer on 11/4/2022. (dam) (Entered: 11/04/2022)
           11/04/2022        206 Proposed Order PROPOSED JOINT PRETRIAL ORDER (CONFIDENTIAL - FILED
                                 UNDER SEAL) by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                 Cover Letter)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/04/2022)
           11/08/2022        208 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. re: trial
                                 equipment set up. (WALSH, LIZA) (Entered: 11/08/2022)
           11/08/2022        209 BRIEF in Opposition filed by CIPLA LTD. re 195 MOTION to Dismiss as to
                                 Defendant Cipla Ltd. (Attachments: # 1 Declaration of Ashley C. Morales, # 2 Exhibit
                                 1 to the Declaration of Ashley C. Morales, # 3 Exhibit 2 to the Declaration of Ashley
                                 C. Morales, # 4 Exhibit 3 to the Declaration of Ashley C. Morales, # 5 Certificate of
                                 Service)(MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/08/2022)
           11/08/2022        210 SEALED FINAL PRETRIAL ORDER. Signed by Magistrate Judge Michael A.
                                 Hammer on 11/6/2022. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(dam) (Entered: 11/09/2022)
           11/09/2022        211 REPLY BRIEF to Opposition to Motion filed by All Plaintiffs re 195 MOTION to
                                 Dismiss as to Defendant Cipla Ltd. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/09/2022)
           11/09/2022        212 LETTER ORDER granting 208 Joint Request for an Order permitting the parties and
                                 their service providers access to the Courthouse and the Undersigned's Courtroom
                                 beginning 11/10/2022 for the purpose of delivering, and setting up, electronic
                                 equipment and other materials to be used during the trial. Signed by Judge Julien
                                 Xavier Neals on 11/9/2022. (dam) (Entered: 11/09/2022)
           11/10/2022        213 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. encl. Stipulation
                                 and Proposed Order (Confidential - Filed Under Seal). (Attachments: # 1 Stipulation
                                 and Proposed Order (Confidential - Filed Under Seal))(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                                                      Appx76
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    11/10/2022)
           11/10/2022        214 SEALED STIPULATION AND ORDER. Signed by Judge Julien Xavier Neals on
                                 11/10/2022. (dam) (Entered: 11/10/2022)
           11/10/2022        221 Minute Entry for proceedings held before Judge Julien Xavier Neals: Motion Hearing
                                 held on 11/10/2022 re 195 MOTION to Dismiss as to Defendant Cipla Ltd. filed by
                                 TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC., NORTON
                                 (WATERFORD) LTD., and a Housekeeping Conference held on 11/10/2022. (Court
                                 Reporter, Melissa Mormile (973-776-7710)) (kd) (Entered: 11/14/2022)
           11/10/2022        226 Transcript of Final Pretrial Conference held on November 10, 2022, before Judge
                                 Julien Xavier Neals. Court Reporter: Melissa Mormile (973-776-7710). NOTICE
                                 REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Court Reporter due, but not filed,
                                 by 12/1/2022. Redacted Transcript Deadline set for 12/12/2022. Release of Transcript
                                 Restriction set for 2/8/2023. (adc) (Entered: 11/15/2022)
           11/11/2022        215 OPINION. Signed by Judge Julien Xavier Neals on 11/11/2022. (aw) (Entered:
                                 11/11/2022)
           11/11/2022        216 ORDER that Tevas motion to dismiss [ECF No. 195] is GRANTED, and Counts V
                                 and XI of the Complaint (ECF No. 1) and Counts V and XI of Ciplas Answer,
                                 Defenses, and Counterclaims (ECF No. 7) are hereby DISMISSED. Signed by Judge
                                 Julien Xavier Neals on 11/11/2022. (aw) (Entered: 11/11/2022)
           11/11/2022        217 MARKMAN OPINION. Signed by Judge Julien Xavier Neals on 11/11/2022. (aw)
                                 (Entered: 11/11/2022)
           11/11/2022        218 MARKMAN ORDER. Signed by Judge Julien Xavier Neals on 11/11/2022. (aw)
                                 (Entered: 11/11/2022)
           11/11/2022        219 TEXT ORDER - Due to unforeseen circumstances, the trial currently scheduled to
                                 commence on Tuesday, November 15, 2022 is ADJOURNED to Wednesday,
                                 November 16, 2022 at 9:30 AM. The Court has reserved additional days for trial. So
                                 Ordered by Judge Julien Xavier Neals on 11/11/2022. (aw) (Entered: 11/11/2022)
           11/14/2022        220 Letter from Liza M. Walsh on Behalf of All Parties Regarding Trial. (WALSH, LIZA)
                                 (Entered: 11/14/2022)
           11/14/2022        222 TEXT ORDER - The Court has received and reviewed the parties November 14, 2022
                                 letter, ECF No. 220 requesting that the Court extend the end of the Court day on each
                                 of November 16 and November 17 from 5pm until 7pm. The parties request is granted.
                                 So Ordered by Judge Julien Xavier Neals on 11/14/2022. (kd) (Entered: 11/14/2022)
           11/15/2022        223 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 11/15/2022)
           11/15/2022        224 TEXT ORDER - In anticipation of the trial scheduled to commence in this matter on
                                 November 16, 2022, by no later than 5:00 pm today, the parties shall file a letter
                                 advising the Court on how they plan to present their case, including the parties
                                                                   Appx77
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    proposed allocation of time.So Ordered by Judge Julien Xavier Neals on 11/15/2022.
                                    (kd) (Entered: 11/15/2022)
           11/15/2022        225 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. re 224 Order,.
                                 (WALSH, LIZA) (Entered: 11/15/2022)
           11/16/2022        227 Minute Entry for proceedings held before Judge Julien Xavier Neals: Bench Trial held
                                 on 11/16/2022. (Court Reporter, Melissa Mormile (973-776-7710)) (kd) (Entered:
                                 11/16/2022)
           11/17/2022        228 Letter from Cipla Ltd. to the Hon. Julien Xavier Neals, U.S.D.J. re Precluding
                                 Aurobindo Evidence. (Attachments: # 1 Exhibit, # 2 Exhibit)(MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/17/2022)
           11/17/2022        229 STATEMENT PLAINTIFFS' SUBMISSION REGARDING THE ADMISSION OF
                                 DEPOSITION TESTIMONY OF JAY HOLT AND DEBORAH CARR AND
                                 ADDITIONAL VIDEO EXPERIMENTS PERFORMED BY DR. DAVID LEWIS
                                 (CONFIDENTIAL - FILED UNDER SEAL) by NORTON (WATERFORD) LTD.,
                                 TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/17/2022)
           11/17/2022        230 TEXT ORDER - The motions in limine at ECF Nos. 163 , 165 , and 167 are hereby
                                 administratively terminated. The Court will address the parties disputes and objections
                                 during trial. Signed by Judge Julien Xavier Neals on 11/17/2022. (kd) (Entered:
                                 11/17/2022)
           11/17/2022        231 Minute Entry for proceedings held before Judge Julien Xavier Neals: Bench Trial held
                                 on 11/17/2022. (Court Reporter, Melissa Mormile (973-776-7710)) (kd) (Entered:
                                 11/17/2022)
           11/18/2022        232 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 11/18/2022)
           11/18/2022        233 Minute Entry for proceedings held before Judge Julien Xavier Neals: Bench Trial
                                 completed on 11/18/2022. (Court Reporter, Melissa Mormile (973-776-7710)) (kd)
                                 (Main Document 233 replaced on 12/12/2022) (kd). (Entered: 11/18/2022)
           11/18/2022        234 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. (Attachments: #
                                 1 Plaintiffs' Submission of Aurobindo Deposition Testimony, Associated Exhibits, and
                                 Test Videos Part 1, # 2 Plaintiffs' Submission of Aurobindo Deposition Testimony,
                                 Associated Exhibits, and Test Videos Part 2, # 3 Plaintiffs' Submission of Aurobindo
                                 Deposition Testimony, Associated Exhibits, and Test Videos Part 3, # 4 Plaintiffs'
                                 Submission of Aurobindo Deposition Testimony, Associated Exhibits, and Test Videos
                                 Part 4, # 5 Plaintiffs' Submission of Aurobindo Deposition Testimony, Associated
                                 Exhibits, and Test Videos Part 5, # 6 Plaintiffs' Submission of Aurobindo Deposition
                                 Testimony, Associated Exhibits, and Test Videos Part 6, # 7 Plaintiffs' Submission of

                                                                      Appx78
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    Aurobindo Deposition Testimony, Associated Exhibits, and Test Videos Part 7, # 8
                                    Plaintiffs' Submission of Aurobindo Deposition Testimony, Associated Exhibits, and
                                    Test Videos Part 8, # 9 Plaintiffs' Submission of Aurobindo Deposition Testimony,
                                    Associated Exhibits, and Test Videos Part 9, # 10 Plaintiffs' Submission of Aurobindo
                                    Deposition Testimony, Associated Exhibits, and Test Videos Part 10)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/18/2022)
           11/18/2022        235 Letter from Liza M. Walsh on Behalf of the Parties to the Hon. Julien Xavier Neals,
                                 U.S.D.J.. (Attachments: # 1 Parties' Joint Submission of Deposition and Written
                                 Testimony and Associated Exhibits)(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    11/18/2022)
           11/18/2022        240 Trial Exhibit List (kd) (Entered: 12/13/2022)
           11/21/2022        236 TEXT ORDER - The Court is in receipt of the parties November 17, 2022 letters
                                 outlining their respective position on the admission of deposition testimony and related
                                 documents of Dr. Jay Holt and Deborah Carr and additional video experiments
                                 performed by Dr. David Lewis. See ECF Nos. 228 , 229 . At this time, the Court will
                                 reserve its decision on the parties dispute pending supplemental briefing in the parties
                                 post-trial submissions. So Ordered by Judge Julien Xavier Neals on 11/21/2022. (kd)
                                 (Entered: 11/21/2022)
           12/08/2022        237 CONSENT ORDER of Dismissal as to Defendants AUROBINDO PHARMA LLC,
                                 AUROBINDO PHARMA USA,INC., and AUROLIFE PHARMA LLC. Signed by
                                 Judge Julien Xavier Neals on 12/7/2022. (dam) (Entered: 12/08/2022)
           12/12/2022        238 TEXT ORDER - By the close of business on December 12, 2022, the parties shall file
                                 a letter updating the Court on the status of the parties joint letter proposing deadlines
                                 for post-trial submissions.So Ordered by Judge Julien Xavier Neals on 12/12/2022.
                                 (kd) (Entered: 12/12/2022)
           12/12/2022        239 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J. re 238 Order,. (WALSH,
                                 LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    12/12/2022)
           12/13/2022        241 *REDACTED* Transcript of Bench Trial Vol 1 held on November 16, 2022, before
                                 Judge Julien Xavier Neals. Court Reporter: Melissa Mormile (973-776-7710).
                                 NOTICE REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                                                      Appx79
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 84         Filed: 03/22/2024

                                    seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                    5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                    Transcript/Digital Recording`. Redaction Request to Court Reporter due, but not filed,
                                    by 1/3/2023. Redacted Transcript Deadline set for 1/13/2023. Release of Transcript
                                    Restriction set for 3/13/2023. (adc) (Entered: 12/14/2022)
           12/13/2022        242 **SEALED** Transcript of Bench Trial Vol 1 held on November 16, 2022, before
                                 Judge Julien Xavier Neals. Court Reporter: Melissa Mormile (973-776-7710). This is
                                 the complete unredacted/sealed version of the transcript and is unavailable for public
                                 viewing. (adc) (Entered: 12/14/2022)
           12/13/2022        243 Transcript of Bench Trial Vol 2 held on November 17, 2022, before Judge Julien
                                 Xavier Neals. Court Reporter: Melissa Mormile (973-776-7710). NOTICE
                                 REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Court Reporter due, but not filed,
                                 by 1/3/2023. Redacted Transcript Deadline set for 1/13/2023. Release of Transcript
                                 Restriction set for 3/13/2023. (adc) (Entered: 12/14/2022)
           12/13/2022        244 Transcript of Bench Trial Vol 3 held on November 18, 2022, before Judge Julien
                                 Xavier Neals. Court Reporter: Melissa Mormile (973-776-7710). NOTICE
                                 REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                                 TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                                 seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction
                                 of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties
                                 seeking to redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R.
                                 5.3(g) must e-file a Motion to Redact and Seal utilizing the event `Redact and Seal
                                 Transcript/Digital Recording`. Redaction Request to Court Reporter due, but not filed,
                                 by 1/3/2023. Redacted Transcript Deadline set for 1/13/2023. Release of Transcript
                                 Restriction set for 3/13/2023. (adc) (Entered: 12/14/2022)
           12/14/2022        245 SEALED LETTER ORDER. Signed by Judge Julien Xavier Neals on 12/13/2022.
                                 (dam) (Entered: 12/14/2022)
           12/21/2022        246 NOTICE of Intent to Request Redaction re 242 Transcript, by LIZA M. WALSH
                                 (WALSH, LIZA) (Entered: 12/21/2022)
           01/11/2023        247 Letter from Liza M. Walsh to Hon. Julien X. Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 01/11/2023)
           01/11/2023        248 Exhibit to 247 Letter by All Plaintiffs. (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    01/11/2023)
           01/17/2023        249 TRIAL BRIEF Post-Trial by CIPLA LTD.. (MILLER, GREGORY) (Entered:
                                 01/17/2023)


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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241           Document: 27-1      Page: 85       Filed: 03/22/2024

           01/17/2023        250 Proposed Findings of Fact by CIPLA LTD.. (MILLER, GREGORY) (Entered:
                                 01/17/2023)
           01/17/2023        251 TRIAL BRIEF by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                                 G)(WALSH, LIZA) (Entered: 01/17/2023)
           01/17/2023        252 Proposed Findings of Fact by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered:
                                 01/17/2023)
           01/17/2023        253 DECLARATION of Liza M. Walsh re 251 Trial Brief by NORTON (WATERFORD)
                                 LTD., TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC..
                                 (Attachments: # 1 Exhibit H, # 2 Exhibit I, # 3 Exhibit J)(WALSH, LIZA) (Entered:
                                 01/17/2023)
           01/17/2023        254 Proposed Order Proposed Conclusions of Law by NORTON (WATERFORD) LTD.,
                                 TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC. re 252 Proposed
                                 Findings of Fact, 251 Trial Brief. (WALSH, LIZA) (Entered: 01/17/2023)
           01/25/2023        255 NOTICE of Appearance by SELINA MIRIAM ELLIS on behalf of NORTON
                                 (WATERFORD) LTD., TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D,
                                 INC. (ELLIS, SELINA) (Entered: 01/25/2023)
           01/25/2023        256 TRIAL BRIEF by CIPLA LTD.. (MILLER, GREGORY) (Entered: 01/25/2023)
           01/25/2023        257 Proposed Findings of Fact by CIPLA LTD.. (MILLER, GREGORY) (Entered:
                                 01/25/2023)
           01/25/2023        258 Letter from Cipla Ltd. to the Hon. Julien Xavier Neals, U.S.D.J. re 257 Proposed
                                 Findings of Fact, 256 Trial Brief. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                 B)(MILLER, GREGORY) (Entered: 01/25/2023)
           01/27/2023        259 TEXT ORDER - At the parties request, the Court will conduct in-person post-briefing
                                 oral argument on March 28, 2023 at 10:30 AM in Newark - Courtroom 5D before
                                 Judge Julien Xavier Neals.So Ordered by Judge Julien Xavier Neals on 1/27/2023.
                                 (kd) (Entered: 01/27/2023)
           02/02/2023        260 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J.. (WALSH, LIZA)
                                 (Entered: 02/02/2023)
           02/03/2023        261 LETTER ORDER granting 260 Plaintiffs' Request for an extension until 2/27/2023 for
                                 the submission of both sides' Responsive Briefs/Responsive Findings of
                                 Facts/Conclusions of Law. Signed by Judge Julien Xavier Neals on 2/3/2023. (dam)
                                 (Entered: 02/03/2023)
           02/07/2023        262 TRIAL BRIEF (Corrected D.E. 251) (Highly Confidential - Filed Under Seal) by
                                 NORTON (WATERFORD) LTD., TEVA BRANDED PHARMACEUTICAL
                                 PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered: 02/07/2023)
           02/07/2023        263 Proposed Findings of Fact by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered:
                                 02/07/2023)



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                              Case: 23-2241            Document: 27-1            Page: 86         Filed: 03/22/2024

           02/07/2023        264 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. re 262 Trial
                                 Brief, 263 Proposed Findings of Fact. (Attachments: # 1 Exhibit A (Confidential -
                                 Filed Under Seal), # 2 Exhibit B (Confidential - Filed Under Seal))(WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    02/07/2023)
           02/27/2023        265 RESPONSE re 262 Trial Brief. (MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    02/27/2023)
           02/27/2023        266 RESPONSE re 263 Proposed Findings of Fact. (MILLER, GREGORY)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    02/27/2023)
           02/27/2023        267 TRIAL BRIEF Post-Trial by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Declaration of
                                 Liza M. Walsh, # 2 Exhibit A)(WALSH, LIZA) (Entered: 02/27/2023)
           02/27/2023        268 Proposed Findings of Fact by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered:
                                 02/27/2023)
           02/27/2023        269 STATEMENT Post-Trial Proposed Conclusions of Law Addressing Validity by
                                 NORTON (WATERFORD) LTD., TEVA BRANDED PHARMACEUTICAL
                                 PRODUCTS R&D, INC.. (WALSH, LIZA) (Entered: 02/27/2023)
           03/09/2023        270 TRIAL BRIEF Corrected Post-Trial Brief D.E. 267 by NORTON (WATERFORD)
                                 LTD., TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH,
                                 LIZA) (Entered: 03/09/2023)
           03/09/2023        271 Proposed Findings of Fact by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (WALSH, LIZA) (Main Document
                                 271 replaced on 3/10/2023) (dam, ). (Entered: 03/09/2023)
           03/09/2023        272 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. re 271 Proposed
                                 Findings of Fact, 270 Trial Brief. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                 B)(WALSH, LIZA) (Entered: 03/09/2023)
           03/10/2023               Please be advised that at the direction of Plaintiff's Counsel, the 271 Proposed Posttrial
                                    Findings of Fact has been replaced with a Corrected version. This message is for
                                    informational purposes only. (dam) (Entered: 03/10/2023)
           03/28/2023        273 Minute Entry for proceedings held before Judge Julien Xavier Neals: Closing
                                 Arguments held on 3/28/2023. (Court Reporter, Melissa Mormile (973-776-7710))
                                 (kd) (Entered: 03/28/2023)
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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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           04/04/2023        274 Transcript of Closing Arguments held on March 28, 2023, before Judge Julien Xavier
                                 Neals. Court Reporter: Melissa Mormile (973-776-7710). NOTICE REGARDING
                                 (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                                 MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to
                                 file with the Court a Notice of Intent to Request Redaction of this Transcript to comply
                                 with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this
                                 Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to
                                 Redact and Seal utilizing the event `Redact and Seal Transcript/Digital Recording`.
                                 Redaction Request to Court Reporter due, but not filed, by 4/25/2023. Redacted
                                 Transcript Deadline set for 5/5/2023. Release of Transcript Restriction set for
                                 7/3/2023. (adc) (Entered: 04/04/2023)
           04/11/2023        275 Letter from Liza M. Walsh to the Hon. Michael A. Hammer, U.S.M.J. re 205 Order,.
                                 (WALSH, LIZA) (Entered: 04/11/2023)
           04/13/2023        276 LETTER ORDER granting 275 Plaintiffs' and Counter-Defendants' request a sixty
                                 (60) day extension until 6/12/2023 for the parties to file a joint omnibus motion to seal
                                 the parties' pre and post-trial filings and corresponding extension of the deadline to
                                 submit redacted versions of those submissions. Signed by Magistrate Judge Michael
                                 A. Hammer on 4/12/2023. (dam) (Entered: 04/13/2023)
           06/12/2023        277 REDACTION to 128 Letter,, by All Plaintiffs. (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        278 REDACTION to 130 Letter,, by All Plaintiffs. (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        279 REDACTION to 157 Proposed Pretrial Order,,,,,,, by All Plaintiffs. (Attachments: # 1
                                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C (Redacted), # 4 Exhibit D (Redacted), # 5
                                 Exhibit E (Redacted), # 6 Exhibit F (Redacted), # 7 Exhibit G, # 8 Opening Expert
                                 Report of Dr. David Lewis, Ph.D. as to Aurobindo Defendants, dated April 29, 2022
                                 (Redacted), # 9 Opening Expert Report of Dr. David Lewis, Ph.D. as to Defendant
                                 Cipla Ltd., dated April 29, 2022 (Redacted), # 10 Opening Expert Report of Dr.
                                 Reynold A. Panettieri, Jr., M.D., dated April 29, 2022 (Redacted), # 11 Report of Dr.
                                 David Lewis, Ph.D., dated June 14, 2022 (Redacted), # 12 Reply Report of Dr. David
                                 Lewis, Ph.D. as to Defendant Aurobindo Ltd., dated July 12, 2022 (Redacted), # 13
                                 Reply Report of Dr. David Lewis, Ph.D. as to Defendant Cipla Ltd., dated July 12,
                                 2022 (Redacted), # 14 Reply Expert Report of Dr. Reynold A. Panettieri, Jr., M.D.,
                                 dated July 12, 2022 (Redacted), # 15 Expert Report of Gregor Anderson, dated April
                                 29, 2022, # 16 Supplemental Invalidity Expert Report of Gregor Anderson, dated May
                                 24, 2022, # 17 Rebuttal Expert Report of Gregor Anderson on Noninfringement
                                 (Aurobindo), dated June 14, 2022, # 18 Rebuttal Expert Report of Gregor Anderson on
                                 Noninfringement (Cipla), dated June 14, 2022, # 19 Rebuttal Expert Report of Gregor
                                 Anderson on Secondary Considerations, dated June 14, 2022 (Redacted), # 20 Reply
                                 Expert Report of Gregor Anderson on Invalidity, dated July 12, 2022 (Redacted), # 21
                                 Letter)(WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        280 REDACTION to 176 Brief in Opposition to Motion,, by All Plaintiffs. (Attachments:
                                 # 1 Declaration of Liza M. Walsh with Ex. A-F (Redacted))(WALSH, LIZA) (Entered:
                                 06/12/2023)
           06/12/2023        281 REDACTION to 188 Letter,, by All Plaintiffs. (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        282 REDACTION to 196 Brief in Support of Motion,, by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 06/12/2023)


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           06/12/2023        283 REDACTION to 198 Proposed Findings of Fact by All Plaintiffs. (Attachments: # 1
                                 Teva's Pretrial Conclusions of Law)(WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        284 REDACTION to 206 Proposed Pretrial Order,,, by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 06/12/2023)
           06/12/2023        285 REDACTION to 210 Pretrial Order by All Plaintiffs. (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C (Redacted), # 4 Exhibit D (Redacted), # 5 Exhibit E
                                 (Redacted), # 6 Exhibit F (Redacted), # 7 Exhibit G)(WALSH, LIZA) (Entered:
                                 06/12/2023)
           06/12/2023        286 REDACTION to 211 Reply Brief to Opposition to Motion,, by All Plaintiffs.
                                 (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        287 REDACTION to 229 Statement,, by All Plaintiffs. (WALSH, LIZA) (Entered:
                                 06/12/2023)
           06/12/2023        288 REDACTION to 234 Letter,,,,,, by All Plaintiffs. (WALSH, LIZA) (Entered:
                                 06/12/2023)
           06/12/2023        289 REDACTION to 235 Letter,, by All Plaintiffs. (Attachments: # 1 Parties' Joint
                                 Submission of Deposition and Written Testimony and Associated Exhibits (Redacted))
                                 (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        290 REDACTION to 251 Trial Brief by All Plaintiffs. (Attachments: # 1 A-G (Redacted))
                                 (WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        291 REDACTION to 252 Proposed Findings of Fact by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 06/12/2023)
           06/12/2023        292 REDACTION to 262 Trial Brief by All Plaintiffs. (WALSH, LIZA) (Entered:
                                 06/12/2023)
           06/12/2023        293 REDACTION to 263 Proposed Findings of Fact by All Plaintiffs. (WALSH, LIZA)
                                 (Entered: 06/12/2023)
           06/12/2023        294 REDACTION to 264 Letter,, by All Plaintiffs. (Attachments: # 1 Exhibit A
                                 (Redacted), # 2 Exhibit B (Redacted))(WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        295 Joint MOTION to Seal by NORTON (WATERFORD) LTD., TEVA BRANDED
                                 PHARMACEUTICAL PRODUCTS R&D, INC.. (Attachments: # 1 Proposed
                                 Findings of Fact and Conclusions of Law, # 2 Declaration of Liza M. Walsh with Ex.
                                 1, # 3 Declaration Gregory D. Miller with Ex. A-C, # 4 Statement in Lieu of Brief, # 5
                                 Text of Proposed Order)(WALSH, LIZA) (Entered: 06/12/2023)
           06/12/2023        296 REDACTION to 164 Brief in Support of Motion,,,, by CIPLA LTD.. (Attachments: #
                                 1 Declaration of Brandon G. Smith, # 2 Exhibit 1 to the Declaration of Brandon G.
                                 Smith, # 3 Exhibit 2 to the Declaration of Brandon G. Smith, # 4 Exhibit 3 to the
                                 Declaration of Brandon G. Smith, # 5 Exhibit 4 to the Declaration of Brandon G.
                                 Smith, # 6 Exhibit 5 to the Declaration of Brandon G. Smith, # 7 Exhibit 6 to the
                                 Declaration of Brandon G. Smith)(MILLER, GREGORY) (Entered: 06/12/2023)
           06/12/2023        297 REDACTION to 194 Proposed Findings of Fact by CIPLA LTD.. (MILLER,
                                 GREGORY) (Entered: 06/12/2023)
           06/12/2023        298 REDACTION to 228 Letter,, by CIPLA LTD.. (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B)(MILLER, GREGORY) (Entered: 06/12/2023)
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CM/ECF LIVE - U.S. District Court for the District of New Jersey             https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
                              Case: 23-2241            Document: 27-1            Page: 89         Filed: 03/22/2024

           06/12/2023        299 REDACTION to 265 Response (NOT Motion), by CIPLA LTD.. (MILLER,
                                 GREGORY) (Entered: 06/12/2023)
           06/12/2023        300 REDACTION to 266 Response (NOT Motion), by CIPLA LTD.. (MILLER,
                                 GREGORY) (Entered: 06/12/2023)
           06/12/2023               Set Deadlines as to 295 Joint MOTION to Seal . Motion set for 7/17/2023 before
                                    Judge Julien Xavier Neals. Unless otherwise directed by the Court, this motion will be
                                    decided on the papers and no appearances are required. Note that this is an
                                    automatically generated message from the Clerk`s Office and does not supersede any
                                    previous or subsequent orders from the Court. (lag, ) (Entered: 06/12/2023)
           06/21/2023        301 *** UNSEALED pursuant to 306 Letter Order *** OPINION. Signed by Judge Julien
                                 Xavier Neals on 6/21/2023. (lag) Modified on 7/7/2023 (dam). (Entered: 06/21/2023)
           06/21/2023        302 ORDER directing parties to submit a joint proposed form of judgment consistent with
                                 Opinion & Order within 7 days. Signed by Judge Julien Xavier Neals on 6/21/2023.
                                 (lag, ) (Entered: 06/21/2023)
           06/28/2023        303 Letter from Liza M. Walsh to the Hon. Julien Xavier Neals, U.S.D.J. encl. proposed
                                 Final Judgment. (Attachments: # 1 Text of Proposed Order)(WALSH, LIZA) (Entered:
                                 06/28/2023)
           06/29/2023        304 JOINT FINAL JUDGMENT ORDER entered in favor of Plaintiffs and against Cipla
                                 on Plaintiffs' claims for infringement of claims 1-2, 4, and 6-7 of the '289 patent;
                                 claims 1-2, 4, 6-7, and 12 of the '587 patent; and claim 28 of the '808 patent; and in
                                 favor of Plaintiffs and against Cipla on Cipla's counterclaims and defenses. Signed by
                                 Judge Julien Xavier Neals on 6/29/2023. (dam) (Entered: 06/29/2023)
           07/06/2023        305 Letter from Liza M. Walsh to the Honorable Julien Xavier Neals, U.S.D.J. re 301
                                 Opinion. (WALSH, LIZA) (Entered: 07/06/2023)
           07/07/2023        306 LETTER ORDER granting 305 Joint Request to unseal the 301 Opinion. Signed by
                                 Judge Julien Xavier Neals on 7/7/2023. (dam) (Entered: 07/07/2023)
           07/21/2023        307 MOTION for Taxation of Costs by TEVA BRANDED PHARMACEUTICAL
                                 PRODUCTS R&D, INC.. (Attachments: # 1 Brief, # 2 Itemization, # 3 AO133, # 4
                                 Text of Proposed Order)(WALSH, LIZA) (Entered: 07/21/2023)
           07/21/2023        308 DECLARATION of Ben Picozzi re 307 MOTION for Taxation of Costs with Exhibits
                                 A - D by TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC..
                                 (WALSH, LIZA)

                                    NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                                    consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                                    sought to be sealed, or within 14 days following the date on which the last of such materials was filed
                                    under temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered:
                                    07/21/2023)
           07/21/2023        309 NOTICE of Appearance by PETER LOUIS GIUNTA on behalf of CIPLA LTD.
                                 (GIUNTA, PETER) (Entered: 07/21/2023)
           07/21/2023        310 NOTICE OF APPEAL to Federal Circuit as to 304 Order of Dismissal, by CIPLA
                                 LTD.. Filing fee $ 505, receipt number ANJDC-14473763. The Clerk's Office hereby
                                 certifies the record and the docket sheet available through ECF to be the certified list
                                 in lieu of the record and/or the certified copy of the docket entries. (GIUNTA, PETER)

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CM/ECF LIVE - U.S. District Court for the District of New Jersey       https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?336577041022706-L_1_0-1
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                                    Modified on 7/28/2023 (lag, ). (Entered: 07/21/2023)
           07/26/2023        311 Letter from Cipla Ltd. to Clerk re Adjournment of Hearing and Deferral of Decision
                                 on Motion to Tax Costs (ECF No. 307). (GIUNTA, PETER) (Entered: 07/26/2023)
           07/27/2023        312 TEXT ORDER - The Court is in receipt of Defendants July 26, 2023, letter (ECF No.
                                 311 ) requesting an adjournment of the July 28, 2023, hearing and deferral of the Clerk
                                 of Courts decision on Plaintiffs Motion for Taxation of Costs (ECF Nos. 307 - 308 ) on
                                 consent, until 30 days after the final disposition of Defendants appeal of the Courts
                                 Joint Final Judgment Order (ECF No. 304 ) and Opinion (ECF No. 301 ). The request
                                 is GRANTED. So Ordered by Judge Julien Xavier Neals on 7/27/2023. (kd) (Entered:
                                 07/27/2023)
           08/04/2023        313 USCA Case Number 23-2241 for 310 Notice of Appeal (Federal Circuit), filed by
                                 CIPLA LTD.. (Document Restricted - Court Only) (adc, ) (Entered: 08/11/2023)




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              UNITED STATES DEPARTMENT OF COMMERCE
                  United States Patent and Trademark Office

                                         February 26, 2021

   THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
   THE RECORDS OF THIS OFFICE OF:




   U.S.
   l).S, PATENT: 9,463,289
   ISSL'E
   ISSUE DATE: October 11,
                       11,2016
                           2016




                     By Authority of  the
                                  ofthe
                     Under Secretary of Commerce for Intellectual Property
                     and Director of the United States Patent and Trademark Office


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                                         P.R. GRANT
                                         Certifying Officer


                                                                Dist. of New Jersey
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                                                                                             US009463289B2


c12)
(12)   United States Patent                                                (10) Patent No.:                   US 9,463,289 B2
       Walsh et al.                                                        (45) Date of Patent:                          Oct. 11, 2016
                                                                                                                              11,2016

(54)   DOSE COUNTERS FOR lNHALERS,                                   (52)    U.S. Cl.
                                                                                  CI.
       lNHALERS AND METHODS OF ASSEMBLY                                      CPC .......... A61M 15/0071
                                                                                                 1510071 (2014.02); A61M 11100
       THEREOF                                                                                (2013.01); A61M 151009 (2013.01);
(71)   Applicants:IVAX PHARMACEUTICALS                                                         (Continued)
                  IRELAND, Utrecht (NL); NORTON
                                                                     (58)    Field of Classification Search
                  WATERFORD, Utrecht (NL); TEVA
                  PHARMACEUTICALS lRELAND,                                   USPC ................................. 235/8, 103; 128/200.23
                  Utrecht (NL)                                               See application file for complete search history.

(72)   Inventors: Deelan
                  Declan Walsh, County
                                   Connty Kilkenny (IE);             (56)                      References Cited
                                   Connty Wexford (IE);
                  Derek Fenlon, County
                                                                                       U.S. PATENT DOCUMENTS
                  Simon Kaar, County Cork (IE); Jan
                                              Kilkenny
                  Geert Hazenberg, County Kilkeuny                          4,174,890 A        11/ 1979 Johnson
                                                                                               11/1979
                                       Connty Waterford
                  (IE); Daniel Buck, County                                 4,669,838 A         6/1987 Hibbard
                  (IE); Paul Clancy, Waterford (IE);                                               (Continued)
                  Robert Charles Uschold, Leominster,
                             .Jeffrey A. Karg, Hopkinton,
                  MA (US); Jefl"rey                                                FOREIGN PATENT DOCUMENTS
                  MA (US)
                                                                     CA                  2501726             9/2006
                                                                                                             912006
(73)   Assignees: IVAX Pharmaceuticals Ireland,                      EP                  1330280            1112004
                                                                                                            11/2004
                  Waterford (IE); Norton (Waterford)
                  Limited, Waterford (IE); Teva                                                    (Continued)
                  Pharmaceuticals Ireland, Waterford
                  (IE)                                                                   OTHER PUBLICATIONS
( *)   Notice:    Subject to any disclaimer, the term of this        First Examination Report of counterpart New Zealand Patent Appli-
                  patent is extended or adjusted under 35                                          1,2013.
                                                                     cation No. 603466. dated Jul. 1, 2013.
                  U.S.C. 154(b) by 0O days.
                  U.S.c.
                                                                                                   (Continued)
(21)   Appl. No.: 141103,324
                  14/103,324
(22)   Filed:     Dec. 11, 2013                                     Primary Examiner ----- Daniel Hess
                                                                    (74) Attorney, Agent, or Firm - RatnerPrestia
(65)                 Prior Publication Data
                                                                     (57)                         ABSTRACT
       US 2014/0096769 Al    Apr. 10, 2014
                                                                    A manually operated metered dose inhaler includes a dose
            Related U.S. Application Data
                                                                    counter chamber including a dose display tape driven by a
(62)   Division of application No. 13/110,532, filed on May         ratchet wheel which is driven in turn by an actuator pawl
       18, 2011, now Pat. No. 8,978,966.
       18,2011,                                                     actuated by movement of a canister, the tape unwinding
                                                                    from a stock bobbin during use of the inhaler, a rotation
(60)   Provisional application No. 61/345,763, filed on May         regulator being provided for the stock bobbin and including
       18, 2010, provisional application No. 61/417,659,            a wavelike engagement surface with concavities which
       filed on Nov. 29, 2010.                                      engage against control elements in the form of protrusions
(51)   Int. Cl.                                                     on resilient forks of a split pin thereby permitting incremen-
       G06M 1106               (2006.01)                            tal unwinding of the stock bobbin yet resisting excessive
       A61M 11100              (2006.01)                            rotation if the inhaler is dropped onto a hard surface.

                       (Continued)                                                    10 Claims, 17 Drawing Sheets


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       G06M 1124              (2006.01)                       WO           2005102430               1112005
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(52)   U.S. Cl.                                               WO       WO 2006/062449
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                 (2013.01); A61M 2207100                      WO           2011012327                2/2011
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      FIG.2                       FIG. 3A
                                  FIG.3A                     FIG. 38
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            FIG.
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       FIG.4C                     FIG.4A                      FIG.
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                                                    FIG.68

              FIG. 6A
              FIG.6A
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                FIG. 6D
                FIG.6D                               FIG.6E
                                                     FIG. 6E




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                                 FIG.6F
                                 FIG. 6F




                                  FIG.6G
                                  FIG. 6G


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                                                         FIG.7B
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                                          FIG. 11
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                                          FIG. 14
                                          FIG.14




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                                FIG. 12
                                FIG.12
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                                FIG. 13
                                FIG.13




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                                      FIG. 15
                                      FIG.15
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               FIG. 20
               FIG.20                              FIG. 16
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          FIG. 21
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                                                FIG. 22
                                                FIG.22




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                                       FIG. 23
                                       FIG. 23


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                                   FIG. 26
                                   FIG.26



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       DOSE COUNTERS FOR INHALERS,                                          2008/ 119552 discloses a metered-dose inhaler which
                                                                       WO 2008/119552
    INHALERS AND METHODS OF ASSEMBLY                                is suitable for breath-operated applications and operates with
                 THEREOF                                            a known and constant canister stroke length of3.04 mm+l- mm+/-
                                                                    0.255 mm. A stock bobbin of the counter, from which a tape
            CROSS-REFERENCE TO RELATED                              is unwound, rotates on a shaft having a split pin intended to
                        APPLICATIONS                                hold the stock bobbin taut. However, some dose counters do
                                                                    not keep a particularly reliable count, such as if they are
   'Ibis
   "Ibis patent application is a divisional patent application      dropped onto a hard surface.
of U.S. Non-Provisional patent application Ser. No. 13/110, 10         More recently, it has become desirable to improve dose
                                                                 10
532, filed May 18, 2011, which claims priority to U.S.              counters further and, in particular, it is felt that it would be
Provisional Patent Application No. 61/345,763,
                                        61/345, 763, filed May      useful to provide extremely accurate dose counters for
18, 2010, and U.S. Provisional Patent Application No.               manually-operated canister-type metered dose inhalers.
61/417,659, filed Nov. 29, 2010, each of which is incorpo-          Unfortunately, in these inhalers, it has been found in the
rated herein by reference in its entirety
                                   entirely for all purposes.    15 course of making the present invention that the stroke length
                                                                 15
                                                                    of the canister is to a very large extent controlled on each
                FIELD OF THE INVENTION                              dose operation by the user, and by hand. Therefore, the
                                                                    stroke length is highly variable and it is found to be
   The present invention relates to dose counters for inhal-        extremely difficult to provide a highly reliable dose counter
ers, inhalers and methods of assembly thereof. The invention 20 for these applications. The dose counter must not count a
is particularly applicable to metered dose inhalers including       dose when the canister has not fired since this might wrongly
dry power medicament inhalers, breath actuated inhalers and         indicate to the user that a dose has been applied and if done
manually operated metered dose medicament inhalers.                                              throwaway
                                                                    repeatedly the user would throw     away the canister or whole
                                                                    device before it is really time to change the device due to the
          BACKGROUND OF THE INVENTION                            25 active drug and propellant reaching a set minimum. Addi-
                                                                    tionally, the canister must not fire without the dose counter
   Metered dose inhalers can comprise a medicament-con-             counting because the user may then apply another dose
         press uri sed canister containing a mixture of active
taining pressurised                                                 thinking that the canister has not fired, and if this is done
drug and propellant. Such canisters are usually formed from         repeatedly the active drug and/or propellant may run out
a deep-dawn aluminium cup having a crimped lid which 30 while the user thinks the device is still suitable for use
carries a metering valve assembly. The metering valve               according to the counter. It has also been found to be fairly
assembly is provided with a protruding valve stem which, in         difficult lo
                                                                              to assembly some known inhaler devices and the
use is inserted as a push fit into a stem block in an actuator      dose counters therefor. Additionally, it is felt desirable to
body of an inhaler having a drug delivery outlet. In order to       improve upon inhalers by making them easily usable after
actuate a manually operable inhaler, the user applies by hand 35 they have been washed with water.
a compressive force to a closed end of the canister and the            The present invention aims to alleviate at least to a certain
internal components of the metering valve assembly are              extent one or more of the problems of the prior art.
spring loaded so that a compressive force of approximately
15 to 30N is required to activate the device in some typical                      SUMMARY OF THE INVENTION
circumstances.                                                   40
   In response to this compressive force the canister moves            According to a first aspect of the present invention there
axially with respect to the valve stem and the axial move-          is provided a dose counter for an inhaler, the dose counter
ment is sufficient to actuate the metering valve and cause a        having a counter display arranged to indicate dosage infor-
metered quantity of the drug and the propellant lo         to be    mation, a drive system arranged to move the counter display
expelled through the valve stem. This is then released into a 45 incrementally in a first direction from a first station to a
mouthpiece of the inhaler via a nozzle in the stem block,           second station in response to actuation input, wherein a
such that a user inhaling through the outlet of the inhaler will    regulator is provided which is arranged to act upon the
receive a dose of the drug.                                         counter display at the first station to regulate motion of the
   A drawback of self-administration from an inhaler is that        counter display at the first station to incremental move-
                    detem1ine how much active drug and/or 50 ments.
it is difficult to deternline
propellant are left in the inhaler, if any, especially of the          The regulator is advantageous in that it helps prevent
active drug and this is potentially hazardous t,x   fix the user    unwanted motion of the counter display if the counter is
since dosing becomes unreliable and backup devices not              dropped.
always available.                                                      According to a further aspect of the present invention, the
   Inhalers incorporating dose counters have therefore 55 regulator provides a resistance force of greater than 0.1 N
become known.                                                       against movement of the counter display. According to still
   WO 98/280733 discloses an inhaler having a ratchet               a further aspect of the present invention, the resistance force
mechanism for driving a tape drive dose counter. A shaft            is greater than 0.3 N. According to yet a further aspect of the
                      wound has a friction clutch or spring for
onto which tape is wOlmd                                            present invention, the resistance force is from 0.3 to 0.4 N.
restraining the shaft against reverse rotation.                  60    Preferably, the counter comprises a tape.
   EP-A-1486227 discloses an inhaler for dry powered                   Preferably, the tape has dose counter indicia displayed
medicament having a ratchet mechanism for a tape dose               thereon. The first station may comprise a region of the dose
counter which is operated when a mouthpiece of the inhaler          counter where tape is held which is located before a display
is closed. Due to the way in which the mouthpiece is opened         location, such as a display window, for the counter indicia.
and closed, and actuation pawl of the device which is 65                    flrst station may comprise a first shaft, the tape being
                                                                       The first
mounted on a yoke, travels a known long stroke of consis-           arranged on the first shaft and to unwind therefrom upon
tent length as the mouthpiece is opened and closed.                 movement of the counter display.




                                                                                                                   TEVAQVAR-00031239
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                               3                                                                    4
   TIle first shaft may be mounted for rotation relative to a
   TI1e                                                              surface including incrementally spaced formations located
substantially rotationally fixed element of the dose counter.        around a periphery thereof, the formations comprising a
   ]be
   "Ine regulator may comprise at least one projection which         series of curved concavities and convex portions.
is arranged on one of the first shaft and the substantially             The shaft may comprise a hollow bobbin.
rotationally fixed element and to engage incrementally with             The engagement surface may be a generally cylindrical
one or more fornlations
               fomiations on the other of the first shaft and the    inwardly directed surface.
substantially rotationally fixed element.                               The engagement surface may include a fiat   flat surface wall
   Al
   At least two said projections may be provided. Exactly            portion joining each concavity and convex wall portion.
two said projections maybe provided.                                    Each concavity may comprise a radiused wall portion.
   Each projection may comprise a radiused surface.               10    Each convex wall portion may comprise a radiused wall
   The at least one projection may be located on the sub-            portion.
stantially fixed element which may comprise a fixed shaft               Said concavities may be regularly spaced around a lon-
which is fixed to a main body of the dose counter, the first         gitudinal axis of the shaft.
                          moU11ted to the fIxed
shaft being rotationally mounted            fixed shaft.                Said convex wall portions may be regularly spaced
   Preferably, the fIxed
                     fixed shaft has at least two resiliently 15 around a longitudinal axis of the shaft.
flexible legs (or forks). Each leg may have at least one said           In some embodiments there may be from eight to twelve
projection formed in an outwardly facing direction thereon,          said concavities and/or concavities regularly spaced around
said one or more formations being formed on an inwardly              a longitudinal axis thereof.
facing engagement surface of the first shaft, said at least one         One embodiment includes ten said concavities and/or
projection being arranged to resiliently engage said one or 20 convex wall portions regularly spaced around a longitudinal
more fomiations.
       fornlations. Preferably, a series of said fonnations are      axis of the shaft.
provided. An even nllmber
                        number of said formations may be                                   fllrther aspect of the present invention
                                                                        According to a further
provided. Eight to twelve of said formations may be pro-             there is provided a shaft and counter tape assembly for use
vided. In one embodiment ten said formations are provided.           in a dose counter for an inhaler, the assembly comprising a
   Each said formation may comprise a concavity formed on 25 rotatable shaft and a counter tape which is wound around the
an engagement surface. Each concavity may comprise a                 shaft and is adapted to U11wind
                                                                                                   unwind therefrom upon inhaler
radiused surface wall portion which preferably merges on at          actuation, the shaft having an engagement surface which
least one side thereof into a flat
                                fiat wall portion surface. The       includes incrementally spaced formations located around a
engagement surface may include a series of said concavities,         periphery thereof.
and convex wall portions of the engagement surtace
                                                 surface may be 30      According to a further aspect of the present invention
formed between each adjacent two said concavities, each              there is provided an inhaler for the inhalation of medication
said convex wall portion comprising a convex radiused wall           and the like, the inhaler including a dose counter as in the
portion.                                                             first aspect of the present invention.
   Each convex radiused wall portion of each convex wall                A preferred construction consists of a manually operated
portion may be cOl1l1ected
                  connected by said flat
                                      fiat wall portion surfaces 35 metered dose inhaler including a dose counter chamber
to each adjacent concavity.                                          including a dose display tape driven by a ratchet wheel
   The fixed shaft may comprise a split pin with fork legs           which is driven in tum by an actuator pawl actuated by
and each projection may be located on a said t(xk   tixk leg.        movement of a canister, the tape unwinding from a stock
   The first shaft may comprise a substantially hollow bob-          bobbin during use of the inhaler, a rotation regulator being
bin.                                                              40 provided for the stock bobbin and comprising a wavelike
   Said at least one fonnation may be located on an imler   im1er    engagement surface with concavities which engage against
surface of the bobbin. In other embodiments it may be                control elements in the form of protrusions on resilient forks
located on an outer surface thereof. Said engagement surface
localed                                                              of a split pin thereby permitting incremental unwinding of
may extend partially along said bobbin, a remainder of the           the stock bobbin yet resisting excessive rotation if the
respective inner or outer surface having a generally smooth 45 inhaler is dropped onto a hard surface.
journal portion along at least a portion thereof.                       According to another aspect of the present invention there
   The drive system may comprise a tooth ratchet wheel               is provided a dose coU11ter
                                                                                         counter for a metered dose inhaler having
arranged to act upon a second shaft which is located at the          a body arranged to retain a medicament canister of prede-
second station, the second shaft being rotatable to wind the         termined configuration for movement of the canister relative
tape onto the second shaft.                                       50 thereto; the dose counter comprising: an incremental count-
   The second shaft may be located
                               localed on a main body of the         ing system for counting doses, the incremental counting
dose counter spaced from and parallel to the first shaft.            system having a main body, an actuator arranged to be
   The ratchet wheel may be fixed to the second shaft is             driven in response to canister motion and to drive an
arranged to rotate therewith. The ratchet wheel may be               incremental output member in response to canister motion,
secured to an end of the second shaft and aligned coaxially 55    S5 the actuator and incremental output member being config-
with the second shaft.                                               ured to have predetermined canister firefIre and count configu-
   TIle dose counter may include anti-back drive system
   TI1e                                                              rations in a canister fire sequence, the canister fire configu-
which is arranged to restrict motion of the second shaft. The        ration being determined by a position of the actuator relative
anti-back drive system may include a substantially fixed             to a datum at which the canister fires medicament and the
tooth arranged to act upon teeth of the ratchet wheel.            60 count configuration being determined by a position of the
   According to a further aspect of the present invention, a         actuator relative to the datum at which the incremental count
dose counter includes an anti-back drive system which is             system makes an incremental count, wherein the actuator is
arranged to restrict motion of the second shaft in a tape            arranged loto reach a position thereof in the count configura-
winding direction.                                                   tion at or after a position thereof in the canister firefIre con-
   According to a further aspect of the present invention 65 figuration.
there is provided a shaft for holding counter tape in a dose            This arrangement has been found to be highly advanta-
counter for an inhaler, the shaft having an engagement               geous since it provides an extremely accurate dose counter




                                                                                                                    TEVAQVAR-00031240
                                                           Appx108
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which is suitable for use with manually operated metered             output member, the tooth and incremental output member
dose inhalers. It has been found that dose counters with these       being arranged to permit one way only incremental relative
features have a failure rate of less than 50 failed
                                                tailed counts per    motion therebetween. When the incremental output member
million full canister activation depressions. It has been            comprises a ratchet wheel, the tooth can therefore serve as
found in the course of making the present invention that             an anti-back drive tooth for the ratchet wheel, thereby
highly reliable counting can be achieved with the dose               permitting only one way motion or rotation thereof.
counter counting at or soon after the point at which the                The counter pawl may be substantially fixedly mounted
         tlres. It has been is covered by the present inventors
canister fires.                                                      on the main body of the incremental count system and the
that momentum and motion involved in firing the canister,            counter pawl may be arranged to be capable of repeatedly
and in some embodiments a slight reduction in canister back 10
                                                                     engaging equi-spaced teeth of the incremental output mem-
pressure on the user at the time of canister firing, can very
                                                                     ber in anti-back drive interlock configurations as the counter
reliably result in additional fhrther
                                 farther motion past the count
                                                                     is operated. The counter pawl may be positioned so that the
point.
   TI1e
   TIle actuator and incremental counting system may be              incremental output member is halfway, halfWay, or substantially
                                                                  15 halfway
                                                                     halfWay moved from one anti-back drive interlock configu-confIgu-
arranged such that the actuator is displaced less than 1 nm1, 15
typically 0.25 to 0.75 mm, more preferably about 0.4 to 0.6          ration to the next when the actuator and incremental output
mm, relative to the body between its location in the count           member are in the end configuration thereof. This TIlls is highly
and fire configurations, about 0.48 mm being preferred. The          advantageous in that it minimises the risk of double counting
canister, which can move substantially in line with the              or non-counting by the dose counter.
actuator, can reliably move this additional distance so as to 20        According lo to a further aspect of the invention there is
achieve very reliable counting.                                      provided an inhaler comprising a main body arranged to
   The incremental cOlmt
                       count system may comprise a ratchet                                                              conflguration
                                                                     retain a medicament canister of predetermined configuration
mechanism and the incremental output member may com-                 and a dose counter mounted in the main body.
prise a ratchet wheel having a plurality of circumterentially
                                                circumferentially       The inhaler main body may include a canister receiving
spaced teeth arranged to engage the actuator.                                                             chamber, the dose counter
                                                                  25 portion and a separate counter chamber.
   The actuator may comprise an actuator pawl arranged to            being located within the main body thereof, the incremental
engage on teeth of the ratchet wheel. The actuator pawl may          output member and actuator thereof inside the counter
                     connected to or integral with an actuator
be arranged to be counected                                          chamber, the main body of the inhaler having wall surfaces
pin arranged to engage and be depressed by a medicament              separating the canister-receiving portion and the counter
canister bottom flange. The actuator pawl may be generally 30 chamber, the wall surfaces being provided with a commu-
U-shaped having two parallel arms arranged to pull on a              nication aperture, an actuation member extending through
central pawl member arranged substantially perpendicular                                    apertllre to transmit canister motion to
                                                                     the communication aperture
thereto. This provides a very reliable actuator pawl which           the actuator.
can reliably pull on the teeth of the ratchet wheel.                                       further aspect of the present invention
                                                                        According to a farther
   The incremental count system may include a tape counter 35 there is a provided an inhaler for metered dose inhalation,
having tape with incremental dose indicia located thereon,           the inhaler comprising a main body having a canister
the tape being positioned on a tape stock bobbin and being           housing arranged to retain a medicament canister for motion
arranged to unwind therefrom.                                        therein, and a dose counter, the dose counter having an
   The actuator and incremental output member may be                 actuation member having at least a portion thereoflocated in
arranged to provide a start configuration at which the 40 the canister housing for operation by movement of a medi-
actuator is spaced from the ratchet output member, a reset           cament canister, wherein the canister housing has an ilmer  i1mer
configuration at which the actuator is brought into engage-          wall, and a first
                                                                                 flrst im1er
                                                                                       imler wall canister support formation located
                                                                                                                               localed
ment with the incremental output member during a canister            directly adjacent the actuation member.
fire sequence, and an end contlguration
                            configuration at which the actuator         This is highly advantageous in that the firsttlrst inner
                                                                                                                           iuner wall
disengages from the ratchet output during a canister fire 45 canister support formation can prevent a canister from
sequence.                                                            rocking too much relative to the main body of the inhaler.
   The actuator may be arranged to be located about 1.5 to           Since the canister may operate the actuation member of the
2.0 mm, from its location in the fire configuration, when in         dose counter, this substantially improves dose counting and
the start configuration, about 1.80 mm being preferred.              avoids counter errors.
   The actuator may be arranged to be located about 1.0 lo     to 50    The canister housing may have a longitudinal axis which
1.2 nnn,
     mm, from its location in the flre
                                     fire conflguration,
                                          configuration, when in     passes through a central outlet port thereof, the central outlet
the reset configuration, about 1.11 nm1 being preferred.             port being arranged to mate with an outer canister fire stem
   The actuator may be arranged to be located about 1.1 to           of a medicament canister, the inner iuner wall canister support
1.3 mm, from its location in the fire configuration, when in         formation, the actuation member and the outlet port lying in
the end configuration, about 1.18 mm being preferred.             55 a common plane coincident with the longitudinal axis.
   TI1ese arrangements provide extremely reliable dose               Accordingly, this construction may prevent the canister from
counting, especially with manually operated canister type            rocking towards the position of the dose counter actuation
metered dose inhalers.                                               member, thereby minimising errors in counting.
   ]be
   "Ine main body may include a formation for forcing the               The canister housing may have a further inner canister
actuator to disengage from the incremental output member 60 wall support formation located on the inner wall opposite, or
when the actuator is moved past the end configuration. The           substantially opposite, the actuation member. Accordingly,
formation may comprise a bumped up portion of an other-              the canister may be supported against rocking motion away
wise generally straight surface against which the actuator           from the actuator member so as to minimise count errors.
engages and along which it is arranged to slide during a                The canister housing may be generally straight and tubu-
canister firing sequence.                                         65 lar
                                                                     Jar and may have an arrangement in which each said inner
   The dose counter may include a counter pawl,pawl. the counter     wall support formation comprises a rail extending longitu-
pawl having a tooth arranged to engage the incremental               dinally along the inner wall.




                                                                                                                    TEVAQVAR-00031241
                                                           Appx109
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   Each said rail may be stepped, in that it may have a first                    fimlly in place, thereby further improving counting
                                                                      and held fim1ly
portion located towards a medicine outlet end or stem block           accuracy compared to prior art arrangements in which some
of the canister housing which extends inwardly a first                movement of the chassis relative lo      to the body may be
distance from a main surface of the inner wall and a second           tolerated in snap-fit connections.
portion located toward an opposite end of the canister                   The chassis may have at least one of a pin or aperture heat
chamber which extends inwardly a second, smaller distance             staked to a respective aperture or pin of the body.
from the main surface of the inner wall. This may therefore              The chassis may have a ratchet counter output member
enable easy insertion of a canister into the canister housing         mounted thereon.
such that a canister can be lined up gradually in step wise 10           The ratchet counter output member may comprise a
function as it is inserted into the canister housing.              10
                                                                      ratchet wheel arranged to reel in incrementally a dose meter
   The inhaler may include additional canister support rails
                                                                      tape having a dosage indicia located thereon.
which are spaced around an inner periphery of the inner wall
                                                                         According to a further aspect of the present invention
of the canister housing and which extend longitudinally
therealong.                                                           there is provided a method of assembling an inhaler includ-
   At least one of the additional rails may extend a constant 15 ing the step of heat staking the chassis onto the body. The
distance inwardly from the main surface of the inner wall.            step of heat staking is highly advantageous in fixedly
                                                   fom1ed with a
   At least one of the additional rails may be fomled                 positioning the chassis onto the body in order to achieve
similar configuration to the first inner wall canister support        highly accurate dose counting in the assembled inhaler.
formation.                                                               The method of assembly may include mounting a spring-
   The dose counter may, apart from said at least a portion 20 returned ratchet actuator in the body before heat staking the
of the actuation member, be located in a counter chamber              chassis in place. The method of assembly may include
separate from the canister housing, the actuation member              pre-assembling the chassis with a dose meter tape prior to
comprising a pin extending through an aperture in a wall              the step of heat staking the chassis in place. The method of
which separates the counter chanlber
                               chan1ber and the canister hous-        assembly may include attaching a dose meter cover onto the
ing.                                                               25 body after the heat staking step. The cover may be welded
   According to a further aspect of the present invention             onto the body or may in some embodiments be glued or
there is provided an inhaler for inhaling medicaments hav-            otherwise attached in place.
ing: a body for retaining a medicament store; the body                   According to a further aspect of the present invention
including a dose counter.
                   counter, the dose counter having a move-           there is provided an inhaler for inhaling medicament and
able actuator and a return spring fix the actuator, the return 30 having a body, the body have a main part thereof for
spring having a generally cylindrical and annular end; the            retaining a medicament store; and a dose counter, the dose
body having a support formation therein for supporting said                                              cOlmter chamber of the body
                                                                      counter being located in a dose counter
end of the return spring, the support formation comprising a          which is separated from the main part of the body, the dose
shelf onto which said end is engageable and a recess below            counter chamber of the body having a dosage display and
the shelf                                                          35 being perforated so as to permit the evaporation of water or
   This shelf and recess arrangement is highly advantageous           aqueous matter in the dose counter chamber into the atmo-
since it allows a tool (such as manual or mechanical twee-            sphere.
zers) to be used to place the return spring of the actuator onto         This is high advantageous since it enables the inhaler to
the shelf with the tool then being withdrawn at least partially       be thoroughly washed and the dose counting chamber can
via the recess.                                                    40 thereafter dry out fully.
   The shelf may be U   U-shaped.
                          -shaped.                                       The display may comprise a mechanical counter display
   The support formation may include a U-shaped upstand-              inside the dose counter chamber and a window for viewing
ing wall extending around the U-shaped shelf;shelf'. the shelf and    the mechanical counter display. The mechanical counter
upstanding wall thereby forming a step and riser of a stepped         display may comprise a tape. The perforated dose counter
arrangement.                                                       45 chamber may therefore enable reliable washing of the
   ]be recess below the shelf my also be LJ-shaped.
   "Ine                                        LI-shaped.             inhaler, if desired by the user, and may therefore dry out
   At least one chamfered surface may be provided at an               without the display window misting up.
entrance to the shelf
                 shelf. This may assist in inserting the actuator        The dose counter chamber may be perforated by a drain
and return spring into position.                                      hole formed through an outer hole of the body. The drain
   A further aspect of the invention provides a method of 50 hole may be located at a bottom portion of the body of the
assembly of an inhaler which includes the step of locating            inhaler, thereby enabling full draining of the inhaler to lo be
said end of said spring on the shelf with an assembly tool and        encouraged after washing when the inhaler is brought into
then withdrawing the assembly tool at least partly via the            an upright position.
recess. This assembly method is highly advantageous com-                 According to a further aspect of the present invention
pared to prior art methods in which spring insertion has been 55 there is provided a dose counter for an inhaler, the dose
difficult and in which withdrawal of the tool has sometimes           counter having a display tape arranged to be incrementally
accidentally withdrawn the spring again.                              driven from a tape stock bobbin onto an incremental tape
   The cylindrical and ammlar end of the spring may be                take-up drive shaft, the bobbin having an internal bore
movable in a direction transverse to its cylindrical extent           supported by and for rotation about a support shaft, at least
into the shelf while being located thereon.                        60 one of the bore and support shaft having a protrnsion which
                      further aspect of the present invention
   According to a fhrther                                             is resiliently biased into frictional engagement with the other
there is provided an inhaler for inhaling medicament, the             of the bore and support shaft with longitudinally extending
inhaler having a body for retaining a medicament store; and           mutual frictional interaction. This arrangement may provide
a dose counter, the dose counter having a moveable actuator                                  bobbin. thereby improving tape counter
                                                                      good friction for the bobbin,
and a chassis mounted on the body; the chassis being heat 65 display accuracy and preventing the bobbin from unwinding
staked in position on the body. This is be highly advanta-            undesirably for example if the inhaler is accidentally
geous in that the chassis can be very accurately positioned           dropped.




                                                                                                                   TEVAQVAR-00031242
                                                           Appx110
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   TIle support shaft may be forked and resilient for resil-
   TI1e                                                            which the dose counter actuators may be applied; and
iently biasing the support shaft and bore into frictional          selecting a tolerance level to result in said failure/success
engagement.                                                        rate to be at or below/above a predetermined value. This is
   ]be support shaft may have two forks, or more in some
   "Ine                                                            highly advantageous in that it allows an efficient and accu-
cases, each having a radially extending protrusion having a        rate prediction of the reliability of a series of inhaler
friction edge extending therealong parallel to a longitudinal      counters made in accordance with the design.
axis of the support shaft for frictionally engaging the bore of       The method of designing may include selecting the fail-
the support shaft with longitudinally extending frictional         ure/success rate as a failure rate of no more than one in 50
interaction therebetween.                                          million. The method of designing may include setting an
   The bore may be a smooth circularly cylindrical or 10
                                                                   average count position for dose counters built buill to the toler-
substantially cylindrical bore.
                                                                   ances to be at or after an average fire position thereof during
   Each of the above inhalers in accordance with aspects of
                                                                   canister firing motion. The method of designing may include
the present invention may have a medicament canister
mounted thereto.                                                   setting the average count position to be about 0.4 to 0.6 mlllmm
   TIle canister may comprise a pressurised metered dose 15
   TI1e                                                         15
                                                                   after the average fire
                                                                                       fIre position, such as about 0.48 111111
                                                                                                                           mm after.
canister having a reciprocally movable stem extending              The method of designing may include setting tolerances for
therefrom and movable into a main canister portion thereof         the standard deviation of the fire position in dose counters
for releasing a metered dose of medicament under pressure,         built to the tolerances to be about 0.12 to 0.16 mm, such as
for example by operating a metered dose valve inside the           about 0.141 mm. The method of designing may include
canister body. The canister may be operable by pressing by 20 setting tolerances for the standard deviation of the count
hand on the main canister body.                                    positions in dose counters built to the tolerances to be about
   In cases in which one or more support rails or inner wall                      mlll, such
                                                                   0.07 to 0.09 mm,      sllch as about 0.08 mm.
                                                                                                             mlll. A further aspect
          fomlations are provided, the canister may at all
support fomiations                                                 of the invention provides a computer implemented method
times when within the canister chamber have a clearance of         of designing an incremental dose counter for an inhaler
about 0.25 to 0.35 mm from the first inner wall support 25 which includes the aforementioned method of designing.
formation. The clearance may be almost exactly 0.3 mm.                A further aspect of the invention provides a method of
This clearance which may apply to the canister body itself         manufacturing in a production run a series of incremental
or to the canister once a label has been applied, is enough to     dose counters for inhalers which comprises manufacturing
allow smooth motion of the canister in the inhaler while at        the series of dose counters in accordance with the afore-
     sanle time preventing substantial rocking of the canister 30 mentioned method of designing.
the san1e
which could result in inaccurate counting by a dose counter
                                                                      A further aspect of the invention provides a method of
of the inhaler, especially when lower face of the canister is
                                                                   manufacturing a series of incremental dose counters for
arranged to engage an actuator member of the dose counter
                                                                   inhalers. which comprises manufacturing the dose counters
                                                                   inhalers,
for counting purposes.
                                           invention, a method 35
   According to a further aspect of the invention.              35
                                                                   with nominal canister fire and dose count positions of a dose
of assembling a dose counter for an inhaler comprises the          counter actuator relative to a dose counter chassis (or inhaler
steps of providing a tape with dosing indicia thereon;             main body). and which includes building the dose counters
providing tape positioning indicia on the tape; and stowing        with the average dose count position in the series being, in
the tape while monitoring for the tape positioning indicia         canister fire process, at or after the average canister fire
with a sensor. The method advantageously permits efficient 40 position in the series.
and accurate stowing of the tape, e.g. by winding.                    According to a further aspect of the invention, the method
   TIle dosing indicia may be provided as numbers, the tape
   TI1e                                                            provides fitting each dose counter in the series of incremen-
positioning indicia may be provided as one or more lines           tal dose counters to a corresponding main body of an inhaler.
across the tape. The stowing
                      slowing step comprises winding the tape         These aspects advantageously provide for the production
onto a bobbin or shaft, and, optionally, stopping winding 45 run of a series of inhalers and dose counters which count
when the positioning indicia arc in a predetermined position.      reliably in operation.
The tape may be provided with pixelated indicia at a position         According to a further aspect of the invention, an incre-
spaced along the tape from the positioning indicia. The tape       mental dose counter for a metered dose inhaler has a body
may also be provided with a priming dot.                           arranged to retain a canister for movement of the canister
   According to a further aspect of the invention, a tape 50 relative thereto, the incremental dose counter having a main
system for a dose counter for an inhaler has a main elongate       body, an actuator arranged to be driven and to drive an
       structure. and dosing indicia and tape positioning
tape structure,
                                                                   incremental output member in a count direction in response
indicia located on the tape structure. The tape positioning
                                                                   to canister motion, the actuator being configured to restrict
indicia may comprise at least one line extending across the
                                                                   motion of the output member in a direction opposite to the
tape structure. The tape system may comprise pixelated 55
indicia located on the tape structure and spaced from the          count direction. This advantageously enables an inhaler dose
positioning indicia. The tape system may comprise a prim-          counter loto keep a reliable count of remaining doses even if
         located on the tape structure. The positioning indicia
ing dot localed                                                    dropped or otherwise jolted.
may be located between the timing dot and the pixelated               The output member may comprise a ratchet wheel. The
indicia. The main elongate tape structure may have at least 60 actuator may comprise a pawl and in which the ratchet wheel
one end thereof wound on a bobbin or shaft.                        and pawl are arranged to pennit only one-way ratcheting
   A further aspect of the invention provides a method of          motion of the wheel relative to the pawl. The dose counter
designing an incremental dose counter for an inhaler com-          may include an anti-back drive member fixed to the main
prising the steps of calculating nominal canister fire and         body. In a rest position of the dose counter, the ratchet wheel
dose counter positions for a dose counter actuator of the 65 is capable of adopting a configuration in which a back
inhaler; calculating a failure/success rate for dose counters      surface of one tooth thereof engages the anti-back drive
built to tolerance levels for counting each fire of inhalers in    member and the pawl is spaced from an adjacent back




                                                                                                                   TEVAQVAR-00031243
                                                           Appx111
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surface of another tooth of the ratchet wheel without positive          FIG. 22 is an exploded view of the inhaler of FIG. 21;
drive/blocking engagement between the pawl and wheel.                   FIG. 23 is a view of a dose counter of the inhaler of FIG.
                                                                      21;
      BRIEF DESCRIPTION OF THE DRAWINGS                                 FIG. 24 is an exploded view of the dose counter shown in
                                                                      FIG. 23;
   The present invention may be carried out in various ways             FIG. 25 is an exploded view of parts of the inhaler of FIG.
and preferred
      preicITed embodiment of a dose counter, inhaler and             21; and
methods of assembly, design and manufacture will now be                 FIG. 26 is a view of a yoke of the inhaler of FIG. 21.
described with reterence
                   reference to the accompanying drawings in
which:                                                             10             DETAILED DESCRIPTION OF THE
    FIG. 1 is an isometric view of a main body of an                                            INVENTION
embodiment of an inhaler related to the invention together
with a mouthpiece cap therefor;                                          FIG. 1 shows a main body 10 of a manually operated
   FIG. 2 is a top plan view of the components as shown in            metered dose inhaler 12 in accordance with an embodiment
FIG. 1;                                                            15 related to the present invention and having a mouthpiece cap
   FIG. 3A is a section on the plane 3A-3A in FIG. 2;                 14 securable over a mouthpiece 16 of the main body.
   FIG. 3B is a view corresponding to FIG. 3A but with a                 The main body has a canister chamber 18 into which a
dose counter fitted to the main body of the inhaler;                  canister 20 (FIG. 7A) is slideable. The canister 20 has a
   FIG. 4A is an exploded view of the inhaler main body,              generally cylindrical main side wall 24, joined by a tapered
mouthpiece cap, dose counter and a dose counter window; 20 section 26 to a head portion 28 having a substantially flat
   FIG. 4B is a view in the direction 413   4B in FIG. 4C of a        lower face 30 which has an outer annular drive surface 32
spring retainer of the dose counter;                                  arranged loto engage upon and drive an actuation
                                                                                                                 actllation pin 34 of a
    FIG. 4C is a top view of the spring retainer of FIG. 4B;                 cmmter 36 as will be described. Extending centrally
                                                                      dose counter
    FIG. 5 is a bottom view of the assembled inhaler main             and axially from the lower face 30 is a valve stem 38 which
body, mouthpiece cap, dose counter and dose counter win- 25 is arranged to sealingly engage in a valve stem block 40 of
dow;                                                                  the main body 10 of the inhaler 12. The valve stem block 40
   FIGS. 6A, 613,
                6B, 6C, 6D, 6E, 6F, 6G and 6H are various             has a passageway 42 leading to a nozzle 44 for directing the
views of dose counter components of the inhaler;                      contents of the canister 20, namely active drug and propel-
   FIGS. 7A and 713   7B are sectional views showing canister         lant, towards an air outlet 46 of the inhaler main body 12. It
clearance inside the main body of the inhaler;                     30 will be appreciated that due to gaps 48 between the canister
   FIG. 7C is a further sectional view similar to that of FIG.        20 and an inner wall 50 of the main body 10 of the inhaler
7B
713 but with the canister removed;                                    12 an open top 52 of the main body 10 forms an air inlet into
   FIG. 7D is a top plan view of the inhaler main body;               the inhaler 12 communicating via air passageway 54 with
   FIGS. SA,
           8A, 8B,
               SB, 8CSC and 8D
                            SD show the inhaler main body and         the air outlet 46, such that canister contents exiting nozzle 44
dose counter components during assembly thereof;                   35 mix with air being sucked by the user through the air
   FIG. 9 shows a sectional side view of a datum line for an          passageway 54 in order lo    to pass together through the air
actuator pawl of the dose counter;                                    outlet and into the mouth of the user (not shown).
    FIGS. 10A,    1013, lOC, 10D, HlE
           lOA, lOB,                HIE and lOF show various             The dose counter 36 will now be described. The dose
side views of positions and configurations of the actuator            counter 36 includes an actuation pin 34 biased upwardly
pawl, a ratchet wheel, and a count pawl;                           40 from underneath by a return spring 56 once installed in the
   FIG. 11 shows distributions for tolerances of start, reset,        main body 10. As best shown in FIGS. 4A, 6H and 8A,       SA, the
fire, count and end positions for the actuator of the dose            pin 34 has side surfaces 58, 60 arranged to slide between
counter;                                                              corresponding guide surfaces 62, 64 located in a dose
   FIG. 12 is an enlarged version of part of FIG. 4A;                 counter chamber 66 of the main body 10, as well as an end
   FIG. 13 shows an end portion of a tape of the dose 45 stop surface       surtace 68 arranged to engage a corresponding end stop
counter;                                                              70 formed in the dose counter chan1ber
                                                                                                         chanlber 66 to limit upward
   FIG. 14 shows a computer system for designing the dose             movement of the pin 34. The pin 34 has a top part 72 which
counter;                                                              is circularly cylindrical and extends through an aperture 74
   FIG. 15 is an isometric view of a stock bobbin modified            formed through a separator wall 76 which separates the
in accordance with the present invention for use in the dose 50 canister chamber 18 from the dose counter chamber 66. The
counter of the inhaler of FIGS. 1 to  lo 14;                          top part 72 of the pin 34 has a fiat
                                                                                                         flat top surface 78 which is
    FIG. 16 shows an end view of the stock bobbin of     FIG. 15;
                                                       ofFIG.15;                                      armular drive surface 32 of the
                                                                      arranged to engage the outer annular
    FIG. 17 is a section through a longitudinal axis of the           canister 20.
stock bobbin of FIGS. 15 and 16;                                         The actuation pin 34 is integrally formed with a drive or
   FIGS. 18A to 18C are views of the stock bobbin of FIGS. 55 actuator pawl 80. The actuator pawl 80 has a generally
15 to 17 mounted in the dose counter chassis of FIGS. 1 to            inverted U-shape configuration, having two mutually spaced
14, with the control elements of the forks of the second shaft                      arnlS 82, 84 extending from a base portion of the
                                                                      and parallel am1s
(or split pin) having a profile slightly different to that in FIG.    actuation pin 34, each holding at respective distal ends 88
6F, with the t(xks
               tixks in a compressed configuration;                   thereof opposite ends of a pawl tooth member 90 which
   FIGS. 19A to 19C are views equivalent to FIGS. 18A to 60 extends in a direction substantially perpendicular to the arms
18C but with the forks in a more expanded configuration due           82, 84, so as to provide what may be considered a "saddle"
to a different rotational position of the stock bobbin;               drive for pulling on each of the 11 drive teeth 92 of a ratchet
   FIG. 20 is an isometric view of the chassis assembled and          wheel 94 of an incremental drive system 96 or ratchet
including the stock bobbin of FIGS. 15 to 17 but excluding            mechanism 96 oflhe
                                                                                       of the dose counter 36. As shown for example
the tape for reasons of clarity;                                   65 in FIG. 1013,
                                                                                10B, the pawl tooth member 90 has a sharp lower
    FIG. 21 is a view of a preferred embodiment of a dry              longitudinal side edge 98 arranged to engage the drive teeth
powder inhaler in accordance with the present invention;              92, the edge-to-surface contact provided by this engagement




                                                                                                                     TEVAQVAR-00031244
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providing very accurate positioning of the actuator pawl 80           220) 2.48 mm from the axis 145. The lop    top surface 78 of the
and resultant rotational positioning of the ratchet wheel 94.         pin 34 (FIG. 6H) is 11.20 mm above the datum plane 220
    ]be
    "Ibe dose counter 36 also has a chassis preassembly 100           (FIG. 9) when the actuator pawl 80 and pin 34 are in the start
which, as shown in FIGS. 4A and 6A, includes a chassis 102            configuration. The length of the valve stem 22 is 11.39 mm
having a first shaft 104 receiving the ratchet wheel 94 which 5 and the drive surface 32 of the canister 20 is 11.39 mm above
is secured to a tape reel shaft 106, and a second shaft (or
                                                         (or split    the datum plane 220 when the canister is at rest waiting to
pin) 108 which is parallel to and spaced from the fIrstfirst shaft    be actuated, such that there is a clearance of 0.19    D.19 mm
104 and which slidably and rotationally receives a tape stock                                                            confIguration.
                                                                      between the canister 20 and the pin 34 in this configuration.
bobbin 110.                                                                      lOA and 1013 show the actuator pawl 80 and ratchet
                                                                         FIGS. l0Aand
    As shown in FIG. 613, when the inhaler has not been used 10 wheel 94 and count pawl 138 in a start position in which the
at all, the majority of a tape 112 is wOlmd
                                       wound on the tape stock        flat top 78 of the pin 34 has not yet been engaged by the
bobbin 110 and the tape 112 has a series of     regularly spaced
                                             ofregularly              outer ammlar drive surface 32 of the canister 20 or at least
numbers 114 displayed therealong to indicate a number of              has not been pushed down during a canister depression.
remaining doses in the canister 20. As the inhaler is repeat-            In this "start" position, the count pawl 138 engages on a
edly used, the ratchet wheel 94 is rotated by the actuator 15 non-return back surface 140 of one of the teeth 92 of the
pawl 80 due to operation of the actuation pin 34 by the               ratchet wheel 94. The lower side edge 98 of the actuator
canister 20 and the tape 112 is incrementally and gradually           pawl is a distance "D" (FIG. 9) 1.33 =1 mm above datum plane
wound on to the tape reel shaft 106 from the second shaft             220 which passes through bottom surface or shoulder 41 of
108. The tape 112 passes around a tape guide 116 of the               valve stem block 40, the datum plane 220 being perpen-
chassis 102 enabling the numbers 114 to be displayed via a 20 dicular to a main axis "X" of the main body 10 of the inhaler
window 118 in a dose counter chamber cover 120 having a               12 which is coaxial with the centre of the valve stem block
dose marker 132 formed or otherwise locatedlocaled thereon.           bore 43 and parallel to a direction of sliding of the canister
    As shown in FIGS. 6A and 6D, the second shaft 108 is              20 in the main body 10 of the inhaler 12 when the canister
forked with two forks 124, 126. The forks 124, 126 are                is fired.
biased away from one another. The forks have located 25                  As shown in FIG. 1013, an advantageous feature of the
thereon at diametrically opposed positions on the second              construction is that the pawl tooth/actuator 90 acts as a
shaft 108 friction or control elements 128, 130, one on each          supplementary anti-back drive member when the inhaler 12
fork. Each control element extends longitudinally along its           is not being used for inhalation. In particular, if the inhaler
respective fork 124, 126 and has a longitudinally extending           12 is accidentally dropped, resulting in a jolt to the dose
friction surface 132, 134 which extends substantially paral-para]- 30 counter 36 then, if the wheel 94 would try to rotate clock-
le]
leI to a longitudinal axis of the second shaft and is adapted         wise (backwards) as shown in FIG. JOB,   lOB, the back surface
to engage inside a substantially cylindrical bore 136 inside          140 of a tooth will engage and be blocked by the tooth
the tape stock bobbin 110. This control arrangement pro-              member 90 of the pawl 80. Therefore, even if the anti-back
vided between the bore 136 and the control elements 128,              drive tooth 138 is temporarily bent or overcome by such a
130 provides good rotational control for the tape stock 35 jolt, undesirable backwards rotation of the wheel 94 is
bobbin 110 such that it does not unwind undesirably such as           prevented and, upon the next canister firing sequence, the
when the inhaler is dropped. The tape force required lo         to    pawl 90 will force the wheel 94 to catch up to its correct
unwind the tape stock bobbin 110 and overcome this friction           position so that the dose counter 36 continues to provide
force is approximately D.1 0.1 N.                                     correct dosage indication.
    As can be seen in FIG. 6D, as well as FIGS. 6G and lOA    l0A 40     FIG. 10C
                                                                                lOC shows a configuration in which the actuator
to 10F,
    l0F, the chassis 102 is provided with an anti-back drive          pawl 80 has been depressed with the pin 34 by the canister
tooth 138 or count pawl 138 which is resiliently and sub-             20 to a position in which the side edge 98 of  ofthe
                                                                                                                        the pawl tooth
stantially fixedly mounted thereto. As will be described              member 90 is just engaged with one of the teeth 92 and will
below and as can be seen in FIGS. lOA    l0A to 10F.
                                                  l0F. when the       therefore upon any further depression of the pin 34 begin to
actuation pin 34 is depressed fully so as to fire the metered 45 rotate the wheel 94. Ibis is referred to as a "Reset" position
valve (not shown) inside the canister 20, the actuator pawl           or configuration. In this configuration, the lower side edge
80 pulls down on one of the teeth 92 of the ratchet wheel 94          98 of the actuator 80 is 0.64 mm above the dattm1
                                                                                                                     datlml plane 220.
and rotates the wheel 94 anticlockwise as shown in FIG. 6D                      l0D shows a configuration in which the actuator
                                                                         FIG. 10D
so as to jump one tooth 92 past the count pawl 138. thereby           pawl 80 has been moved lo   to a position lower than that shown
winding the tape 112 a distance incrementally relative to the 50 in FIG. 10C     l0C and in which the metered dose valve (not
dose marker 122 on the dose counter chamber 120 so as lo        to    shown) inside the canister has at this very position fired in
indicate that one dose has been used.                                 order to eject active drug and propellant through the nozzle
                             l0B, the teeth of the ratchet wheel
    With reference to FIG. lOB,                                       44. It will be noted that in this configuration the count pawl
94 have tips 143 which are radiused with a D.l    0.1 mm radius       138 is very slightly spaced from the back surface 140 of the
between the flat surfaces 140.
                             140, 142. The ratchet wheel 94 has 55 same tooth 92 that it was engaging in the configuration of
a central axis 145 which is D.II
                               0.11 mm above datum plane 220          FIG. 10D. The configuration shown in FIG. 10D     l0D is known
(FIG. 9). A top/nose surface 147 of the anti-back drive tooth         as a "Fire" configuration. In this configuration the lower side
                  0.36 mm above the datum plane 220. The
138 is located D.36                                                             of the actuator 80 is 0.47
                                                                      edge 98 oflhe                   D.47 mm below the datum plane
distance vertically (i.e. transverse to datum plane 220-FIG.          220.
9) between the top nose surface 147 of the anti-back drive 60                   HIE shows a further step in the sequence, called a
                                                                         FIG. HlE
tooth is 0.25 mm from the central axis 145 of the wheel 94.           "Count" position in which the actuator pawl 80 has rotated
Bump surface 144 has a lateral extent of 0.2D  0.20 mm, with a        the ratchet wheel 94 by the distance circumferentially angu-
vertical length of a flat 145' thereof being 1 mm, the width          larly between two of the teeth 92, such that the count pawl
of the bump surface being 1.22 mm (in the direction of the            138 has just finished riding along a forward surface 142 of
axis 145), the top
                 lop 149 of the bump surface 144 being 3.D2  3.02 65 one of the teeth 92 and has resiliently jumped over the tooth
mm vertically below the axis 145, and the flat 145' being             into engagement with the back surface 140 of the next tooth.
spaced a distance sideways (i.e. parallel to the datum plane          Accordingly. in this "Count" configuration. a sufficiently




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long stroke movement of the pin 34 has occurred that the                                            fIrst portion 156, and finally
                                                                      extending extent than the first                         flnally a
tape 112 of the dose counter 36 will just have counted down           second step 164 at which the rail merges into the main inner
one dose. In this confIguration,
                   configuration, the lower side edge 98 of the       wall 50 main surface.
actuator is 0.95 mm below the datum plane 220. Accord-                   A method of assembling the inhaler 12 will now be
ingly, in this position, the actuator 80 generally. including 5 described.
edge 98, is 0.48 mm lower than in the fire configuration. It             With reference to FIG. SA,  8A, the main body 10 of the
has been found that, although the count configuration hap-            inhaler 12 is formed by two or more plastics mouldings
pens further on than the fire configuration, counting is highly       which have been    joined together to the configuration shown.
                                                                                   beenjoined
reliable, with less than one in 50 failed counts per million. 10         As shown in FIG. 813, the actuator pawl 80 and pin 34 are
                                                                   10 translated forward into position into a pin receiving area 166
This is at least partially due to momentum efiects
                                               eflects and to the
                                                                      in the dose counter chamber 66 and the pin 34 and actuator
canister releasing some back pressure on the user in some
                                                                      80 may then be raised until the pin 34 emerges through the
embodiments as its intemal
                       internal metering valve fires.
                                                                      aperture 74.
                                    l0F, the pawl 80 has been
    In the configuration of FIG. 10F,                                    Next, the return spring 56 may be inserted below the pin
further depressed with the pin 34 by the canister 20 to a 15       15
                                                                      34 and a generally cylindrical annular lower end 168 of the
position in which it is just disengaging from one of the teeth        spring 56 may be moved by a tweezer or tweezer-like
92 and the actuator pawl 80 is assisted in this disengagement         assembly tool (not shown) into engagement with a shelf 170
by engagement of one of the anns arms 84 with a bump surface          of a spring retainer 172 in the dose counter chamber 66. The
144 on the chassis 102 (see FIG. 6G) and it will be seen at           spring retainer 172 is V    U-shaped
                                                                                                   -shaped and the shelf 170 is
this point of disengagement, which is called an "End" 20 U-shaped     V-shaped and has a recess 174 formed below it. As shown
configuration, the cmmt pawl 138 is positioned exactly                in FIGS. 4B,
                                                                                 413, 4C and 12 shelf 170 includes three chamfer
halfway or substantially halfWay
                            halfway between two of the drive          surfaces 176. 178, 180 arranged to assist in moving the
teeth 92. This advantageously means therefore that there is           lower end ofofthe
                                                                                    the spring 168 into position onto the shelf using
a minimum chance of any double counting or non-counting,              the assembly tool (not shown). Once the lower end of the
which would be undesirable. In the end configuration, the 25 spring 168 is in place, the assembly tool (not shown) can
side edge 98 of the actuator is 1.65 mm below the datum               easily be removed at least partly via the recess 17
                                                                                                                        1744 below the
plane 220. It will be appreciated that any further depression         lower end 168 of the spring 56.
of the actuator pawl 80 and pin 34 past the "End" configu-               The tape 112 is attached at one end (not shown) lo to the tape
ration shown in FIG. 10Fl0F will have no effect on the position       stock bobbin 110 and is wound onto the bobbin by a motor
of the tape 112 displayed by the dose counter 36 since the 30 200 (FIG. 13) having a hexagonal output shaft 202 which
actuator pawl 80 is disengaged from the ratchet wheel 94              engages in a hexagonal socket 204 (FIG. 6B)  613) of the bobbin.
when it is below the position shown in FIG. 10E    l0F.               During winding, the tape is monitored by a sensor 206,
   As shown in FIGS. 7C and 7D. the inner wall 50 of the              which may be in the fonn of a camera or laser scanner,
main body 10 is provided with a two-step support rail 144             which feeds data to a computer controller 205 for the motor
which extends longitudinally along inside the main body and 35 200. The controller 205 recognises three positioning mark-
is localed
   located directly adjacent the aperture 74. As shown in FIG.        ers 210 in the fonn oflines across the tape 112 and stops the
7B
713 a diametrically opposed two-step support rail 146 is also         motor 202 when the tape 112 is nearly fully wound onto the
provided and this diametrically opposed in the sense that a           bobbin 110, such that the distal end 212 of the tape 112 can
vertical plane (not shown) can pass substantially directly            be secured, e.g. by adhesive, to the tape reel shaft 106. The
through the first rail 144, the aperture 74, a central aperture 40 controller 205 also recognises a pixelated tape size marker
148 of the valve stem block 40 (in which canister stem 25             214 observed by the sensor 206 and logs in a stocking
is localed)
    located) and the second two-step support rail 146. As             system data store 217 details of the tape 112 such as the
shown in FIG. 7A and schematically in FIG. 713,     7B, the rails     number of numbers 114 on the tape, such as one hundred and
144. 146 provide a maximum clearance between the canister             twenty or two hundred numbers 114. Next, the tape reel shaft
20 and the rails 144, 146 in a radial direction of almost 45 is wound until an appropriate position of the lines 210 at
exactly 0.3 mm, about 0.25 to 0.35 mm being a typical                 which a priming dot 216 will, once the bobbin 110 and reel
range. This clearance in this plane means that the canister 20        shaft 106 are slid onto the second shaft 108 and second shaft
can only rock backwards and forwards in this plane towards            104, be in a position to be located in the window 118 when
away from the actuation pin 34. A relatively small distance           the inhaler 12 is fully assembled. In the embodiments, the
and this therefore prevents the canister wobbling and chang- 50 bobbin 110 and reel shaft 106 may be slid onto the shafts
ing the height of the actuation pin 34 a as to undesirably alter      108, 104 before the tape 112 is secured lo to the reel shaft 106
the accuracy of the dose counter 36. This is theret'.Jfe
                                                theretixe highly      and the reel shaft may then be wound to position the priming
advantageous.                                                         dot 216.
   The inner wall 50 of the main body 10 is provided with                Next, the assembled dose counter components of the
      fhrther two-step rails 150 as well as two pairs 152, 154 55 chassis preassembly 100 shown in FIG. 6B
two further                                                                                                      613 may as shown in
of rails extending difierent
                    diflerent constant radial amounts inwardly        FIG. 8C
                                                                            SC be inserted into the dose counter chamber 66, with
from the inner wall 50, so as to generally achieve a maxi-            pins 182, 184. 186 fanned on the main body 10 in the dose
mum clearance of almost exactly 0.3 mm around the canister            counter chamber 66 passing through apertures or slots 188.
20 for all of the rails 144, 146, 150, 152, 154 spaced around         190.192
                                                                      190. 192 formed on the chassis 102, such that the pins 182,
the periphery of the inner wall 50. in order to prevent undue 60 184. 186 extend through (or at least into) the apertures or
rocking while still allowing canister motion freely inside the        slots 188, 190, 192. With the chassis 102 being relatively
inhaler 12. It will be clear from FIG. 7C for example that the        fimlly pushed towards the main body 10, the pins 182, 184,
                                                                      fim1ly
two-step rails have a first portion near an outlet end 156 of         186 are then heat slaked
                                                                                         staked and the chassis 102 is therefore after
the canister chamber 18, the flrst
                                first portion having a substan-                        flnnly in position in the main body and is
                                                                      this held very firmly
tially constant radial or inwardly-extending width, a fIrst  first 65 unable to move. thereby assisting in providing great accu-
step 160 leading to a second portion 162 of the rail, the             racy for the dose counter 36. Next, as shown in FIG. 8D,  SD, the
second portion 102 having a lesser radial or inwardly                 dose counter chamber cover 120 may be fitted over the dose




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counter chamber 66 and may be secured in place such as by                                                        modiflcation in that the
                                                                          First, it can be seen that there is a modification
welding, with the priming dot 216 being displayed through              drive teeth 92 of the ratchet wheel 94 have a different profile
the window.                                                            to that in FIGS. lIto
                                                                                           lo 14. There are also only nine ratchet teeth
   ]be
   "Tile user can, when readying the inhaler 12 for first use,         94 in this embodiment instead of eleven.
prime the inhaler by depressing the canister 20 three times               Additionally, as shown in FIGS. 18C lSC and 19C, the control
which will bring the first number 114 on the tape into display         elements 128,
                                                                                   12S, 130 on the forks 124, 126 of the second shaft
through the window 11S  118 in place of the priming dot 216, the       lOS have a tapered prof-lie
                                                                       108                   profile which is different to the profile of
number 114 shown in FIG. SD being "200", thereby indi-                 the control elements 128, 12S, 130 shown in FIG. 6F. Either
cating that 200 doses are remaining to be dispensed from the           profile can be used in the embodiment of FIGS. 15 to 20
                                                                    10
canister 20 and inhaler 12.                                         10 however.
   As shown in FIG. SD, and in FIG. 5, an open drain hole                 Furthermore, as shown in FIG. 15, the tape stock bobbin
194 is provided at al the bottom of the dose counter chamber           110 has an inwardly facing generally cylindrical engagement
66 by a substantially semi-circular cut-out or recess fOlll1a-
                                                          fomia-       surface 300 with a wavelike form extending partially the-
tion 196 in a lower surface 19S 198 of the main body 10 of the 15 realong. The engagement surface 300 has a cross-section
inhaler. Accordingly, if the user (not shown) should decide            301 perpendicular to the longitudinal length of the stock
to wash the main body 10 of the inhaler, for example after             bobbin 110 which is constant therealong. This cross-section
encountering an unhygienic situation or simply as a matter             301 can be seen in FIG. 16 and consists of a series of ten
of choice, the drain hole 194 allows initial draining of water         regularly spaced concavities 302 and ten convex wall por-
from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi-spaced
evaporation of water or any aqueous matter in the dose                 between the concavities 302. Each concavity 302 has a
COllnter chamber 66 so that the window 11S
counter                                     118 does not mist up       radills of 0.2 nm1. Each convex wall portion 304 also has a
                                                                       radius
undesirably.                                                                   of 0.2 mm. Finally, the cross section 301 also includes
                                                                       radius of0.2
   FIG. 14 shows a computer system 230 for designing the               flat wall portions 306 between all of the radiused wall
dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
tions representative of average positions and standard devia-          304. The geometry of the cross-section 301 is therefore
tions in a production series of inhalers of the start, reset, fire,    defined by the radii of the concavities 302 and convex wall
count and end positions of the actuator lower side edge 9S      98     portions 304, the flat wall portions 306 and the fact that there
relative to the datum plane 220 (FIG. 9) and therefore of the          are ten concavities 302 and convex wall portions 304.
actuator pawl SO80 generally relative to the ratchet wheel 94, 30         The minor diameter of the engagement surface 300, i.e.
chassis 102 and, when the inhaler 12 is fully assembled, the           between the tips of opposite convex wall portions 304, is
main body 10 of the inhaler 12. The computer system 230                2.46 nm1. The major diameter of the engagement surface
includes a data store 232, a CPU 234, an input device 236              300, i.e. between the outermost portions of the concavities
(such as a keyboard or conmmnication port) and an output               302, is 2.70 mm. The undefom1ed
                                                                                                   undefolll1ed tip to tip maximum
         23S (such as a communications port, display screen 35 diameter of the forks 124, 126 of the split pin (the second
device 238
and/or printer). A user may enter data via the input device            shaft) 108,
                                                                       shaf1) lOS, i.e. in the region of the maximum radio extent of
236 which may be used by the CPU 234 in a mathematical                 the control elements 128,
                                                                                               12S, 130, is 3.1 millimeters and it will
calculation to predict count failure rates when the various            therefore be appreciated that the forks 124, 126 are resil-
dose counters are to be built in a series with dose counter            iently compressed once the stock bobbin 110 has been
positions set with given averages and standard deviations 40 assembled onto the split pin 108            lOS in all rotational configu-
                                                                                                                                conflgu-
and taking into account any momentum/inertia effects and               rations of the stock bobbin 110 relative to the split pin 108.
                                                                                                                                    lOS.
metering valve user-back-pressure reduction effect which               The minimum gap between the forks 124, 126 in the plane
will occur upon canister flring
                             firing of a given type of canister.       of the cross sections of FIGS. 18C ISC and 19C is 1 mm when
The computer system 230 is thus mathematically used to                 the split pin 108
                                                                                       lOS is in the undeformed, pre-inserted state.
design the distributions. For the inhaler 12 described herein 45 When the split pin 108        lOS is at maximum compression, as
with the dose counter 36 and canister 20, the distributions            shown in FIGS. 18A lSA to 18C
                                                                                                  lSC when the control elements 12S,128,
are designed as shown in FIG. 11. The x axis shows distance            130 are shown to be engaged on top of the convex wall
of the lower side surface 9S   98 of the actuator SO
                                                   80 above the        portions 304, the gap 30830S between the tips 310, 312 of the
datum plane 220 and the y axis is representative of the                forks 124, 126 is 0.36 mm. On the other hand, when the split
distribution. Thus, curve 240 shows that the start confIgu-
                                                         configu- 50 pin 108lOS is at minimum compression (once inserted into the
ration has an average 1.33 nm1 above the datum plane 200               stock bobbin) as shown in FIGS. 19A to 19C, when the
(standard deviation is 0.1 mm), curve 242 shows that the                                   12S, 130 rest in the concavities 302, the gap
                                                                       control elements 128,
reset configuration has an average of 0.64 mm above the                between the tips 310, 312 of the forks 124, 126 is 0.6 mm.
datum plane 220 (standard deviation is 0.082 mm), curve                The control elements 128,12S, 130 are outwardly radiused with
244 shows the fire conflguration
                       configuration has an average 0.47 mm 55 a radius also of 0.2 mm such that they can just rest on the
below the datum plane 220 (standard deviation is 0.141                 concavities 302 with full surface contact (at least at an axial
1=),
mm), curve 246 shows the count configuration has an                    location on the split pin where the tapered control elements
average 0.95 mm below the datum plane 220 (standard                    are at their maximum radial extent), without rattling in,
deviation is 0.080 nm1), and curve 24S      248 shows the end          locking onto or failing to fit in the concavities 302. The radii
configuration has an average of 1.65 mm below the datum 60 of the control elements 128,             12S, 130 is therefore preferably
plane 220 (standard deviation is 0.144 mm).                            substantially the same as the radii of the concavities 302
   FIGS. 15 to 20 show a version of the inhaler modified in               It will be appreciated that whereas FIGS. 18BlSB and 19B are
accordance with the present invention. In these drawings,              end views along the coaxial axis of  ofthe
                                                                                                               the stock bobbin 110 and
the same reference numerals have been used lo     to those in the                 lOS, FIGS. 18A
                                                                       split pin 108,          lSA and 19A are cross-sections. FIG.
earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A-A' in FIG. 19C and FIG. 18A            lSA
inhaler 12 is the same as that in FIGS. 1 to 14 apart from the         is a section at the same plane, but of course with the stock
following modifications.                                               bobbin 111100 rotated relative to the split pin 10S.
                                                                                                                        108.




                                                                                                                       TEVAQVAR-00031247
                                                            Appx115
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                              19                                                                    20
    As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
in order to count used doses, the stock bobbin rotates             split pin 108 are both moulded of polypropylene material.
incrementally through rotational positions in which rotation           It will be seen from FIG. 16 that the cross-sectional shape
is resisted, i.e. due to increasing compression of the split pin   301 is not symmetrical within the hexagonal socket 204.
108 at such rotational positions, and rotational positions in      This has enabled the hexagonal socket 204 to be maintained
which rotation is promoted, i.e. due to decreasing compres-        at a useful size while still allowing the desired size and
sion of the split pin 108 atal such rotational positions and this  geometry of the cross section 301 to fit without interfering
may involve a click forward of the stock bobbin 110 to the         with the hexagonal shape of the hexagonal socket 204 and
next position equivalent to that in FIGS. 19A to 19C in            also permits moulding to work during manufacture.
which the control elements 128, 130 of the split pin art 10            As shown in FIG. 17, the stock bobbin 110 has a series of
located in the concavities 302. This functionality firstly         tlJUf circumferential ribs 330 inside it and a spaced therea-
                                                                   ti.Jur
allows the stock bobbin to unwind during use as required,          long. These hold the stock bobbin 110 on the correct side of
but also prevents the tape 112 from loosening during transit       the mould tool during moulding.
if the inhaler 12 is dropped, such as onto a hard surface. This        FIGS. 21 and 22 show a preferred embodiment in accor-
is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
moving to a position in which it will give an incorrect            dry-powdered medicament in metered doses for patient
reading regarding the number of doses in the canister.             inhalation. The inhaler 51(1510 is as disclosed in FIGS. 1 to 16
    During compression and expansion of the forks in the           or EP-A-1330280, the contents of which are hereby fully
radial direction bev.veen
                    benveen the two configurations shown in        incorporated herein by reference, but with the stock bobbin
FIGS. 18C and 19C, the forks 124, 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
316 on the split pin where the forks 124, 126 come together.       so as to be as in FIGS. 15 to 20 hereof. Thus, the dry powder
This rotational action means that there is a camming
                                                camrning action    inhaler 510 generally includes
                                                                                            incllldes a housing 518, and an assem-
between the forks 124, 126 and the engagement surface 300          bly 512 received in the housing (see FIG. 21). The housing
without significant friction but, nevertheless, the resilient      518 includes a case 520 having an open end 522 and a
forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG. 25) for patient inhalation, a cap 526
surface 300 and forks 124, 126 are able to regulate unwind-        secured to and closing the open end 522 of the case 520, and
ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
transit or if the inhaler 12 is dropped. It has been found         the mouthpiece 524. As shown in FIG. 22, the inhaler 510
during testing that a force of 0.3 to 0.4 N needs to be applied    also includes an actuation spring 569, first fIrst yoke 566 with
to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572, bellows 540 with crown 574, a reservoir 514,
110. 0.32 N is achieved with the control elements 128 having
110.0.32                                                           second yoke 568 with hopper 542 and dose counter 516
the profile shown in FIG. 19C and 0.38 N is achieved with          mounted thereto, and case 520 has transparent window 5130
the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128. The
as described with reference to FIG. 6F. These forces are           dose metering system also includes two cams 570 mounted
substantially higher than the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
and undesirable movement of the tape is substantially              528 between open and closed positions. The cams 570 each
avoided even if the inhaler is dropped onto a hard surface.        include an opening 580 for allowing outwardly extending
The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
provide this force "constantly" such that there is overall not     received in first recesses 584 of the cover 528. The cams 570
an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
the other components of the dose counter because, due to the       second recesses 588 of the cover 528, such that the cover
incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
tape 112 can incrementally relax as it slides over the             the cover 528 about the hinges 582. As described in EP-A-
stationary chassis components.                                     1330280, cams 570 act upon cam followers 578 to move
    Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
portions 304, other numbers may be used, such as 8 or 12.          counter by engagement of pawl 5138 on the second yoke
However, it is preferred to have an even number, especially        568 with teeth 5136. Remaining components of the inhaler
since two control elements 128, 130 are provided, so that all      are provided as, and operate as described, in EP-A-1330280.
of the control elements 128, 130 will expand and contract              The dose counting system 516 therefore includes a ribbon
simultaneously. However, other arrangements arc envisaged 50 or tape 5128 (FIGS. 23 &         & 24), having successive numbers
                                                                                                                         nll1l1bers or
with 3 or more forks and the number of concavities/convex          other suitable indicia printed thereon, in alignment with a
wall portions may be maintained as an integer divisible by         transparent window 5130 provided in the housing 18 (see
the number of forks to maintain a system with simultaneous         FIG. 22). The dose counting system 516 includes the rotat-
expansion/contraction. For example, the use of 9, 12 or 15         able stock bobbin 110 (as described above), an indexing
concavities/convex wall portions with 3 forks is envisaged. 55 spool 5134 rotatable in a single direction, and the ribbon
    Instead of having the engagement surface 300 on the            5128 rolled and received on the bobbin 110 and having a flrst  first
inside of the stock bobbin 110, it could be placed on the          end 5127 secured to the spool 5134, wherein the ribbon 5128
outside of the stock bobbin 110 so as to be engaged by             unrolls from the bobbin 110 so that the indicia are succes-
flexible external legs/pawls or similar.                           sively displayed as the spool 5134 is rotated or advanced. In
    It will be noted that the regulator provided by the engage- 60 FIGS. 23 and 24 the wavelike engagement surface 300 of the
ment surface 300 and forks 124, 126 does not only allow            bobbin 110 is not shown for the purposes of clarity.
rotation of the stock bobbin in one direction as is the case           The spool 134 is arranged to rotate upon movement of the
with the ratchet wheel 94. Rotation in both directions is          yokes 566, 568 to effect delivery of a dose of medicament
possible, i.e. forwards and backwards. This means that             from reservoir 514, such that the number on the ribbon 5128
during assembly, the stock bobbin 110 can be wound back- 65 is advanced lo        to indicate that another dose has been dispensed
wards during or after fitting the bobbin 100, shaft 106 and        by the inhaler 510. The ribbon 5128 can be arranged such
tape 112 onto the carriage 102, if desired.                        that the numbers, or other suitable indicia, increase or




                                                                                                                     TEVAQVAR-00031248
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                             21                                                                  22
decrease upon rotation of the spool 5134. For example, the            a dose counter having an actuation member having at least
ribbon 5128 can be arranged such that the numbers, or other              a portion thereof located in the canister housing for
suitable indicia, decrease upon rotation of the spool 5134 to            operation by movement of the medicament canister,
indicate the number of doses remaining in the inhaler 510.            wherein the canister housing has an inner wall, and a first
Alternatively, the ribbon 5128 can be arranged such that the             inner wall canister support formation extending
numbers, or other suitable indicia, increase upon rotation of            inwardly from a main surface of the inner wall, and
the spool 5134 to indicate the number of doses dispensed by           wherein the canister housing has a longitudinal axis X
the inhaler 10.                                                          which passes through the center of the central outlet
   The indexing spool 5134 includes radially extending teeth             port,
                                                                      the inner wall canister support formation, the actuation
5136, which are engaged by pawl 5138 extending from a 10
                                                                         member, and the central outlet port lying in a common
cam follower 578 of the second yoke 568 upon movement
                                                                         plane coincident with the longitudinal axis X.
of the yoke to rotate, or advance, the indexing spool 5134.           2. The inhaler as claimed in claim 1 wherein the medi-
More particularly, the pawl 5138 is shaped and arranged            cament canister is movable relative to the dose counter.
such that it engages the teeth 5136 and advances the index-           3. The inhaler as claimed in claim 1 farther
                                                                                                           fhrther comprising an
ing spool 5134 only upon the mouthpiece cover 528 being 15      15 aperture formed in the inner wall through which the portion
closed and the yokes 566, 568 moved back towards the cap           of the actuation member extends.
526 of the housing 518.                                               4. The inhaler as claimed in claim 1, wherein the first
   ]be
   "Ine dose counting system 516 also includes a chassis           inner wall canister support formation comprises a support
5140 that secures the dose counting system to the hopper           rail which extends longitudinally along an inside surface of
542 and includes shafts 108, 5144 for receiving the bobbin 2o   20 the main body.
110 and the indexing spool 5134. As described above with              5. The inhaler as claimed in claim 4, wherein the support
reference to FIGS. 1 to 20, the bobbin shaft 108 is forked and     rail includes a step formed thereon.
includes radially nubs 5146 for creating a resilient resistance                                             further comprising a
                                                                      6. The inhaler as claimed in claim 4 farther
to rotation of the bobbin 11
                           110() on the shaft 108 by engaging      plurality of support rails each of which extends longitudi-
with the wavelike engagement surface 300 inside the bobbin 25 nally along an inside surface of the main body.
110. A clutch spring 5148 is received on the end of the               7. The inhaler as claimed in claim 6, wherein two of the
indexing spool 5134 and locked to the chassis 5140 to allow        plurality of support rails are positioned at opposite ends of
rotation of the spool 5134 in only a single direction.             the inside surface of the main body to face each other.
   Various moditlcations
            modifications may be made to   lo the embodiment          8. The inhaler as claimed in claim 4, wherein the support
shown without departing from the scope of the invention as 30   30 rail includes two steps formed thereon, the steps being
defined by the accompanying claims as interpreted under            spaced apart longitudinally along an inside surface of the
patent law.                                                        main body.
   What is claimed:                                                   9. The inhaler as claimed in claim 4, wherein the support
   1. An inhaler for metered dose inhalation, the inhaler 35
                                                                   rail merges with the inner wall at a location adjacent the
                                                                35 aperture.
comprising:
   a main body having a canister housing,                             10. The inhaler as claimed in claim 9, wherein a width
   a medicament canister, which is moveable relative to the        dimension of the support rail is not constant, and the width
      canister housing and retained in a central outlet port of    dimension is greatest at the location where the support rail
      the canister housing arranged to mate with a canister        merges with the inner wall.
     fire
     tIre stem of the medicament canister, and                                           *   *   *    *   *




                                                                                                                TEVAQVAR-00031249
                                                         Appx117
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                UNITED STATES DEPARTMENT OF COMMERCE     COMJ.\1ERCE
                      United States Patent and Trademark Office

                                                February 26, 2021

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   U.S. PATENT: 9,808,587
   ISSUE DATE: November 07, 2017




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                                     Appx118
        Case: 23-2241                   Document: 27-1                        Page: 123                Filed: 03/22/2024



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c12)
(12)   United States Patent                                                (10) Patent No.:                    US 9,808,587 B2
       Walsh et al.                                                        (45) Date of Patent:                                7,2017
                                                                                                                         *Nov. 7, 2017

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                                                                                A61M 11100                (2006.01)
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                  IRELAND, Waterford (IE); NORTON                      (52)          CI.
                                                                                U.S. Cl.
                  (WATERFORD) LIMITED, Waterford                                             A61ilf 1510078
                                                                                CPC ........ A6lilf      15/0078 (2014.02); A61M 111()()11/()()
                  (IE); TEVA PHARMACEUTICALS                                                       (2013.01); A61M 151009 (2013.01);
                  IRELAND, Waterford (IE)                                                            (Continued)
                                                                       (58)     Field of Classification Search
(72)   Inventors: Deelan
                  Declan Walsh, Co. Kilkenny (IE);                              USPC ................................. 235/8, 103; 128/200.23
                  Derek Fenlon, Co. Wexford (IE);                               See application file for complete search history.
                  Simon Kaar, Co. Cork (IE); Jan Geert
                  Hazenberg, Co. Kilkenny (IE); Daniel                 (56)                     References Cited
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( *)   Notice:      Subject to any disclaimer, the term of this
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                    patent is extended or adjusted under 35
                    U.S.c.
                    U.S.C. 154(b) by 0 O days.                        Final Office Action dated Oct. 20, 2016 for U.S. Appl. No.
                                                                      14/699,567.
                    This patent is subject to a terminal dis-
                    claimer.                                                                        (Continued)

                                                                      Primary Examiner ----- Daniel Hess
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                                                                      (7 4) Attorney, Agent, or Firm ----- Morgan, Lewis &
                                                                      (74)                                               &
(22)   Filed:       Sep. 19, 2016                                     Bockius LLP

(65)                  Prior Publication Data                           (57)                        ABSTRACT

       US 2017/0000962
          2017 /0000962 Al          Jan. 5, 2017                      An inhaler includes a main body having a canister housing,
                                                                                                                          hOllsing,
                                                                      a medicament canister retained in a central outlet port ofthe
                                                                                                                              of the
                                                                      canister housing.
                                                                                housing, and a dose counter having an actuation
                                                                      member for operation by movement of the medicament
                Related U.S. Application Data
                                                                                                                   walL and a first
                                                                      canister. The canister housing has an inner wall.
(60)   Continuation of application No. 14/103,324, filed
                                                   tlled on           hiller wall canister support fomiation
                                                                      inner                        fomlation extending inwardly
       Dec. 11, 2013, now Pat. No. 9,463,289, which is a                                          imler wall. The canister housing
                                                                      from a main surface of the im1er
                        (Continued)                                                           (Continued)




                                                        74                 38




                                                                                                                             TEVAQVAR-00031251
                                                          Appx119
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has a longitudinal axis X which passes through the center of                     FOREIGN PATENT
                                                                                         PArENT DOCUMENTS
the central outlet port. The first inner wall canister support
                                                                    EP                1486227           12/2004
formation, the actuation member, and the central outlet port
                                                                    GB                2320489            6/1998
lie in a common plane coincident with the longitudinal axis         IL                 201256           11/2014
X such that the first inner wall canister support tlJrmation
                                                    tixmation       jp
                                                                    JP               02502129            7/1990
                                                                                                         711990
protects against unwanted actuation of the dose counter by          JP                 450059            8/1992
                                                                    JP               07100205            4/1995
reducing rocking of the medicament canister relative lo  to the     JP               10504220            4/1998
main body of the inhaler.                                           jp
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                                                61/345,763,         WO             2006062449            6/2006
       filed on May 18, 2010.                                       WO             2006062449 Al         6/2006
                                                                    WO             2007012861            2/2007
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       A61M 15/00
              15100           (2006.01)                             WO             2008119552            2/2008
       (;B6M 1/24
       Cl-06M  1124           (2006.01)                             WO             2011012325             2/2011
                                                                    WO             2011012327             2/2011
(52)   U.S. Cl.
       epc .... A61M 15/0025
       CPC               1510025 (2014.02); A61M 15/0026
                                                    1510026
                (2014.02); A61M 15/0()65
                                 1510065 (2013.01); A61ilf
                                                     A6lilf                            OTHER PUBLICATIONS
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                                           11246 (2013.01);         Advisory Action dated Mar. 13, 2017 for U.S. Appl.          App!. No.
                      2202/064 (2013.01); A61M 220516063
              A61M 22021064                      2205/6063          14/699,567.
                                 2207/00 (2013.01); A61M
                 (2013.01); A61M 2207100                            Non-Final Office Action dated Jan. 12, 2017 for lJ.S.  U.S. Appl.
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                                     YJ0T 29149
                                           29/49 (2015.01);         14/713,620, 8 pages.
                                                                    141713,620,8
                   Y]OT 29/49764 (2015.01); Y]OT
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     FIG.2                           FIG.3A
                                     FIG. 3A                  FIG.38
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     FIG.4C                          FIG.4A                   FIG.55
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           FIG.6A
           FIG. 6A
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              FIG.6D                                       FIG.6E
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                               FIG.6F
                               FIG. 6F




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                                   FIG.6G
                                   FIG. 6G


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                                                        FIG. 7B
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              68
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                    86     ° FIG.6H
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                             FIG. 6H


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                                    FIG. 11
                                    FIG.11

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                                    FIG. 14
                                    FIG.14



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                                    FIG. 12
      114     216        210                                       212




               217          205




                                  FIG. 13



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                                    FIG. 15
                                    FIG.15
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              FIG. 20
              FIG.20                               FIG. 16
                                                   FIG.16




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                         FIG.17
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           FIG. 21
           FIG.21



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                                                                   FIG. 22
                                                                   FIG.22



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                                    FIG. 23
                                    FIG. 23


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                                  FIG. 25
                                  FIG.25




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                                  FIG. 26
                                  FIG.26



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     DOSE COUNTER FOR INHALER HAVING                                 mounted on a yoke, travels a known long stroke of consis-
    AN ANTI-REVERSE ROTATION ACTUATOR                                tent length as the mouthpiece is opened and closed.
                                                                        WO 2008/119552 discloses a metered-dose inhaler which
            CROSS-REFERENCE TO RELATED                               is suitable for breath-operated applications and operates with
                       APPLICATIONS                                  a known and constant canister stroke length of      3.04 mm+l-
                                                                                                                      of3.04  nmi+/-
                                                                     0.255 mm. A stock bobbin of the counter, from which a tape
   TI1is patent application is a continuation patent applica-
   111is                                                             is unwound, rotates on a shaft having a split pin intended to
tion of U.S. Non-Provisional patent application Ser. No.             hold the stock bobbin taut. However, some dose counters do
14/103,324, filed Dec. 11, 2013. which is a divisional patent 10 not keep a particularly reliable count, such as if they are
application of U.S. Non-Provisional patent application Ser. 10 dropped onto a hard surface.
No. 13/110,532, filed May 18, 2011, now U.S. Pat. No.                   More recently, it has become desirable to improve dose
8,978,966,
8,978,966. issued Mar. 17, 2015, which claims priority lo      to    counters further and, in particular, it is fell that it would be
U.S. Provisional Patent Application No. 61/345,763, flied  filed     useful to provide extremely accurate dose counters for
May 18, 2010, and U.S. Provisional Patent Application No.
                                                                  15 manually-operated canister-type metered dose inhalers.
61/417,659, filed Nov. 29. 2010. each of which is incorpo-        15
                                                                     Unfortunately, in these inhalers, it has been found in the
rated herein by reference in its entirety for any and all
                                                                     course of making the present invention that the stroke length
purposes.
                                                                     of the canister is to a very large extent controlled on each
                FIELD OF THE INVENTION                               dose operation by the user, and by hand. Therefore, the
                                                                  20 stroke length is highly variable and it is found to be
   The present invention relates to dose counters for inhal-         extremely difficult to provide a highly reliable dose counter
ers, inhalers and methods of assembly thereof. The invention                                              COllnter must
                                                                     for these applications. The dose counter      mllst not count a
is particularly applicable to metered dose inhalers including        dose when the canister has not fired since this might wrongly
dry power medicament inhalers, breath actuated inhalers and          indicate to the user that a dose has been applied and if done
manually operated metered dose medicament inhalers.                                               throwaway
                                                                  25 repeatedly the user would throw     away the canister or whole
                                                                     device before it is really time to change the device due to the
          BACKGROUND OF THE INVENTION                                        drug and propellant reaching a set minimum. Addi-
                                                                     active dmg
                                                                     tionally, the canister must not fire without the dose counter
   Metered dose inhalers can comprise a medicament-con-              counting because the user may then apply another dose
taining pressurised canister containing a mixture of active 30    30
                                                                     thinking that the canister has not fired, and if this is done
drug and propellant. Such canisters are usually formed from
dmg
                                                                     repeatedly the active dmgdrug and/or propellant may run out
a deep-dawn aluminium cup having a crimped lid which
                                                                     while the user thinks the device is still suitable for use
carries a metering valve assembly. The metering valve
                                                                     according to the counter. It has also been found to be fairly
assembly is provided with a protruding valve stem which, in
                           fit into a stem block in an actuator 35 difficult to assembly some known inhaler devices and the
use is inserted as a push fll
body of an inhaler having a drug delivery outlet. In order lo  to    dose counters therefor. Additionally, it is felt desirable to
actuate a manually operable inhaler, the user applies by hand        improve upon inhalers by making them easily usable after
a compressive force to a closed end of the canister and the          they have been washed with water.
internal components of the metering valve assembly are                  The present invention aims to alleviate at least to a certain
spring loaded so that a compressive force of approximately 40 extent one or more of the problems of the prior art.
15 to 30 N is required to activate the device in some typical
circumstances.                                                                    SUMMARY OF THE INVENTION
   In response to this compressive force the canister moves
axially with respect to the valve stem and the axial move-              According to a first aspect of the present invention there
ment is sufficient to actuate the metering valve and cause a 45 is provided a dose counter for an inhaler, the dose counter
metered quantity of the drug and the propellant to be                having a counter display arranged to indicate dosage int(x-intix-
expelled through the valve stem. This is then released into a        mation, a drive system arranged to move the counter display
mouthpiece of the inhaler via a nozzle in the stem block,            incrementally in a first direction from a first station to a
such that a user inhaling through the outlet of the inhaler will     second station in response lo   to actuation input, wherein a
receive a dose of the drug.                                       50 regulator is provided which is arranged to act upon the
   A drawback of self-administration from an inhaler is that         counter display at the first station lo
                                                                                                           to regulate motion of the
it is difficult to determine how much active drug  dmg and/or        counter display at the first station to incremental move-
propellant are left in the inhaler, if any, especially of the        ments.
active drug and this is potentially hazardous for the user              The regulator is advantageous in that it helps prevent
since dosing becomes unreliable and backup devices not 55 unwanted motion of the counter display if the counter is
always available.                                                    dropped.
   Inhalers incorporating dose counters have therefore                  According to a further aspect of the present invention, the
become known.                                                        regulator provides a resistance force of greater than 0.1 N
   WO 98/028033 discloses an inhaler having a ratchet                against movement of the counter display. According to still
mechanism for driving a tape drive dose counter. A shaft 60 a further aspect of the present invention, the resistance force
onto which tape is wound has a friction clutch or spring for         is greater than 0.3 N. According to yet a further aspect ofthe
                                                                                                                               of the
restraining the shaft against reverse rotation.                      present invention, the resistance force is from 0.3 to 0.4 N.
   EP-A-1486227 discloses an inhaler for dry powered                    Preferably, the counter comprises a tape.
medicament having a ratchet mechanism for a tape dose                   Preferably, the tape has dose counter indicia displayed
counter which is operated when a mouthpiece of the inhaler 65 thereon. The first station may comprise a region of the dose
is closed. Due to the way in which the mouthpiece is opened          counter where tape is held which is located before a display
and closed, and actuation pawl of the device which is                location, such as a display window, for the counter indicia.




                                                                                                                    TEVAQVAR-00031271
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                               3                                                                     4
   TIle first
   TI1e fIrst station may comprise a flrst
                                       first shaft, the tape being        According to a further aspect of the present invention
arranged on the first shaft and to unwind therefrom upon               there is provided a shaft for holding counter tape in a dose
movement of the counter display.                                       counter for an inhaler, the shaft having an engagement
   ]be first shaft may be mounted for rotation relative to a
   "Ine                                                                surface including incrementally spaced formations located
substantially rotationally fixed element of the dose counter.          around a periphery thereof, the formations comprising a
   The regulator may comprise at least one projection which            series of curved concavities and convex portions.
is arranged on one of the first shaft and the substantially               The shaft may comprise a hollow bobbin.
rotationally fixed element and to lo engage incrementally with            The engagement surface may be a generally cylindrical
one or more formations on the other of the first shaft and the
                                                                    10 inwardly directed surface.
substantially rotationally fixed element.                           10
                                                                          The engagement surface may include a flat surface wall
   At least two said projections may be provided. Exactly
                                                                       portion joining each concavity and convex wall portion.
two said projections maybe provided.
                                                                          Each concavity may comprise a radiused wall portion.
   Each projection may comprise a radiused surface.
   TI1e
   TIle at least one projection may be located on the sub-                Each convex wall portion may comprise a radiused wall
             flxed element which may comprise a fixed shaft 15 portion.
stantially fixed
which is fixed to a main body of the dose counter, the first              Said concavities may be regularly spaced around a lon-
shaft being rotationally mounted to the fixed shaft.                   gitudinal axis of the shaft.
   Preferably, the fixed shaft has at least two resiliently               Said convex wall portions may be regularly spaced
flexible legs (or forks). Each leg may have at least one said          around a longitudinal axis of the shaft.
projection fonned in an outwardly facing direction thereon, 20            In some embodiments there may be from eight to twelve
said one or more formations being formed on an inwardly                said concavities and/or convex wall portions regularly
facing engagement surface of the fIrst
                                     first shaft, said at least one    spaced around a longitudinal axis thereof.
projection being arranged to resiliently engage said one or               One embodiment includes ten said concavities and/or
more formations. Preferably, a series of said formations are           convex wall portions regularly spaced around a longitudinal
provided. An even number of said formations may be 25 axis of the shaft.
provided. Eight to twelve of said formations may be pro-                  According to a further aspect of the present invention
vided. In one embodiment, ten said formations are provided.            there is provided a shaft and counter tape assembly for use
   Each said formation may comprise a concavity formed on              in a dose counter for an inhaler, the assembly comprising a
an engagement surface. Each concavity may comprise a                   rotatable shaft and a counter tape which is wound around the
radiused surface wall portion which preferably merges on at 30 shaft and is adapted to tmwind       tillwind therefrom upon inhaler
least one side thereof into a flat wall portion surface. The
                                                                       actuation, the shaft having an engagement surface which
engagement surface may include a series of said concavities,
                                                                       includes incrementally spaced formations located around a
and convex wall portions of the engagement surface may be
                                                                       periphery thereof.
formed between each adjacent two said concavities, each
said convex wall portion comprising a convex radiused wall 35             According to a further aspect of the present invention
portion.                                                               there  is provided an inhaler for the inhalation of medication
   Each convex radiused wall portion of each convex wall               and the like, the inhaler including a dose counter as in the
portion may be connected by said flat wall portion surfaces            first aspect of the present invention.
to each adjacent concavity.                                                            constmction consists of a manually operated
                                                                          A preferred constrnction
   The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
and each projection may be located on a said fork leg.                 including a dose display tape driven by a ratchet wheel
   TI1e
   TIle first shaft may comprise a substantially hollow bob-           which is driven in tum by an actuator pawl actuated by
bin.                                                                   movement of a canister, the tape unwinding from a stock
   Said at least one formation may be located on an inner              bobbin during use of the inhaler, a rotation regulator being
surface of the bobbin. In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
located on an outer surface thereof. Said engagement surface           engagement surface with concavities which engage against
may extend partially along said bobbin, a remainder of the             control elements in the form of protrusions
                                                                                                         protmsions on resilient forks
respective inner or outer surface having a generally smooth            of a split pin thereby permitting incremental unwinding of
journal portion along at least a portion thereof.                      the stock bobbin yet resisting excessive rotation if the
   The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface.
arranged lo to act upon a second shaft which is located at the            According to another aspect of the present invention there
second station, the second shaft being rotatable to wind the           is provided a dose counter for a metered dose inhaler having
tape onto the second shaft.                                            a body arranged to retain a medicament canister of prede-
   The second shaft may be located on a main body of the               termined configuration for movement of the canister relative
dose counter spaced from and parallel to the first shaft.           55 thereto; the dose counter comprising: an incremental count-
   TIle ratchet wheel may be fixed to the second shaft is
   TI1e                                                                                             doses, the incremental counting
                                                                       ing system for counting doses.
arranged to rotate therewith. The ratchet wheel may be                 system having a main body, an actuator arranged to be
secured to an end of the second shaft and aligned coaxially            driven in response to canister motion and to drive an
with the second shaft.                                                 incremental output member in response to canister motion,
   ]be dose counter may include anti-back drive system 60 the actuator and incremental output member being config-
   "Ine
which is arranged to restrict motion of the second shaft. The          ured to have predetermined canister fire and count configu-
anti-back drive system may include a substantially fixed               rations in a canister fire sequence, the canister fire configu-
tooth arranged to  lo act upon teeth of the ratchet wheel.             ration being determined by a position ofofthe
                                                                                                                  the actuator relative
   According to a further aspect of the present invention, a           to a datum at which the canister fires medicament and the
dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
arranged to restrict motion of the second shaft in a tape              actuator relative to the datum at which the incremental count
winding direction.                                                     system makes an incremental count, wherein the actuator is




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arranged to reach a position thereof in the count configura-            wise generally straight surface against which the actuator
tion at or after a position thereof in the canister fire con-           engages and along which it is arranged to slide during a
figuration.                                                             canister firing sequence.
     ]nis arrangement has been found to be highly advanta-
     ]bis                                                                  The dose counter may include a counter pawl, the counter
geous since it provides an extremely accurate dose counter              pawl having a tooth arranged to engage the incremental
which is suitable for use with manually operated metered                output member, the tooth and incremental output member
dose inhalers. It has been found that dose counters with these          being arranged to permit one way only incremental relative
features have a failure rate of less than 50 failed counts per          motion therebetween. When the incremental output member
million full canister activation depressions. It has been               comprises a ratchet wheel, the tooth can therefore serve as
found in the course of making the present invention that 10 an anti-back drive tooth for the ratchet wheel, thereby
highly reliable counting can be achieved with the dose                  permitting only one way motion or rotation thereof.
counter counting at or soon after the point at which the                   The counter pawl may be substantially fixedly mounted
canister fires. It has been is covered by the present inventors         on the main body of the incremental count system and the
that momentum and motion involved in firing the canister,               counter pawl may be arranged to be capable of repeatedly
and in some embodiments a slight reduction in canister back 15 engaging equi-spaced teeth of the incremental output mem-
pressure on the user at the time of canister firing, can very           ber in anti-back drive interlock configurations as the counter
reliably result in additional further motion past the count             is operated. The counter pawl may be positioned so that the
point.                                                                  incremental output member is halfway,  halfWay, or substantially
     The actuator and incremental counting system may be                halfway
                                                                        halfWay moved from one anti-back drive interlock configu-
arranged such that the actuator is displaced less than 1 mm, 20 ration to the next when the actuator and incremental output
typically 0.25 to 0.75 mm,
                         llllll, more preferably about 0.4 to 0.6       member are in the end configuration
                                                                                                  confIguration thereof. This is highly
nm1, relative to the body between its location in the count
mm,                                                                     advantageous in that it minimises the risk of double counting
and fire configurations, about 0.48 mm  l1ll1l being preferred. The     or non-counting by the dose counter.
canister, which can move substantially in line with the                    According to a further aspect of the invention there is
actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
achieve very reliable counting.                                         retain a medicament canister of predetermined configuration
     The incremental count system may comprise a ratchet                and a dose counter mounted in the main body.
mechanism and the incremental output member may com-                       The inhaler main body may include a canister receiving
prise a ratchet wheel having a plurality of circumferentially           portion and a separate counter chamber, the dose counter
spaced teeth arranged to engage the actuator.                        30 being located within the main body thereof, the incremental
     ]ne actuator may comprise an actuator pawl arranged to
     ]be                                                                output member and actuator thereof inside the counter
engage on teeth of the ratchet wheel. The actuator pawl may             chamber, the main body of the inhaler having wall surfaces
be arranged to be connected to or integral with an actuator             separating the canister-receiving portion and the counter
pin arranged to engage and be depressed by a medicament                 chamber, the wall surfaces being provided with a commu-
canister bottom flange. The actuator pawl may be generally 35 nication aperture, an actuation member extending through
U-shaped
V-shaped having two parallel arms arranged to pull on a                 the communication aperture to transmit canister motion to
central pawl member arranged substantially perpendicular                the actuator.
thereto. This provides a very reliable actuator pawl which                 According to a further aspect of the present invention
can reliably pull on the teeth of the ratchet wheel.                    there is a provided an inhaler for metered dose inhalation,
     The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
having tape with incremental dose indicia located thereon,              housing arranged to retain a medicament canister for motion
the tape being positioned on a tape stock bobbin and being              therein, and a dose counter, the dose counter having an
arranged to unwind therefrom.                                           actuation member having al   at least a portion thereoflocated in
     The actuator and incremental output member may be                  the canister housing for operation by movement of a medi-
arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
actuator is spaced from the ratchet output member, a reset              wall, and a first inner wall canister support formation located
configuration at which the actuator is brought into engage-             directly adjacent the actuation member.
ment with the incremental output member during a canister                  This is highly advantageous in that the first inner wall
fire
fIre sequence, and an end configuration at     al which the actuator    canister support formation can prevent a canister from
disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
sequence.                                                               Since the canister may operate the actuation member of the
     The actuator may be arranged to be located about 1.5 to            dose counter, this substantially improves dose counting and
2.0 mm, from its location in the fire configuration, when in            avoids counter errors.
the start configuration, about 1.80 nm1  mm being preferred.               The canister housing may have a longitudinal axis which
     The actuator may be arranged to be located about 1.0 to 55 passes through a central outlet port thereof, the central outlet
1.2 llllll,
      mm, from its location in the fire configuration, when in          port being arranged to mate with an outer canister fire stem
            confIguration, about 1.11 mm being preferred.
the reset configuration,                                                of a medicament canister, the inner wall canister support
     The actuator may be arranged to be located about 1.1 to            formation, the actuation member and the outlet port lying in
      nm1, from its location in the fire configuration, when in
1I .3 mm,                                                               a common plane coincident with the longitudinal axis.
the end configuration, about 1.18 1. 18 nm1
                                        mm being preferred.          60 Accordingly, this construction may prevent the canister from
     These arrangements provide extremely reliable dose                 rocking towards the position of the dose counter actuation
counting, especially with manually operated canister type               member, thereby minimising errors in counting.
metered dose inhalers.                                                     The canister housing may have a forlher further inner canister
     The main body may include a formation for forcing the              wall support formation located on the inner wall opposite, or
actuator to disengage from the incremental output member 65 substantially opposite, the actuation member. Accordingly,
when the actuator is moved past the end configuration. The              the canister may be supported against rocking motion away
formation may comprise a bumped up portion of an other-                 from the actuator member so as to minimise count errors.




                                                                                                                       TEVAQVAR-00031273
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   TIle canister housing may be generally straight and tubu-
   TI1e                                                              a dose counter, the dose counter having a moveable actuator
lar and may have an arrangement in which each said inner             and a chassis mounted on the body; the chassis being heat
wall support formation comprises a rail extending longitu-           staked in position on the body. This is be highly advanta-
dinally along the inner wall.                                        geous in that the chassis can be very accurately positioned
   Each said rail may be stepped, in that it may have a first        and held finnly in place, thereby further improving counting
portion located towards a medicine outlet end or stem block          accuracy compared to prior art arrangements in which some
of the canister housing which extends inwardly a first      tlrst    movement of the chassis relative lo       to the body may be
distance from a main surface of the inner wall and a second          tolerated in snap-fit connections.
portion located toward an opposite end of the canister                  The chassis may have at least one of a pin or aperture heat
chamber which extends inwardly a second, smaller distance 10 staked to a respective aperture or pin of the body.
from the main surface of the inner wall. TIlis
                                            TI1is may therefore         The chassis may have a ratchet counter output member
enable easy insertion of a canister into the canister housing        mmmted thereon.
such that a canister can be lined up gradually in step wise             The ratchet counter output member may comprise a
function as it is inserted into the canister housing.                ratchet wheel arranged to reel in incrementally a dose meter
   TIle inhaler may include additional canister support rails 15 tape having a dosage indicia localed
   TI1e                                                                                                located thereon.
which are spaced around an inner periphery of the inner wall            According to a further aspect of the present invention
of the canister housing and which extend longitudinally              there is provided a method of assembling an inhaler includ-
therealong.                                                          ing the step of heat staking the chassis onto the body. The
   At least one of the additional rails may extend a constant        step of heat staking is highly advantageous in fixedly
distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
   Al
   At least one of the additional rails may be fonned with a         highly accurate dose counting in the assembled inhaler.
         configmation to the first inner wall canister support
similar configuration                                                   The method of assembly may include mounting a spring-
formation.                                                           returned ratchet actuator in the body before heat staking the
   The dose counter may, apart from said at least a portion          chassis in place. The method of assembly may include
of the actuation member, be located in a counter chamber 25 pre-assembling the chassis with a dose meter tape prior to
separate from the canister housing, the actuation member             the step of heat staking the chassis in place. The method of
comprising a pin extending through an aperture in a wall             assembly may include attaching a dose meter cover onto the
which separates the counter chamber and the canister hclUs-
                                                          hous-                       heat staking step. The cover may be welded
                                                                     body after the heal
ing.                                                                 onto the body or may in some embodiments be glued or
   According to a further aspect of the present invention 30 otherwise attached in place.
there is provided an inhaler for inhaling medicaments hav-              According to a further aspect of the present invention
ing: a body for retaining a medicament store; the body               there is provided an inhaler for inhaling medicament and
including a dose counter, the dose counter having a move-            having a body, the body have a main part thereof for
able actuator and a return spring for the actuator, the return       retaining a medicament store; and a dose counter, the dose
spring having a generally cylindrical and annular end; the 35 counter being located in a dose counter chamber of the body
body having a support formation therein for supporting said          which is separated from the main part of the body, the dose
end of  the return spring, the support formation comprising a
     ofthe                                                           counter chamber of the body having a dosage display and
shelf onto which said end is engageable and a recess below           being perforated so as to permit the evaporation of water or
the shelf.                                                           aqueous matter in the dose counter chamber into the atmo-
   This shelf and recess arrangement is highly advantageous 40 sphere.
since it allows a tool (such as manual or mechanical twee-              This is high advantageous since it enables the inhaler to
      to be used to
zers) lo         lo place the return spring of the actuator onto     be thoroughly washed and the dose counting chamber can
the shelf with the tool then being withdrawn at least partially      thereafter dry out fully.
via the recess.                                                         The display may comprise a mechanical counter display
   ]be
   "Ine shelf may be U-shaped.                                    45 inside the dose cmmter chamber and a window fix viewing
   ]be
   "Ine support formation may include a U-shaped upstand-            the mechanical cmmter display. The mechanical counter
ing wall extending around the U  U-shaped
                                   -shaped shelf, the shelf and      display may comprise a tape. The perforated dose counter
upstanding wall thereby forming a step and riser of a stepped        chamber may therefore enable reliable washing of the
arrangement.                                                         inhaler, if desired by the user, and may therefore dry out
   The recess below the shelf my also be U-shaped.                50 without the display window misting up.
   Al
   At least one chamfered surface may be provided at an                 The dose counter chamber may be perforated by a drain
entrance to the shelf. This may assist in inserting the actuator     hole formed through an outer hole of the body. The drain
and return spring into position.                                     hole may be located at a bottom portion of the body of the
   A further aspect of the invention provides a method of            inhaler, thereby enabling full draining of the inhaler to be
assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
said end of said spring on the shelf with an assembly tool and       an upright position.
then withdrawing the assembly tool at    al least partly via the        According to a further aspect of the present invention
recess. This assembly method is highly advantageous com-             there is provided a dose counter for an inhaler, the dose
pared to prior art methods in which spring insertion has been        counter having a display tape arranged to be incrementally
difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
accidentally withdrawn the spring again.                             take-up drive shaft, the bobbin having an internal bore
   The cylindrical and annular end of the spring may be              supported by and for rotation about a support shaft, at least
movable in a direction transverse to its cylindrical extent          one of the bore and support shaft having a protrusion which
into the shelf while being located thereon.                          is resiliently biased into frictional engagement with the other
   According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
there is provided an inhaler for inhaling medicament the             mutual frictional interaction. This arrangement may provide
inhaler having a body for retaining a medicament store; and          good friction for the bobbin, thereby improving tape counter




                                                                                                                   TEVAQVAR-00031274
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display accuracy and preventing the bobbin from unwinding           dose counter positions for a dose counter actuator of the
undesirably for example if the inhaler is accidentally              inhaler; calculating a failure/success rate for dose connters
dropped.                                                            built to tolerance levels for counting each fire of inhalers in
   ]be support shaft may be forked and resilient for resil-
   "Ine                                                             which the dose counter actuators may be applied; and
iently biasing the support shaft and bore into frictional           selecting a tolerance level to result in said failure/success
engagement.                                                         rate to be at or below/above a predetennined value. This is
   The support shaft may have two forks,forks. or more in some      highly advantageous in that it allows an efl:icient
                                                                                                                 efficient and accu-
cases, each having a radially extending protrusion having a         rate prediction of the reliability of a series of inhaler
friction edge extending therealong parallel to a longitudinal       counters made in accordance with the design.
axis of the support shaft for frictionally engaging the bore of 10     The method of designing may include selecting the fail-
the support shaft with longitudinally extending frictional          ure/success rate as a failure rate of no more than one in 50
interaction therebev,veen.
             therebenveen.                                          million. The method of designing may include setting an
   The bore may be a smooth circularly cylindrical or               average count position for dose counters built to the toler-
substantially cylindrical bore.                                     ances to be at or after an average fire position thereof during
   Each of the above inhalers in accordance with aspects of 15 canister firing motion. The method of designing may include
the present invention may have a medicament canister                setting the average count position to be about 0.4 to 0.6 mm
mounted thereto.                                                    after the average fire position, such as about 0.48 mm after.
   ]be canister may comprise a pressurised metered dose
   "Ine                                                             The method of designing may include setting tolerances for
canister having a reciprocally movable stem extending               the standard deviation of the fire position in dose cmmters
therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0.12 to 0.16 mm, such as
for releasing a metered dose of medicament under pressure,          about 0.141 nm1. The method of designing may include
for example by operating a metered dose valve inside the            setting tolerances for the standard deviation of the COllnt count
canister body. The canister may be operable by pressing by          positions in dose counters built to the tolerances to be about
hand on the main canister body.                                     0.07 to 0.09 mm, such as about 0.08 mm. A further aspect
   In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
support formations are provided, the canister may at all                                                   connter for an inhaler
                                                                    of designing an incremental dose counter
times when within the canister chamber have a clearance of          which includes the aforementioned method of designing.
about 0.25 to lo 0.35 mm from the fIrstfirst inner wall support        A further aspect of the invention provides a method of
formation. The clearance may be almost exactly 0.3 nm1.             manufacturing in a production rnn run a series of incremental
This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
or to the canister once a label has been applied, is enough to      the series of dose counters in accordance with the afore-
allow smooth motion of the canister in the inhaler while at         mentioned method of designing.
the same time preventing substantial rocking of the canister           A further aspect of the invention provides a method of
which could result in inaccurate counting by a dose counter         manufacturing a series of incremental dose counters for
of the inhaler, especially when lower face of the canister is 35 inhalers.
                                                                    inhalers, which comprises manufacturing the dose counters
arranged to engage an actuator member of the dose counter           with nominal canister fire and dose count
                                                                                                          connt positions of a dose
for counting purposes.                                              counter actuator relative to a dose counter chassis ((or
                                                                                                                           or inhaler
   According to a further aspect of the invention, a method         main body).
                                                                           body), and which includes building the dose counters
of assembling a dose counter for an inhaler comprises the           with the average dose count position in the series being, in
steps of providing a tape with dosing indicia thereon; 40 canister fire process, at or after the average canister fire
providing tape positioning indicia on the tape; and stowing         position in the series.
the tape while monitoring for the tape positioning indicia             According to a further aspect of the invention, the method
with a sensor. The method advantageously permits efficient          provides fitting             connter in the series of incremen-
                                                                               fItting each dose counter
and accurate stowing
                slowing of the tape, e.g. by winding.               tal dose counters to a corresponding main body of an inhaler.
   ]be
   "Ine dosing indicia may be provided as mmlbers,
                                               numbers, the tape 45    These aspects advantageously provide for the production
positioning indicia may be provided as one or more lines            run of a series of inhalers and dose counters which count
across the tape. The stowing step comprises winding the tape        reliably in operation.
onto a bobbin or shaft, and, optionally, stopping winding              According to a further aspect of the invention, an incre-
when the positioning indicia are in a predetermined position.       mental dose counter for a metered dose inhaler has a body
The tape may be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
spaced along the tape from the positioning indicia. The tape                 thereto, the incremental dose counter having a main
                                                                    relative thereto.
may also be provided with a priming dot.                            body, an actuator arranged to be driven and to drive an
   According to a further aspect of the invention, a tape           incremental output member in a count direction in response
system for a dose counter for an inhaler has a main elongate        to canister motion, the actuator being configured to restrict
tape structure, and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
indicia located on the tape structure. The tape positioning         count direction. This advantageously enables an inhaler dose
indicia may comprise at least one line extending across the         counter to keep a reliable count of remaining doses even if
tape structure. The tape system may comprise pixelated              dropped or otherwise jolted.
indicia located on the tape structure and spaced from the              The output member may comprise a ratchet wheel. The
positioning indicia. The tape system may comprise a prim- 60 actuator may comprise a pawl and in which the ratchet wheel
ing dot located on the tape structure. The positioning indicia      and pawl are arranged to pennit only one-way ratcheting
may be located bet\veen the timing dot and the pixelated            motion of the wheel relative to the pawl. The dose counter
indicia. The main elongate tape structure may have at least         may include an anti-back drive member fixed to the main
one end thereof wound on a bobbin or shaft.                         body. In a rest position of the dose counter, the ratchet wheel
   A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
designing an incremental dose counter fix an inhaler com-           surface of one tooth thereof engages the anti-back drive
prising the steps of calculating nominal canister fire and          member and the pawl is spaced from an adjacent back




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surface of another tooth of the ratchet wheel without positive         FIG. 21 is a view of a preferred embodiment of a dry
drive/blocking engagement between the pawl and wheel.               powder inhaler in accordance with the present invention;
                                                                       FIG. 22 is an exploded view of the inhaler of FIG. 21;
       BRIEF DESCRIPTION OF THE DRAWINGS                               FIG. 23 is a view of a dose counter of the inhaler of FIG.
                                                                    21;
   The present invention may be carried out in various ways            FIG. 24 is an exploded view of the dose counter shown in
and preferred
      preielTed embodiment of a dose counter, inhaler and           FIG. 23;
methods of assembly, design and manufacture will now be                FIG. 25 is an exploded view of parts of the inhaler of FIG.
described with reference to the accompanying drawings in            21; and
which:                                                           10    FIG. 26 is a view of a yoke of the inhaler of FIG. 21.
   FIG. 1 is an isometric view of a main body of an
embodiment of an inhaler related to the invention together                      DETAILED DESCRIPTION OF THE
                                                                                              INVENTION
with a mouthpiece cap therefor;
   FIG. 2 is a top plan view of the components as shown in 15
                                                                 15    FIG. 1 shows a main body 10 of a manually operated
FIG. 1;
                                                                    metered dose inhaler 12 in accordance with an embodiment
   FIG. 3A is a section on the plane 3A-3A in FIG. 2;               related to the present invention and having a mouthpiece cap
    FIG. 313 is a view corresponding to FIG. 3A but with a          14 securable over a mouthpiece 16 of the main body.
dose counter fitted to the main body of the inhaler;                   The main body has a canister chamber 18 into which a
   FIG. 4A is an exploded view of the inhaler main body, 20      20 canister 20 (FIG. 7A) is slideable. The canister 20 has a
mouthpiece cap, dose counter and a dose counter window;             generally cylindrical main side wall 24, joined by a tapered
   FIG. 4B is a view in the direction 4B in FIG. 4C of a            section 26 to a head portion 28 having a substantially flat
spring retainer of the dose counter;                                lower face 30 which has an outer annular drive surface surtace 32
   FIG. 4C is a top view of the spring retainer of FIG. 4B;         arranged to engage upon and drive an actuation pin 34 of a
    FIG. 5 is a bottom view of the assembled inhaler main 25 dose counter  cmmter 36 as will be described. Extending centrally
body, mouthpiece cap, dose counter and dose counter win-            and axially from the lower face 30 is a valve stem 38 which
dow;                                                                is arranged to sealingly engage in a valve stem block 40 of
   FIGS. 6A6A, 6B, 6C, 6D, 6E, 6F, 6G and 6H are various            the main body 10 of the inhaler 12. The valve stem block 40
views of dose counter components of the inhaler;                    has a passageway 42 leading lo   to a nozzle 44 for directing the
   FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20, namely active drug and propel-
clearance inside the main body of the inhaler;                      lant. towards an air outlet 46 of the inhaler main body 12. It
                                                                    lant,
   FIG. 7C is a further sectional view similar to that of FIG.      will be appreciated that due to gaps 48 between the canister
7B but with the canister removed;                                               il1ller wall 50 of the main body 10 of the inhaler
                                                                    20 and an inner
   FIG. 7D is a top plan view of the inhaler main body;             12 an open top 52 of the main body 10 forms an air inlet into
   FIGS. SA,   SB, 8C
           8A, 8B,        SD show the inhaler main body and 35 the inhaler 12 communicating via air passageway 54 with
                   SC and 8D
dose counter components during assembly thereof;                    the air outlet 46, such that canister contents exiting nozzle 44
   FIG. 9 shows a sectional side view of a datum line for an        mix with air being sucked by the user through the air
actuator pawl of the dose counter;                                  passageway 54 in order to pass together through the air
    FIGS. l0A,   1013, 10C,
           lOA, lOB,   lOC, 10D,
                            l0D, HlE        lOF show various
                                  HIE and 10F                       outlet and into the mouth of the user (not shown).
side views of positions and configurations of the actuator 40          The dose counter 36 will now be described. The dose
pawl, a ratchet wheel, and a count pawl;                            counter 36 includes an actuation pin 34 biased upwardly
   FIG. 11 shows distributions for tolerances of start, reset,      from underneath by a return spring 56 once installed in the
fire, count and end positions for the actuator of the dose          main body 10. As best shown in FIGS. 4A, 6H and 8A,       SA, the
counter;                                                            pin 34 has side surfaces 58, 60 arranged to slide between
   FIG. 12 is an enlarged version of part of FIG. 4A;            45 corresponding guide surfaces 62, 64 located in a dose
   FIG. 13 shows an end portion of a tape of the dose               counter chamber 66 of the main body 10, as well as an end
counter;                                                            stop surface 68 arranged to engage a corresponding end stop
   FIG. 14 shows a computer system for desiguing the dose           70 formed in the dose counter chamber 66 to limit upward
counter;                                                            movement of the pin 34. The pin 34 has a lop  top part 72 which
   FIG. 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
in accordance with the present invention for use in the dose        formed through a separator wall 76 which separates the
counter of the inhaler of FIGS. 1 to 14;                            canister chamber 18 from the dose counter chamber 66. The
    FIG. 16 shows an end view of the stock bobbin of   FIG. 15;
                                                    ofFIG.15;       top part 72 of the pin 34 has a flat top surface 78 which is
   FIG. 17 is a section through a longitudinal axis of the                                           mmular drive surface 32 of the
                                                                    arranged to engage the outer annular
stock bobbin of FIGS. 15 and 16;                                 55 canister 20.
   FIGS. 18A, 18B and 18C are views of the stock bobbin of             The actuation pin 34 is integrally formed with a drive or
FIGS. 15 to 17 mounted in the dose counter chassis of FIGS.         actuator pawl 80. The actuator pawl 80 has a generally
1 to 14, with the control elements of the forks of the second       inverted U-shape configuration, having two mutually spaced
shaft (or split pin) having a profile slightly different to that    and parallel arms 82, 84 extending from a base portion of the
in FIG. 6F, with the forks in a compressed configuration; 60 actuation pin 34, each holding at respective distal ends 88
   FIGS. 19A, 19B and 19C are views equivalent to FIGS.             thereof opposite ends of a pawl tooth member 90 which
18A to 18C but with the forks in a more expanded configu-           extends in a direction substantially perpendicular to the arms
ration due to a different rotational position of the stock          82, 84, so as to provide what may be considered a "saddle"
bobbin;                                                             drive for pulling on each of the 11 drive teeth 92 of a ratchet
   FIG. 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
including the stock bobbin of FIGS. 15 to 17 but excluding          mechanism 96 of the dose counter 36. As shown fix    tix example
the tape for reasons of clarity;                                    in FIG. 1013,
                                                                             lOB, the pawl tooth member 90 has a sharp lower




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longitudinal side edge 98 arranged to engage the drive teeth         mm vertically below the axis 145, and the fiat 145' being
92, the edge-to-surface contact provided by this engagement          spaced a distance sideways (i.e. parallel to the datum plane
providing very accurate positioning of the actuator pawl 80          220) 2.48 mm from the axis 145. The top surface 78 of the
and resultant rotational positioning of the ratchet wheel 94.        pin 34 (FIG. 6H) is 11.20 mm above the datum plane 220
   The dose counter 36 also has a chassis preassembly 100 5 (FIG. 9) when the actuator pawl 80 and pin 34 are in the start
which, as shown in FIGS. 4A and 6A, includes a chassis 102           configuration. The length of the valve stem 22 is 11.39 mm
having a first shaft 104 receiving the ratchet wheel 94 which        and the drive surface 32 of the canister 20 is 11.39 mmIlllll above
            lo a tape reel shafl106,
is secured to               shaft 106, and a second shaft (or
                                                           (or split the datum plane 220 when the canister is at rest waiting to
pin) 108 which is parallel to and spaced from the first shaft        be actuated, such that there is a clearance of 0.19 111111      mm
104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration.
bobbin 110.                                                             FIGS. l0Aand       lOB show the actuator pawl 80 and ratchet
                                                                                 lOA and 1013
   As shown in FIG. 6B, when the inhaler has not been used           wheel 94 and count pawl 138 in a start position in which the
at all, the majority of a tape 112 is wound on the tape stock        fiat top 78 of the pin 34 has not yet been engaged by the
bobbin 110 and the tape 112 has a series of    ofregularly
                                                  regularly spaced           armular drive surface 32 of the canister 20 or at least
                                                                     outer annular
numbers 114 displayed therealong to      lo indicate a number of 15 has not been pushed down during  dnring a canister depression.
remaining doses in the canister 20. As the inhaler is repeat-           In this "start" position, the count pawl 138 engages on a
edly used, the ratchet wheel 94 is rotated by the actuator                                surtace 140 of one of the teeth 92 of the
                                                                     non-return back surface
pawl 80 due to operation of the actuation pin 34 by the              ratchet wheel 94. The lower side edge 98 of the actuator
canister 20 and the tape 112 is incrementally and gradually          pawl is a distance "D" (FIG. 9) 1.33 mm above datum plane
wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
108. The tape 112 passes around a tape guide 116 of the              valve stem block 40, the datum plane 220 being perpen-
chassis 102 enabling the numbers 114 to be displayed via a           diclllar lo
                                                                     dicular   to a main axis "X" of the main body 10 of the inhaler
window 118 in a dose counter chamber cover 120 having a              12 which is coaxial with the centre of the valve stem block
dose marker 132 formed or otherwise located thereon.                 bore 43 and parallel to a direction of sliding of the canister
   As shown in FIGS. 6A and 6D, the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
forked with two forks 124, 126. TIle    The forks 124, 126 are       is fired.
biased away from one another. The forks have located                    As shown in FIG. 10B,  lOB, an advantageous feature of the
thereon at diametrically opposed positions on the second             construction is that the pawl tooth/actuator 90 acts as a
shafl108
shaft  108 friction or control elements 128, 130, one on each        supplementary anti-back drive member when the inhaler 12
fork. Each control element extends longitudinally along its 30 is not being used for inhalation. In particular, if the inhaler
respective fork 124, 126 and has a longitudinally extending          12 is accidentally dropped, resulting in a jolt to the dose
friction surface 132, 134 which extends substantially paral-         counter 36 then, if the wheel 94 would try to rotate clock-
lel to a longitudinal axis of the second shaft and is adapted        wise (backwards) as shown in FIG. 10B,    lOB, the back surface
to engage inside a substantially cylindrical bore 136 inside         140 of a tooth will engage and be blocked by the tooth
the tape stock bobbin 110. This control arrangement pro- 35 member 90 of the pawl 80. Therefore, even if the anti-back
vided between the bore 136 and the control elements 128,             drive tooth 138 is temporarily bent or overcome by such a
130 provides good rotational control for the tape stock              jolt, undesirable backwards rotation of the wheel 94 is
                                               undesirably such as
bobbin 110 such that it does not unwind lmdesirably                  prevented and, upon the next canister firing sequence, the
when the inhaler is dropped. The tape force required to                              t(.Jfce the wheel 94 to catch up to its correct
                                                                     pawl 90 will tixce
unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
force is approximately 0.1 N.                                        correct dosage indication.
   As can be seen in FIG. 6D, as well as FIGS. 6G and lOA               FIG. 10ClOC shows a configuration in which the actuator
    lOF, the chassis 102 is provided with an anti-back drive
to 10F,                                                              pawl 80 has been depressed with the pin 34 by the canister
tooth 138 or connt
                 count pawl 138 which is resiliently and sub-        20 to a position in which the side edge 98 of     the pawl tooth
                                                                                                                    ofthe
stantially fixedly mounted thereto. As will be described 45 member 90 is just engaged with one of the teeth 92 and will
below and as can be seen in FIGS. 10A      lOA to 10F,
                                                    lOF, when the    theret(.Jfe upon any further depression of the pin 34 begin to
                                                                     theretixe
actuation pin 34 is depressed fully so as to fire the metered        rotate the wheel 94. This is referred to as a "Reset" position
valve (not shown) inside the canister 20, the actuator pawl          or configuration. In this configuration, the lower side edge
80 pulls down on one of the teeth 92 ofthe of the ratchet wheel 94   98 of the actuator 80 is 0.64 mm above the datum plane 220.
and rotates the wheel 94 anticlockwise as shown in FIG. 6D 50           FIG. 10DlOD shows a configuration
                                                                                                confIguration in which the actuator
so as to jump one tooth 92 past the count pawl 138, thereby          pawl 80 has been moved lo    to a position lower than that shown
winding the tape 112 a distance incrementally relative to the        in FIG. loe lOC and in which the metered dose valve (not
dose marker 122 on the dose counter chamber 120 so as to             shown) inside the canister has at this very position fired in
indicate that one dose has been used.                                order to eject active drng
                                                                                              drug and propellant through the nozzle
   With reference to FIG. lOB,10B, the teeth of the ratchet wheel 55 44. It will be noted that in this configuration the count pawl
94 have tips 143 which are radiused with a 0.1 mm radins     radius  138 is very slightly spaced from the back surface 140 of the
between the flat
               fiat surfaces 140, 142. The ratchet wheel 94 has      same tooth 92 that it was engaging in the configuration
                                                                                                                     confIguration of
a central axis 145 which is 0.11 mm above datum plane 220                   lOD. The configuration shown in FIG. 10D
                                                                     FIG. 10D.                                          lOD is known
(FIG. 9). A top/nose surface 147 of the anti-back drive tooth        as a "Fire" configuration. In this configuration the lower side
138 is located 0.36 mm above the datum plane 220. The 60 edge 98 of the actuator 80 is 0.47 mm below the datum plane
distance vertically (i.e. transverse to datum plane 220 FIG.         220.
9) between the top nose surface 147 of the anti-back drive              FIG. 10ElOE shows a further step in the sequence, called a
tooth is 0.25 Illlll
                mm from the central axis 145 of the wheel 94.        "Count" position in which the actuator pawl 80 has rotated
Bump surface 144 has a lateral extent of 0.20 mm, with a             the ratchet wheel 94 by the distance circumferentially angu-
vertical length of a flat
                        fiat 145' thereof being 1 mm, the width 65 larly between two of the teeth 92, such that the count pawl
of the bump surface being 1.22 mm (in the direction of the           138 has just finished riding along a forward surface 142 of
axis 145), the top 149 of the bump surface 144 being 3.02            one of the teeth 92 and has resiliently jumped over the tooth




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into engagement with the back surface 140 of the next tooth.         second portion 102 having a lesser radial or inwardly
Accordingly, in this "Count" configuration, a sufficiently           extending extent than the first portion 156, and finally a
long stroke movement of the pin 34 has occurred that the             second step 164 at which the rail merges into the main inner
tape 112 of the dose counter 36 will just have cOlmted
                                                    counted down     wall 50 main surface.
               this configuration, the lower side edge 98 of the 5
one dose. In tlus                                                       A method of assembling the inhaler 12 will now be
actuator is 0.95 nnn below the datmn  datum plane 220. Accord-       described.
ingly, in this position, the actuator 80 generally, including           With reference to FIG. 8A, the main body 10 of the
edge 98, is 0.48 mm lower than in the fIre   fire configuration. It  inhaler 12 is formed by two or more plastics mouldings
has been found that, although the count configuration hap-           which have been joined together to the configuration shown.
pens further on than the fire configuration, counting is highly 10      As shown in FIG. 813, the actuator pawl 80 and pin 34 are
reliable, with less than 50 failed counts per million. This is       translated forward into position into a pin receiving area 166
at least partially due to momentum effects and to the canister       in the dose counter chamber 66 and the pin 34 and actuator
releasing some back pressure on the user in some embodi-             80 may then be raised until the pin 34 emerges through the
ments as its internal metering valve flres.
                                          fires.                     aperture 74.
   In the configuration of FIG. 10F, l0F, the pawl 80 has been 15       Next, the return spring 56 may be inserted below the pin
further depressed with the pin 34 by the canister 20 to a            34 and a generally cylindrical annular lower end 168 of the
position in which it is just disengaging from one of the teeth       spring 56 may be moved by a tweezer or tweezer-like
92 and the actuator pawl 80 is assisted in this disengagement        assembly tool (not shown) into engagement with a shelf 170
by engagement of one of the arms 84 with a bump surface              of a spring retainer 172 in the dose counter chan1ber 66. The
144 on the chassis 102 (see FIG. 6G) and it will be seen at 20 spring retainer 172 is V          U-shaped
                                                                                                   -shaped and the shelf 170 is
this point of disengagement, which is called an "End"                V-shaped and has a recess 174 formed below it. As shown
                                                                     U-shaped
confIguration, the cOlmt
configuration,        collllt pawl 138 is positioned exactly                    413, 4C and 12 shelf 170 includes
                                                                     in FIGS. 4B,                            incllldes three chamfor
                                                                                                                             chanl±er
halfway or substantially halfway between two of the drive            surfaces 176, 178, 180 arranged to assist in moving the
teeth 92. This advantageously means therefore that there is          lower end ofofthe
                                                                                   the spring 168 into position onto the shelf using
a minimum chance of any double counting or non-counting, 25 the assembly tool (not shown). Once the lower end of the
which would be undesirable. In the end configuration, the            spring 168 is in place, the assembly tool (not shown) can
side edge 98 of the actuator is 1.65 mm below the datum              easily be removed at least partly via the recess 17
                                                                                                                       1744 below the
plane 220. It will be appreciated that any further depression        lower end 168 of the spring 56.
of the actuator pawl 80 and pin 34 past the "End" configu-              The tape 112 is attached at one end (not shown) lo to the tape
ration shown in FIG. 10F lOF will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
of the tape 112 displayed by the dose counter 36 since the           200 (FIG. 13) having a hexagonal output shaft 202 which
actuator pawl 80 is disengaged from the ratchet wheel 94             engages in a hexagonal socket 204 (FIG. 6B) of the bobbin.
when it is below the position shown in FIG. 10F.    l0F.             During winding, the tape is monitored by a sensor 206,
   As shown in FIGS. 7C and 7D, the iuner    inner wall 50 of the    which may be in the fonn of a camera  Canlera or laser scanner,
main body 10 is provided with a two-step support rail 144 35 which foeds    feeds data loto a computer controller 205 for the motor
which extends longitudinally along inside the main body and          200. The controller 205 recognises three positioning mark-
is localed
   located directly adjacent the aperture 74. As shown in FIG.       ers 210 in the fonn oflines across the tape 112 and stops the
713 a diametrically opposed two-step support rail 146 is also        motor 202 when the tape 112 is nearly fully wound onto the
provided and this diametrically opposed in the sense that a          bobbin 110, such that the distal end 212 of the tape 112 can
vertical plane (not shown) can pass substantially directly 40 be secured, e.g. by adhesive, to the tape reel shaft 106. The
through the first rail 144, the aperture 74, a central aperture      controller 205 also recognises
                                                                                            recogluses a pixelated tape size marker
148 of the valve stem block 40 (in which canister stem 25            214 observed by the sensor 206 and logs in a stocking
is localed)
    located) and the second two-step support rail 146. As            system data store 217 details of the tape 112 such as the
shown in FIG. 7A and schematically in FIG. 713,       7B, the rails  number of numbers 114 on the tape, such as one hundred and
144, 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114. Next, the tape reel shaft
20 and the rails 144, 146 in a radial direction of almost            is wound until an appropriate position of the lines 210 at
exactly 0.3 mm, about 0.25 to 0.35 nm1 being a typical               which a priming dot 216 will, once the bobbin 110 and reel
range. This clearance in this plane means that the caluster
                                                         canister 20 shaft 106 are slid onto the second shaft 108 and second shaft
can only rock backwards and forwards in this plane towards           104, be in a position to be located in the window 118 when
away from the actuation pin 34. A relatively small distance 50 the inhaler 12 is fully assembled. In the embodiments, the
and this therefore prevents the canister wobbling and chang-         bobbin 110 and reel shaft 106 may be slid onto the shafts
ing the height of the actuation pin 34 a as to undesirably alter     108,104
                                                                     108, 104 before the tape 112 is secured to the reel shaft 106
the accuracy of the dose counter 36. This is theret(xe
                                                  theretixe highly   and the reel shaft may then be wound to position the priming
advantageous.                                                        dot 216.
         inner wall 50 of the main body 10 is provided with 55
   The irmer                                                            Next, the assembled dose counter components of the
two further two-step rails 150 as well as two pairs 152, 154         chassis preassembly 100 shown in FIG. 6B    613 may as shown in
of rails extending difl:erent constant radial amounts
                                                 amollllts inwardly  FIG. 8C
                                                                           SC be inserted into the dose counter chamber 66, with
           iuner wall 50, so as to generally achieve a maxi-
from the inner                                                                             fonned on the main body 10 in the dose
                                                                     pins 182, 184, 186 fanned
mum clearance of almost exactly 0.3 mm around the canister           counter chamber
                                                                              chanlber 66 passing through apertures or slots 188,
20 for all of the rails 144, 146, 150, 152, 154 spaced around 60 190,192
                                                                     190, 192 formed on the chassis 102, such that the pins 182,
the periphery of the hiller
                       im1er wall 50, in order to prevent undue      184, 186 extend through ((or  or at least into) the apertures or
rocking while still allowing canister motion freely inside the       slots 188, 190, 192. With the chassis 102 being relatively
inhaler 12. It will be clear from FIG. 7C for example that the       firmly pushed towards the main body 10, the pins 182, 184,
two-step rails have a first portion near an outlet end 156 of        186 are then heat slaked
                                                                                         staked and the chassis 102 is therefore after
the canister chamber 18, the flrst
                                 first portion having a substan- 65 this held very firmly
                                                                                      flrmly in position in the main body and is
tially constant radial or inwardly-extending width, a first          unable to move, thereby assisting in providing great accu-
step 160 leading to a second portion 162 of the rail, the            racy for the dose counter 36. Next, as shown in FIG. 8D, the




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dose counter chamber cover 120 may be fitted over the dose                                                     modiflcation in that the
                                                                        First, it can be seen that there is a modification
counter chamber 66 and may be secured in place such as by            drive teeth 92 of the ratchet wheel 94 have a different profile
welding, with the priming dot 216 being displayed through            to that in FIGS. lIto
                                                                                         lo 14. There are also only nine ratchet teeth
the window.                                                          94 in this embodiment instead of eleven.
   The user can, when readying the inhaler 12 for first use,            Additionally, as shown in FIGS. 18C lSC and 19C, the control
prime the inhaler by depressing the canister 20 three times          elements 128,
                                                                                 12S, 130 on the forks 124, 126 of the second shaft
which will bring the fIrst
                     first number 114 on the tape into display       lOS have a tapered prof-lie
                                                                     108                   profile which is different to the profile of
through the window 11S118 in place of the priming dot 216, the       the control elements 128, 12S, 130 shown in FIG. 6F. Either
number 114 shown in FIG. SD being "200", thereby indi-
                                                                     profile can be used in the embodiment of FIGS. 15 to 20
cating that 200 doses are remaining to be dispensed from the 10
                                                                     however.
canister 20 and inhaler 12.
                                                                        Furthermore, as shown in FIG. 15, the tape stock bobbin
   As shown in FIG. SD, and in FIG. 5, an open drain hole
                                                                     110 has an inwardly facing generally cylindrical engagement
194 is provided at the bottom of the dose counter chamber
66 by a substantially semi-circular cut-out or recess fonna-         surface 300 with a wavelike form extending partially the-
                              198 of the main body 10 of the 15 realong. The engagement surface 300 has a cross-section
tion 196 in a lower surface 19S
inhaler. Accordingly, if the user (not shown) should decide          301 perpendicular to the longitudinal length of the stock
to wash the main body 10 of the inhaler, for example after           bobbin 110 which is constant therealong. This cross-section
encountering an unhygienic situation or simply as a matter           301 can be seen in FIG. 16 and consists of a series of ten
of choice, the drain hole 194 allows initial draining of water       regularly spaced concavities 302 and ten convex wall por-
from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi-spaced
evaporation of water
                  waler or any aqueous matter in the dose            between the concavities 302. Each concavity 302 has a
COllnter chamber 66 so that the window 11S
counter                                   118 does not mist up       radills of 0.2 nm1. Each convex wall portion 304 also has a
                                                                     radius
undesirably.                                                                 of 0.2 mm. Finally, the cross section 301 also includes
                                                                     radius of0.2
   FIG. 14 shows a computer system 230 for designing the             flat wall portions 306 between all of the radiused wall
dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
tions representative of average positions and standard devia-        304. The geometry of the cross-section 301 is therefore
tions in a production series of inhalers of the start, reset, fire,  defined by the radii of the concavities 302 and convex wall
count and end positions of the actuator lower side edge 9S      98   portions 304, the flat wall portions 306 and the fact that there
         to the datum plane 220 (FIG. 9) and therefore of the
relative lo                                                          are ten concavities 302 and convex wall portions 304.
actuator pawl SO80 generally relative to the ratchet wheel 94, 30       The minor diameter of the engagement surface 300. i.e.
chassis 102 and, when the inhaler 12 is fully assembled, the         between the tips of opposite convex wall portions 304, is
main body 10 of the inhaler 12. The computer system 230              2.46 nm1. The major diameter of the engagement surface
includes a data store 232, a CPU 234, an input device 236            300, i.e. between the outermost portions of the concavities
(such as a keyboard or conmmnication port) and an output             302, is 2.70 mm. The undefom1ed
                                                                                                 undefoill1ed tip to tip maximum
device 238              communications port, display screen 35 diameter of the forks 124, 126 of the split pin (the second
        23S (such as a connnunications
and/or printer). A user may enter data via the input device          shaft) 108,
                                                                     shaf1) lOS, i.e. in the region of the maximum radio extent of
236 which may be used by the CPU 234 in a mathematical               the control elements 128,
                                                                                             12S, 130, is 3.1 millimeters and it will
calculation to predict count failure rates when the various          therefore be appreciated that the forks 124, 126 are resil-
dose counters are to be built in a series with dose counter          iently compressed once the stock bobbin 110 has been
positions set with given averages and standard deviations 40 assembled onto the split pin 108          lOS in all rotational configu-
and taking into account any momentum/inertia effects and             rations of the stock bobbin 110 relative to the split pin 108.
                                                                                                                                  lOS.
metering valve user-back-pressure reduction dIect  effect which      The minimum gap between the forks 124, 126 in the plane
will occur upon canister firing of a given type of canister.         of the cross sections of FIGS. 18C lSC and 19C is 1 mm when
The computer system 230 is thus mathematically used to               the split pin 108
                                                                                     lOS is in the undeformed,
                                                                                                    undefonned, pre-inserted state.
design the distributions. For the inhaler 12 described herein 45 When the split pin 108      lOS is at maximum compression, as
with the dose counter 36 and canister 20, the distributions          shown in FIGS. 18A lSA to 18C
                                                                                                lSC when the control elements 12S,128,
are designed as shown in FIG. 11. The x axis shows distance          130 are shown to be engaged on top of the convex wall
of the lower side surface 9S 98 of the actuator SO80 above the       portions 304, the gap 30830S between the tips 310, 312 of the
datum plane 220 and the y axis is representative of the              forks 124, 126 is 0.36 mm. On the other hand, when the split
distribution. Thus, curve 240 shows that the start confIgu-
                                                         configu- 50 pin 108
                                                                          lOS is at minimum compression (once inserted into the
ration has an average 1.33 nm1 above the datum plane 200             stock bobbin) as shown in FIGS. 19A to 19C, when the
(standard deviation is 0.1 mm). curve 242 shows that the                                 12S, 130 rest in the concavities 302, the gap
                                                                     control elements 128,
reset configuration has an average of 0.64 mm above the              between the tips 310, 312 of the forks 124. 126 is 0.6 mm.
datum plane 220 (standard deviation is 0.082 nnn), curve             The control elements 128,12S, 130 are outwardly radiused with
244 shows the fire configuration has an average 0.47 mm       nnn 55 a radius also of 0.2 mm such that they can just rest on the
below the datum plane 220 (standard deviation is 0.141               concavities 302 with full surface contact (at least at an axial
mm), curve 246 shows the count configuration has an                  location on the split pin where the tapered control elements
average 0.95 mm below the datum plane 220 (standard                  are at their maximum radial extent), without rattling in,
deviation is 0.080 nm1), and curve 24S    248 shows the end          locking onto or failing to fit in the concavities 302. The radii
configuration has an average of 1.65 mm below the datum 60 of the control elements 128,           12S, 130 is therefore preferably
plane 220 (standard deviation is 0.144 mm).                          substantially the same as the radii of the concavities 302
   FIGS. 15 to 20 show a version of the inhaler modified in             It will be appreciated that whereas FIGS. 18BlSB and 19B are
accordance with the present invention. In these drawings,            end views along the coaxial axis of  ofthe
                                                                                                             the stock bobbin 110 and
the same reference numerals have been used lo    to those in the                lOS, FIGS. 18A
                                                                     split pin 108,          lSA and 19A are cross-sections. FIG.
earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A-A' in FIG. 19C and FIG. lSA          18A
inhaler 12 is the same as that in FIGS. 1 to 14 apart from the       is a section at the same plane, but of course with the stock
following modifications.                                             bobbin 111100 rotated relative to the split pin 10S.
                                                                                                                      108.




                                                                                                                     TEVAQVAR-00031279
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                              19                                                                    20
    As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
in order to count used doses, the stock bobbin rotates             split pin 108 are both moulded of polypropylene material.
incrementally through rotational positions in which rotation           It will be seen from FIG. 16 that the cross-sectional shape
is resisted, i.e. due to increasing compression of the split pin   301 is not symmetrical within the hexagonal socket 204.
108 at such rotational positions, and rotational positions in      This has enabled the hexagonal socket 204 to be maintained
which rotation is promoted, i.e. due to decreasing compres-        at a useful size while still allowing the desired size and
sion of the split pin 108 atal such rotational positions and this  geometry of the cross section 301 to fit without interfering
may involve a click forward of the stock bobbin 110 to the         with the hexagonal shape of the hexagonal socket 204 and
next position equivalent to that in FIGS. 19A to 19C in            also permits
                                                                          penn its moulding to work during manufacture.
which the control elements 128, 130 of the split pin art 10            As shown in FIG. 17, the stock bobbin 110 has a series of
located in the concavities 302. This functionality firstly         tlJUf circumferential ribs 330 inside it and a spaced therea-
                                                                   ti.Jur
allows the stock bobbin to unwind during use as required,          long. These hold the stock bobbin 110 on the correct side of
but also prevents the tape 112 from loosening during transit       the mould tool during moulding.
if the inhaler 12 is dropped, such as onto a hard surface. This        FIGS. 21 and 22 show a preferred embodiment in accor-
is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
moving to a position in which it will give an incorrect            dry-powdered medicament in metered doses for patient
reading regarding the number of doses in the canister.             inhalation. The inhaler 51(1510 is as disclosed in FIGS. 1 to 16
    During compression and expansion of the forks in the           or EP-A-1330280, the contents of which are hereby fully
radial direction bev.veen
                    benveen the two configurations shown in        incorporated herein by reference, but with the stock bobbin
FIGS. 18C and 19C, the forks 124, 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
316 on the split pin where the forks 124, 126 come together.       so as to be as in FIGS. 15 to 20 hereof. Thus, the dry powder
This rotational action means that there is a canmling
                                                camrning action    inhaler 510 generally includes
                                                                                            incllldes a housing 518, and an assem-
between the forks 124, 126 and the engagement surface 300          bly 512 received in the housing (see FIG. 21). The housing
without significant friction but, nevertheless, the resilient      518 includes a case 520 having an open end 522 and a
forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG. 25) for patient inhalation, a cap 526
surface 300 and forks 124, 126 are able to regulate unwind-        secured to and closing the open end 522 of the case 520, and
ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
transit or if the inhaler 12 is dropped. It has been found         the mouthpiece 524. As shown in FIG. 22, the inhaler 510
during testing that a force of 0.3 to 0.4 N needs to be applied    also includes an actuation spring 569, first fIrst yoke 566 with
to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572, bellows 540 with crown 574, a reservoir 514,
110. 0.32 N is achieved with the control elements 128 having
110.0.32                                                           second yoke 568 with hopper 542 and dose counter 516
the profile shown in FIG. 19C and 0.38 N is achieved with          mounted thereto, and case 520 has transparent window 5130
the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128. The
as described with reference to FIG. 6F. These forces are           dose metering system also includes two cams 570 mounted
substantially higher than the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
and undesirable movement of the tape is substantially              528 between open and closed positions. The cams 570 each
avoided even if the inhaler is dropped onto a hard surface.        include an opening 580 for allowing outwardly extending
The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
provide this force "constantly" such that there is overall not     received in first recesses 584 of the cover 528. The cams 570
an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
the other components of the dose counter because, due to the       second recesses 588 of the cover 528, such that the cover
incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
tape 112 can incrementally relax as it slides over the             the cover 528 about the hinges 582. As described in EP-A-
stationary chassis components.                                     1330280, cams 570 act upon cam followers 578 to move
    Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
portions 304, other numbers may be used, such as 8 or 12.          counter by engagement of pawl 5138 on the second yoke
However, it is preferred to have an even number, especially        568 with teeth 5136. Remaining components of the inhaler
since two control elements 128, 130 are provided, so that all      are provided as, and operate as described, in EP-A-1330280.
of the control elements 128, 130 will expand and contract              The dose counting system 516 therefore includes a ribbon
simultaneously. However, other arrangements are envisaged 50 or tape 5128 (FIGS. 23 &         & 24), having successive numbers
                                                                                                                         nll1llbers or
with 3 or more forks and the number of concavities/convex          other suitable indicia printed thereon, in alignment with a
wall portions may be maintained as an integer divisible by         transparent window 5130 provided in the housing 18 (see
the number of forks to maintain a system with simultaneous         FIG. 22). The dose counting system 516 includes the rotat-
expansion/contraction. For example, the use of 9, 12 or 15         able stock bobbin 110 (as described above), an indexing
concavities/convex wall portions with 3 forks is envisaged. 55 spool 5134 rotatable in a single direction, and the ribbon
    Instead of having the engagement surface 300 on the            5128 rolled and received on the bobbin 110 and having a flrst  first
inside of the stock bobbin 110, it could be placed on the          end 5127 secured to the spool 5134, wherein the ribbon 5128
outside of the stock bobbin 110 so as to be engaged by             unrolls from the bobbin 110 so that the indicia are succes-
flexible external legs/pawls or similar.                           sively displayed as the spool 5134 is rotated or advanced. In
    It will be noted that the regulator provided by the engage- 60 FIGS. 23 and 24 the wavelike engagement surface 300 of the
ment surface 300 and forks 124, 126 does not only allow            bobbin 110 is not shown for the purposes of clarity.
rotation of the stock bobbin in one direction as is the case           The spool 134 is arranged to rotate upon movement of the
with the ratchet wheel 94. Rotation in both directions is          yokes 566, 568 to effect delivery of a dose of medicament
possible, i.e. forwards and backwards. This means that             from reservoir 514, such that the number on the ribbon 5128
during assembly, the stock bobbin 110 can be wound back- 65 is advanced lo        to indicate that another dose has been dispensed
wards during or after fitting the bobbin 100, shaft 106 and        by the inhaler 510. The ribbon 5128 can be arranged such
tape 112 onto the carriage 102, if desired.                        that the numbers, or other suitable indicia, increase or




                                                                                                                     TEVAQVAR-00031280
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                              21                                                                   22
decrease upon rotation of the spool 5134. For example, the               6. The inhaler as claimed in claim 4 further comprising a
ribbon 5128 can be arranged such that the numbers, or other           plurality of support rails each of which extends longitudi-
suitable indicia, decrease upon rotation of the spool 5134 to         nally along the inside surface of the main body.
indicate the number of doses remaining in the inhaler 510.               7. The inhaler as claimed in claim 6, wherein two of the
Alternatively, the ribbon 5128 can be arranged such that the          plurality of support rails are positioned alat opposite ends of
numbers, or other suitable indicia, increase upon rotation of         the inside surface of the main body to face each other.
the spool 5134 to indicate the number of doses dispensed by              8. The inhaler as claimed in claim 4, wherein the support
the inhaler 10.                                                       rail includes two steps formed thereon, the steps being
   The indexing spool 5134 includes radially extending teeth 10 spaced apart longitudinally along an inside surface of the
5136, which are engaged by pawl 5138 extending from a 10
                                                                      main body.
cam follower 578 of the second yoke 568 upon movement
                                                                         9. The inhaler as claimed in claim 4, wherein the support
of the yoke to rotate, or advance, the indexing spool 5134.
                                                                      rail merges with the inner
                                                                                               hiller wall at a location adjacent the
More particularly, the pawl 5138 is shaped and arranged
such that it engages the teeth 5136 and advances the index-           aperture.
ing spool 5134 only upon the mouthpiece cover 528 being 15               10. The inhaler as claimed in claim 9, wherein a width
closed and the yokes 566, 568 moved back towards the cap              dimension of the support rail is not constant, and the width
526 of the housing 518.                                               dimension is greatest at the location where the support rail
   ]be
   "Ine dose counting system 516 also includes a chassis              merges with the inner wall.
5140 that secures the dose counting system to the hopper                 11. The inhaler as claimed in claim 1 further comprising
542 and includes shafts 108, 5144 for receiving the bobbin 20 a second inner wall canister support formation and wherein
110 and the indexing spool 5134. As described above with              the second im1er
                                                                                    imler wall canister support formation, the first
reference to FIGS. 1 to 20, the bobbin shaft 108 is forked and        inner wall canister support formation, the actuation member
includes radially nubs 5146 for creating a resilient resistance       and the central outlet port lie in a common plane coincident
to rotation of the bobbin 11 110() on the shaft 108 by engaging       with longitudinal axis X.
with the wavelike engagement surface 300 inside the bobbin 25            12. An inhaler for metered dose inhalation, the inhaler
110. A clutch spring 5148 is received on the end of the               comprising:
indexing spool 5134 and locked to the chassis 5140 to allow              a main body having a canister housing,
rotation of the spool 5134 in only a single direction.                   a medicament canister, which is moveable relative to the
   Various moditlcations
             modifications may be made to    lo the embodiment              canister housing and retained in a central outlet port of
shown without departing from the scope of the invention as 30               the canister housing arranged to mate with a canister
defined by the accompanying claims as interpreted under
                                                                            fire stem of the medicament canister, and
patent law.
                                                                         a dose counter having an actuation member having at least
   What is claimed is:
                                                                            a portion thereof located in the canister housing tor  for
   1. An inhaler for metered dose inhalation, the inhaler
comprising:                                                        35
                                                                            operation by movement of the medicament canister,
   a main body having a canister housing,                                wherein the canister housing has an inner wall, and a first
                                                                                                                                 tlrst
   a medicament canister, which is moveable relative to the                 inner wall canister support formation extending
      canister housing and retained in a central outlet port of             inwardly from a main surface of the im1erimler wall,
      the canister housing arranged to mate with a canister              wherein the canister housing has a longitudinal axis X
      fire stem of the medicament canister, and                    40       which passes through the center of the central outlet
   a dose counter having an actuation member having at least                port, and
      a portion thereof located in the canister housing for    tor       wherein the first inner wall canister support formation, the
      operation by movement of the medicament canister,                     actuation member, and the central outlet port lie in a
   wherein the canister housing has an inner wall, and a first              common plane coincident with the longitudinal axis X
      inner wall canister support fornlation
                                           fom1ation extending 45           such that the first inner wall canister support fom1ation
                                                                                                                            fomlation
      inwardly from a main surface of the inner wall,                       protects against dose count errors by reducing rocking
   wherein the canister housing has a longitudinal axis X                   of the medicament canister towards or away from the
      which passes through the center of the central outlet                 actuation member.
      port, and                                                          13. An inhaler fortor metered dose inhalation, the inhaler
   wherein the tlrst
                first imler
                      im1er wall canister support fomiation,
                                                   tornlation, the 50 comprising:
      actuation member, and the central outlet port lie in a             a main body having a canister housing,
      common plane coincident with the longitudinal axis X               a medicament canister retained in the canister housing and
      such that the first inner wall canister support tlJrmation
                                                       ti.Jrmation          movable relative thereto, and a dose counter, the dose
      protects against unwanted actuation of the dose counter               counter having an actuation member having at least a
      by reducing rocking of the medicament canister relative 55            portion thereof located in the canister housing for
      to the main body of the inhaler.                                      operation by movement of the medicament canister,
   2. The inhaler as claimed in claim 1 wherein the medi-                wherein the canister housing has an inner wall, and a first
                                                                                                                                 tlrst
cament canister is movable relative to the dose counter.                    inner wall canister support formation extending
   3. The inhaler as claimed in claim 1 further comprising an               inwardly from a main surface of the inner wall,
aperture formed in the inner wall through which the portion 60           wherein the canister housing has an aperture formed in the
of the actuation member extends.                                            hiller wall through which the portion of the actuation
                                                                            inner
   4. The inhaler as claimed in claim 1, wherein the first                  member extends, and
inner wall canister support formation comprises a support                wherein the first inner wall canister support fonnation
rail which extends longitudinally along an inside surface of                extends from
                                                                                     trom the main surface of the inner wall to the
the main body.                                                     65       aperture.
   5. The inhaler as claimed in claim 4, wherein the support             14. The inhaler as claimed in claim 13 wherein the
rail includes a step formed thereon.                                  medicament canister is movable relative to the dose counter.




                                                                                                                    TEVAQVAR-00031281
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                               23                                                  24
    15. The inhaler as claimed in claim 13, wherein the first
inner wall canister support formation comprises a support
rail which extends longitudinally along an inside surface of
the main body.
    16. The inhaler as claimed in claim 15, wherein the
support rail includes a step formed thereon.
    17. The inhaler as claimed in claim 15 further comprising
a plurality of support rails each of which extends longitu-
dinally along the inside surface of the main body.
    18. The inhaler as claimed in claim 17, wherein two of the 10
plurality of support rails are positioned at opposite ends of
the inside surface of the main body to face each other.
    19. The inhaler as claimed in claim 15, wherein the
support rail includes two steps formed thereon, the steps
being spaced apart longitudinally along the inside surface of 15
the main body.
    20. The inhaler as claimed in claim 15, wherein a width
dimension of the support rail is not constant, and the width
dimension is greatest at the location where the support rail
is closest to the aperture.                                      20
    21. The inhaler as claimed in claim 13,13. wherein the fIrst
                                                           first
illller wall canister
inner         cauister support formation, the aperture, and a
central outlet port of the canister housing arranged to mate
with a canister fire stem of the medicament canister, all lie
in a common plane coincident with a longitudinal axis X 25
which passes through the center of the central outlet port.
    22. The inhaler as claimed in claim 21 fhrther
                                             farther comprising
           illller wall canister support formation and wherein
a second inner
the second inner wall canister
                           cauister support formation, the first
inner wall canister support formation, the aperture, and the 30
central outlet port lie in a common plane coincident with
longitudinal axis X.
                       *   *   *    *   *




                                                                                            TEVAQVAR-00031282
                                                          Appx150
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      U.S. PATENT: 10,561,808
      ISSUE DATE: February 18, 2020




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                                                                          Consolidated


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                                                                       PTX-002




                                                                          TEVAQVAR-00031155
                                Appx151
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c12)
(12)   United States Patent                                                 (10) Patent No.:                  US 10,561,808 B2
       Walsh et al.                                                         (45) Date of Patent:                            Feb. 18,2020
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       AN ANTI-REVERSE ROTATION ACTUATOR                                       A.61M 15/00
                                                                                     15100                    (2006.01)
                                                                               G06M 1124
                                                                                     1/24                     (2006.01)
(71)   Applicants:IVAX PHARMACEUTICALS                                         A.61M 11/00
                                                                                     11100                    (2006.01)
                  IRELAND, Waterford (IE); NORTON                      (52)    U.S. Cl.
                                LlMITIW, Waterford
                  (WATERFORD) LIMITED,                                         CPC ........ A.61M 15/0078
                                                                                                  1510078 (2014.02); A.61M 11100
                                                                                                                             11/00
                  (IE); TEVA PHARMACEUTICALS                                                   (2013.01); A.61M 15/()()7 (2014.02);
                  IRELAND, Waterford (IE)                                                         (Conlinued)
                                                                                                  (Continued)
                                                                       (58)    Field of Classification Search
(72)              Heelan Walsh, COlmty
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                  Simon Kaar, County Cork (IE); Jan
                  Geert Hazenberg, County Kilkenny                                                (Continued)
                                     County Waterford
                  (IE); Daniel Buck, Counly
                  (IE); Paul Clancy, Waterford (IE);                   (56)                       References Cited
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(73)   Assignees: [V4.X
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                  IRELAND, Waterford (IE); NORTON
                  (WATERFORD) LIMITED, Waterford                                     FOREIGN PATENT DOCUMENTS
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                                                                                                                7/2003
                                                                                                      (Continued)
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  *)   Nolice:
       Notice:      Subject to any disclaimer, the term ohhis
                                                        of this
                    patenl
                    patent is extended or adjusted under 35                                 OTHER PUBLICATIONS
                    U.S.C. 154(b) by 228 days.
                                                                       Final Office Action dated Oct. 20, 2016 for u.s.
                                                                                                                   U.S. Appl. No. 14/699,567.
(21)   Appl. No.: 15/262,818                                                                          (Continued)

(22)   Filed:       Sep. 12, 2016                                     Primary Examiner ----- Daniel A Hess
                                                                                               Finn ----- Morgan, Lewis &
                                                                      (74) Attorney, Agent, or Firm-----                &
                                                                      Bockius LLP
(65)                  Prior Publication Data
       US 2016/0375208 Al           Dec. 29, 2016                      (57)                          ABSTRACT
                                                                       A dose counter
                                                                                counler for an inhaler includes a counter display
                                                                       arranged to indicate dosage information, and a drive system
                Related U.S. Application Data                          arranged to move the counter display incrementally in a first
(60)   Continuation of application No. 14/699,584, filed on            direction from a first station to a second station in response
       Apr. 29, 2015, which is a continuation of application           to actuation input. A regulator is provided which is arranged
                        (Continued)                                                              (Conlinued)
                                                                                                 (Continued)

                                            300




                                                                                   110




                                                                                                                                TEVAQVAR-00031156
                                                          Appx152
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                                                                              Page 2


to act upon the counter display at the first station to regulate                   JP                02502129             7/1990
                                                                                                                          7/1990
motion of the counter display at the first station to incre-                       JP                  450059             8/1992
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                                  FIG. 1


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  FIG. 2
  FIG.2                       FIG. 3A
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  FIG.4C
  FIG.4C                      FIG. 4A
                              FIG.4A                         FIG. 5
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           FIG.6A
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                            /       138                 FIG.6C
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              FIG.6D                                    FIG.
                                                        FIG.6E
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                                FIG..6F
                                FIG  6F




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                                 FIG. .6G
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                 FIG. 7A                                       FIG.7B
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                                   FIG. 14
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                                  FIG. 12
      114     216        210                                      212




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                                  FIG. 13



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                                  FIG.15
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           FIG.20
           FIG. 20                                    FIG. 16
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                                        FIG.18C
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                                   510         574~
             FIG. 21
             FIG.21                            540 ~
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                                               516                   568

                                               578                   578
                                               522

                                               520
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                                                      FIG. 22
                                                      FIG.22



                                                                          TEVAQVAR-00031173
                                                                         TEVAQVAR-00031173
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                                         FIG. 23
                                         FIG. 23


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                  55127
                                         FIG.
                                         F      4
                                          IG. 224




                                                                                           TEVAQVAR-00031174
                                           Appx170
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                             FIG. 25
                             FIG.25




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                              FIG. 26
                              FIG.26



                                                                TEVAQVAR-00031175
                                  Appx171
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                                                       US 10,561,808 B2
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     DOSE COUNTER FOR INHALER HAVING                                   is closed. Due to the way in which the mouthpiece is opened
    AN ANTI-REVERSE ROTATION ACTUATOR                                  and closed, and actuation pawl of the device which is
                                                                       mounted on a yoke, travels a known long stroke of consis-
            CROSS-REFERENCE TO RELATED                                 tenl
                                                                       tent length as the mouthpiece is opened and closed.
                        APPLICATIONS                                           20081119552 discloses a metered-dose inhaler which
                                                                          WO 2008/119552
                                                                       is suitable for breath-operated applications and operates with
   TI1is
   ll1is patent application is a continuation patent applica-          a known and constant canister stroke length of3.04 mm+/-     mm+l-
tion of U.S. Non-Provisional patent application Ser. No.               0.255 mm. A stock bobbin of the cmmter,
                                                                                                             cOlmter, from which a tape
14/699,584, filed Apr. 29, 2015, which is a continuation               is unwound, rotates on a shaft having a split pin intended to
patent application of U.S. Non-Provisional patent applica- 10 hold the stock     slock bobbin taut.
                                                                                                laut. However,
                                                                                                      However. some dose counters do
tion Ser. No. 1411
                 14/103,353,
                      03,353, filed Dec. 11, 2013, which is a          not keep a particularly
                                                                       nol           parlicularly reliable count, such as if they are
divisional patent application of U.S. Non-Provisional patent           dropped onto a hard surface.
application Ser. No. 131110,532,
                         13/110,532, filed May 18.  18, 2011, now         More recently, it has become desirable to improve dose
U.S. Pal. No. 8,978,966, issued Mar. 17,2015.
                                           17, 2015, which claims      counters further and, in particular, it is felt that it would be
priority to U.S. Provisional Patent Application No. 61/345, 15 useful to provide extremely accurate dose counters for
763, filed May 18, 2012010,
                          0, and U.S. Provisional Patent Appli-        manually-operated canister-type metered dose inhalers.
cation No. 61/417,659, filed Nov. 29, 2010, each of which is           Unfortunately, in these inhalers, it has been found in the
                                                                       Unfortunalely,
incorporated herein by reference in its entirety for any and           course of making the present
                                                                                               presenl invention
                                                                                                        invenlion that
                                                                                                                    lhat the stroke length
all purposes.                                                          of the canister is to a very large extent controlled on each
                                                                    20 dose operation by the user. and by hand. Therefore, the
                FIELD OF THE INVENTION                                 stroke length is highly variable and it is found to be
                                                                       extremely difficult to provide a highly reliable dose counter
   The present invention relates to dose counters for inhal-           for these applications. The dose counter must not count a
ers,
ers. inhalers and methods of assembly thereof. The invention           dose when the canister
                                                                                        canisler has not fired
                                                                                                         frred since this might wrongly
is particularly applicable to metered dose inhalers including 25 indicale
                                                                       indicate to the user that a dose has been applied and if done
dry power medicament inhalers, breath actuated inhalers and            repeatedly the user would throw
                                                                                                     throwaway
                                                                                                            away the canister or whole
manually operated metered dose medicanlent
                                       medican1ent inhalers.           device before it is really time to change the device due to the
                                                                       active drug and propellant reaching a set minimum. Addi-
          BACKGROUND OF THE INVENTION                                  tionally, the canister must not fire without the dose counter
                                                                    30 counting because the user may then apply another dose
   Metered dose inhalers can comprise a medicament-con-                thinking that                           fired. and if this is done
                                                                                 thal the canister has not fired,
taining pressurised canister containing a mixture of active            repeatedly the active drug and/or propellant may run out
drug and propellant. Such canisters are usually formed from            while the user thinks the device is still suitable for use
a deep-dawn aluminium cup having a crimped lid which                   according to the counter. It has also been found to be fairly
carries a metering valve assembly. The metering valve 35 difficult to assembly some known inhaler devices and the
assembly is provided with a protruding valve slem   stem which.
                                                          which, in    dose counters therefor. Additionally, it is felt desirable to
use is inserted as a push fit into a stem block in an actualor
                                                           actuator    improve upon inhalers by making them easily usable after
body of an inhaler having a drug delivery outlet. In order to          they have been washed with water.
actuate a manually operable inhaler, the user applies by hand             The present invention aims to alleviate at leastleasl to a certain
a compressive force to a closed end of the canister and the 40 extent one or more of the problems of the prior art.
internal components of the metering valve assembly are
spring loaded so lhat                               approximately
                    that a compressive force of approximalely                       SUMM~RY OF THE INVENTION
                                                                                    SUMMARY
15 to 30N is required to activale
                             activate the device in some typical
circumstances.                                                            According to a first aspect of the present invention there   lhere
   In response to this compressive force the canister moves 45 is provided a dose counter for an inhaler, the dose counter
axially with respect to the valve stem and the axial move-             having a counter display arranged to indicate dosage intix-    infor-
ment is sufficient to actuate the metering valve and cause a           mation, a drive system arranged to move the counter display
metered quantity of the drug and the propellant to be                  incrementally in a first direction from a first station to a
expelled through the valve stem. This is then released into a          second station in response lo actuation
                                                                                                           actualion input, wherein a
mouthpiece of the inhaler via a nozzle in the stem block, 50 regulator is provided which is arranged to act upon the
such that a user inhaling lhrough
                            through the outlet of the inhaler will     counter display at the first station lo regulate motion of the
receive a dose of the drug.                                            counter display at the first station to incremental move-
   A drawback of self-administration from an inhaler is that           ments.
it is difficult to detennine how much active drug and/or                  The regulator is advantageous in that it helps prevent
propellant are left in the inhaler, if any, especially of the 55 unwanted motion of the counter display if the counter is
active drug and lhisthis is potentially hazardous for the user         dropped.
since dosing becomes unreliable and backup devices not                    According to a further aspect of the present
                                                                                                                   presenl invention, the
always available.                                                      regulator provides a resistance force of greater than    lhan 0.1 N
   Inhalers incorporating dose counters have therefore                 against movement of the counter display. According to still
become known.                                                       60 a further aspect of the present invention, the resistance force
   WO 98/028033 discloses an inhaler having a ratchet                  is greater than 0.3 N. According to yet a further aspect of the
mechanism for driving a tape drive dose counter. A shaft               present invention, the resistance force is from 0.3 to 0.4 N.
onto which lape
             tape is wound has a friclion
                                     friction clulch
                                               clutch or spring for       Preferably, the counter comprises a tape.
restraining the shaH
                  shafl against reverse rotation.                         Preferably, the tape has dose counter indicia displayed
   EP-A-1486227 discloses an inhaler for dry powered 65 thereon. The first station may comprise a region of the dose
medican1ent
medicanlent having a ratchet mechanism for a tape dose                 counter where tape is held which is located before a display
counter which is operated when a mouthpiece of the inhaler             location, such as a display window, for the counter indicia.




                                                                                                                          TEVAQVAR-00031176
                                                              Appx172
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                               3                                                                      4
   TI1e first station may comprise a first
   TIle                                lirst shaft, the tape being        According to a further aspect of the present invention
arranged on the first shaft and to unwind therefrom upon               there is provided a shaft for holding counter tape in a dose
movement of the counter display.                                       counter for an inhaler, the shaft having an engagement
   ]be first shaft may be mounted for rotation relative to a           surface including incrementally spaced formations located
substantially rotationally fixed element of the dose counter.          around a periphery thereof, the formations comprising a
   The regulator may comprise at least one projection which            series of curved concavities and convex portions.
is arranged on one of the first
                              lirst shaft and the substantially
                                                      substanlially       The shaft may comprise a hollow bobbin.
               fixed element and lo engage incrementally
rotationally lixed                             incremenlally with
                                                              wilh        The engagement surface may be a generally cylindrical
one or more formations on the other of the first shaft and the
                                                                    10 inwardly directed surface.
substantially rotationally fixed element.                           10
                                                                          The engagement surface may include a flat    Hat surface wall
   At least two said projections may be provided. Exactly
                                                                       portion joining each concavity and convex wall portion.
two said projections maybe provided.
                                                                                 concavity may comprise a radiused wall portion.
                                                                          Each concavily
   Each projection may comprise a radiused surface.
   TI1e at least one projection may be located on the sub-
   TIle                                                                   Each convex wall portion may comprise a radiused wall
            lixed element which may comprise a fixed shaft 15 portion.
stantially fixed
which is fixed to a main body of the dose counter, the first              Said concavities may be regularly spaced around a lon-
shaft being rotationally mounted to the fixed shaft.                   gitudinal axis of the shaft.
   Preferably, the fixed shaft has at least two resiliently               Said convex wall portions may be regularly spaced
flexible legs (or forks). Each leg may have at least one said          around a longitudinal axis of the shaft.
projection fonned in an outwardly facing direction thereon, 20            In some embodiments there may be from eight to twelve
said one or more formations being formed on an inwardly                said concavities and/or convex wall portions regularly
facing engagement surface of the first shaft, said at least one                                              thereof.
                                                                       spaced around a longitudinal axis lhereof.
projection being arranged to resiliently engage said one or               One embodiment includes ten said concavities and/or
more formations. Preferably, a series of said formations are           convex wall porlions
                                                                                     portions regularly spaced around a longitudinal
provided. An even number of said formations may be 25 axis of the shaft.
provided. Eight to twelve of said formations may be pro-                  According to a further aspect of the present invention
vided. In one embodiment, ten said formations are provided.            there is provided a shaft and counter tape assembly for use
   Each said formation may comprise a concavity formed on              in a dose counter for an inhaler, the assembly comprising a
an engagemenl
    engagement surface. Each concavity may comprise a                  rotatable shaft and a counter tape which is wound around the
radiused surface wall portion which preferably merges on at 30 shaft and is adapted to tillwind     tmwind therefrom upon inhaler
least one side thereof into a flat wall portion surface. The
                                                                       actualion,
                                                                       actuation, the shaft having an engagemenl
                                                                                                          engagement surface which
engagement surface may include a series of said concavities,
                                                                       includes incrementally spaced formations located around a
and convex wall portions of the engagement surface may be
                                                                       periphery thereof.
formed between each adjacent two said concavities, each
said convex wall portion comprising a convex radiused wall 35             According to a further aspect of the present invention
portion.                                                               there  is provided an inhaler for the inhalation of medication
   Each convex radiused wall portion
                                  porlion of each convex wall          and the like, the inhaler including a dose counter as in the
portion may be connected by said flat wall portion surfaces            first aspect of the present invention.
to each adjacent concavity.                                                            constrnction consists of a manually operated
                                                                          A preferred constmction
   The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
and each projection may be located on a said fork leg.                 including a dose display lape tape driven by a ratchet
                                                                                                                         ralchet wheel
   TI1e first shaft may comprise a substantially
   TIle                               substanlially hollow bob-        which is driven in tum by an actuator pawl actuated by
bin.                                                                   movement of a canister, the tape unwinding from a stock
   Said at least one formation may be located on an inner              bobbin during use of the inhaler, a rotation
                                                                                                               rolation regulator being
surface of the bobbin. In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
located on an outer surface thereof. Said engagement surface           engagement surface with concavities which engage against
may extend partially along said bobbin, a remainder of the             control elements in the form of protmsions
                                                                                                         protrusions on resilient forks
respective inner or outer surface having a generally smooth            of a split pin thereby permitting incremental unwinding of
journal portion along at least a portion thereof.
                                              lhereof.                 the stock bobbin yet resisting excessive rotation if the
   The drive system may comprise a tooth ratchet    ralchet wheel 50 inhaler is dropped onto a hard surface.
arranged lo act upon a second shaft which is located at the               According to another aspect of the present invention there
second station, the second shaft being rotatable to wind the           is provided a dose counter for a metered dose inhaler having
tape onto the second shaft.                                            a body arranged to retain a medicament canister of prede-
   The second shaft may be located on a main body of the               termined configuration for movement of the canister relative
dose counter spaced from and parallel to the first shaft.           55 thereto; the dose counter comprising: an incremental count-
   TI1e ratchet wheel may be fixed to the second shaft is
   TIle                                                                                             doses. the incremental counting
                                                                       ing system for counting doses,
                rotate therewith. The ratchet wheel may be
arranged to rolate                                                     system having a main body, an acluatoractuator arranged to be
secured to an end of the second shaft and aligned coaxially            driven in response to canister motion and to drive an
with the second shaft.                                                 incremental output member in response to canister motion,
   ]be dose counter may include anti-back drive system 60 the actuator and incremental output member being config-
which is arranged to restrict motion of the second shaft. The          ured to have predetermined canister fire and count configu-
anti-back drive system may include a substantially fixed               rations in a canister fire sequence, the canister fire configu-
tooth arranged lo act upon teeth
                              teelh of the ratchet wheel.              ration being determined by a position of the actuator
                                                                                                                       actualor relative
   According to a further aspect of the present invention, a           to a datum at which the canister fires
                                                                                                            lires medicament and the
dose counter includes an anti-back
                             anli-back drive system which is 65 count configura         lion being determined by a position of the
                                                                               configuration
arranged to restrict motion of the second shaft in a tape              actuator relative to the datum at which the incremental count
winding direction.                                                     system makes an incremental count, wherein the actuator is




                                                                                                                      TEVAQVAR-00031177
                                                            Appx173
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                                 5                                                                          6
arranged to reach a position thereof in the count configura-              wise generally straight
                                                                                            slraight surface against which the actuator acluator
tion at or after a position thereof in the canister fire con-             engages and along which it is arranged to slide during a
figuration.                                                               canister firing sequence.
   ]bis
   'Ibis arrangement has been found to be highly advanta-                    The dose counter may include a counter pawl, the counter
geous since it provides an extremely accurate dose counter                pawl having a tooth arranged to engage the incremental
which is suitable for use with manually operated metered                  output member, the tooth and incremental output member
dose inhalers. It has been found lhat that dose counters wilh
                                                            with lhese
                                                                 these    being arranged to permit one way only incremental relative
features have a failure rate of less than 50 failed counls  counts per    motion therebetween. When the incremental output member
million full canister activation depressions. It has been                 comprises a ratchet wheel, the tooth can therefore serve as
found in the course of making the present invention that 10 an anti-back drive tooth for the ratchet wheel, thereby
highly reliable counting can be achieved with the dose                    permitting only one way motion or rotation thereof.
counter counting at or soon after the point at which the                     The counter pawl may be substantially fixedly mounted
canister fires. It has been is covered by the present inventors           on the main body of the incremental count system and the
that momentum and motion involved in firing the canister,                 counter pawl may be arranged to be capable of repeatedly
                                                                          counler                                                   repealedly
and in some embodiments a slight reduction in canister back 15 engaging equi-spaced teeth           leeth of the incremental output mem-
pressure on the user at the time of canister firing, can very             ber in anti-back drive interlock configurations as the counter
reliably result in additional further motion past the count               is operated. The counter pawl may be positioned so that the
point.                                                                    incremental output member is halfway,  halfWay, or substantially
   The actuator and incremental counting system may be                    halfway moved from one anti-back drive interlock configu-
                                                                          halfWay
arranged such that the actuator is displaced less than 1 mm, 20 ration to the next when the actuator and incremental output
typically 0.25 to 0.75 mm,llllll, more preferably about 0.4 to 0.6        member are in the end configuration thereof. This is highly
mm, relative
        relalive to the body between its location in the count            advantageous in that itil minimises the risk of double counting
and fire configurations, about 0.48 mm    l1ll1l being preferred. The     or non-counting by the dose counter.
canister, which can move substantially in line with the                      According to a further aspect of the invention there is
actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
achieve very reliable counting.                                           retain a medicament canister of predetermined configuration
   The incremental count system may comprise a ratchet                    and a dose counter mounted in the main body.
mechanism and the incremental output member may com-                         The inhaler main body may include a canister receiving
prise a ratchet wheel having a plurality of circumferentially             portion and a separate counter chamber, the dose counter      counler
spaced teeth arranged to engage the actuator.                          30 being located within the main body thereof, the incremental
   ]be
   'Ibe actuator may comprise an actuator pawl arranged to                output member and actuator thereof inside the counter
engage on teeth of the ratchet wheel. Tbe    The actuator pawl may        chamber, the main body of the inhaler having wall surfaces
be arranged to be connected to or integral with an actuator               separating the canister-receiving portion and the counter
pin arranged to engage and be depressed by a medicament                   chamber, the wall surfaces being provided with a commu-
canisler bottom flange. The actuator pawl may be generally 35 nication aperture, an actuation
canister                                                                                           acluation member extending through
U-shaped
V-shaped having two parallel arms arranged to pull on a                   the communication aperture
                                                                                                 aperlure to transmit
                                                                                                               lransmit canister motion to
central pawl member arranged substantially perpendicular                  the actuator.
thereto. This provides a very reliable actuator pawl which                   According to a further aspect of the present invention
can reliably pull on the teeth of the ratchet wheel.                      there is a provided an inhaler for metered dose inhalation,
   The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
having tape with incremental dose indicia located thereon,                housing arranged to retain a medicament canister for motion
the tape being positioned on a lape   tape stock bobbin and being         therein, and a dose counter,
                                                                                                  counler, the dose counter
                                                                                                                          counler having an
arranged to unwind therefrom.                                             actualion
                                                                          actuation member having al   alleast
                                                                                                          least a portion thereoflocated in
           actualor and incremental outpul
   The actuator                          output member may be             the canister housing for operation by movement of a medi-
arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
actuator is spaced from the ratchet output member, a reset                wall, and a first inner wall canister support formation located
configuration at which the actuator is brought into engage-               directly adjacent the actuation member.
ment with the incremental output member during a canister                    This is highly advantageous in that the first inner    illller wall
fire sequence, and an end configuration al which the actualor actuator    canister support formation can prevent a canister from
disengages from the ratchet oUlpul  output during a canister fire 50 rocking too much relative relalive to the main body of the inhaler.
sequence.                                                                 Since the canister may operate the actuation member of the
   Tbe actuator may be arranged to be located about 1.5 to
   The                                                                    dose counter, this substantially improves dose counting and
2.0 mm, from its location in the fire configuration, when in              avoids counter errors.
the start configuration, about 1.80 mm being preferred.                      The canister housing may have a longitudinal axis which
   The actuator may be arranged to be located about 1.0 to 55 passes through a central outlet port thereof, the central outlet
     mm, from its location in the fire configura
1.2 llllll,                                             lion, when in
                                             configuration,               port being arranged to mate with an outer canister fire stem
the reset configuration, about 1.11 mm being preferred.                   of a medicament canister,
                                                                                               canisler, the inner wall canister support
   The actuator may be arranged to be located aboul       about 1.1 to    formation, the actuation member and the outlet port           lying in
                                                                                                                                 porllying
1.3 mm,
     lllll1, from its location in the fire configuration, when in         a common plane coincident with the longitudinal axis.
the end configuration, about 1.18  1. 18 lllll1
                                         mm being preferred.           60 Accordingly, this construction may prevent the canister from
   These arrangements provide extremely reliable dose                     rocking towards the position of the dose counter actuation
counting, especially with manually operated canister type                 member, thereby minimising errors in counting.
metered dose inhalers.                                                       The canister housing may have a forlher  furlher inner
                                                                                                                               illller canister
   The main body may include a formation for forcing the                  wall support formation located on the innerillller wall opposite, or
actuator to disengage from the incremental output member 65 substanlially substantially opposite, the actuation member. Accordingly,
when the actuator is moved past the end configuration. The                the canister may be supported against rocking motion away
formation may comprise a bumped up portion of an other-                   from the actuator member so as to minimise count errors.




                                                                                                                             TEVAQVAR-00031178
                                                                Appx174
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                                7                                                                      8
   TI1e
   TIle canister housing may be generally straighl
                                              straight and tubu-       a dose counter, the dose counter having a moveable actuator
                                                                                                                                 acluator
lar and may have an arrangement in which each said inner               and a chassis mounted on the body; the chassis being heat
wall support formation comprises a rail extending longitu-             staked in position on the body. This is be highly advanta-
dinally along the inner wall.                                          geous in that the chassis can be very accurately positioned
   Each said rail may be stepped, in that it may have a first          and held finnly in place, thereby further improving counting
portion located towards a medicine outlet end or stem block            accuracy compared to prior art arrangements in which some
of the canister
         canisler housing which extends inwardly a flrst      first    movement of the chassis relative
                                                                       movemenl                         relalive lo the body may be
distance from a main surface of the inner wall and a second            tolerated in snap-fit connections.
portion located toward an opposite end of the canister                    The chassis may have at least one of a pin or aperture heat
chamber which extends inwardly a second, smaller distance 10 staked to a respective aperture or pin of the body.
from the main surface of the inner wall. TIlis
                                             TI1is may therefore          The chassis may have a ratchet counter output member
enable easy insertion of a canister into the canister housing          mmmted thereon.
such that a canister can be lined up gradually in step wise               The ratchet counter output member may comprise a
function as it is inserted into the canister housing.                  ratchet wheel arranged to reel in incrementally a dose meter
                                                                       ratchel                                                     meler
   TI1e                                              support rails 15 tape having a dosage indicia localed thereon.
   TIle inhaler may include additional canister supporl
which are spaced around an inner periphery of the inner wall              According to a further aspect of the present invention
of the canister housing and which extend longitudinally                there is provided a method of assembling an inhaler includ-
therealong.                                                            ing the step of heat staking the chassis onto the body. The
   At least one of the additional rails may extend a constant          step of heat staking is highly advantageous in fixedly
distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
   Al least one of the additional rails may be fonned with a           highly accurate dose counting in the assembled inhaler.
similar configuration
         configura lion to the first inner wall canister support          The method of assembly may include mounting a spring-
formation.                                                             returned ratchet actuator in the body before heat staking the
   The dose counter may, apart from said at least a portion            chassis in place. The method of assembly may include
of the actuation member, be located in a counter chamber 25 pre-assembling the chassis with a dose meter tape prior to
separate from the canister housing, the actuation member               the step of heat staking the chassis in place. The method of
comprising a pin extending through an aperture in a wall               assembly may include attaching a dose meter cover onto the
which separates the counter chamber and the canister hclUs-hous-       body after the heal staking step. The cover may be welded
ing.                                                                   onlo
                                                                       onto the body or may in some embodiments be glued or
   According to a further aspect of the present invention 30 otherwise attached in place.
there is provided an inhaler for inhaling medicaments hav-                According to a further aspect of the present invention
ing: a body for retaining a medicament store; the body                 there is provided an inhaler for inhaling medicament and
including a dose counter, the dose counter having a move-              having a body, the body have a main part thereof for
able actuator and a return spring for the actuator, the return         retaining a medicament store; and a dose counter, the dose
spring having a generally cylindrical and annular end; the 35 counter being located in a dose counter chamber of the body
body having a support formation therein for supporting said            which is separated from the main part  parl of the body, the dose
end of  the return spring, the supporl
     ofthe                     support formation comprising a          counter chamber of the body having a dosage display and
shelf onto which said end is engageable and a recess below             being perforated so as to permit the evaporation of water or
the shelf.                                                             aqueous matter in the dose counter chamber into the atmo-
   This shelf and recess arrangement is highly advantageous 40 sphere.
since it allows a tool (such as manual or mechanical twee-                This is high advantageous since it enables the inhaler to
zers) lo be used lo place the return spring of the actuator onto           thoroughly washed and the dose counting chamber can
                                                                       be lhoroughly
the shelf with the tool then being withdrawn at least partially        thereafter dry out fully.
via the recess.                                                           The display may comprise a mechanical counter display
   ]be
   The shelf may be U-shaped.                                       45 inside the dose cmmter chamber and a window fix      for viewing
   ]be
   The support formation may include a U-shaped upstand-               the mechanical cmmter display. The mechanical counter
ing wall extending around the U      -shaped shelf, the shelf and
                                  U-shaped                             display may comprise a tape. The perforated dose counter
upstanding wall thereby forming a step and riser of a stepped          chamber may therefore enable reliable washing of the
arrangement.                                                           inhaler, if desired by the user, and may therefore dry out
   The recess below the shelf my also be U-shaped.                  50 without the display window misting up.
       leasl one chamfered surface may be provided at an
   Al least                                                               The dose counter chamber may be perforated by a drain
entrance to the shelf. This may assist in inserting the actuator       hole formed through an outer hole of the body. The drain
and return spring into position.                                       hole may be located at a bottom portion of the body of the
   A further aspect of the invention provides a method of              inhaler, thereby enabling full draining of the inhaler to be
assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
said end of said spring on the shelf with an assembly tool and         an upright
                                                                           uprighl position.
then withdrawing
      wilhdrawing the assembly tool al least partly via the               According to a further aspect of the present invention
recess. This assembly melhod
                         method is highly advantageous com-            there is provided a dose counter for an inhaler, the dose
pared to prior art methods in which spring insertion has been          counter having a display tape arranged to be incrementally
difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
accidentally withdrawn the spring again.                               take-up drive shaft, the bobbin having an internal bore
   The cylindrical and annular end of the spring may be                supported by and for rotation about a support shaft, at least
movable in a direction transverse to its cylindrical extent            one of the bore and support shaft having a protrusion which
inlo the shelf while being located thereon.
into                                                                   is resiliently biased into frictional
                                                                                                  friclional engagement with the other
   According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
there is provided an inhaler for inhaling medicament.
                                               medicament the          mutual frictional interaction. This arrangement may provide
inhaler having a body for retaining a medicament store; and            good friction for the bobbin, thereby improving tape counter




                                                                                                                       TEVAQVAR-00031179
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display accuracy and preventing the bobbin from unwinding           dose counter
                                                                           counler positions for a dose counter
                                                                                                             counler actuator of the
undesirably for example if the inhaler is accidentally              inhaler; calculating a failure/success rate for dose connters
                                                                                                                              cOUllters
dropped.                                                            built to tolerance levels for counting each fire of inhalers in
   ]be
   "Ibe support shaft may be forked and resilient for resil-        which the dose counter actuators may be applied; and
iently biasing the support shaft and bore into frictional           selecting a tolerance level to result in said failure/success
engagement.                                                         rate to be at or below/above a predetennined value. This is
   The support shaft may have two forks,forks. or more in some      highly advantageous in that it allows an efl:icient
                                                                                                                   efficient and accu-
cases, each having a radially extending protrusion having a         rate prediction
                                                                          prediclion of the reliability
                                                                                                reliabilily of a series of inhaler
friction edge extending therealong parallel to a longitudinal       counters made in accordance with the design.
axis of the support shaft for frictionally engaging the bore of 10     The method of designing may include selecting the fail-
the support shaft with longitudinally extending frictional          ure/success rate as a failure rate of no more than one in 50
interaction therebetween.
             therebenveen.                                          million. The method of designing may include setting an
   The bore may be a smooth circularly cylindrical or               average count position for dose counters built to the toler-
substantially cylindrical bore.                                     ances to be at or after an average fire position thereof during
   Each of the above inhalers in accordance with aspects of 15 canister firing motion. The method of designing may include
the present invention may have a medicament canister                setting the average count position to be about 0.4 to 0.6 mm
mounted thereto.                                                    after the average fire position, such as about 0.48 mm after.
   ]be
   "Ibe canister may comprise a pressurised metered dose            The method of designing may include setting tolerances for
canister having a reciprocally movable stem extending               the standard deviation of the fire position in dose cmmters
                                                                                                                              cOlmters
therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0.12 to 0.16 mm, such as
for releasing a metered dose of medicament under pressure,          about 0.141 nm1. mm. The method of designing may include
for example by operating a metered dose valve inside the            setting tolerances for the standard deviation of the count
canister body. The canister may be operable by pressing by          positions in dose counters built to the tolerances to be about
hand on the main canister body.                                     0.07 to 0.09 mm, such as about 0.08 mm. A further aspect
   In cases in which one or more support rails or inuer
                                                      inner wall 25 of the invention provides a computer implemented method
support formations are provided, the canister may at all            of designing an incremental dose counter cOUllter for an inhaler
times when within the canister chamber have a clearance of          which includes the aforementioned method of designing.
about 0.25 lo 0.35 mm from the flrsl   first inuer
                                             inner wall support           furlher aspect
                                                                       A further    aspecl of the invention provides a method of
formation. The clearance may be almosl almost exactly 0.3 nm1.
                                                            mm.     manufacturing in a production rml   rnn a series of incremental
This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
or to the canister once a label has been applied, is enough to      the series of dose counters in accordance with the afore-
allow smooth motion of the canister in the inhaler while at         mentioned method of designing.
the same time preventing substantial rocking of the canister           A further aspect of the invention provides a method of
which could result in inaccurate counting by a dose counter         manufacturing a series of incremental dose counters for
of the inhaler, especially when lower face of the canister is 35 inhalers,
                                                                    inhalers. which comprises manufacturing the dose counters counlers
arranged to engage an acluator
                        actuator member of the dose counter         with nominal canister fire and dose count
                                                                                                            COUllt positions of a dose
for counting purposes.                                              counter actuator
                                                                             acluator relative to a dose counter chassis ((oror inhaler
   According to a further aspect of the invention, a method         main body).
                                                                           body), and which includes building the dose counters
of assembling a dose counter for an inhaler comprises the           with the average dose count position in the series being, in
steps of providing a tape with dosing indicia thereon; 40 canister fire process, at or after the average canister fire
providing tape positioning indicia on the tape; and stowing         position in the series.
the tape while monitoring for the lape tape positioning indicia        According to a further aspect of the invention, the method
wilh a sensor. The method advantageously permits efficient
with                                                                provides fitting
                                                                               fItting each dose counter
                                                                                                  cOUllter in the series of incremen-
     accurale slowing of the tape, e.g. by winding.
and accurate                                                        tal dose counters to a corresponding main body of an inhaler.
   ]be
   "Ibe dosing indicia may be provided as mmlbers,
                                              numbers, the tape 45     These aspects advantageously provide for the production
positioning indicia may be provided as one or more lines            run of a series of inhalers and dose counters which count
across the tape. The stowing step comprises winding the tape        reliably in operation.
onto a bobbin or shaft, and, optionally, stopping winding              According to a further aspect of the invention, an incre-
when the positioning indicia are in a predetermined position.       menlal
                                                                    mental dose counter for a metered dose inhaler has a body
The tape may be provided with pixelated indicia at a position 50 arranged to retain a canister
                                                                                            canisler for movement of the canister
spaced along the tape from the positioning indicia. The tape        relative thereto.
                                                                             therelo, the incremental dose counter having a main
may also be provided with a priming dot.                            body, an actuator arranged to be driven and to drive an
   According to a further aspect of the invention, a tape           incremental output member in a count direction in response
system for a dose counter for an inhaler has a main elongate        to canister motion, the actuator being configured to restrict
tape structure, and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
indicia located on the lape
                         tape struclure.
                               structure. The tape positioning      count direction. This advantageously enables an inhaler dose
                                                                    counl
indicia may comprise at leasl
                           least one line extending across the      counter to keep a reliable count of remaining doses even if
                                                                    counler
tape structure. The tape syslem
                             system may comprise pixelated          dropped or otherwise jolted.
indicia located on the tape structure and spaced from the              The output member may comprise a ratchet wheel. The
positioning indicia. The tape system may comprise a prim- 60 actuator may comprise a pawl and in which the ratchet wheel
ing dot located on the tape structure. The positioning indicia      and pawl are arranged to pennit only one-way ratcheting
may be located between the timing dot and the pixelated             motion of the wheel relative to the pawl. The dose counter
indicia. The main elongate tape struclure
                                    structure may have at least     may include an anti-back drive member fixed to the main
one end thereof wound on a bobbin or shaft.                                                                cOUllter, the ratchet
                                                                    body. In a rest position of the dose counter,        ratchel wheel
   A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
designing an incremental dose counter for   fix an inhaler com-     surface of one tooth thereof engages the anti-back drive
prising the steps of calculating nominal canister fire and          member and the pawl is spaced from an adjacent back




                                                                                                                     TEVAQVAR-00031180
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surface of another tooth of the ratchet wheel without posilive
                                                      positive           FIG. 21 is a view of a preferred embodiment of a dry
drive/blocking engagement between the pawl and wheel.                 powder inhaler in accordance with the present invention;
                                                                         FIG. 22 is an exploded view of the inhaler of FIG. 21;
       BRIEF DESCRIPTION OF THE DRAWINGS                                 FIG. 23 is a view of a dose counter of the inhaler of FIG.
                                                                      21;
   The present invention may be carried out in various ways              FIG. 24 is an exploded view of the dose counter shown in
and preferred embodiment of a dose counter, inhaler and               FIG. 23;
methods of assembly, design and manufacture will now be                  FIG. 25 is an exploded view of parts of the inhaler of FIG.
described with reference to the accompanying drawings in              21; and
which:                                                             10    FIG. 26 is a view of a yoke of the inhaler of FIG. 21.
   FIG. 1 is an isometric view of a main body of an
embodiment of an inhaler relaled
                               related to the invention logether
                                                        together                  DETAILED DESCRIPTION OF THE
                                                                                                INVENTION
with a mouthpiece cap therefor;
                                        components as shown in 15
   FIG. 2 is a top plan view of the componenls
                                                                   15    FIG. 1 shows a main body 10 of a manually operated
FIG. 1;
                                                                      metered dose inhaler 12 in accordance with an embodiment
                  section on the plane 3A-3A in FIG. 2;
   FIG. 3A is a seclion                                               related to the present invention and having a mouthpiece cap
    FIG. 313 is a view corresponding to FIG. 3A but with a            14 securable over a mouthpiece 16 of the main body.
dose counter fitted to the main body of the inhaler;                     The main body has a canister chamber 18 into which a
   FIG. 4A is an exploded view of the inhaler main body, 20        20 canister 20 (FIG. 7A) is slideable. The canister 20 has a
mouthpiece cap, dose counter and a dose counter window;               generally cylindrical main side wall 24, joined by a tapered
   FIG. 4B is a view in the direction 4B in FIG. 4C of a              section 26 to a head portion 28 having a substantially
                                                                                                                     substanlially flat
spring retainer of the dose counter;                                  lower face 30 which has an outer annular drive surface 32
   FIG. 4C is a top view of the spring retainer of FIG. 4B;           arranged to engage upon and drive an actuation pin 34 of a
    FIG. 5 is a bottom view of the assembled inhaler main 25 dose counter    cOlmter 36 as will be described. Extending centrally
body, mouthpiece cap, dose counter and dose counter win-              and axially from the lower face 30 is a valve stem 38 which
dow;                                                                  is arranged to sealingly engage in a valve stem block 40 of
   FIGS. 6A,
           6A 6B, 6C, 6D, 6E, 6F, 6G and 6H are various               the main body 10 of the inhaler 12. The valve stemslem block 40
views of dose counter components of the inhaler;                      has a passageway 42 leading lo a nozzle 44 for directing the
   FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20, namely active drug and propel-
clearance inside the main body of the inhaler;                        lant, towards an air outlet 46 of the inhaler main body 12. It
                                                                      lant.
   FIG. 7C is a further sectional view similar to that of FIG.        will be appreciated that due to gaps 48 between the canister
7B but with the canister removed;                                     20 and an inner wall 50 of the main body 10 of the inhaler
   FIG. 7D is a top plan view of the inhaler main body;               12 an open top 52 of the main body 10 forms an air inlet into
   FIGS. 8A,
          SA, 8B,
               SB, 8C       SD show the inhaler main body and 35 the inhaler 12 communicating via air passageway 54 with
                    SC and 8D
dose counter components during assembly thereof;                      the air outlet 46, such that
                                                                                              thal canister contents exiting nozzle 44
   FIG. 9 shows a sectional side view of a datum line for an          mix with air being sucked by the user through the air
actuator pawl of the dose counter;                                    passageway 54 in order to pass together through the air
    FIGS. lOA,
           l0A, lOB,
                 1013, 10C,   l0D, HlE
                        lOC, 10D,    HIE and 10F
                                              lOF show various        outlet and into the mouth of the user (not shown).
side views of positions and configurations of the actuator 40            The dose counter 36 will now be described. The dose
pawl, a ratchet wheel, and a count pawl;                              counter 36 includes an actuation pin 34 biased upwardly
   FIG. 11 shows distribulions
                     distributions for tolerances of start, reset,                             relurn spring 56 once installed in the
                                                                      from underneath by a return
fire, count and end positions for the actuator of the dose            main body 10. As best shown in FIGS. 4A, 6H and SA,       8A, the
counter;                                                              pin 34 has side surfaces 58, 60 arranged to slide between
   FIG. 12 is an enlarged version of part of FIG. 4A;              45 corresponding guide surfaces 62, 64 located in a dose
   FIG. 13 shows an end portion of a tape of the dose                 counter chamber 66 of the main body 10, as well as an end
counter;                                                              stop surface 68 arranged to engage a corresponding end stop
   FIG. 14 shows a computer system for designing the dose             70 formed in the dose counter chamber 66 to limit upward
counter;                                                              movemenl
                                                                      movement of the pin 34. The pin 34 has a lop part 72 which
   FIG. 15 is an isomelric
                   isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
in accordance with the present invention for use in the dose          formed through a separator wall 76 which separates the
counter of the inhaler of FIGS. 1 to 14;                              canister chamber 18 from the dose counter chamber 66. The
    FIG. 16 shows an end view of the stock bobbin of    FIG. 15;
                                                     ofFIG.15;        top part 72 of the pin 34 has a flat top surface 78 which is
   FIG. 17 is a section through a longitudinal axis of the            arranged to engage the outer annular drive surface 32 of the
stock bobbin of FIGS. 15 and 16;                                   55 canister 20.
   FIGS. 18A, 18B and 18C are views of the stock bobbin of               The actuation pin 34 is integrally formed with a drive or
FIGS. 15 to 17 mounted in the dose counter chassis of FIGS.           actuator
                                                                      actualor pawl 80. The actuator pawl 80 has a generally
1 to 14, with the control elements of the forks of the second         inverted U-shape
                                                                                V-shape configuration, having two mutually
                                                                                                                      mUlually spaced
shaft (or split pin) having a profile slightly different to that      and parallel arms 82, 84 extending from a base portion of the
in FIG. 6F, with the forks in a compressed configuration; 60 actuation pin 34, each holding at respective distal ends 88
   FIGS. 19A, 19B and 19C are views equivalent to FIGS.               thereof opposite ends of a pawl tooth member 90 which
18A to 18C but with the forks in a more expanded configu-             extends in a direction substantially perpendicular to the arms
ralion due to a different rotational posilion
ration                                    position of the stock       82, 84, so as to provide what may be considered a "saddle"
bobbin;                                                                                                           teelh 92 of a ratchet
                                                                      drive for pulling on each of the 11 drive teeth
   FIG. 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
including the stock bobbin of FIGS. 15 to 17 but excluding            mechanism 96 of the dose counter 36. As shown fix    for example
the tape for reasons of clarity;                                               lOB, the pawl tooth member 90 has a sharp lower
                                                                      in FIG. 1013,




                                                                                                                     TEVAQVAR-00031181
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longitudinal side edge 98 arranged to engage the drive teeth             mm vertically below the axis 145, and the fiat 145' being
                                                                         nnn
92, the edge-to-surface contact provided by this engagement              spaced a distance sideways (i.e. parallel to the datum plane
providing very accurate positioning of the actuator pawl 80              220) 2.48 mm from the axis 145. The top surface 78 of the
and resultant rotational positioning of the ratchet wheel 94.            pin 34 (FIG. 6H) is 11.20 mm above the datum  datnm plane 220
   The dose counter 36 also has a chassis preassembly 100 5 (FIG. 9) when the actuator pawl 80 and pin 34 are in the start
which, as shown in FIGS. 4A and 6A, includes a chassis 102               configuration. The length of the valve stem 22 is 11.39 mm
           first shaft 104 receiving the ratchet wheel 94 which
having a flrst                                                           and the drive surface 32 of the canister 20 is 11.39 mm above
is secured lo a tape reel shaft     106, and a second shaft ((or
                             shafl106,                        or split        datum plane 220 when the canister is at rest waiting to
                                                                         the datnm
pin) 108 which is parallel to and spaced from the first shaft                 actuated, such that there is a clearance of 0.19 mm
                                                                         be actnated.
104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration.
bobbin 110.
          BO.                                                                       l0Aand
                                                                            FIGS. lOA   and 1013            actuator pawl 80 and ratchet
                                                                                             lOB show the actnatorpawl80
   As shown in FIG. 6B,   613, when the inhaler has not been used        wheel 94 and count pawl 138 in a start position in which the
at all, the majority of a tape 112 is woundwonnd on the tape stock       fiat top 78 of the pin 34 has not yet been engaged by the
bobbin 110 and the lape  tape 112 has a series ofregularly
                                                 of regularly spaced     outer annular drive surface 32 of the canister 20 or at least
                                                                         oUler
numbers 114 displayed therealong lo indicate a number of 15 has not been pushed down during a canister depression.
remaining doses in the canister 20. As the inhaler is repeat-               In this "start" position, the count pawl 138 engages on a
edly used, the ratchet wheel 94 is rotated by the actuator   actnator    non-return back surface 140 of one of the teeth 92 of the
                                                                         non-retnrn
pawl 80 due to operation of the actuation  actnation pin 34 by the       ratchet wheel 94. The lower side edge 98 of the actuator actnator
canister 20 and the tape 112 is incrementally and gradually                                  "D" (FIG. 9) 1.33 mm
                                                                         pawl is a distance "])"                 nnn above datum
                                                                                                                             datnm plane
wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
108. The tape 112 passes around a tape guide 116 of the                  valve stem block 40, the dalumdatum plane 220 being perpen-
chassis 102 enabling the numbers 114 to be displayed via a               dicular lo a main axis "X" of the main body 10 of the inhaler
window 118 in a dose counter chamber cover 120 having a                  12 which is coaxial with the centre of the valve stem block
dose marker 132 formed or otherwise located thereon.                     bore 43 and parallel to a direction of sliding of the canister
   As shown in FIGS. 6A and 6D,        6]), the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
forked with two forks 124.    124, 126. The forks 124, 126 are           is fired.
biased away from one another. The forks have located                        As shown in FIG. 10B, lOB, an advantageous feature of the
thereon at diametrically opposed positions on the second                 construclion
                                                                         construction is that the pawl loolh/acluator
                                                                                                            tooth/actuator 90 acts as a
sha±l108
shaft 108 friction or control elements 128, 130, one on each             supplementary anti-back drive member when the inhaler 12
fork. Each control element extends longitudinally along its 30 is not being used for inhalation. In particular, if the inhaler
respective fork 124.124, 126 and has a longitudinally
                                           longitndinally extending      12 is accidentally dropped, resulting in a jolt to the dose
friction surface 132, 134 which extends substantially paral-             counter 36 then, if the wheel 94 would try to rotate clock-
lel to a longitudinal axis of the second shaft and is adapted            wise (backwards) as shown in FIG. 10B,   lOB, the back surface
to engage inside a substantially cylindrical bore 136 inside             140 of a tooth will engage and be blocked by the tooth
the tape stock bobbin 110. This control arrangement pro- 35 member 90 of the pawl 80. Therefore, even if the anti-back
vided between the bore 136 and the control elements 128,                 drive tooth 138 is temporarily bent or overcome by such a
                           rotational control for the lape
130 provides good rotalional                              tape stock     jolt, undesirable backwards rotation of the wheel 94 is
bobbin 110 such that it does not unwind lmdesirably
                                                 undesirably such as     prevented and, upon the next canister firing sequence, the
when the inhaler is dropped. The tape force required to                                 tixce the wheel 94 to catch up to its correct
                                                                         pawl 90 will force
unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
force is approximately 0.1 N.                                            correct dosage indication.
   As can be seen in FIG. 6D,    6]), as well as FIGS. 6G and lOA                  lOC shows a configura
                                                                            FIG. 10C               configuration
                                                                                                             lion in which the actuator
                                                                                                                                  acluator
to 10F,
    lOF, the chassis 102 is provided with an anti-back drive             pawl 80 has been depressed with the pin 34 by the canister
                                                                                                                                  canisler
tooth 138 or counlcount pawl 138 which is resiliently and sub-           20 to a position in which the side edge 98 of ofthe
                                                                                                                           the pawl tooth
stantially fixedly mounted thereto. As will be described 45 member 90 is just engaged with one of the teeth 92 and will
below and as can be seen in FIGS. 10A         lOA to 10F,
                                                      lOF, when the      therefore
                                                                         theretixe upon any fnrther
                                                                                               further depression of the pin 34 begin to
actuation pin 34 is depressed fully so as to fire the metered            rotate the wheel 94. This is referred to as a "Reset" position
valve (not shown) inside the canister 20, the actuator pawl              or configuration. In this configuration, the lower side edge
80 pulls down on one of the teeth 92 of      ofthe
                                                the ratchet wheel 94     98 of the actuator 80 is 0.64 mm above the datum
                                                                                                                       dalum plane 220.
and rolates
     rotates the wheel 94 anticlockwise as shown in FIG. 6D       6]) 50    FIG. 10])
                                                                                   lOD shows a configuration in which the actuator
so as to jump one tooth 92 past the count pawl 138.     138, thereby     pawl 80 has been moved lo a posilion
                                                                                                         position lower than lhat
                                                                                                                               that shown
winding the tape 112 a distance incrementally relative to the            in FIG. 10ClOC and in which the metered dose valve (not
dose marker 122 on the dose counter chamber 120 so as to                 shown) inside the canister has at this very position fired in
indicate that one dose has been used.                                    order to eject active dmg
                                                                                                drng and propellant through the nozzle
   With reference to FIG. 10B,  lOB, the teeth of the ratchet wheel 55 44. It will be noted that in this configuration the count pawl
94 have tips 143 which are radiused with a 0.1 mm radius                 138 is very slightly spaced from the back surface 140 of the
between the flatfiat surfaces 140, 142. The ratchet wheel 94 has         same tooth 92 that it was engaging in the configuration of
a central axis 145 which is 0.11 mm     nnn above datum plane 220               lOD. The configura
                                                                         FIG. 10]).                                        lOD is known
                                                                                                     lion shown in FIG. 10])
                                                                                           configuration
(FIG. 9). A top/nose surface 147 of the anti-back drive tooth            as a "Fire" configuration. In this configuration the lower side
138 is located 0.36 mm above the datum plane 220. The 60 edge 98 of the actuator 80 is 0.47 mm below the datum               datnm plane
distance vertically (i.e. transverse to datum plane 220 FIG.             220.
9) between the top nose surface 147 of the anti-back drive                         lOE shows a further step in the sequence, called a
                                                                            FIG. 10E
tooth is 0.25 mm from the central axis 145 of the wheel 94.              "Count" position in which the acluator
                                                                                                           actuator pawl 80 has rotated
Bump surface 144 has a lateral extent    extenl of 0.20 mm, with
                                                              wilh a     the ratchet wheel 94 by the distance circumferentially angu-
vertical length of a flatfiat 145' thereof being 1 mm,nnn, the width
                                                               widlh 65 larly between two of the teeth 92, such that thal the count pawl
of the bump surface being 1.22 mm (in the direction of the               138 has just finished riding along a forward surface 142 of
axis 145), the top 149 of the bump surface 144 being 3.02                one of the teeth 92 and has resiliently jumped over the tooth




                                                                                                                        TEVAQVAR-00031182
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into engagement with the back surface 140 of the next loolh.  tooth.   second portion 102 having a lesser radial or inwardly
Accordingly, in this "Count" configuration, a sufficiently                                 thall the first portion 156, and finally a
                                                                       extending extent than
long stroke movement of the pin 34 has occurred that the               second step 164 at which the rail merges into the main inner
tape 112 of the dose counter 36 will just have cOlmted
                                                     counted down      wall 50 main surface.
one dose. In tIlls
               this configuration, the lower side edge 98 of the 5        A method of assembling the inhaler 12 will now be
actuator is 0.95 mm nnn below the datum plane 220. Accord-             described.
ingly, in this position.
                position, the actualor
                                 actuator 80 generally, including         With
                                                                          Wilh reference to FIG. 8A, the main body 10 of the
edge 98, is 0.48 mm lower than in the fire configuration. It           inhaler 12 is formed by two or more plastics mouldings
has been found that, although the count configuration hap-             which have been joined together to the configuration shown.
pens further on than the fire configuration, counting is highly 10        As shown in FIG. 813, the actuator pawl 80 and pin 34 are
reliable, with less than 50 failed counts per million. This is         translated forward into position into a pin receiving area 166
                                                                       trallslated
at least partially due to momentum effects and to the canister         in the dose counter chamber 66 and the pin 34 and actuator
releasing some back pressure on the user in some embodi-               80 may then be raised until the pin 34 emerges through the
ments as its internal metering valve fires.                            aperture 74.
   In the configura
           configuration               l0F, the pawl 80 has been 15
                       lion of FIG. 10F,                                  Next, the return spring 56 may be inserted below the pin
further depressed with the pin 34 by the canister 20 to a              34 and a generally cylindrical annular lower end 168 of the
position in which it is just disengaging from one of the teeth         spring 56 may be moved by a tweezer or tweezer-like
92 and the actuator pawl 80 is assisted in this disengagement          assembly tool (not shown) into engagement with a shelf 170
by engagement of one of the arms 84 with a bump surface                of a spring retainer 172 in the dose counter chan1ber
                                                                                                                      chanlber 66. The
144 on the chassis 102 (see FIG. 6G) and it will be seen at 20 spring retainer 172 is V             U-shaped
                                                                                                      -shaped and the shelf 170 is
this point of disengagement, which is called an "End"                  U-shaped and has a recess 174 formed below it. As shown
                                                                       V-shaped
configuration, the count pawl 138 is positioned exactly                in FIGS. 4B, 4C and 12 shelf 170 includes three chamfor ch3ll1fer
halfway or substantially halfway between two of the drive              surfaces 176, 178, 180 arranged to assist in moving the
teeth 92. This advantageously means therefore that there is            lower end of the spring 168 into position onto the shelf
                                                                                                                             shelfusing
                                                                                                                                  using
a minimum chance of any double counting or non-counting, 25 the assembly tool (not shown). Once the lower end of the
which would be undesirable. In the end configuration, the              spring 168 is in place, the assembly tool (not shown) can
side edge 98 of the actuator is 1.65 mm below the datum                easily be removed at least partly via the recess 17
                                                                                                                         1744 below the
plane 220. It will be apprecialed
                          appreciated thal
                                        that any further depression    lower end 168 of the spring 56.
of the actuator pawl 80 and pin 34 past the "End" configu-                The lape
                                                                               tape 112 is attached
                                                                                           atlached at one end (not shown) lo the tape
ration shown in FIG. 10F  lOF will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
of the tape 112 displayed by the dose counter 36 since the             200 (FIG. 13) having a hexagonal output shaft 202 which
actuator pawl 80 is disengaged from the ratchet wheel 94               engages in a hexagonal socket 204 (FIG. 6B) of the bobbin.
when it is below the position shown in FIG. lOP.      l0F.             During winding, the tape is monitored by a sensor 206,
   As shown in FIGS. 7C and 7D.      7D, the iuner
                                               inner wall 50 of the    which may be in the fonn of a camera  C3ll1era or laser scanner,
                                                                                                                               scallller,
main body 10 is provided with a two-step support rail 144 35 which foeds       feeds data lo a computer controller 205 for the motor
which extends longitudinally along inside the main body and            200. The controller 205 recognises three positioning mark-
is localed directly adjacent the aperture 74. As shown in FIG.         ers 210 in the fonn oflines across the tape 112 and stops the
713 a diametrically opposed two-step support rail 146 is also          motor 202 when the tape 112 is nearly fully wound onto the
provided and this diametrically opposed in the sense that a            bobbin 110, such that the distal end 212 of the tape 112 Call can
vertical plane (not shown) can pass substantially directly 40 be secured, e.g. by adhesive, to the tape reel shaft 106. The
through the first rail 144, the aperture 74, a central aperture        controller 205 also recognises
                                                                                             recogillses a pixelated tape size marker
148 of the valve slemstem block 40 (in which canister stem 25          214 observed by the sensor 206 and logs in a stocking
is localed) and the second lwo-step
                                  two-step support rail 146. As        system data store
                                                                                      slore 217 details
                                                                                                  delails of the tape 112 such as the
shown in FIG. 7A and schematically in FIG. 7B, the rails               number of numbers 114 on the tape, such as one hundred and
144, 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114. Next, the tape reel shaft
20 and the rails 144, 146 in a radial direction of almost              is wound until an appropriate position of the lines 210 at
exactly 0.3 mm, about 0.25 to 0.35 mm         nm1 being a typical      which a priming dot 216 will, once the bobbin 110 and reel
range. This clearance in this plane means that the call1ster
                                                         canister 20   shaft 106 are slid onto the second shaft 108 and second shaft
Call only rock backwards and forwards in this plalle
can                                                  plane towards     104, be in a position to be located in the window 118 when
away from the actuation pin 34. A relalively
                                          relatively small distance 50 the inhaler 12 is fully assembled. In the embodiments, the
and this lherefore
          therefore prevenls
                     prevents the canister wobbling and chang-         bobbin 110 and reel shaft 106 may be slid onto the shafts
ing the height of the actuation pin 34 a as to undesirably alter       108,104
                                                                       108, 104 before the tape 112 is secured to the reel shaft 106
the accuracy of the dose counter 36. This is therefore
                                                   theretixe highly    and the reel shaft may then be wound to position the priming
advantageous.                                                          dot 216.
   The irmer
         imler wall 50 of the main body 10 is provided with 55            Next, the assembled dose counter components of the
two further
      furlher two-step rails 150 as well as two pairs 152, 154         chassis preassembly 100 shown in FIG. 6B may as shown in
of rails extending difterent
                     difl:erent constanl
                                constant radial amounts inwardly       FIG. 8CSC be inserted
                                                                                     inserled into the dose counter chamber 66, with
from the iuner
           inner wall 50, so as to generally achieve a maxi-                       184, 186 fanned
                                                                       pins 182, 184.        fonned on the main body 10 in the dose
mum clearance of almost exactly 0.3 mm around the canister                       ch3ll1ber 66 passing through apertures or slots 188,
                                                                       counter chamber
                                                                       190, 192 formed on the chassis 102, such that the pins 182,
20 for all of the rails 144, 146, 150, 152, 154 spaced around 60 190.192
the periphery of the hiller
                         inner wall 50, in order to prevent undue      184, 186 extend through ((or  or at least into) the apertures or
rocking while still allowing callister
                                 canister motion freely inside the     slots 188, 190, 192. With the chassis 102 being relatively
inhaler 12. It will be clear from FIG. 7C for example that the         firmly pushed towards the main body 10, the pins 182, 184,
two-slep rails have a first portion near an outlet end 156 of
two-step                                                               186 are then heat slaked and the chassis 102 is therefore after
the canister chamber 18, the flrst first portion having a substall-
                                                           substan- 65 this held very firmly
                                                                                        flrmly in position in the main body and is
tially constant radial or inwardly-extending width.   width, a first   unable to move, thereby assisting in providing great accu-
step 160 leading to a second portion 162 of the rail, the              racy for the dose counter 36. Next, as shown in FIG. 8D, the




                                                                                                                       TEVAQVAR-00031183
                                                             Appx179
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                               17                                                                        18
dose counter chamber cover 120 may be fitledfitted over the dose          First, it can be seen that there is a modification
                                                                                                                  modiflcation in that
                                                                                                                                    lhat the
counter chamber 66 and may be secured in place such as by              drive teeth 92 of the ratchet wheel 94 have a different profile
welding, with the priming dot 216 being displayed through              to that in FIGS. lllo lo 14. There are also only nine ratchet teeth
the window.                                                            94 in this embodiment instead of eleven.
   The user can, when readying the inhaler 12 for first use,              Additionally, as shown in FIGS. 18C   lSC and 19C, the control
prime the inhaler by depressing the canister 20 three times            elements 128,
                                                                                   12S, 130 on the forks 124, 126 of the second shaft
which will bring the flrsl
                       first number 114 on the tape into display       108 have a tapered profile which is different to the profile of
                                                                       lOS
through the window 11S 118 in place of the priming dot 216, the        the control elements 128,  12S, 130 shown in FIG. 6F. Either
number 114 shown in FIG. SD being "200", thereby indi-
                                                                       profile can be used in the embodiment of FIGS. 15 to 20
cating that 200 doses are remaining to be dispensed from the 10     10
                                                                       however.
canister 20 and inhaler 12.
                                                                          Furthermore, as shown in FIG. 15, the tape stock bobbin
   As shown in FIG. SD, and in FIG. 5, an open drain hole
                                                                       110 has an inwardly facing generally cylindrical engagement
194 is provided at the bottom of the dose counter chamber
66 by a substantially semi-circular cut-out or recess fonna-           surface 300 with a wavelike form    fonn extending partially the-
tion 196 in a lower surface 19S 198 of the main body 10 of the 15   15
                                                                                         engagemenl surface 300 has a cross-section
                                                                       realong. The engagement
inhaler. Accordingly, if the user (not shown) should decide            301 perpendicular to the longitudinal length of the stock
to wash the main body 10 of the inhaler, for example after             bobbin 110 which is constant therealong. This cross-section
encountering an tmhygienic
                  unhygienic situation or simply as a matter           301 can be seen in FIG. 16 and consists of a series of ten
of choice, the drain hole 194 allows initial draining of water         regularly spaced concavities 302 and ten convex wall por-
from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi-spaced
evaporation
evaporalion of waler or any aqueous matter in the dose                 between the concavities 302. Each concavity 302 has a
counter chamber 66 so that the window 11S  118 does not mist up        radius of 0.2 nm1. Each convex wall portion 304 also has a
undesirably.                                                                   of 0.2 mm. Finally, the cross section 301 also includes
                                                                       radius of0.2
   FIG. 14 shows a computer system 230 for designing the               flat wall portions 306 between all of the radiused wall
dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
tions representative of average positions and standard devia-          304. The geometry of the cross-section 301 is therefore
tions in a production series of inhalers of the start, reset, fire,    defined by the radii of the concavities 302 and convex wall
                 positions of the actuator lower side edge 9S
count and end posilions                                         98     portions 304.        flal wall portions 306 and the fact that
                                                                                  304, the flat                                   thallhere
                                                                                                                                      there
relalive to
relative lo the datum plane 220 (FIG. 9) and lherefore
                                                 therefore of the      are ten concavities 302 and convex wall portionsporlions 304.
actuator pawl SO80 generally relative to the ratchet wheel 94, 30         The minor diameter of the engagement surface 300. i.e.
chassis 102 and, when the inhaler 12 is fully assembled, the           between the tips of opposite convex wall portions 304, is
main body 10 of the inhaler 12. The computer system 230                2.46 nm1. The major diameter of the engagement surface
includes a data store 232, a CPU 234, an input device 236              300, i.e. between the outermost portions of the concavities
(such as a keyboard or conmmnication port) and an output               302, is 2.70 mm. The undefom1ed
                                                                                                     undefoill1ed tip to tip maximum
        23S (such as a connnunications
device 238                communications port, display screen 35 diameter of the forks 124, 126 of the split pin (the          (lhe second
and/or printer). A user may enter data via the input device                   lOS, i.e. in the region of the maximum radio extent of
                                                                       shaft) 108,
236 which may be used by the CPU 234 in a mathematical                 the control elements 128, 12S, 130, is 3.1 millimetres and it will
calculation to predict count failure rates when the various            therefore be appreciated that the forks 124, 126 are resil-
dose counters are to be built in a series with dose counter            iently compressed once the stock bobbin 110 has been
positions set with given averages and standard deviations 40 assembled onto the split pin 108              lOS in all rotational configu-
and taking into account any momentum/inertia effects and               rations of the stock bobbin 110 relative to the split pin 108.  lOS.
metering valve user-back-pressure reduction dIect   effect which       The minimum gap between the forks 124.      124, 126 in the plane
will occur upon canister firing of a given type of canister.           of the cross sections of FIGS. 18C   lSC and 19C is 1 mm when
The computer syslem
                 system 230 is thus mathematically used to             the split
                                                                            splil pin 108
                                                                                        lOS is in the undeformed,
                                                                                                        undefonned, pre-inserted state.
                                                                                                                                      slate.
design the distributions. For the inhaler 12 described herein 45 When the split pin 108          lOS is at maximum compression, as
with the dose counter 36 and canister 20, the distributions            shown in FIGS. 18A           lSC when the control elements 128,
                                                                                           lSA to 18C                                  12S,
are designed as shown in FIG. 11. The x axis shows distance            130 are shown to be engaged on top of the convex wall
of the lower side surface 9S   98 of the actuator SO
                                                   80 above the        portions 304, the gap 308  30S between the tips 310, 312 of the
dalum plane 220 and the y axis is representative of the
datum                                                                  forks 124, 126 is 0.36 mm. On the other hand, when the split
                                                         configu- 50 pin 108
distribution. Thus, curve 240 shows that the start conflgu-                 lOS is at minimum compression (once inserted into the
ralion has an average 1.33 nm1 above the datum plane 200
ration                                                                 stock bobbin) as shown in FIGS. 19A to 19C, when the
(standard deviation is 0.1 mm). curve 242 shows that the               control elements 128,12S, 130 rest in the concavities 302, the gap
reset configuration has an average of 0.64 mm above the                between the tips 310, 312 of the forks 124. 126 is 0.6 mm.
datum plane 220 (standard deviation is 0.082 nnn), curve               The control elements 128,  12S, 130 are outwardly radiused with
244 shows the fire configuration has an average 0.47 mm       nnn 55 a radius also of 0.2 mm such that they can just rest on the
below the datum plane 220 (standard deviation is 0.141                 concavities 302 with full surface contact
                                                                                                              conlact (at least at an axial
mm), curve 246 shows the count configuration has an                    location on the split pin where the tapered control
                                                                                                                        conlrol elements
average 0.95 mm below the datum plane 220 (standard                    are at lheir
                                                                                their maximum radial extent),
                                                                                                            eXlent), without rattling in. in,
deviation is 0.080 nm1), and curve 24S     248 shows the end           locking onto or failing to fit in the concavities 302. The radii
configuration has an average of 1.65 mm below the datum 60 of the control elements 128,               12S, 130 is therefore preferably
plane 220 (standard deviation is 0.144 mm).                            substantially the same as the radii of the concavities 302
   FIGS. 15 to 20 show a version of the inhaler modified in               It will be appreciated that whereas FIGS. 18B  lSB and 19B are
accordance wilh
              with the present invention. In these drawings,           end views along the coaxial axis of   ofthe
                                                                                                                the stock bobbin 110 and
the same reference numerals have been used lo those in the             split pin 108,
                                                                                  lOS, FIGS. 18A lSA and 19A are cross-sections. FIG.
earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A-A' in FIG. 19C and FIG. 18A               lSA
inhaler 12 is the same as that in FIGS. 1 to 14 apart from the         is a section at the same plane, but of course with the stock
following modifications.                                               bobbin 11 1100 rotated relative to the split pin 10S.
                                                                                                                          108.




                                                                                                                          TEVAQVAR-00031184
                                                              Appx180
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                             19                                                                 20
    As the inhaler 12 is used and the ratchet wheel 94 rolates
                                                           rotates     The stock
                                                                             slock bobbin 110 and the carriage 102 including the
in order to count used doses, the stock bobbin rotates             split pin 108 are both moulded of polypropylene material.
incrementally through rotational positions in which rotation           It will be seen from FIG. 16 that the cross-sectional shape
is resisted, i.e. due to increasing compression of the split pin   301 is not symmetrical within the hexagonal socket 204.
108 at such rotational positions, and rotational positions in      This has enabled the hexagonal socket 204 to be maintained
which rotation is promoted, i.e. due to decreasing compres-        at a useful size while still allowing the desired size and
sion of the split pin 108 al such rotational positions and tlus
                                                              this geometry of the cross section 301 to fit without
                                                                   geomelry                                    withoul interfering
may involve a click forward of the stock bobbin 110 to the         with the hexagonal shape of the hexagonal socket 204 and
next position equivalent to that in FIGS. 19A to 19C in            also permits moulding to work during manufacture.
which the control elements 128, 130 of the split pin art 10            As shown in FIG. 17, the stock bobbin 110 has a series of
located in the concavities 302. This functionality firstly         ti.Jur circumferential ribs 330 inside it and a spaced therea-
                                                                   four
allows the stock bobbin to unwind during use as required,          long. These hold the stock bobbin 110 on the correct side of
but also prevents the tape 112 from loosening during transit       the mould tool during moulding.
if the inhaler 12 is dropped, such as onto a hard surface. This        FIGS. 21 and 22 show a preferred embodiment in accor-
is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
moving to a position in which it will give an incorrect            dry-powdered medicament in metered doses for patient
reading regarding the number of doses in the canister.             inhalation. The inhaler 51(1
                                                                                             510 is as disclosed in FIGS. 1 to 16
    During compression and expansion of the forks in the           or EP-A-1330280, the contents of which are hereby fully
radial direction between
                     benveen the two configurations shown in       incorporated herein by reference, but with the stock bobbin
FIGS. 18C and 19C, the forks 124, 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
316 on the splil
              split pin where the forks 124, 126 come togelher.
                                                        together.  so as to be as in FIGS. 15 to 20 hereof. Thus, the dry powder
This rotational action means that there is a camming
                                                 camrning action   inhaler 510 generally includes a housing 518, and an assem-
between the forks 124, 126 and the engagement surface 300          bly 512 received in the housing (see FIG. 21). The housing
without significant friction but, nevertheless, the resilient      518 includes a case 520 having an open end 522 and a
forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG. 25) for patient inhalation, a cap 526
surface 300 and forks 124, 126 are able to regulate unwind-        secured to and closing the open end 522 of the case 520, and
ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
transit or if the inhaler 12 is dropped. It has been found         the mouthpiece 524. As shown in FIG. 22, the inhaler 510
                 that a force of 0.3 to 0.4 N needs to be applied
during testing thal                                                also includes an actuation spring 569, first
                                                                                                              flrst yoke 566 with
to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572, bellows 540 with crown 574, a reservoir 514,
110. 0.32 N is achieved with the control elements 128 having
110.0.32                                                           second yoke 568 with hopper 542 and dose counter 516
the profile shown in FIG. 19C and 0.38 N is achieved with          mounted thereto, and case 520 has transparent window 5130
the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128. The
as described with reference to FIG. 6F. These forces are           dose metering system also includes two cams canIS 570 mounted
substantially higher lhanthan the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
and undesirable movement of the tape is substanlially
                                                    substantially  528 between open and closed positions. The cams 570 each
avoided even if the inhaler is dropped onto a hard surface.        include an opening 580 for allowing outwardly
                                                                                                             oUlwardly extending
The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
provide this force "constantly" such that there is overall not     received in first recesses 584 of the cover 528. The cams 570
an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
the other components of the dose counter because, due to the       second recesses 588 of the cover 528, such that the cover
incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
tape 112 can incremenlally
                    incrementally relax as it slides over the      the cover 528 about the hinges
                                                                                              lunges 582. As described in EP-A-
stationary chassis componenls.
                       components.                                 1330280, cams 570 act upon cam followers 578 to move
    Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
portions 304, other numbers may be used, such as 8 or 12.          counter by engagement of pawl 5138 on the second yoke
However, it is preferred to have an even number, especially        568 with teeth 5136. Remaining components of the inhaler
since two control elements 128, 130 are provided, so that all      are provided as, and operate as described, in EP-A-1330280.
of the control elements 128, 130 will expand and contract              The dose counting system 516 therefore includes a ribbon
simultaneously. However, other arrangements are envisaged 50 or tape 5128 (FIGS. 23 &        & 24), having successive numbers or
with 3 or more forks and the number of concavities/convex          other suitable indicia printed thereon, in alignment withwilh a
wall portions may be maintained as an integer divisible by         transparent window 5130 provided in the housing 18 (see
the number of forks to maintain a system with simultaneous         FIG. 22). The dose counting system 516 includes the rotat-
expansion/contraction. For example, the use of 9, 12 or 15         able stock bobbin 110 (as described above), an indexing
concavities/convex wall portions with 3 forks is envisaged. 55 spool 5134 rotatable in a single direction, and the ribbon
    Instead of having the engagement surface 300 on the            5128 rolled and received on the bobbin 110 and having a first
inside of the stock bobbin 110, it could be placed on the          end 5127 secured to the spool 5134, wherein the ribbon 5128
outside
oUlside of the stock bobbin 110 so as to be engaged by             unrolls from the bobbin 110 so that the indicia are succes-
flexible external legs/pawls or similar.                           sively displayed as the spool 5134 is rotated or advanced. In
    It will be noted that the regulator provided by the engage- 60 FIGS. 23 and 24 the wavelike engagement surface 300 of the
ment surface 300 and forks 124, 126 does not only allow            bobbin 110 is not shown for the purposes of clarity.
rotation of the stock bobbin in one direction as is the case           The spool 134 is arranged to rotate upon movement of the
with the ratchet wheel 94. Rotation in both directions is          yokes 566, 568 to effect delivery of a dose of medicament
possible, i.e. forwards and backwards. This means that             from reservoir 514, such that the number on the ribbon 5128
during assembly, the stock bobbin 110 can be wound back- 65 is advanced lo indicate that another dose has been dispensed
wards during or after fitting the bobbin 100, shaft 106 and        by the inhaler 510. The ribbon 5128 can be arranged such
tape 112 onto the carriage 102, if desired.                        that the numbers, or other suitable indicia, increase or




                                                                                                                 TEVAQVAR-00031185
                                                         Appx181
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                               21                                                                         22
decrease upon rotation of the spool 5134. For example, the               tionally fixed element which comprises a fixed shaft which
ribbon 5128 can be arranged such that the numbers, or other              is fixed to the main body of the dose counter, the first shaft
suitable indicia, decrease upon rotation of the spool 5134 to            being rotationally mounted to the fixed shaft.
indicate the number of doses remaining in the inhaler 510.                  11. The dose counter as claimed in claim 10 in which the
Alternatively, the ribbon 5128 can be arranged such that the             fixed shaft has at least two flexible legs,
                                                                                                                legs. and each leg has at
numbers, or other suitable indicia, increase upon rotation of            least one said projection formed in an outwardly facing
the spool 5134 to indicate the number of doses dispensed by              direction thereon, said one or more formations being formed
the inhaler 10.                                                          on an inwardly facing engagement surface of the first shaft,
   The indexing spool 5134 includes radially extending teeth             said at least
                                                                                  leasl one projection being arranged to resiliently
                                                                                                                                  resilienlly
5136, which are engaged by pawl 5138 extending from a 10 engage said one or more formations.
cam follower 578 of the second yoke 568 upon movement                       12. The dose counter as claimed in claim 10    lOinin which the
of the yoke to rotate, or advance, the indexing spool 5134.              fixed shaft comprises a split pin with fork legs and in which
More particularly, the pawl 5138 is shaped and arranged                  each projection is located on a said fork leg.
such that it engages the teeth 5136 and advances the index-                 13. The dose counter as claimed in claim 6 in which a
ing spool 5134 only upon the mouthpiece cover 528 being 15 series of said formations are provided.
closed and the yokes 566.566, 568 moved back towards the cap                14. The dose counter as claimed in claim 6 in which an
526 of the housing 518.                                                  even number of said formations is provided.
   ]be
   ]he dose counting system 516 also includes a chassis                     15. The dose counter as claimed in claim 6 in which from
5140 that secures the dose counting system to the hopper                 eight to twelve of said fom1ations
                                                                                                    fornlations are provided.
542 and includes shafts 108, 5144 for receiving the bobbin 20               16. The dose cmmter
                                                                                           cOlmter as claimed in claim 15 in which ten
110 and the indexing spool 5134. As described above wilh     with        of said formations are provided.
reference to FIGS. 1 to 20, the bobbin shaft 108 is forked and              17. The dose counter as claimed in claim 6 in which each
includes radially nubs 5146 for creating a resilient resistance          said formation comprises a concavity formed on an engage-
to rotation of the bobbin 11 110() on the shaft 108 by engaging          ment surface.
with the wavelike engagement surface 300 inside the bobbin 25               18. The dose counter as claimed in claim 17 in which each
110. A clutch spring 5148 is received on the end of the                  concavity comprises a radiused surface wall portion which
indexing spool 5134 and locked to the chassis 5140 to allow              merges on at least one side thereof into a flat wall portion
rotation of the spool 5134 in only a single direction.                   surface.
   Various modifications may be made lo the embodiment                      19. The dose counter as claimed in claim 18 in which the
shown without departing from the scope of the invention as 30 engagement surface includes a series of said concavities     concavilies and
defined by the accompanying claims as interpreted under                  in which convex wall portions of the engagement
                                                                                                                 engagemenl surface are
patent law.                                                              formed
                                                                         tixmed between each adjacent two said concavities, each
   \Vhat is claimed is:
   What                                                                  said convex wall portion comprising a convex radiused wall
   1. A dose counter for an inhaler, the dose counler
                                                  counter having         portion.
a counter display arranged to indicale
                                   indicate dosage information, a 35        20. The dose counter as claimed in claim 19 in which each
drive system arranged to move the counter display incre-                 convex radiused wall portion of each convex wall portion is
mentally in a first direction from a first station to a second           cOlmected            flat wall portion surfaces to each concav-
                                                                         connected by said fiat
station in response to actuation input, wherein a regulator is           ity which   is adjacenl
                                                                                        adjacent  thereto.
provided which is arranged to act upon the counter display                  21. The dose counter as claimed in claim 4 in which the
at the first station to regulate motion of the counter display 40 first shaft comprises a substantially hollow bobbin.
al the first station lo incremenlal
                        incremental movemenls.
                                       movements.                           22. The dose counter as claimed in claim 21 in which said
   2. The dose counler
                  counter as claimed in claim 1 in which the             one                                          illller surface of the
                                                                              or more fonnations are located on an inner
counter display comprises a tape.                                        bobbin.
   3. The dose counter as claimed in claim 2 in which the
                                                                                            counler as claimed in claim 4 wherein the
                                                                            23. The dose counter
                                                                    4455 drive system comprises a tooth ratchet wheel arranged to act
tape has dose counter indicia displayed thereon.
   4. The dose counter as claimed in claim 2 wherein the first
                                                                         upon a second shaft which is located at the second station, station
station comprises a first shaft, the tape being arranged on the
                                                                         the second shaft being rotatable to wind the tape onto th~       the
first shaft and to unwind therefrom upon movement of the                 second shaft.
counter display.                                                                           cOlmter as claimed in claim 23 in which the
                                                                            24. The dose cmmter
   5. The dose counter as claimed in claim 4 in which the 50 second shaft is located on the main body of the dose counter
first shaft is mounted for rotation relative to a substantially          spaced from and parallel lo the first shaft.
rotationally fixed element of the dose counter.                                            counler as claimed in claim 23 in which the
                                                                            25. The dose counter
   6. The dose counter as claimed in claim 5 in which the
                                                                         tooth ratchet wheel is fixed to the second shaft and is
regulator comprises at least one projection on one ofthe
                                                       of the first      arranged to rotate therewith.
shaft and the subslantially
                substantially rotationally fixed element, which 55          26. The dose counter as claimed in claim 23 which
is arranged to engage incrementally with one or more                     includes an anti-back drive system which is arranged to
formations on the other of the substantially rotationally fixed          restrict motion of the second shaft in a tape winding direc-
element and the first shaft.                                             tion.
   7. The dose counter as claimed in claim 6 in which at least              27. The dose counter as claimed in claim 1 in which the
two said projections are provided.                                   60 regulator provides a resistance force of greater than 0.1 N
                                                                     60

   8. The dose counter as claimed in claim 6 in which exactly            against movement of the counter display.
two said projections are provided.                                          28. The dose counter as claimed in claim 27 in which the
   9. The dose counter as claimed in claim 6 in which each               resistance force is greater than 0.3 N.
projection comprises a radiused surface.                                                   cOlmter as claimed in claim 27 in which the
                                                                            29. The dose cmmter
   HI. The dose counter as claimed in claim 6 in which the 65 resistance force is from 0.3 to 0.4 N.
   10.
at least one projection is located on the substantially rota-                                     *   *   *    *   *




                                                                                                                           TEVAQVAR-00031186
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     54 Title           METERED DOSE INHALER




                                                                                                                  32




kr
kr



                                                                                                             Fig 5



0 57          Abstract         The present            invention relates to                 a metered       dose   inhaler     dose counter          the   counter      comprising           an   actuator       a rotary
el          wheel      having     a plurdity           of    ratchet       teeth        a driver for   driving      the   rotary gear       in   a step wise       fashion      in                 to   displacement
     gear                                                                                                                                                                            response

0    of the       actuator     a pawl    that        prevents     reverse             rotation    of the   rotary   gea aid a display coupled                   to the     rotary gear




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                                                                  M etereddose inhaler



     This invention               relates to         a metered dose inhaer and                       in    pati cul     a to a dose counter for a
     metered dose                 inhaler      the     counter        comprising           al    actuator           a   rotary       gea            a driver for

 5   driving the rotary gear in a step wise fashion                                     in response         to displacement                 of the actuator


     the rotary
                gear comprising                        a wheel        mounted on a spindle which                         wheel           having a plurality


     of ratchet           teeth    around      its    periphery         a pawl      to prevent            reverse rotation               of the rotary      gear

     and     a   display           coupled            to    the      rotary    gear       the    display            having       a        visible       array    of


     incrementing               integers on a surface thereof                       indexable         by a single             integer          in    response    to



10   each step of the step wise                       rotary      motion of the rotary gear wherein the pawl                                        comprises at


     least    two     ratchet         teeth   which          are radially spaced            such that         one       of    the teeth         engages      with


     the    ratchet        teeth      of the wheel            following       each       step   of the step wise rotary                        motion      of the


     rotary      gea



15   Metered dose                 inhalers       indude           pressurised           metered dose            i   nha ers      of         both       manually


     operable             aid     breath actuated              types         and        dry powder          inhaers              Such           metered dose


     i   nhal ers typically            comprise a medi camentcontai                        ni
                                                                                                ng   vessel     and al actuator body having


     a drug del very  i            outlet




20   The medicament containing                              vessel    may be a pressurised canister                          containing             a mixture of

     active      drug           and    propellant             Such      calisters         ae    usually        formed           from           a deep drawn

     aluminium cup                    having         a crimped         lid    which       caries          a metering           vave         assembly         The

     metering         vave         assembly            is    provided        with       a protruding          vave           stern       which        in   use   is


     inserted as a tight               push    fit    into    a socalled stem block                       in the actuator            body

25

     To     actuate        the conventional                 manually         operaDI e inhaler              the user          Tpl    i
                                                                                                                                         es a compressive


     force    to the        dosed        end of the canister                  The       internal     components               of the        metering        vave

     assembly       ae spring loaded                       so that   a compressive force of about                        15    to 30       N    is
                                                                                                                                                     required to


     activate the device


30




                                                                                    1




                                                                  CONFIRMATION COPY



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     In response        to this compressive force                          the call ster moves axi                       I
                                                                                                                             y with respect            to the valve


     stem     by al amount varying                         from about           2    to   4   mm This degree of axial movement                                      is




     sufficient     to       actuate        the metering            valve       and cause a metered qualtity                                of    the    drug aid


     propellant       to      be    expelled           through           the     valve         stem          This    is        then     released          into     the


 5   mouthpiece          via a nozzle            in    the stern           block          A   user      inhaling             through       the drug delivery


     outlet   of the device            at   this point will           thus receive a dose of the drug




     Metered dose             inhalers        as described               above        administer            al accurate           dose       of       medicament

     whenever        required which                   is
                                                               particularly      useful       for users whose                    respiratory            difficulties



10   malifest       themselves              suddenly             Such has been the success                      of   these devices                that    they     ae

     now used throughout                    the world




     A more recent             development                 is the    socalled            breath operated                     actuator      which         delivers    a

     do       of drug through                a mouthpiece                in    response        to     inhalation             by the user          This type         of



15   arrangement         i   s parti cul arl y convenient                     in circumstances               where the coordi nation between


     user inhalation           and manual             depression of the aerosol                         calister         is imperfect             For exanple


     children       sometimes                lack      the         necessary             coordination               to        achieve         effective          self


     admi ni strati on aid             at    times of respiratory                    distress         adult   users          may d so experience                 poor


     coordi nation


20

     One of the drawbacks                    of self administration                   from al inhaler            is that         users often experience


     difficulty     in determining             when             the charge       in the       medicamentconta                    ni   ng   vessel       has nearly


     run out    since the contents of the medicament                                      reservoir         ae typicdly               invisible to the user


     With     aerosol        call sters       part    of the        reason       for this difficulty            is that          a surplus of propellant


25   may      remain          in    the      calister             even        though       the        drug     supply            is     nearly          exhausted


     Alternatively            the   near exhausted                  state
                                                                               may        result       in    a surplus of              drug      in     relation    to



     propellat       Thus          the illusion            i   s created      that   the inhaler is still            cciAple           of providing          useful


     Les       of   medicament               simply because                   the     calister         contains              liquid    This       is    potentidly


     hazardous for the user since dosing                              becomes             unrel   i     l   e aid because few users routinely


30   cary aback up device




                                                                                     2




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     WO 2008119552                                                                                                                             PCTEP2008002590




     Many         users have                 sever d       different           inhaers for the treatment                          of a variety            of    conditions


     Others keep              inhaers at a number                         of different               locations such as at school                     home work            etc


     In   these circumstances                        it   is   particul al y               difficult        for the user to keep              track       of the amount


     of usage extracted                      from each           individual            inhaler          appaatus

 5


     Cl eal y there                is   a need for a counter                   mechanism which                           enaDles users to assess how                   may
     doses rem an                  in    the obscured            call ster            Such a counter would ensure                            that    users are warned


     when      the        inhaler            neas exhaustion                   so that            appropriate             measures cal          be ta<en          to   avoid


     running           out     of        medication                 Moreover                if   a do             counter      cal    provide        readapility         to    a

10   resolution           of one dose                this cal           be used for compliance                            monitoring         either       under hospita


     supervision              or by          parents and teachers                     assessing             compliance           by children         in   their care          In



     addition            there          ae     regulatory               requirements                  for    metered dose             inhaers        to    have     a dose

     counter in a number of countries




15   WO      9828033                     discloses         a dose           counter               suitable         for     use    with       the     above described

     metered dose                  inhaers                Figs      1    and 2 reproduced                         herein    from      WO 9828033                 show the

     lower        portion           of       a metered dose                 inhaer                   The     inhaler       comprises          al     actuator      body       2


     having        a drug delivery                   outlet         4 An aerosol                     call ster      6 extends         into   the lower          portion       of


     the actuator             2 The aerosol                    call ster       6      is   formed from a deep drawn                           aluminium cup 8 to


20   which        a lid       10    is   attached          by crimping




     The    lid     10    carries            a metering valve                  assembly having                      a protruding        valve        stern      12 the end

     of   which          is   received             as a tight           push    fit        in    a stem block             14   of the    actuator         body     2 Stern

     block        14    has        a nozzle          16    communicating                         with       the drug delivery            outlet      4 so that          upon

25   actuation           of    the metering valve                         assembly               a chage            of    the drug      is    emitted          through    the


     nozzle        16     into          the drug delivery                  outlet          4 Actuation               of    the metering valve                  assembly is


     effected          by causing              downward                 movement                of the      aerosol       call ster   6 relative       to the actuator



     body    2 This may be achieved                                     through            malual pressure exerted                      by the user aganst the


     upturned           base            not shown              of       the aerosol              calister         6 or by automatic                 depression         of the


30   aerosol       call ster             6    in   response         to    user        inhalation             in    inhalers of        the breath actuated               type

     The mechanism                       of    breath       actuation           does not form                     part    of   WO 9828033                 or the present




                                                                                                 3




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     invention          and     will     not    be described          in   further        deta I    A     user       inhaling        through            the drug


     delivery         outlet     4 when the           aerosol    calister        6   is depressed         will       receive a metered dose of


     the drug




 5   A counter mechanism                       18 indudes        al actuator          20 moulded from a plastics material such

     as nylon the actuator                 20 having          a boss 22 integra             I

                                                                                                y formed       at   its   ba

     The      underside          of     boss     22    is   formed     with       a blind hole which                      receives         a compression

     spring 24 mounted on al upstanding                               spigot 26 formed              on a lower element                         of the    counter


10   chassis




     A       driver     28 for driving             a    rotary   gear       in    the      form     of    a    ratchet toothed                  wheel      30    is




     integrally          moulded         with     boss      22   of   the    actuator            20 aid        comprises           a tralsverse hook

     element not              shown mounted between two arms only one visible in Fig                                                      2 the bases            of



15   which are conjoined                  to the       boss   22 The tralsverse hook                      is   dimensioned                and oriented to


     engage with              ratchet    teeth    32 formed around the periphery                         of the           ratchet toothed           wheel       30


     to rotate     it    in   a forwad direction




     The ratchet toothed                 wheel        30    is integraly         moulded with a first                     hollow     axle 34 which               is



20   rotatably          supported        on a first         spindle    36    that         projects traisversely                 from a chassis                 sub

     el   ement    38        Chassis sub element 38 aso has a second                                spindle 40 projecting                        tralsversely


     therefrom          on which         a second hollow              axle 42        is   rotatably      supported              A flexible tape 44 is

     wound        around the second               hollow       axle 42 which              serves as a supply                spool    and passes to the

     first    hollow          axle 34 which            serves    as a ta<eup               spool    stock           bobbin A               guide        plate   46


25   forming part             of the chassis          sub element 38 helps to guide the tape 44 in a smooth                                             passage


     from the supply              spool        to the   ta<eup spool              The      surf are      of the tape            44   is    maked          with a


     progression             of descending            numbers which              denote         the number of doses                  rema fling           in    the


     asrosol      calister        Typicaly             the starting count            is   200 and successive                    makings on the tape

     decrea             by     one      The      spacing       between           successive         makings                is   coincident          with        the


30   indexing         motion of the matching wheel                         30 so that a new number appeas                                 in   a window         48


     provided in the inhaler housing 2 for each                             successive            actuation




                                                                                 4




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     The   ratchet toothed              wheel       30 and integraly            formed          first     hollow       axle   34    ae restrained

     from reverse rotation                   by a wrap spring dutch                50 surrounding               the hollow          axle 34       at    the


     end thereof          remote from              ratchet toothed        wheel        30      One end not shown                     of    the    wrap

 s   spring dutch           50    is   braced      against        the counter chassis                The windings           of the wrap spring


     dutch      50 are oriented such                that    rotation     of the      first    hollow      axle 34 in a forwad sense is


     not resisted by the spring coils                      However       reverse rotation               of the hollow         axle 34 acts so as


     to tighten the spring coils around                      it    thereby causing            the first    hollow       axle 34 to be gripped


     by   the    internal        surface      of    the    wrap spring dutch                 50 and hence              restraint     from      reverse


10   rotation




     Fig 3 shows a preferred                   embodiment            of the invention            set out       in   WO 9828033 The dose
     counter         18   comprises          al actuator          20 having a boss 22 integraly                        formed       therewith          and

     driver     28 joined        to the boss         22 The         underside of boss 22                  is
                                                                                                               provided       with a blind hole


15   which      receives     a compression                 spring 24     that    serves        to    return     the actuator         20 to       its   rest



     position        after depression thereof               during     actuation       of the        inhaler apparatus             not   shown



     The   driver         28 comprises a tralsverse hook                        52     mounted between                  a   pair    of   ams 5456

     which arejoined             at    their bases        by a web not         shown The web is connected                           to the boss         22

20   of the actuator         20        A combined           actuator     and    driver assembly                 may be integraly formed

     such as from a pl astics material                     eg as nylon



     In   u     the tralsverse hook                52   engages with        ratchet          teeth    32 of a ratchet toothed wheel                     30

     which      is    mounted          on a hollow          axle     34 serving as a ta<eup                         spool   for a flexible             tape


25   display     44 At the end of the hollow                       axle 34 remote from the ratchet toothed                               wheel     30    is




     a friction dutch            50 which serves            to restrain the axle              34 against        reverse rotation          and hence


     prevents reverse travel                 of the counter tape         44




     A control        surface 58        is   depicted      here as a seethrough                 element so that the workings                      of the


30   dose counter may be more dealy                               seen   The      control        surface 58 extends                 parallel     to     the


     direction       of travel        of the actuator        20 and      is located          adjacent      the ratchet toothed             wheel        30




                                                                           5




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     at   a position which                  maks         a chordal              projection            across    one     of the wheel           faces      One of the

     support        ams 56 of the driver 28 is in sliding contact                                             with control              surface    58   This    sliding


     contact        serves       to inhibit            the natural               tendency          of the driver              28   to flex     radially        inwadly

     towads          the axis of rotation                     of the       ratchet toothed                 wheel      30      By preventing             such radially


 5   inwad          flexure       the control                surface           58   restricts      the engagement                  aid    disengagement          of the


     drive     28 with           the     ratchet toothed                   wheel           30    so that       the    distalce           by which        the    ratchet


     toothed         wheel        30        rotates           is    limited          to    one        tooth    pitch         This        condition      is   observed


     regadless            of the extent           of    Ii   nea travel              or stroke          of the actuator            20




10   Fig 4 shows a schematic view                                   of a conventiond                   ratchet       gea aid drive            pawl      aralgement

     which      is    used       in    the dose              counter       described             in    WO 9828033                   The aralgement ucs a

     red procati ng driver                  28 acting               in   a pushing sense to                    rotate    a ratchet toothed              wheel        30    in


     the direction          shown           by the arows                   A A fixed pawl 60                     acts        to prevent       reverse     rotation         of


     the ratchet toothed wheel                          30 by engagement                        aganst the tra          Ii
                                                                                                                             ng edge 62 of a ratchet                 tooth


15   32 However                  on forward             rotation           of    the ratchet toothed                 wheel         30    in the    sense of     arows

     A the fixed pawl 60                         is capable               of    radially        outwad          deformation               urged     by the      leading


     edge 63         of   a ratchet tooth               32




     In this aralgement                     if   the ratchet toothed                       wheel       30   is rotated         by more thal a single tooth

20   pitch   but by less thal two tooth pitches for each                                               red procati ng movement                    of the driver           28

     there     is    a degree          of   reverse               rotation       until      the pawl          60 becomes             engaged        by the      tra   I
                                                                                                                                                                          ing


     edge 62 as opposed                     to the leading                 edge          63 of a ratchet            tooth     32 Thus         the rotation       of the


     ratchet    toothed wheel                    30 may be sad to be stepped




25   The     components                 of        metered dose                      inhaers           ae      maufaztured                to   a    high      technica


     specification               However               inevitable              variations        in the tolerames                  of the components cal                   in


     some circumstalces                          lead        to    failure          of   the dose          counter      of     the type       di     losed      in    WO
     9828033              The failure of the dose counter                                   d though not common                         mdces the dose counter

     of   the type          di        losed       in    WO 9828033                        unsuitable          for    some Tplications                     There       is    a

30   requirement            in the art           therefore               for   a dose counter with a reduced                            failure rate




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     Accordingly                a first     aspect     of the present               invention        provides          a dose counter            for    a metered

     dose    i   nhd er the counter               comprising


     ai actuator


     a rotay gear


 5   a driver         for      driving the rotay                 gea     in   a step wise fashion                 in
                                                                                                                        response         to displacement                of


     the    actuator            the     rotay      gea           comprising              a wheel      mounted            on a spindle                which       wheel


     having a pl urd ity                of ratchet       teeth         aound        its    periphery


     a pawl to prevent                  reverse       rotation         of the rotay             gear aid


     a display            coupled         to   the rotay          gea         the    display        having        a visible aray                of incrementing


10   integers         on a surface thereof indeADIe                            by a single integer                 in
                                                                                                                        response         to each        step of the


     step wise rotay                  motion of the rotay
                                                                          gear


     wherein          the pawl          comprixs            at   least   two        ratchet       teeth   which         ae radially spaced                  such that


     one of the             teeth      engages        with       the ratchet             teeth     of the   wheel        following          each        step of the


     step wise            rotay       motion of the rotay                 gea

15


     The    counter             of    the present        invention            thus        provides        a pawl        having       d    least       two       teeth   in


     which           one aid the sane tooth engages with successive                                          ratchet      teeth      of the wheel                during


     the    step wise            rotay         motion       of the wheel                 to     prevent    reverse       rotation        of the wheel              and

     hence the rotay                   gear       By providing                dternative            positions      for    engaging          the ratchet            teeth



20   of the wheel               the pawl        increases          the range             of tolerames        in the malufacture                   of the various



     components                 of    the      inhder       which        can        be        accommodated               This     in      turn        significantly


     reduces           the      failure        rate    of        the    dose        counter         and      in    particul     a        the         likelihood         of


     undercounting                    Clearly      undercounting                    is    particulaly        undesirJple             as    it    can     lead      to    a

     patient         believing         that    there   ae more docs                      left   within the inhd er thal there actud                         I
                                                                                                                                                                y are


25

     The     present            invention         will       now         be    described            with     reference          to       the     accompalyi ng

     drawings             in   which


     Figs        1   to   4 show          a dose counter                for   a metered dose                inhder        according             to    the prior         at

     document             WO 9828033
30   Fig 5 shows                el   ements of a dose counter                   according to the present                   invention


     Fig 6 shows further detail                        of the dose counter                      according to the present                 invention




                                                                                          7




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     Fig     7 shows a schematic representation                                     of journeys         undertacen            for    indedng             of the dose


     counter      to    occur

     Fig 8 shows the wheel                      aid pawl             of the dose counter                of the present              invention            in which    the


     pawl    is   a operating from the                       first    tooth aid          b         operating from the second tooth                           aid


 5   Fig 9 shows a metered dose inha er containi                                         ng the dose counter                  of the present               invention




     The dose           counter          of the        present            invention           is   based    on    that        set   out       in
                                                                                                                                                    Figs     3 aid 4


     described          herd naDove             except        that        the pawl           60 has been modified                     Modification              of the


     pawl    followed al indepth study                               of   all    of the      components          of the       inhaer           Thus         as shown


10   in   Fig     5 the dose counter                    18    of the        present          invention      comprixs            al actuator              20 a rotay

     gea not shown                  in   full     in    Fig     5 a         driver       28 for driving the rotay                      gea          in   a step wise

     fashion in response                 to displacement                  of the actuator             20 the rotay gea                comprising              a wheel

     30 mounted on a spindle not                              shown              the wheel          30 having       a plurdity of ratchet                    teeth    32

     aound        its    periphery              a paNI        60      to    prevent           reverse      rotation      of     the    rotay             gear   aid a


                              shown                           to     the                             the                                  a    visible                 of
15   display       not                     coupled                              rotay        gea            display       having                             aray

     incrementing             integers          on a surface               thereof       indexable          by a single             integer        in    response      to



     each    step of the step wise rotay                           motion of the rotay                  gea



     The wheel          30 has a plurdity                    of ratchet             teeth     32 aid preferably               has     814          teeth    ie 8 9

20   10     11    12     13   or    14      more preferably                     9   10       11    or 12 teeth      aid most preferably                      11 teeth


     The     radius of the wheel                      30 measured                from the centre             of the wheel             30      to    the tip     of   the


     teeth   32 will        depend on the size of the components                                      of the     inhaer         Preferably               the radius    is




     from 15 to 35             mm more preferably from 20 to 30 mm aid most preferably 280 ± 005
     MM
25


     As in the dose counter                      18    of    WO 9828033 the dose counter                                 18    of the present               invention


     preferably         further      comprixs               a control surface to regulate the position of engagement                                                 aid


     disengagement              between               the    driver        28 aid the               wheel      30        In    addition             the    driver    28


     comprixs           a   ratchet       drive        pawl     aid preferably the                    ratchet     drive       pawl     is     in the       form of a


30   straddle      drive       in     which           the     element            that    engages           the   ratchet        teeth         of    the     wheel      is




     supported between                   a pair of spaced                    at support arms




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     The     pawl    60 comprixs              at    least     two        ratchet       teeth       6466       Preferably           as shown            in   Fig       5

     the pawl       60 comprixs          two        ratchet        teeth       6466 aid no more The at least two                                 ratchet         teeth



     6466 ae radially spaced                       with respect            to the         ratchet toothed          wheel         30 such        that    one aid


 5   the sane tooth            engages    with the ratchet                      teeth      32 of the wheel             following          each    step       of the



     step wise       rotay       motion       of the rotay                 gea         Typicaly            one     aid only         one     of the          ratchet



     teeth    6466 on pawl 60 ever engages with the ratchet wheel



     Fig     6 shows        al    exploded              view        of    the        dose      counter       18    showing          in    addition          to     the


10   previously       described       components                   the stock           bobbin 68 which                 is held   taut     by the action               of


     the split      hub 70 The         split        hub 70 avoids the need                           for   a dutch         spring    as set out             in   WO
     9828033          Although        the dutch               spring could             be used as al dternati ye or in addition to the


     split   hub 70       in   a preferred              embodiment               the dose           counter       of   the present         invention             does


     not     indude a dutch            spring                The    display          is   preferably        al elongate counter                   tape       44 on


15   which     the    dose count         is    printed         or written                 aid more         preferably        the    counter        tape          44   is


     located     on al indexing           spool              aid the dose              counter        further     comprixs           a stock       bobbin             to


     receive     the counter      tape as the indexing                         spool      is   advalced       in a step wise             fashion




     In   u    the operation          of the dose counter                       18   is as follows



20

     The     user depresses        the aerosol                canister         6 which             cauxs displacement               of the actuator               20

     In this   embodiment             the actuator             20 is adapted                  to   engage with the rim of the medicament

     canister    6 The actuator                20       is   operaple          by linea displacement from a first                               position         to    a

     second      position       aid   back         to    the    first      position            aid movement of the rotay                         gea        occurs


25   either    during      the    displacement                 of    the        actuator           from the       first    position        to    the        second


     position       or dud ng the displacement                          of the        actuator       from the second               position       to the         first




     position        In   the embodiment                     shown        in    Fig       5    the movement               of the    rotay        gea        occurs


     dud ng the displacement                  of the actuator                  from the first          position        to the    second         position              In



     the embodiment              shown         the       actuator          20 comprixs                a spring loaded              plunger        2224            the


30   plunger being        depressible aganst the return force of the spring loading                                                 when         the actuator


     is   caused to deliver        a dose          of   medicament




                                                                                      9




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     During      the    movement          from the       first
                                                                      position      to     the     second        position            the    actuator      20


     causes the driver 28 to engage the trd                      Ii
                                                                      ng edge 62          of the ratchet         tooth 32 of the wheel                    30

     A s the actuator         20 and     driver     28 move down the ratchet toothed wheel                                      30   rotates



 5


     The spindle        of the rotary         gear moves the counter tope 44 reveding                                      the next        integer     The

     counter     tope    44    is    held taut      by the action of the                  split    hub 70 on which                   is    mounted the

     stock bobbin        68




10   The     pawl    60 radidly outwardly              deforms             to allow the wheel             30     to       rotate by       one tooth 32

     The at     least   two    teeth    6466      of pawl        60 may be inherently                    resilient         to   allow the required


     radidly     outward        deformation          and return             Alternatively           or in       addition         the pawl       60 may

     be mounted on a            resilient      support copOple               of radidly           outward       deformation                for example


     the resilient      support       may be a resilient              fl
                                                                           alge incorporated              in    to the chassis              of the dose


15   counter     18




     The driver 28 releases             the ratchet toothed wheel                   30     after    it   has engaged with the pawl                        60

     On reset of the inhaler the call ster 6 is allowed                             to return to          its   initial      first        position     The

     compression         spring 24 pushes the actuator                      20 to follow the call ster The driver 28 on the


20   actuator    20 flexes to pass over the teeth                     of the ratchet         toothed wheel                  30 as the actuator            20


     moves from the first             to the second      position




     The     tooth    of the    at    least   two    teeth   6466 which               has engaged               tooth       32 of the wheel               30


     prevents the rotary gear from rotati ng backwards


25

     The     counter     mechalism of the type                   described          with      reference          to       WO 9828033                and   in



     accordalce         with    the    present      invention          must       rotate    the wheel            30 of the           rotary     gear      by

     exactly    one tooth spacing             each    time the actuator              is    depressed            By tooth spacing               is    meat

     one tooth pitch           ie the radid         distance between               the sane notion                 point two adjacent                teeth



30   32 on the       ratchet toothed          wheel    30        The       stroke availOple for indexing                        the rotary          gear is


     equal    to the full      stroke of the actuator             2 Where the metered dose                            i   nhaler     is   a pressurised




                                                                             10




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     inhaler          the stroke              availJple       for    counting        is    equd     to the       full           stroke of the              medicanent


     canister         6 However                  there    ae three movements or journeys                                             that    must be completed

     within this tot d                distance        for     indexing          of the dose        counter            to    occur           The three journeys

     ae shown           schematicdly                 in Fig         7

 5


     Fig    7 shows a grThicd                             representation             the    anount        of     canister             travel        aid      the    excess


     stroke availJDIe                 before the three               critical
                                                                                 journeys          must occur                   Firstly          the canister          travel


     must        d ose        the     stat       gq3      which          is   the    sum      of    the    tolerares                   of    the        manufactured


     components               in    the verticd           direction           Secondly        the stroke must take                          up aly         lost    motion

10   such as in pivot                play flexing of the pawl                    aid       ac motion of the drive pawl                                  Thirdly        isthe


     socd    I   ed    stroke             to   count          which      is the journey            which        leads           to    indexing           of the        rotary



     gear by one tooth sped                      ng



     The stroke avail                      e for counting             will    dealy        depend on the type                     of metered             dose      inhaler



15   used         By way             of       example         a   suitable       inhaler     is    the presswised                     metered dosed                inhaler


     Easi   Breathe®               which         ucs      a     Qva0          canister        The    canister              stroke           in    this     inhaler       was

     measured          as     304         ±    0255 mm               This     tolerare       represents         ±      3 stadad deviations                         so that


     997 of            all        canister      strokes       will      lie within        these    limits        The            measurements were taken

     from force versus                        displacement            profiles       for    Qva0      canisters                      One     hundred             aid    fifty


20   canisters        were measured                  at   the stat            middle aid          end of       life
                                                                                                                           giving       a tot d         of 450      stroke


     measurements




     The    stat       gq3         is the tolerare              stack       in the   verticd       direction           aid        includes             a first    distance


     between          the pat of the driver 28 which                             engages      the wheel             30 aid the Tpropri ate                         ratchet



25   tooth 32 of the wheel                       30 of the         rotary     gear     aid a second             distance              between           the top of the


     actuator         20 aid the canister                  6 The tolerare in the verticd                                direction            was found             to be ±


     047    mm The nominal stat gq3 for the Easi Breathe inhaler                                                           is   set at      085 mm aid hence

     the stat gq3 with tolerares                           is     085    ± 047       mm


30   Thus        since the stat                gq3   is   085 ± 047             mm the maximum stat gq3 meal plus 3 stadad
     deviations              is     132        mm 085 + 047                      When        such    a stat            gq3 occurs                  a    short stroking




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     canister        for example                   279       mm        will         not     rotate the wheel                30 of the rotay                   gear by a full


     tooth spacing             This will                lead to fd         I
                                                                               ure of the dose counter                             However          the provision             of a


     first     aid    second       ratchet             tooth        6466            in   the pawl             60     d lows           the ratchet       tooth        32 of the

     wheel         30 of the rotay gear                      to rest    on the second tooth 66                              In     the present          embodiment            the


 5   second tooth 66              is    060         mm away from the                            first    tooth     64 Thus             for the next           actuation       the


     start     gq3    is   reduced           to    072       mm 132 060                                  The stroke         is     therefore       sufficient         to rotate


     the wheel         30 a full            index       starting       from this point                         The step wise rotation                   of the wheel           30

     then      continues with                all    subsequent                 actuations starting aid finishing with the ratchet                                         teeth


     32 of the wheel            30 of the rotay gear engaged with the second tooth 66 of the pawl                                                                      60

10


     Fig      8 shows a more detd led view                                     of    the wheel               30 of the rotay                gear    the driver         28 aid


     the pawl         60    to prevent              reverse          rotation            of the rotay                gear        In    Fig   8a the ratchet              tooth


     32a of the wheel             30         is engaged             with the first                    ratchet    tooth 64 of the pawl                    In    Fig     8b the
     sane tooth 32a of the wheel                               30     is
                                                                           engaged                   with the second               ratchet    tooth 66 of the pawl


15   60       It
                   may be seen that                    the   start
                                                                      gq3        is reduced                 in the   arangement              shown        in    Fig    8b in
     compaison             with       the         sane       distame            in       Fig          8a        The     second          tooth      66    of    the    pawl     60

     therefore        d lows the first                  distame         S of the start gq3 the between                                     the pat      of the driver          28

     which         engages     the wheel                30 aid the Tpropri ate                                ratchet   tooth          32 of the wheel               30 to be

     reduced         thereby accommodating                            a greater tolerance                       in the canister             stroke


20

     As expldned              herd nabove                     the    first          aid     second             teeth    6466           provide       different         starting


     positions for the wheel                       30    of the       rotay              gear to accommodate                        different      tolerance levels in


     the     components of the                         inhder          The           teeth            6466 ae          therefore           separated          mildly with

     respect        to the    wheel               30     The        spacing              will        dearly      depend          on the precise nature                  of    the


25   components used                   in the          inhder aid               hence           it    would      be inappropriate               to provide           a precise

     numeric d         vdue            It    is    dear from the mechanism                                    however         that     the raid          spacing       will    be

     less than       the rail     d         di stalce        between            adjacent              teeth     32 on the wheel              30    of the rotay         gear




     In      the     embodiments                   shown         herein              the             dose     counter         18      of    the    present           invention


30   incorporates           a pawl            60 having               two           teeth            6466      aid     only      two       teeth     ie       the    pawl      60

     consists essentidly                    of two       teeth       6466                 However               addition d         teeth     could      be incorporated




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     to   provide      additional          precision         to the      start      potion            of the wheel                30 aid thus                 additional



     precision      in the       first    distance          S    For exanple                   the pawl          may have                  26        preferably         two

     three or four teeth             more preferably              two or three and most preferably two teeth




 5   In   a   particularly         preferred           embodiment              of        the    present         invention                  the    do          counter         is




     adapted     for    a   call ster       stroke of 3041                ± 0256               mm the wheel                     of the           rotary      gea       has a


     radius of    280 ± 005mm defined                           as the distance from the centre of the wheel                                                to the     tip   of


     the teeth    and       11    ratchet        teeth      around       its   periphery              and the pawl                    comprises two                   ratchet


     teeth    only which          have a radi a spacing                  of    06 mm                 In this     embodiment                      the total      stroke to


10   guaantee       a count         is   2372 ± 0115 mm The                              probability of failure to count                                   or resent        due


     to   component          dimension                variations         manufacturing                     tolerances                 is    less       thal       1    in    10


     million




     The present        invention          further       provides        a metered do                      inhaler 72 as shown                        in
                                                                                                                                                            Fig       9 The

15   inhaler comprises             a medicanent                 caiister       6 al actuator                body          74   for receiving                the call ster


     6 aid having a medicanent                        delivery     outlet           and the do                 counter         as described                 herein          The

     inhaer      has     a window                76    for      viewing        the        integers          on           the   tape        44         In    a preferred

     embodiment the actuator                         body    74 comprises                 a sump and preferably                             a smooth              rounded


     sump      Typically          a rounded            sump is understood                      to    have a substati                       ly    cylindric a           upper


20   portion     and a substati              I
                                                 y    hemispheric               lower          portion         Typically              smooth               is understood


     to   mean   that    the surf are is sufficiently free of surf are protrusions to the extent                                                             that     during


     norma       use medicanent              will      not substati             I
                                                                                    y adhere thereto




     In   one embodiment                 of the invention           the vessel                 arta ns a medicanent                             in    the form of al


25   aerosol        Alternatively            in       another      embodiment                   of    the      invention              the       vessel       arta ns a

     medicanent         in the form of               a dry powder




     The medicanent               may be any medicanent                        that       is   suitable        to        be delivered            to   a patient via a

     metered dose           inhaler         In       particular     medicanents                     for   the treatment                of       a wide        variety        of


30   respiratory        disorders          are delivered            in    this       mainer               induding             anti
                                                                                                                                      allergic              agents      eg
     cromogl ycate                ketoti   f en          and       nedocromi              I           anti i    nf   I
                                                                                                                         anmatory                    steroids           eg


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     bed omethasone                                 di   propi onate                   f   I       uti
                                                                                                         casone           budesoni de                            f   I   uni sal       i
                                                                                                                                                                                           de             ci   d esoni de

     tri   amci nol one                acetoni            de and mometasone furoate                                                    bronchodi             I   ators         such              as        I32agoni sts


     eg fenoterol                           formoterol                     pi rbuterol                   reproterol           sal butamol                  sal           meterol and terbutal                              i
                                                                                                                                                                                                                               ne
     non selective                      I3sti        mul alts                eg                i
                                                                                                   soprenal          ne               and            xanthi ne             bronchodi                  I   ators                eg
 5   theophy        I   I   i
                                ne     ami nophy              I   I   i   ne and      chol           i   ne theophy       I   I   i
                                                                                                                                      nate            and anti chol                i
                                                                                                                                                                                       nergi      c agents                 eg
     i
         pratropi       um bromide oxi tropi um bromide                                                        and ti otropi                um

     A further aspect                          of the present                    invention                 provides the use of a pawl                                         60 comprising                           at   least


     two     ratchet              teeth         6466              for preventing                          miscounting                  in        a dose counter of a metered dose


10   inhaler     72 A                  still        further               aspect      of           the present            invention                    provides               the use of a pawl                                 60

     comprising                   at   least         two          ratchet        teeth              6466 for preventing                               undercounting                         in    a counter of a

     metered dose inhaler                                72



     In    a preferred embodiment                                           the counter                   comprises                   al actuator                20 a rotary                      gear           a driver

15   28 for driving the                             rotary                gear   in   a step wise fashion                                       in   response             to displacement                              of       the


     actuator           20           the rotary
                                                           gear comprising                                a wheel      30 mounted on a spindle 36 which wheel


     30 having a plurality                               of ratchet               teeth             32 around its periphery and a display 44 coupled                                                                             to


     the rotary
                                gear the display having                                        a visible             array
                                                                                                                                      of        incrementing                  integers on a surfare


     thereof            indexable                   by    a single               integer                  in   response                to        each    step            of    the          step wise                  rotary


20   motion of the                     rotary            gea               Preferably                    the pawl      60 prevents reverse rotation                                                   of the rotary



     gear




     Although                    the        invention                      herein          has             been        described                      with               reference                to           particula


     embodiments                       it      is   to   be understood                             that    the        embodiments                        ae merely                         illustrative                of the


25   principles                 and applications                           of the      present                 invention                   It    is therefore                 to       be understood                           that


     numerous                    modifications                            may be made                      to    the    illustrative                    embodiments                              aid           that        other


     arrangements                      may be devised                            without                 departing        from the                     spirit        and scope of the present

     invention                  as defined by the appended                                           d aims




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     Claims




     1     A dose counter for a metered dose inhder                                 the counter compri s ng


     ai actuator


 5   a rotary gear

     a driver for driving the               rotary     gear in a step wise fashion                   in    response      to    displacement             of


     the   actuator         the    rotary    gear      comprising             a wheel     mounted           on    a spindle         which         wheel


     havi ng        a pl ural ity of ratchet     teeth       around its periphery


     a pawl         to prevent    reverse rotation           of the rotary gear and


10   a display coupled             to the    rotary                 the display         having       a visible                of    incrementing
                                                            gear                                                      array


     integers on a surf are thereof                 indexable by a single integer                     in
                                                                                                           response      to each          step of the


     step wise rotary            motion of the rotary gear

     wherein the pawl             comprises       at   least      two       ratchet   teeth   which        ae radidly         spaced          such that


     one   of       the teeth     engages    with      the       ratchet      teeth   of the    wheel       following         each        step of the


15   step wise rotary motion                of the rotary gear




     2 A do              counter     as daimed in            daim 1           wherein     the pawl         comprises          two       ratchet    teeth


     and no more




     3     A do         counter as dal med             in   daim        1   or 2 wherein the pawl                is   mounted on a resilient


     support




20   4     A    do        counter    as     daimed          in   daim 3            wherein     the   resilient        support       is    a     resilient


                i
                    ncorporated in to the body               of the do             counter




     5     A    dose      counter     as    daimed          in    any       preceding     dm          further         comprising            a    control


     surface to regulate the position                  of engagement                and disengagement between                      the driver and


     the wheel




25   6     A dose counter as daimed in any preceding daim wherein the actuator                                                     is   operaDI e by


     linear displacement            from a first        position        to    a second    position         and back      to the     first
                                                                                                                                                position


     aid wherein           movement         of   the rotary         gear       occurs either during              the displacement                 of   the




                                                                              15




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     actuator    from the      first
                                          position      to the      second          position       or during       the displacement           of the


     actuator    from the second             position       to the     first    position




     7    A dose        counter as daimed in any                    preceding            daim       wherein      the actuator         comprises      a

     spring loaded plunger                the plunger being depres§ble                        against the return force of the spring


 5   loading    when the actuator             is caused        to deliver           a dose    of   medicament




     8    A dose        counter     as daimed in              any    preceding             daim      wherein       the driver         comprises      a

     ratchet    drive pawl




     9 A dose counter as dal med in daim 8 wherein the ratchet                                                drive pawl    is in the        form of

     a straddle     drive     in    which        the    element         that        engages        the   ratchet    teeth   of the       wheel      is




10   supported between             a pair of spaced            apart    support arms




     10   A do          counter as dal med             in any      preceding             daim      wherein the display           is   ai elongate


     counter tape on which                the dose count           is printed        or written




     11   A    dose counter         as daimed           in    daim        10 wherein               the   counter    tape    is   located      on ai


     indexing     spool     aid     the     do         counter       further         comprises           a stock    bobbin       to   receive      the


15   counter tape as the indexing                spool       is advanced            in   a step wise fashion




     12   A dose        counter as daimed in any                   preceding             daim      wherein      the actuator      is adapted        to



     engage with the rim of a medi cament                          cali ster




     13   A do          counter    as daimed in              any     preceding            daim      wherein        the wheel      of   the rotary


     gear has    814 ratchet         teeth    around         its   periphery




20   14A       dose counter as dal med                 in    dal   m 13 wherein               the wheel         of the rotary
                                                                                                                                      gear
                                                                                                                                             has    11



     ratchet    teeth    around     its   periphery




     15   A do          counter    as daimed in any                  preceding            daim      wherein        the wheel      of   the rotary


     gear     has a radius defined            as the distance from                       the centre      of   the wheel     to the tip        of the




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     teeth       of 280 ± 005    mm and 11 ratchet              teeth   around        its    periphery and the pawl           comprises


     two     ratchet   teeth   and no more which             have a radid         spacing       of    06 mm



     16      A    metered   do     inhaler    comprising             a medicament               calister     al    actuator   body   for


     receiving      the call ster and having            a medicament delivery                   outlet     and the dose counter as


 5   cl ai   med    n any precedi ng     d    m

     17      A metered do        inhaler     according         to claim      16   wherein           the actuator   body   comprises    a

     smooth rounded            sump



     18 The use of a pawl             comprising        at   least   two    ratchet     teeth       for preventing    miscounting     in


     a dose counter of a metered dose               i   nhaler




10   19 The use of a pawl             comprising        at   least   two    ratchet         teeth   for preventing     undercounting


     in   a dose counter of a metered          do        i   nhal er




                                                                       17




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                                                                                  AkV0
                                                   10
                                                                                          18




                 20


                                    4711111111111
                                          111
                                                               z666fw                    50
                 int                         I




                22
                     r4774a                                                               36



                14                  P              J X
                                                                        17
                              Psi
                                         N                          I   II

                                                                    4

                                                   111
                                                                11111KTO
                       26




                                                                             44
                                                         40    42
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                                    Prior art




                                                 Fig 1




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                          Prior art




                            Fig 2




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                     34




                                                         f
       50
                    64         17i II    I   I      r    7        Valve Travel




                               Prior art




                                 Fig 3




                                                                                   DTX162
                                                                                   21   of 28

                                Appx203
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                                   48




                         32
                                             30




                63

                            >




                       62




                                Prior art




                                  Fig 4




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                              58




                               32




                            Fig 5




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                                68


                                          18




                    30




                                     68




                         70



                               Fig 6




                                                    Excess
                                                    stroke

                                                    available




                          0§tMdt111




                               Fig 7




                                                                         DTX162
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                              Appx206
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                              78




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                                                           a




                                                           b


                                                           Fig 8




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                                           74




                     76
                                    18




                            Fig 9




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                           Appx208
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                                                                                                                                                                                                                              International              application          No


                                                                                                                                                                                                                                 PCTEP2008002590

A CLASSIFICATION                             OF SUBJECT                              MATTER
 INV               GO6M104                                                            GO6M108




According         to International                     Patent         Classification                    IPC or to both                              national classification              and     IPC


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 Minimum documentation                             searched                     classification                   system           followed                   by   classification     symbols

 GOOM              A61M




 Documentation               searched              other          than           minimum                documentation                           to the        extent that     such    documents                are    included          in   the    fields     searched




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 C DOCUMENTS                   CONSIDERED                                  TO BE RELEVANT

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 A                            abst                 r    act                                                                                                                                                                                                                   117
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                               page                      14                     line                21                     page                      16             line           30

                               figures                                 2123

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                               abstract                                                                                                         >

                               page                      12                     line                1
                                                                                                                       page                       17              line         19

                               figures                                 26




  DFurther documents                                              listed             in   the    continuation                     of        Box      C                               X            See
                                                        are                                                                                                                                                  patent     family     annex




       Special     categories                of    cited         documents
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 1A document                 defining the                general                state of the             art          which            is    not
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         considered            to       be    of       particular               relevance
                                                                                                                                                                                          invention

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                                             but       published                 on or after            the            international
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         which      is   cited      to establish                  the           publication              date of another
                                                                                                                                                                                Y document                     of particular           relevance         the     claimed        invention
         citation or other                   special             reason              as     specified
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 10     document             referring            to    an       oral      disclosure                   use            exhibition               or                                        document               is   combjned          with    one      or    more     other        such       docu
         other     means                                                                                                                                                                  ments           such        combination             being     obvious       to a
                                                                                                                                                                                                                                                                              person            skilled

                                                                                                                                                                                               the       art
 1P     document             publishOd                 prior to the                  international                filing      date           but
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         laterthan           the    priority            date      claimed                                                                                                                document              member         of the         same       patent family



 Date    of the     actual         completion                    of the          international                   search                                                                  Date      of mailing           of the     International              search    report




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Form   PCTISA21          0   second          sheet           April         2006




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                                               INTERNATIONAL                   SEARCH         REPORT
                                                                                                                     International   application   No
                                                       Information on patent   family   members
                                                                                                                      PCTEP2008002590
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                                                                                        Appx210
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                  12 INTERNATIONAL                                         APPLICATION PUBLISHED                                  UNDER THE PATENT COOPERATION                                                TREATY                 PCT

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                                                                                                                                              GB HOWGILL                          Stephen          J     GBGB                  123     Leicester



             22   International                  Filing          Date               20 April     2007     20042007
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             25   Filing            Language                                                                       English                    Road         Brwknell          Berkshire         RG12 8HT              GB BREWER
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                      nventorsApplicants                              for      US only           STUART             Adam                      CN CO CR CU CZ DE DK DM DZ EC EE EG ES
                  J       GBGB                 23      Highfield               Drive    Longton          Preston         Lan                  Fl GB GD GE GH GM GT HN HR HU ID IL IN
                  cashire                GB PURKI NS Graham                                     R GBGB                       3M               IS JP KE KG KM KN KP KR KZ LA LC LK LR


                                                                                                                                                                                                        Continued              on next page




             54 Title               DOSE COUNTER



                                          13                                              57 Abstract                   This application           di      oses       ado       counter      for   use in connection                 with      ade
                                         17                                               vice    adapted         for   metered       dispensing           of   a medication            The do            counter        has a fir             count
                                   14                       4        1l
                                                                          3               indicator       tha      has a first        indicia      beaing        surfwe         with    the   first     count      indicator          being      ro
                                                                          12
                                                                                          tatthle         out     a first     ads      The      do        counter       aso has a second                count      indicator         tha       has a
                                                                          15
                                                                          17
                                                                                          second       indicia      beaing           surfwe        with    the    second        count    indicator           being      rotataple              out    a
                                                                                          second       ads        The second          ads is disposed             at   al obtuse        algle
                                                                                                                                                                                                   with
                                                                                                                                                                                                             reEpect     to the       first
                                                                                                                                                                                                                                                ads
                                                                                          aid    the    first    aid second           indicia      beaing        surfwes          ign   at    a common           viewing         aea to col
                                                                                          lectively      present        at   least    a portion      of    a medication          dosage count


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     LS LT LU LYMA  MD MG MK MN MW MX MY                                          FT RO SE SI SK TR OAPI                       BF BJ CF CG Cl CM
     MZ NA NG NI NO NZ OM PG PH PL FT RO RS                                       GA GN GQ GW ML MR NE SN TD                                      TG
     RU SC SD SE SG SK SL SM SV SY TJ TM TN
     TR TT TZ UA UG US UZ VC VN ZA ZM ZW                                   Published

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     GM KE LS MW MZ NA SD SL SZ TZ UG ZM
     ZVV   Eurasian AM AZ BY KG KZ MD RU TJ TM                             For two letter codes and other         abbreviations             refer to the    Guid
     European AT BE BG CH CY CZ DE DK EE ES Fr                             ance Notes on Codes and Abbrevi             ati   ons   appear     i
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     FR GB GR HU 1E IS IT LTLU LVMC MT NL PL                               ning   d each    regular    issued    the   PCT Gazette




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       61997W0006




                                                                        DOSE COUNTER


                                                                                TECHNICAL FIELD


 5     0001                      The     present        invention      relates to a dose counter                          for use in connection                with        a


       device adapted for metered dispensing                                       of    a medication




                                                                                  BACKGROUND

       0002                      Metered          medication          dose        dispensers            tace         maw forms but                     have    in    common

       that        a predetermined                  dosage       ie amount                     of      medication             is    dispensed          during       a dosage


10     dispensing                 operation         One common                  form     of    metered           medication            dose dispenser               is   known

       as     al        inhaer            I   nha ers     are    commonly                 used         for     the     treatment            of    asthma        aid        other



       respiratory conditions



       0003                      An inhaer typicaly                   taces       the form             of   al aerosol             dispensing          assembly          hating


       al aerosol                contaner          aid ai actuator               housing          for receiving              that    contaner           In the      case       of    a


15     pressurized                i   nha er the contaner                   i   nd udes medication                    that    is    formulated with                 a suitable


       propdlat                  that    is    filled    into   the contaner              to define             al aerosol           canister          The contaner                 is




       typicaly              equipped           with      a medication             dispenser                fitted
                                                                                                                      by means           of      a ferrule          such       as a


       vave             in
                                 paticula          a metered          dose        vave            comprising              a vave        stem       movable           between


       dosed            aid dischage positions                        Such        a contaner                with     medication         therein         ie al aerosol
20     canister              aid hating            a dispenser thereon                    thus defines                a medication            via The          medication


       via         is   not      refillaole        aid     is   disposed          of    once the medication                        therein       has    been    dispensed


       The medication                    via      is
                                                        typicaly      used        in
                                                                                        conjunction            with       al actuator         housing          which may

       be reusable that has a patient                            port   eg a mouthpiece                            or a port        adapted for nasa                u          The

       actuator          housing              typicaly      comprises             a support            block       that   has       a socket      adapted to receive


25     the     vave              stem of the vave               on    the       container         of    the    medication            vial     and      has    al orifice            in



       communication                    with     the socket          aid the patient               port       The     canister        aid the support block                     ae

       red proca             I
                                 y movable          relative to each              other       a ong al axis to a low the vave                                stem to move


       to    its    dischage position during the operation                                        or firing          of the assembly              thereby       dispensing


       a dose of the                    medication         from the via                  The       actuator          housing         also typicaly             indudes          ai


30     dongate portion extending                            opposite the support block                             aid providing             a chamber to house                     at




       least        a portion           of the      contaner          of the       via        There         ae maw related                   design      features          of the




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       actuator    housing               aid the medication                    via    that are      employed                in     order       to achieve             the des red


       medication            dispensing             performance               ie the dispensing                   of one metered                      amount            or dose of



       sprayed         medication                  of        Tpropri ate        particle           size     distribution                  each        time            the    aerosol



       dispensing           assembly           i   s actuated             by a user


 5     0004                 To dispense                     a dose of medication              al inhaer               user normally                  squeezes or pushes


       down on the inhaer                      in al           axia direction          causing       a relative movement                             of the canister                  into


       the    actuator           housing           towards           the    support     block        It   is   useful              for    al inhaer            user         to   know

       how     maw doses reman in his or her inhaer ie how much medication                                                                                  by        dosage          is   in



       the    container            of    the       aerosol          dispensing        assembly To                     this     end        a reliable dose counter


10     device     aid            methodology                   is    desired     in    order        to    register           how          maw doses have                          been


       dispensed            from        al aerosol             dispensing        assembly           aid     in    order            to inform             a user how              maw
       more doses still                 rema n to be dispensed


       0005                 There         have              been     numerous         proposals           such         as      in    W02005060535                           aid        A2

       W02004041334                       for dose                 counters    to    be used with              inhaers              whether           the      inhaer            is    for



15     exampl e a dry powder                            i   nha er a portable          nebul izer          or a pressurized                        metered        dose       i   nha er

         or   some      other           type        However                despite    progress there                  is   still     al    i
                                                                                                                                               mportalt          need       fordose


       counters which               are both                economic        aid reliable




                                                                                     SUMMARY

       0006                 It    has been              found        that    some dose counter                   designs                 may       not     reliably         count           a


20     single dose only                 when            a dose of medication                  has    been        dispensed                     A    count      should            not       be


       triggered       if    the valve             stem        is   not    sufficiently       depressed to fire the valve                                aid     it    should          not


       count    more thal one dose during a firing                                       cyde        eg          if    the         return          cyde     of    the       valve          is




       interrupted                Also some dose counters                            may     not    be sufficiently                  sturdy          aid staDle over the


       life   of the        product        so that             it   will    work as intended              aid will                 not   dter the count when                           the


25     inhaer     is
                       subject           to the             rigors of being         carried    in   a pocket               purse         school          bag     etc        Further


       some designs may have                                 difficulty       compensating            for      normal              malufacturing                 variations                in




       the    product            with    which              they    ae used         eg inhaers with                        tolerances               that    may        result         in    a


       slightly   different              length             of the valve       stem aidor a slightly                       different            length      of travd             of the


       valve    stem             before    the              valve    is    triggered         When         a dose            counter            is    integrated             into       the


30     housing     for           al aerosol                 inhaer        container     it    is   desiraDle           to     minimize its                 complexity                 aid




                                                                                        2




                                                                                                                                                                                                DTX161
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       ease of installation                         as   wd      I
                                                                      as to provide al araigement                                      which            is   as compact             as possi      bl   e

       yet which              provides             a readily reliaDle                     aid reaclaDle                  medication                dosage count to a user


       0007                    In        one aspect the                   invention                provides             a dose counter                  for use       in    connection           with


       a device           adapted                 for metered                 dispensing                 of       a medication               The dose counter                       comprises           a


 5     first       count       indicator             aid        a second                 count           indicator             The         first     count           indicator       has    a first


       indicia bearing                    surface          aid           is   rotataDle                  out      a first    axis      The second                count        indicator has             a


       second           indicia           bearing          surface                 aid     is      rotataDle                 out    a second             axis         The second            axis       is




       disposed           at       al obtuse aigle with                              respect         to the          first     axis        aid the           first    aid second            indicia



       bearing           surfaces                 a igned            A    a        common            viewing              aea       to      collectivdy                present        A     least       a


10     portion          of a medication                    dosage count


       0008                    In        one aspect             the present                invention               is   a dose counter                  for use        in   connection           with


       a device           adapted                 for metered                 dispensing                 of       a medication               The dose counter                       comprises           a


       first       count       indicator             aid        a second                 count           indicator             The         first     count           indicator       has    a first


       indicia bearing                    surface          aid           is   rotataDle                  out      a first    axis      The second                count        indicator has             a


15     second           indicia           bearing         surface                  aid   is   rotataDle                  out    a second                axis     The        first   aid second


       axes        ae not                disposed          in        coaxial             paal lel             or   perpendicula                         ignments            relative       to    each


       other            The        first     aid second                   indicia         bearing                 surfaces         a ign      A a common                    viewing        aea to

       col   I   ecti   vd y       present          A let a portion of a medication                                            dosage count




20     0009                    Surprisingly                it   has been                 found           that by        using       first     aid second               counter        indicators


       rotataDle               out         a first       aid second                  axis          respectively              where the first                   aid second            axes of the


       two counter                  indicators             ae not                  disposed          in       co axial         paal lel            or    perpendi cul         a       i

                                                                                                                                                                                          gnments


       relative to each                     other        or by           using        a first        count          indicator          disposed              on al axis that               is   at     al


       obtuse aigle in paticula                                          ai aigle greater thal                           900       aid less thal                 180° with            respect          to


25     the axis of the second                            count           indicator            it    is   possible           to provide              a desiraDle compact                    counter


       which            can        fit     into      the        aiailaDle                space           within         the     housing              with       no      or     only       minima

       modification                  in     she aidor size of the housing Also                                                        at    the sane time the counter                                due

       to    its    compact               size      is    less influential                    on the product                    performance                    eg the a rflow                   of the


       inhaer             Further            it    has     been           surprisingly               found          that      through              the display of sepaate                       digits


30     or indicia             in
                                   juxtaposition                 provides                al advaltageous                      ease     in
                                                                                                                                              reading          of the counter              by user


       even though                  the counter             itself            is   quite      compact




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       0010                     This          is   achieved           without           the           need     for    a traisfer            gear to convey               movements

       from one count                      indicator         to      anther             since the count                  indicators             intersect    Such        intersection


       has a owed I                  structures        to be designed that interact                                 pen odi ca y between them Accordingly
                                                                                                                                     I




       the counters                  herein         described              are desiraDly                 free of     a traisfer            gear which          again alows for


 5     the provision of compact                             counters


       0011                     In    anther aspect the                       present              invention         is    a dose counter               for use     in   connection


       with       a device adapted for metered                                    di
                                                                                       spend ng             of a medication                 The dose counter comprises

       a first         count         indicator            aid a second                  count           indicator         The      first        count    indicator       is   rotataDle


       aDout          al axis             aid the          first       count           indicator            has     a first     indicia           bearing    surface          that     is    a


10     conical             surface        relative to the axis                     Movement                  of    one of the count                indicators       is   initiated          as


       a function               of    movement             of the           other      count indicator                    The   first       aid second         bearing        surfaces



         i
             gn   A a common                        vi ewi ng         aea to col             I   ecti   vd y      present       A let            a portion     of   a medication


       dosage count


       0012                     The           use    of    a       first     count           indicator            that     is   conical            in    she facilitates               the


15     mounting of the respective                                   counter            in   the curved              profile        in    pati cul       a within     the      d bow
       bend           of    a typica               inhaer          actuator             in       a staDle mainer                   while          requiring     minima            or    no


       changes to the inside aidor outside profile                                                       aidor volume               of the        actuator    to    accommodate

       the counter


       0013                     The dependent                  dams define                       further       embodiments                 of the invention


20     0014                     The invention                      in its   vaious combinations                             either         in   wpaatus       or method           form


       may        also      be characterized                   by the following                         listing     of    items


       0015                     1         A    dose counter                 for use              in     connection         with          a device        adapted        for   metered


       di spend
                           ng   of a medication                     the dose counter                      compri Si ng


                                          a first     count         indicator           hating            a first        indicia    bearing          surface       the    first   count


25                     indicator              rotataDle              out     a first        axis         aid


                                          a second           count           indicator                hating         a second              indicia       bearing     surface           the


                       second             count indicator                  rotataDle                  out a second          axis


                                          wherein         the second              axis           is
                                                                                                        disposed         A al obtuse algle with                     respect       to the


                       first     axis          aid


30                                        wherein         the       first     aid second                    indicia       bearing          surfaces       dign      A     a common


                       vi ewi
                                     ng    aea to col          I   ecti    vd y     present             A let a pot on of a meoli cati on dosage count




                                                                                                        4




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           0016         2       The        dose counter                  of       item     1   wherein         the    first        bearing              surface       is    a conica


       surface     relative to the            fi       rst    axis


           0017         3       The dose counter                       of     ay of the preceding                    items wherein                      the   first    aid second


       i   ndi ci a bearing      surfaces               ae talgenti al A the common                            vi ewi ng           area


 5         0018         4       The dose counter                       of     ay of the preceding                    items wherein                      the   first    aid second


       axes ae disposal                   A al algle of               110 degrees to 160 degrees relative to each other


           0019         5       The dose counter                        of    item 4 wherein                  the    first    aid second                    axes are disposed


       at    al algle of 125 degrees to 145 degrees relative to each                                                   other


           0020         6       The         dose             counter         of    aly     of        the   preceding               items wherein                    the     common

10     viewing         aea      is    genera ly               talgential           to    a circumferential                   surface               of   a cylinder          disposed


            out the second            axis


           0021         7       The dose counter                       of aly of the preceding                       items              aid further comprising


                                a rotation               initiating          d ement on the second                     count            i       ndi cator     aid


                                a rotation               following           d ement on the first count                        i   ndi cator



15                              wherein                 rotation         of       the      second            count      indicator                   engages           the    rotation



                   initiating         dement thereon                         with       the      rotation      following                dement on the                   first       count


                   indicator          to cause               rotation        of the      first       count    indicator            as a function               of the extent             of



                   rotation          of the       second         count        indicator



           0022         8       The dose counter                       of aly of the preceding                       items              aid further comprising


20                              a rotation               limiting       d ement on the second                        count          i   ndi cator           aid


                                a rotation               following           d ement on the first count                        i   ndi cator


                                wherein                the     rotation           limiting           d ement     aid the                rotation         following           d ement


                   engage        A times during                      rotation       of the second              count         indicator               to prevent         rotation         of


                  the   first    count        i   ndi cator



25         0023         9       The dose counter                        of    aly of the preceding                     items wherein                     the second             i   ndi ci a



       bearing      surface          is   a cyl    i   ndri cal      surface        relative to the            second         axis


           0024         10 The dose counter                             of
                                                                              aly of the preceding                    items wherein                     the viewing                 aea is

       genera     ly   paal Id with the second                           i   ndi ci a bearing              surface     of the               second      count indicator


           0025         11 The dose counter                            of aly of the preceding                       items              aid further comprising


30                              a rotation               initiating          dement on the fi rst count                       indicator                 aid


                                a rotation               following           d ement on the second                      count               i   ndi cator




                                                                                                 5




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                                 wherein      rotation             of the    first       count      indicator          engages the           rotation       initiating


                  dement thereon with the                           rotation      following              dement on the second                      count    indicator


                  to    cause          rotation     of       the     second       count           indicator       as    a function            of    the     extent       of


                  rotation        of the    first       count indicator


 5     0026                 12 The dose counter                    of    ay of the preceding                  items       aid further comprising


                                 a rotation        limiting         d ement on the first count                     i   ndi cator      aid


                                 a rotation       foil
                                                             owing       d ement on the second                 count       i   ndi cator


                                 wherein      the        rotation         limiting           d ement       aid the        rotation          following           d ement

                  engage         A times during rotation                     of the       first    count      indicator        to prevent           rotation       of the



10                second         count indicator


       0027                 13 The       dose counter               of
                                                                          ay of the preceding                  items wherein                the second           indicia



       bearing        surface     is   a surface         extending          perpendicula                 to the second          axis


       0028                 14 The dose counter                    of aly of the preceding                    items       aid further comprising


                                 a third count           i   ndi cator having             a third    i   ndi ci a bearing        surface           the third count


15                i   ndi cator      rotatADI e              out   a third axis


                                 wherein      the third axis is disposed                          A al obtuse algl e wi th respect to the first

                  axis       ad

                                 wherein          the    first      aid     third        indicia     bearing           surfaces         i
                                                                                                                                            gn to     col   I   ecti   vd y


                  present        a medication                 dosage       count         A the common                  viewing        area     in    combination


20                with the second             i   ndi ci a bearing           surface


       0029                 15 The       dose       counter          of    item      14      wherein        the   first        aid    third    indicia          bearing


       surfaces       A gn talgenti al ly
                        i                               A the common                viewing         area


       0030                 16 The dose counter of item 14 wherein                                   the second           aid third axes ae disposed


       at   a90 degree algle relative to each                             other


25     0031                 17 The dose counter                     of items        14    or    15 wherein         the first         second         aid third          axes


       are copl



       0032                 18 The       dose       counter          of    ay of          the     preceding            items     in    combination               with     a


       metered dose inhaler having                           a contd ner       filled        with    a medication


       0033                 19 The       dose counter               of    ay of the preceding                  items wherein                 the    first       axis   ad

30     second     axis are        coplala

       0034                 20   A     dose counter                for use     in    connection            with        a device       adapted         for       metered


       dispensing           of a medication              the dose counter                 compri si ng



                                                                                         6




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                             a   first     count          indicator         rotatADIe              out     al     axis         the     first   count         indicator



               hating        a first       indicia        bearing          surface         that   is    a conical        surface           relative to the       axis


               aid


                             a second            count indicator having                     a second       indicia bearing                  surface


 5                         wherein               movement            of    one       of the   count       indicators           is     initiated     as a function


               of    movement            of the other            count indicator                  aid


                           wherein               the    first    aid second                indicia      bearing         surfaces           A ign   A     a common


               viewing        aeato          collectivdy              present         A least aportion                of a medication              dosage count


       0035          21 The dose counter                         of       item 20 wherein                the    first     aid second            indicia       bearing


10     surfaces   are talgenti         A     A the common                  viewing          area


       0036          22    A      dose counter                  for use         in   connection          with      a device            adapted         for   metered


       di spend ng   of a medication                   the dose counter                 comprising


                             a first       count        indicator         hating        a first        indicia    bearing           surface        the   first   count


               indicator         rotatADIe              out     a first     axis       aid


15                           a second             count         indicator            hating        a second             indicia        bearing       surface       the


               second        count indicator                  rotatADIe              out a second         axis


                           wherein               the   first     aid      second        axes       ae not disposed                    in   coaxial       paallel    or



               perpendi cul           a A gnments relative to each other aid
                                             i




                           wherein               the    first    aid second                indicia      bearing         surfaces           A ign   A     a common


20             vi ewi ng      aea to col           I   ecti   vd y    present         A let a pot on of a mach cati on dosage count

       0037          23 The dose counter                         of       item 22       wherein          the    first     aid second            indicia       bearing


       surfaces   are talgenti         A     A the common                  viewing          area


       0038          24 The dose counter                         of    items 22 or 23 wherein                           the   first    aid     second        axes are


       copl


25     0039          This        summay is not intended                              to describe        each     di      losed        embodiment             or every



       implementation            of    the       present         invention             Maly        other       novd           advaltages            features       aid


       relationships      will        become            wpaent             as    this      description           proceeds              The     figures       aid   the


       description    that    follow more pati cul al
                                                                           y     exemplify          illustrative         embodiments



                                                   BRIEF DEMRI              PTI      ON OF THE DRA              VA NGS




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       0040                  The     present             invention          will    be further                explained          with        reference                to    the           attached



       figures         wherein             like         structure          or      system          elements               are    referred            to     by         like              reference


       numerals         throughout                 the several         views


       0041                  FIG      1
                                              represents        an exploded                  isometric             view         of    a first        embodiment                          of   a dose


 5     counter         of the present               invention



       0042                  FIG 2 represents                  an isometric                 assembled               view        of the dose           counter               of       FIG           1


       0043                  FIG      3 represents                a    partial       axial        sectional           view           of   a press and breathe                                 inhaler



       incorporating               the dose             counter       of    FIGS        1   and        2

       0044                  FIG 4 represents                  a side view               of a         lid    of the      dose counter                of   FIGS              1    and          2

10     0045                  FIG      5       represents              an    isometric             view         of     a    units          rotational            ring            of       the      dose


       counter         of    FIGS         1   and       2

       0046                  FIG 6 represents                  an      isometric            view            of a housing             of the dose            counter                  of   FIGS           1




       and    2

       0047                  FIG      7 represents             an isometric                  sectional             view     of the         assembled                  dose           counter            of


15     FIGS        1   and        2 with the lateral                   section          taken          through           the    viewing          window                thereof                and        a


       tens   cone          not    shown           in   section


       0048                  FIG      8 represents              a side view                 of the          interface          between          the       units        rotational
                                                                                                                                                                                                   ring


       and the tens cone                  of the         dose counter              of   FIGS            1    and    2

       0049                  FIG       9       represents              an       isometric              view         of     the        interface            between                    the         units


20     rotational           ring    and the tens cone                      of   FIG      8 with the components                              each          rotated to a different


       orientation           relative         to each        other         compared              to the orientation                   shown          in   FIG          8

       0050                  FIGS             10A        10B      100 and               100        represent              sectional         views           as taken                     generally


       along      line       1010             in   FIG       8 illustrating              rotation             of the tens            cone       as a function                        of rotation



       of the units           rotational            ring


25     0051                   FIGS            HA          HB      H C and               H D       represent             schematically                the        interface                 between


       the units        rotational            ring       and tens cone              that     facilitates            rotation          of the tens           cone            as a function


       of rotation           of the units               rotational
                                                                           ring



       0052                  FIG      12       represents         an exploded                    isometric          view         of a second               embodiment                          of the


       dose counter               of the present             invention


30     0053                  FIG          13        represents             an      exploded                  isometric           view           of        the     i   ndi       ci   a        display



       components                 of the      dose        counter          of   FIG         12    ie a units                rotational           ring           a tens           cone             and    a


       hundreds         disk


                                                                                                  8




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       0054                 FIG           14     represents            an        isometric        assembled           view       of    the       indicia       display



       components               of   FIG 13


       0055                 FIG        15      represents         area view           of the assembled                dose counter          of   FIG 12


       0056                 FIG        16      represents         a partial        axi         sectional      view      of   a prcss aidbreathe                 inhaler



 5     incorporating             the dose counter                 of    FIGS        12   and      15


       0057                 FIG        17       represents        an    isometric          view        an    interior    side    of the      hundreds          disk        of



       the    dose counter             of      FIG 12


       0058                 FIG        18       represents        an    isometric          sectional         view     of the     assembled             dose counter


       of    FIGS          12    and       15 with          the    lateral        section       taken       through      the    viewing          window        thereof



10     and        the hundreds              disk not        shown       in   section


       0059                 FIG           19    represents         a side view             of    the     interface       between       the       units       rotational



       ring the tens cone                      and the hundreds              disk    of the dose counter                of    FIGS     1218

       0060                 FIGS          20A 2013 20C 20D                          20E and 20F              represent        schematically            the    interface


       between           the tens cone             and the hundreds                  disk that          fad Hates        rotation      of the         hundreds           disk


15     as     a    function          of     rotation        of    the       tens    cone         for    the    embodiment             of    the       dose     counter



       illustrated         in   FIGS            1219

       0061                 FIG 21              represents        an    exploded           isometric          view      of   a third       embodiment               of   the


       dose counter             of the present              invention


       0062                 FIG 22              represents         an       isometric          view     of    a units        rotational      ring       of    the    dose


20     counter        of   FIG 21


       0063                 FIG 23             represents         atop view          of a housing             for the dose counter               of   FIG 21


       0064                 FIG 24             represents         an isometric assembled view                         of the     dose counter            of   FIG 21


       as vi ewed          partially           from above


       0065                 FIG 25             represents         an isometric assembled view                         of the     dose counter            of   FIG 21

25     as    vi   ewed     partially           from    bow
       0066                 FIG 26             represents         a sectional         view       of the      assembled         dose counter            of     FIGS 24

       and        25 with the lateral              section        taken          through       the viewing       window          thereof



       0067                 FIG 27             represents         a partial        axi         sectional      view      of   a prcss aidbreathe                 inhaler


       incorporating             the dose counter                 of    FIGS 21 24 25 and 26

30     0068                 FIG 28              represents        an    isometric          sectional         view     of the     assembled             dose counter


       of    FIGS          21 24 25              and   26 with              the    lateral      section       taken     through       the    viewing          window

       thereof       and a tens cone                  not    shown          in   section



                                                                                           9




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       0069                FIGS    29A 29B 29C                 and 29D          represent            schematically            the        interface         between


       the    units    rotation d       ring    and   the     tens     cone     that      facilitates           rotation      of        the    tens       cone    as a


       function       of    rotation    of the units      rotation d        ring


       0070                FIGS    30A      30B       30C and 30D               represent            schematically            the        interface         between


 5     the tens cone          and a projection        on the housing               provided              to stop   rotation         of the tens            cone

       0071                FIG 31       represents       an isometric view                of    a tens cone            of a fourth             embodiment            of


       the    dose counter         of the      present     invention            as viewed            generally         from the external                      or front


       side thereof



       0072                FIG 32      represents     a front or external                view        of the tens cone              of    FIG 31

10     0073                FIG 33       represents       an    isometric         view      of       the    tens    cone       of    FIG 31 as viewed

       generally       from an      internal      or back      side thereof



       0074                FIG 34      represents     a back      or      internal     side view             of the tens cone                 of    FIG 31


       0075                FIG    35    represents        a rea        elevational             view        of   a housing           adapted             for    use   in



       connection          with the tens cone         of      FIGS 3134


15     0076                FIG    36    represents       an     isometric          view        of    the     housing         of    FIG 35                 as viewed


       generally       from the top thereof


       0077                FIGS 37A and 37B                represent        sectional          views        of the     assembled              dose counter           of


       the    fourth        embodiment          embodying            the    tens     cone           of    FIGS        3134         and        the       housing      of


       FIGS 35 and 36

20     0078                FIGS    38A      and    38B        represent       enlarged          partial         sectional         views            of   FIGS      37A

       and 37B respectively


       0079                FIGS    39A         39B 39C 39D                and      39E    represent             the    interface         between            the   tens



       cone    of   FIGS 3134            and an associated             units       rotation d            ring


       0080                FIGS     40A 40B              40C 40D            and      40E        represent             schematically                 the    interface


25     between         an    annular     sawtooth        array       of    teeth     on    the           tens   cone     of       FIGS         3134           and    an


       associated          protrusion    on the housing           of      FIGS 35 and 36


       0081                FIG 41       represents       an    isometric        view       of       a tens cone         of    a    fifth      embodiment             of


       the    dose counter         of the      present     invention            as viewed            generally         from the external                      or front


       side thereof


30     0082                FIG 42      represents     a front or external                view        of the tens ring of                FIG 41


       0083                FIG 43      represents     a back      or      internal     view          of the tens cone              of    FIG 41




                                                                                10




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       0084               FIG 44         represents      al isometric view                  of    a housing        for the     dose counter            of the


       fifth   embodiment of the present invention                              as viewed         generally from            aDove


       0085               FIGS 45A             and 45B      represent          a sectiond             view    of the    assembled          dose counter


       of the     fifth    embodiment with the                  lateral        section     for    each       FIG taken through              the viewing


 5     window        thereof        aid     showing       the     tens     cone       in   two     different       orientations           relative     to the



       housing


       0086               FIGS 46A 46B                 and 460           represent         sectiond          views     of    the tens cone             and al


       associ ated        units rotationd           ring of the        fifth    embodiment              illustrating        sequenti al         orientations


       of the tens cone            relative to the        units rotation               ring during           rotation       of units rotation               ring


10     aid rotation of the tens cone


       0087               FIG 47         represents      al isometric view                 of the units rotationd               ring of         FIGS 46A

       46B     and 460 viewed                generally from             a bottom       side thereof



       0088               While the above identified                    figures set forth several                  embodiments of the present


       invention          other     embodiments           are      aso contemplated                    as noted        in    the   disclosure           In    all




15     cases this         di      osure presents the invention                   by way          of   representation          aid not limitation                 It




       should      be understood            that    numerous           other    modifications            aid embodiments cal be devised


       by those       skilled      in the        at which       fall    within the
                                                                                           scope and          spirit
                                                                                                                        of the      principles         of    this



       invention




                                                             DETAI LED           DERI PTI ON

20     0089               As noted aDove              the present          invention         is   directed      to     a dose counter            for   use       in



       connection          with    al dispensing          assembly             adapted for metered                 dispensing       of    a medication


       In   the    description           aid      illustrations        herein      orientation           references          such    as    top      bottom

       aDove below              vertical        horizontal       upwardly             downwardly             and the like are not intended                       to



       be limiting in nature               but     only to provide visua                   references         for the    reader      It    is   understood


25     that the     dose counter           will    function whether              operated         as illustrated in al upright orientation


       as seen      for example            in    FIGS    13 or in al aly other orientation eg upside down

       0090               In a first      embodiment illustrated                 in   FIGS         111        a dose counter 2 of the present


       invention          indudes        a lid     3 al indexer 4              a units teeth           ring    5     a compression              spring       6      a


       units rotation d           ring    7 a tens cone 8 and a housing 9 Tho                                  components           ae assembled                 as


30     illustrated        in   FIGS 2 3 aid 7




                                                                                 11




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           0091              FIG            1     represents               al      exploded             view            of    a     dose          counter           2    of    the       present


       invention             The       dose            counter            2     comprises               a     units          counter             subassembly                 which            counts


       i   ndivi   dud       doses       in      ones units as they                      ae dispensed                    In the         embodiment                  illustrated          in     FIG

           1 the units counter                        subassembly                indudes          all
                                                                                                             components                 shown except the                      tens       cone         8

 5     Alternative               embodiments                    of    the        inventive            dose            counter           2    comprise              addition              counter


       components                to count             changes in tens units                       and            in    some cases changes                          in   hundreds              units


       during the medication                           dosage counting                     process               as expl a nal herein



           0092              The       lid        3 has        al     open cylindric a                        pat        11    with          a wide           rim       12    A     a top           end


       thereof         The        cylindric a            pat          11      has    its    axis      A ignal           coaxially             with      al axis 13                A plurdity

10     eg five               of    lewdly              spaced         slots         14    extend through                     the rim 12                aid each             of the       slots        14


       has a curved               portion             disposed           in     al anula              mainer             coaxially               with        respect to the              axis        13


       Each         slot     14    has          a centra             slot       projection              15       that    extends             radially         outwadly                 from         the


       curved         portion          of       the     slot        14     As       illustrated             in    FIG         4 a plurdity                   eg five                of    ratchet


       members              or    teeth          16    project           downwadly                from            a bottom              surface         of    the       rim 12           aid         ae

15     spaced          circumferentialy                         equaly                   out     the          rim       12     relative            to        the    axis          13     In         one

       embodiment the                       lid       3 has     a plurdity               eg five                  of    lugs      17    of trapezoidal                  crosssection                 on


       its   outer         rim 18 aid the lugs                        17 ae formal to engage complementary                                                     slots on        atop rim of

       the housing               9 as expl a nal herein

           0093              The indexer                 4     is    shaped          like       a ractellatal                ring       20 that         is   coaxial          with       the axis


20         13 The          ring has      a plurdity                  eg five                of    ractellations                22       projecting            upwadly             therefrom


       The     ractellations                22        ae curved               like the          curved           portions         of the          slots       14    On a bottom                     side


       of    the     ring        20    a par            of     downwad                   sawtooth                protrusions                24    is   provided              opposite           each


       ractellation               22     A            protrusion              26     extends               radially           outwad               adjacent             a     top      of       each


       ractellation              22    such           that     the       lateral         crosssection                  relative             to axis       13       of   the top          of     each


25     protrusion            26 aid             its   respective            ractellati          on 22 corresponds                        closely        to the          she of each of
       the curved            slots 14            aid each            slots       respective             centra          pat 15 Accordingly                              the ractel        I   ati   ons


       22 can        fit    slidably through                   the slots            14     in   the     lid      12     in    al axi             direction



           0094              A units teeth ring 5 is also coaxial                                          with        axis    13 aid is provided                        with two rings


       of    upstanding               teeth           An outer             ring      of     teeth       30        is
                                                                                                                        disposed             for   engagement                 with        ratchet



30     members              16    on the bottom                     surface         of the       rim 12 of the                    lid    3 An inner ring of teeth 32 is

       aralged              for engagement                     with        the sawtooth                 protrusions               24 on the indexer                          4 Units teeth

       ring        5 has      al outer                circumferentia                 surface            34       that    has      a plurdity                 eg four                of    axidly



                                                                                                      12




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            i
                gned grooves              36    disposed therein                  The     interaction                  of the       lid    3 indexer             4 aid units teeth


       ring         5    is   functiondly            similar to that               disdosed                  in   WO 2005060535                            A2        for   causing          the


       units teeth             ring 5 to rotate                  out the axis            13    ie to rotate the ring 5 al indexed amount as
       each           dose      of    medication            is       dispensed                In       WO 2005060535                            A2         count       indicia            were

 5     provided               on al outer           circumferentia                 surface             of     the counter            ring       beaing the two                       rings of



       upstaiding              teeth         In the present               case however                       no indicia         are borne            by the units teeth ring


       5 itself          W02005060535                      A2 is hereby                 incorporated                   by reference             herein


       0095                    The       units rotation          d    ring       7 is generaly                    in   the form           of a hollow             cylinder           38 that


       is       coaxid        with the axis 13              A plurality            eg four                     of axially           digned ribs 40 extend radialy


10     inwardly               from al intern a              surface         42     of    the cylinder                   38     terminating             A a bevdeol                   ring   44

       formed             A the       bottom         of   the cylinder             38 On al                    outer         surface        46    of       the cylinder              38 the

       units          rotation d          ring      7 has        a circumferentia                           rim 48           extended           thereabout                 adjacent         the


       bottom            of    the    cylinder         38 The circumferentia                                  rim 48 has             a first         set    of    missing acuate


       segments               or     slots     48a     48b       48c        48d aid 48e                       as       seen    in    FIG         1    a second                 set   of    five



15     missing acuate segments or slots                                     not shown                       are disposed              180 degrees aound                         the other


       side of the             units rotation d            ring 7 from the                first             set

       0096                    The       units rotation          d        ring 7 has          on        its    outer         circumferentia                 surface            46     indicia



       for indicating                 ones units dosage counts                           of    medication                    being        dispensed              As illustrated             by


       FIG 1 the indicia may tace the form of digits from                                                              9 to 0 arangeol                 lewdly          spaced          twice


20              out     the circumference                 of the      outer       surface 46 of the cylinder                                38 The           digits        ae oriented

       so that they                can    be underlined               by lines pard                I   el    to the      axis       13 aid the digits are arangeol


       in       two      sequences             of   descending              order       in     a dockwise                     direction          when         viewed             from       the


       bottom            of the units rotation d                  ring 7         ie       in   the sequence                     9 87 6 54              32        1   0 9 876              54 3

       2        1
                    0 As seen            in    FIGS        5 aid          7 the units rotation d                         ring    7 has          al oblong             lug      50     spaced


25     below            aid between             each space            between           a 0 digit aid                  its   adjacent           9 digit       Since the digits 9


       to       0     ae arangeol              twice      aound           the units rotation d                         ring    7 there ae two                        oblong          lugs   50


       thereon            on opposite               sides of the           ring   7
       0097                    The       ribs   40 on the            units rotation d                  ring       7 ae disposed to dign with the
                                                                                                                                                 grooves

       36 on the units teeth ring                         5 The outer circumferentid                                    surface           34 of the units teeth ring 5 is


30     slightly           smaler in diameter thal the                             intern a             surface          42    of the        cylinder         38 thus alowing

       axid           movement            of    the units teeth                 ring    5 relative to the units rotation d                                    ring         7    However

       while such                  axid        movement              is   d owed
                                                                            I                the            interactions         of       the    ribs       40 aid             respective




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       grooves          36    couple the units teeth ring 5 did units rotation                                               ring 7 for rotation                  purposes

       relative to the              axis        13       As can be seen               in   FIG         1 there      ae four teeth missing on the outer

       ring 30     where            the grooves                   36    are disposed             but this     does not adversely                 affect      the function


       of counting            i   ndivi dud          dosages of medication                        as they      ae dispensed

 5     0098                  The compression                        spring       6 is    in   one embodiment                 in   the form of al             anula leaf

       spring      52 The               leaf    spring 52              may be formed from a sheet                        of spring        metd dthough                  it
                                                                                                                                                                             may

       instead     be formed of a suitable                                 polymer material                 The     leaf
                                                                                                                            spring      52 has     a pl urd ity              eg
       four of cutouts                   54     extending              radially      inwadly from al outer edge 56 thereof                                    Each       of the


       cutouts      54       is   formed did digned to axidly receive                                        one of the ribs 40            of the units rotationd



10     ring    7 therein                thereby              d lowing         axid    movement              of the    compression               spring       6   relative to



       the units rotation d                     ring         7 The leaf spring 52 has al anula                               ring    58 with       a plurdity                eg
       four of axidly                    extending                spring      dements or            leafs    60 thereon           The     spring       dements 60              ae

       biased      downwadly                     from the ring 58 for engagement                                  with      the top       of the   beveled            ring     44

       within      the cylinder                 38 of the units rotation d                          ring    7 In one embodiment                    the       outer      end    of



15     each     leaf     60        is    curved              or   otherwise          formed to facilitate              smooth        sliding       of    the      outer      end


       with     respect           to     the beveled                   ring    44    A     top    surface      of    the    ring     58    of    the    leaf      spring 52



       engages a bottom                        surface            of the units teeth             ring    5 The       leaf   spring 52           thus urges the units


       teeth    ring 5 axidly                  away from the beveled                          ring 44 of the units            rotation      d     ring 7 did            towad

       the    sawtooth             projections                24 on        the indexer           4 did the          ratchet    members            16    on the bottom


20     surface      of the          rim 12 of the                   lid    3    The      leaf    spring 52        may dtematively                 be assembled the

       other    way          up so that the                       spring       dements 60              ae biased           upwadly         from        the    ring      58     for



       engagement                 with     the    bottom               surface       of the      units teeth        ring     5 while the           other         side    of the


       leaf
               spring engages the top                              of the      beveled        ring     44     This dtemative              assembly           may        also   be


       wplied to other embodiments                                      of the invention



25     0099                  While         ribs      40 aid grooves 36                        are      shown      aly suitable          keyed      feature         between


       units teeth           ring        5 did units               rotation      d    ring    7 will        suffice to couple           those two components


       together         for rotation              yet         dlow        relative       axid     movement            In    one embodiment                   not shown

       rotation         of   the        compression                    spring    6   relative          to the units teeth           ring    5 or units rotationd


       ring    7   is    permitted                However                 to the extent           it   is   desired    that   rotation          of the       compression


30     spring      6 also be constrdned                             with       respect     to the       units teeth ring 5 or units rotation                      d     ring    7
       while ribs 40                did cutouts                   54    are     shown        for that
                                                                                                            purpose         aly
                                                                                                                                    suitable       keyed         feature       to



       accomplish            that        end wi      I   I    suffice




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       00100              The housing                   9 has a generally             cylindrica                body    62 with two forwad wings 64

       projecting         outwardly therefrom aid two forwad                                          legs 66 extending               downwadly                therefrom


       only one of which                    is    shown       in    FIG 1           The      cylindric            body     62      ad the wings 64 ad the

       legs   66    ae formed to mate with interior                                  surfaces         of    al actuator         housing           68 for al aerosol

 5     container       70      cc FIG 3 A count viewing window 72                                                 is   provided       in the cylindric              a body

       62     On     al   interior          circumferentia                  surface        74 of the             cylindric     a     body       62      a ledge         76   is




       disposed       for           i
                                        gnment with the              units rotational                ring       7 as seen in FIG 3 The cylindrica

       body    62     has      a top        rim with          a plurality           eg five               of    slots    78 shaped          for reception              of the



       projections          17          on the    lid    3 to provide              a snap      fit   connection           of   the   lid    3 aid housing               9 or

10     those     components                may          be press     fit
                                                                            together           or    may be            ultrasonicaly         or        otherwise        eg
       laser welded              together


       00101              The           housing         9 has       a lower          rea       internal         cone shaped           recess           80     designed       to



       accommodate               the tens cone 8 therein                           as best      seen       in   FIGS      3 aid      6 The tens cone 8 can

       thus rotate        in     a staDle mainer                     out al axis directed                      diagonally       forwad aid upward                       from


15     a rea corner            82        of the     recess     80     In    al d tanati ye embodiment                          not shown the tens cone

       8 protrudes          patly           from        the   housing          9     aid     is      in   pat supported              to    rotate             out   al axis


       directed       diagonally               forwad           aid        upward         from        al        inside    of   the    actuator               housing     that



       receives      the aerosol               container


       00102              The           tens     cone     8 has       numbers             from        12    to 0 arangeol             descending               dockwise

20       out ai extern a                   conica        surface      84      of the tens cone                  8 when     viewed          from        its    pointed    end


       86 The        orientation               of   the numbers               is   such     that      they       can     be underlined             by        slated     lines


       from the apex of the conica                             surface        84     eg         in   the sequence              12    11    10    9 8 7 6 5 4 3 2              1




       0 An         internal            surface     87    of the tens cone             8 has a raised frustum 88 pointing the opposite


       way from the conic a                       surface      84 as can be seen                     in    FIG 7 Also on the internal                          surface       87


25     of the tens cone                  8 al anular           series of equally spaced                         pegs 90 extend pa               a d to aid in the
                                                                                                                                                   I




       sane      direction              as the frustum 88             parallel         to al axis 92               of    rotation     for the tens cone                 8 as

       seen    in   FIG        8          As further seen             in    FIG 7 the cylindric a pat                           11   of the       lid    3 has      a lower


       acuate shelf            11       a that extends over the top of the cone shaped                                     recess 80         of the housing              9 to


       inhibit      the ingress of dust fibers                        fluff    or other          debris from            going therein


30     00103              The           dose counter           2 may          be assembled                 by     inserting the            tens    cone        8 into the


       housing       9 with the pointed                       end    86 of the conic a                    surface       84 of the tens cone                   8 seated       in



       the rea corner                   82 of the recess 80            in     the housing             9 The circumferentid                      rim 48 of the units




                                                                                          15




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       rotational       ring    7 has three                 slots    48c        48d and              48e therein             that       correspond             to positions                of


       three     of the      pegs 90 on the tens cone                               8 such        that      by correct             orientation               of the    ring      7 and


       cone      8   the     units    rotational             ring        7 can       be      seated         on    the     ledge 76 of the                     housing           9 with

       three     of the pegs 90             traversing            the circumferential                       rim 48 The                  spring         6 units teeth            ring       5

 5     and      indexer      4 can then be assembled                           in    order        over      the units          rotational              ring    7     and the         lid    3


       fitted    over the castellations                     22    of the        indexer          4 and then engaged                        with         the    housing          9 This

       complete        assembly            thus       defines        the       dose counter                 2 as seen              in   FIG           2      Once assembled

       the    internal       working            components                of    the      dose counter                 2      are    fairly        well        enclosed          by the


       housing       9 and      lid   3 thus inhibiting the ingress of dust fibers                                                 fluff     and        other      debris       therein



10     to    protect    those working                  components                    The endosure                   of       the working                  components             of   the



       dose counter            2 with the             lid    3 engaged              to the       housing           9 also provides                        an assembly that                 is



       somewhat tamper                    resistant         and     is   durable          and shock resistant


       00104               FIG        3    shows            a vertical          crosssectional                    view        through                 part    of   a prcss and


       breathe       aerosol       inhaler        incorporating                the      dose counter               2 of FIGS                 1    and      2 The purpose of

15     the    dose counter            is   to provide             a display             that     indicates         the       number              of    doses of       medication


       remaining          or   in an         alternative            embodiment                       not    shown            the     number               already      dispensed


       The       indicia       provided            for        review           by       a    user          may        be      suitable                alphabetic           numeric


       alphanumeric             or color          symbols            or any combination                          thereof           providing              a sequential           count


       up or count down               of     dispensed doses                    or providing                a more general                 indication              such     as full


20     or    empty           The      indicia         would         be    visible           through          a window               94     in     a side wall              96    of   the


       actuator      housing          68        alternatively             the       side wall              96 may be transparent                             or have       at   least       a


       portion       thereof         made        of       a transparent                 material           to    provide           a viewing                  area    or    lens       for



       viewing         the     indicia          and       count          The        prcss and breathe                        inhaler       comprises                 the    actuator



       housing       68 having              a cylindrical                body       98      to   accommodate                  the       aerosol           container         70 The

25     actuator      housing          68 has a mouthpiece                            100         A    nozzle       block           102     is     positioned           within          the


       actuator      housing          68 and has an                 aperture            to   accommodate                     a valve       stem            104 of the aerosol


       container       70 and         a spray orifice                    106        A    metering            valve           108 of the               aerosol      container            70


       comprises          a valve          ferrule          110     valve       stem           104     metering              chamber              112        and   return       spring


       114       As illustrated             in   FIG         3 the aerosol                   container           70     is   also aligned                 coaxially        with        the



30     axis 13



       00105              The      housing            9     is   designed            to      minimize             interference               and          obstruction           of     the


       medication          spray          and    airflow          paths        in   the      actuator            housing        68         In     one embodiment                       the




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       dose counter              2    is   dipped            or retaned           within          the actuator           housing        68 by suitdDle dents                          or


       other       engaging            structure             not      shown             between              the    actuator        housing          68 aid              the     dose


       counter       2      In       addition           the        dose counter               2    is     designed        to    be useable with                  a variety            of



       metering           valve        designs               aid    to     fit
                                                                                  compactly                within         commercially              ataldDle              actuator


 5     housing        profiles             so that      it    is   not    necessary to chalge                        the external             configuration               of    those


       actuator       housings              to   accommodate                      the    inventive            dose        counter       2 therein                   The        FIGS

       illustrate         the    dose counter                  2 of       the     present           invention            in    combination               with    al       actuator



       housing        for       al     inhder          of     the    type         used     for       dispensing               medication         from       a pressurized


       aerosol       container              a pressurized                 metered          dose           inhder         or   pM DI            However              inhders           in




10     other       forms        may be used with the                           present         invention            induding            for    example           dry powder


       inhders            portable           nebulizers              aid         other        metered              dose       dispensers        that       use       red procal


       mechali sm


       00106               The inhder              is    actuated          to dispense              a dosage of medication                     by pressing down                       on


       the aerosol          container            70     relative to the                 actuator          housing        68 When          the inhder                is   actuated


15     downwad             movement               of     the aerosol              container             70 causes             the valve       ferrule       110 to engage


       top     surfaces          22a       of    the     castdlations               22     of      the       indexer          4 The      lid    3    is    positioned             low


       enough relative to the valve ferrule                                      110 so that those components                           never engage each                       other


       thus    ensuring              sufficient
                                                        space        to    d low         adequate            metering valve               travd          to guaratee               the


       dispensing           of   a dose of medication                               Engagement                with        the valve       ferrule          100 causes              the


20     indexer       4 to move downwadly                             relative to the                lid    3 aid the sawtooth                  protrusions               24     of the


       indexer       4 engage              teeth       of     the    inner        ring    of      teeth      32     of   the units teeth             ring       5        Once the

       outer       ring    of teeth         30    move low enough                        to    dea the ratchet                  members             16    on the         lid    3 the

       ring 5 rotates            as described                 in    WO 2005060535 A2 Such rotational                                            movement                 results      in




       coupled        rotational             movement                of   the      units          rotational         ring      7   The        compression                spring        6

25     between the units rotational                            ring 7 aid the units teeth ring 5                               ma ntains relative engagement

       of    the    sawtooth           protrusions                 24 aid         inner       ring      of   teeth       32     until   the     downwad                  actuation



       force on the aerosol                     container           70    is     removed aid the                   return       spring    114       separates the valve


       ferrule       110 from the indexer                          4 This dlows the compression                                 spring        6 to return the indexer

       4 upwards whereupon                         the interaction                 of the outer              ring of teeth 30            on the units teeth ring 5


30     with    the    ratchet          members                16    on the        lid    3 results           in further         rotational       motion of the units


       teeth       ring 5 together               with        further      coupled          rotational              motion of the units rotational                              ring   7

       thereby       completing the ones units chalge to the count                                                   corresponding              to the          actuation         aid




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       corresponding                 to a single dosage of medication                                The dose counter 2 is designed                                   to count       A

       or dose before                   the firing            point    of the         metering valve                       108 on       the       aerosol       contaner           70

       aid then           lose        ay subsequent                   excPssive            axid          travd           ie      lost    motion                 of the       axially


       moving components                       of    the      dose counter              2 Thus                 for       each    actuation          of    the     inhaler          the


 5     units rotation                 ring    7     is    indexed       to    move          rotation                ly    one count           increment           which           will



       chalge the ones units count visible via the windows 72 aid 94


       00107               I
                               n order to chalge the tens units that                                     ae displayed             via the windows 72                     aid 94


       the tens cone 8 is rotated                        as a function           of the         rotation of the units rotation                                 ring 7 to      move

       the number              beaing        portion          of the conicA             surface           84 past the window                       72 The axes               13   aid


10     92   of   the units rotation d                     ring      7 aid tens cone 8 are as shown                                      in    FIG 8 disposed A al

       obtuse algle             a relative to each                  other    ie disposed A al algle greater thal 90 degrees aid
       less thal          180 degrees relative to each                        other             In   one embodiment the algle a ranges from


       110 degrees to                 160 degrees              In     al A ternative             embodiment the algle a ranges from                                               125


       degrees to              145    degrees            In   yet    mother        embodiment the algle a                                    is    135    degrees            In   one

15     embodiment the axes                          13    aid 92        are coplanar                     but    not       coaxid        parAlel          or perpendicula


       relative to each               other


       00108               As seen        in   FIGS 3 aid 7 portions of the tens cone 8 aid units rotation d                                                                  ring 7



       converge           adjacent       the viewing window                       72       of the housing                   9 At the viewing                   window 72 a

       circumferentiA                 segment            of   the    outer    surface            46       of    the       units rotation d               ring    7 that beas


20     ones units indicia                aid ai acuate                  segment            of    the conic A                surface          84 that beas             tens units


       indicia    ae Aigned to collectivdy                              present         A least a portion of a medication                                       dosage count


       for example               in    FIG 2 the count                  120           is
                                                                                           seen           aid        in   FIG     9 the count 129                       is
                                                                                                                                                                              seen

       At this juxtaposition                   of the         indicia       beaing         surfaces                 of the    units rotation d                 ring    7 aid the


       tens   cone         8 those       surfaces             are talgentiA             to each              other        A the viewing             window            72 which

25     provides           a common           view        aea for observing                 the       i   ndi ci a on the          two sepaate              i   ndi ci a beaing


       surfaces           As noted ADove when the dose counter                                           2     is   disposed within               the actuator           housing


       68 cc          FIG       3 the viewing window 72                            is   A igned with the viewing window                                         94 in the side


       wall      96       of    the    actuator           housing           68    thus          presenting                 the    common             viewing            aea        for


       observation              by     a user            In    one     embodiment                        the        common         viewing           aea         is
                                                                                                                                                                       generAly


30     talgenti       A    to a circumferenti                 A     surface      of     a cylinder                  disposed            out the       axis       13    cc FIG
       8


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       00109                  Every            tenth          movement                    of    the              units       rotational             ring       7 results          in   a movement                of


       the    tens     cone               8    due       to        interaction                  between                    one         of     the    oblong           lugs        50     on      the       units


       rotational
                           ring       7 and one of the pegs 90 on the tens cone                                                                     8 The relationship                       between           the



       lugs    50     and       pegs           90       is    illustrated                schematically                        in      FIGS          10A 100             and        FIGS         11A I          ID

 5     This    direct          interaction                   between                the      units               rotational            ring     7 and the tens                    cone      8 eliminates


       the     need        for        any           transfer                 gear         or        other               motion              translation           components                   between            a


       component               bearing              ones           units           indicia              ie the units                         rotational
                                                                                                                                                                 ring    7 and a component

       bearing        tens         units          indicia          ie the tens cone 8 This arrangement                                                                requires         fewer         parts       is



       more         economical                     in        function               and         is               more        compact                In     addition           the        use     of      fewer


10     components                    in       a     dose            counter               reduces                      the       number             of     components                  that        must         be


       manufactured                   within                 certain               tolerance                      ranges              and      thus        reduces            the       possibility              of



       component               incompatibility                          or    i
                                                                                  noperabi          I   i   ti
                                                                                                                 es    due to tolerance                   stack   up
       00110                  The         interaction                   in    sequence                      for       causing          the     tens       cone        8 to change              the      indicia



       displayed           in      viewing              window                    72    involves                      engagement              of     one       of the     lugs         50    on the units


15     rotational          ring       7 with             one of the pegs                            90           on the tens                cone     8 As seen               in    FIG         10A       as the


       units       rotational             ring       7 rotates dockwise                                          one of the            lugs     50 thereon             eventually              moves           into



       engagement               with           the      peg         90a on              the tens                  cone        8 FIG            11A        illustrates         the      relationship              of



       the    lug    50       and         peg       90a        at       the        time        of       their          initial        engagement                 caused           by rotation           of     the


       units       rotational             ring       7 relative                   to the tens                     cone       8 As the units                    rotational          ring      7 continues


20     its   dockwise                rotation                as seen               in    FIG                10B        the       lug    50     pushes           the    peg        90a to the            left     as


       viewed         in      FIG             10B       thereby                   causing           the           tens       cone           8 to     rotate       about       its      axis     as further


       illustrated            in     FIG          H B         in    a    counterdockwise                                   manner             As shown             in    FIG           100      continued


       dockwise            rotation               of the           units           rotational                    ring      7 causes           the        lug    50 to further               push     the       peg

       90a to the             left
                                      as viewed                     in       FIGS            100 and                    HC thereby causing                              further        rotation          of the



25     tens    cone       8    in    a counterdockwise                                  manner about                          its     axis     Eventually               as   illustrated           in    FIGS

       100 and          HD            the         lug 50           pushes              the     peg               90a so far            that    rotation          of the tens             cone      8 moves


       the    peg     90a out             of the             path       of the           advancing                      lug      50    ie below the lug 50 as seen                                    in   FIG


       11D          Once        this happens                       further             counterdockwise                                rotational           movement               of the tens           cone      8


       stops        and a new                 tens      units           number            is
                                                                                                aligned                 for observation                   through        the viewing               window

30     72     In    an embodiment                        where               the        tens    units                 number           is    rotated       to    show a countdown                        of the


       number         of       dosages               remaining                      the      new                 tens      units        number             displayed          will          be a number

       smaller       than          the previous                    number               that    was displayed



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       00111               Rotation           of the tens             cone           8 relative         to the         rotation    of the        units    rotational             ring     7


       occurs       each time one of the lugs 50                                 engages           one     of the pegs            90     In one         embodiment               there



       are    two     lugs       on    the     units       rotational
                                                                                     ring     7     so     for     every       complete             rotation        of    the       units



       rotational         ring       7 which            represents              twenty         ones       units        numbers           the     tens    cone        8    is   rotated


 5     through       two tens           units       numbers               In     alternative            embodiments                the    rotation        of the tens                cone


       8 as a function               of rotation          of the units                rotational           ring    7 may be made more frequent                                  or less



       frequent       by providing                  more or less lugs 50                          on the units            rotational
                                                                                                                                             ring      7 In the illustrated

       embodiment                the       conical        surface              84     of    the    tens       cone        8 has      thirteen          tens     units          number


       bearing       arcuate          segments             and       on        its    internal          surface         87 the     tens      cone       8 correspondingly


10     has thirteen            pegs     90     If    more or fewer                    number            segments           are    desired        to    be provided              on the


       tens   cone        8 the number                   of pegs          90         must therefore               accordingly            be      adjusted       in       a likewise


       fashion


       00112               In    FIGS          10       and     11        the        pegs    on the tens                cone     8 are       referenced          as pegs             90a

       90b      90c       etc        As noted           above         the       outer        surface        46     of    the     units    rotational          ring        7 has the


15     circumferential                rim 48 thereon                  which            has     slots 48a          and 48b aligned                   adjacent        each        lug 50


       to    allow movement                  of     pegs      90 as can be                    seen       in   the       sequential        illustrations             of    FIGS           10


       and     11     Thus            as     peg     90a        is    moved             by        lug    50       peg      90c     moves            through         slot       48b       in




       circumferential                ring    48 from below                      the       slot   48b as seen             in   FIG       11A to above               the       slot   48b


       as seen       in    FIG         11D          Likewise               peg        90m moves through                          slot   48a       as the tens             cone       8   is



20     rotated       from            above         the     circumferential                        rim     48      as     seen      in    FIG           H A     to        below        the


       circumferential                rim 48 as seen                 in   FIG         11D

       00113              The         circumferential                 rim 48            acts      to    prevent          rotation       of    the      tens   cone            8 except


       when     one       of    the    lugs        50    engages            one        of the       pegs       90 For example                     as seen       in       FIG         HA
       tens   cone        8     is   constrained              from        movement                 about         its    axis     by the       circumferential                  rim 48


25     extending          between            the    pegs       90m         and        901     While         movement              of the tens           cone        8    is    allowed


       when     the units            rotational          ring    7 and tens                 cone        8 are aligned            as seen       in      FIGS     10B and              100


       and     in   FIGS         11B and            11C the tens cone                        8 is again           prevented          from movement                      once     in   the



       configuration             shown         in    FIG        HD             In the       position          shown         in    FIG        HD        the circumferential


       rim 48       extends            between           the     pegs            90a        and     90d        and       with     further         rotation          of    the       units



30     rotational         ring       7 the        circumferential                     rim 48        will       extend       between            adjacent         pegs          90a     and


       90m      and between                 adjacent          pegs        90c        and     90d Thus              once     the    tens      cone       8 has been              moved


       by interaction                with    one     of the          lugs       50 on the units                rotational
                                                                                                                                   ring      7    it   cannot       rotate       again




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       until    mother           lug      50     presents       itself    for    engagement                with         the peg        90b on the tens cone                  8

       even though              the units rotational                  ring 7    is   rotating             out     its    axis 13 to display differing                     ones


       units digits             In    one embodiment cooperative                             features            are provided            between           the housing        9


       aid tens cone 8 that will                         when the tens cone 8 has been                                  rotated    to a position that               shows a

 5     tens    units 0          numerd           in     the view       window          72 prevent                further         rotation       of    the tens cone          8

       The units rotational                    ring 7 can       continue         to rotate          as    it    counts      down        its    nine rema fling            ones


       units counts             aid then           it   would be prevented                 from           further        rotation       by the tens cone                 8 At

       this    point      the viewing window                          would     display a zero                  count for the dose counter                         2 To the

       extent      further       medication              is   present     in    the aerosol container                      it
                                                                                                                                 may be dispensed by a user

10     using the aerosol                  dispensing          assembly but the dose counter 2 will                                      not     register         my further

       dosage counts                  As al              ternative       the    aerosol         dispensing                assembly            could    be designed           to


       rnrc dispensing                    doses of medication                   once the zero                  count has          been        reached        for    example

       by limiting the free movement                            of the     indexer         4

       00114               In    essence              the inventive        dose counter               in       the      embodiment             illustrated         in    FIGS

15     111      operates             in   the following               fashion        When       a user actuates the                      inhaer        by pushing           the


       aerosol       container              70 downwadly                  into       the   actuator              housing          68     the       valve      ferrule      110



       engages the indexer                       4 to push       it   downwadly                Indexer           4 engages aid then causes                          rotation


       of    units teeth         ring       5 The         units rotational             ring     7    is
                                                                                                          coupled           rotationally             to the      units teeth



       ring    5     so    it    rotates         as well        As the          aerosol       container              70    reciprocates              down         aid    up to


20     complete           a single dosage of medication                              therein        the        indexer          4 aid    units teeth             ring    5 also


       red procate         down            aid up relative to the units rotational                                ring     7 One complete                   down aid up

       red proca          movement                of the      units teeth       ring 5 causes                  the units rotational                ring 7 to rotate on


       its    axis   13     a single ones                  units count           chalge         in
                                                                                                      position            thereof         Rotation           of    the    units


       rotational         ring 7          is translated        into rotation           of the tens cone                   8 by engagement                   of the       lug 50


25     on the units rotational                    ring 7 with           one of the pegs 90 on the tens cone 8 However the tens

       cone     8    is   only        rotated           periodicaly        relative        to    the           units     rotational           ring    7     to    indicate     a


       chalge        in    decade           of    the counts           ie the tens cone 8                         is     only moved             once        for every       ten



       movements            of       the units rotational                ring   7 Each time the units rotational                                     ring    7 counts ten


       ones units counts                    the tens cone              8 is indexed           one position                to chalge            the tens units count


30     displayed          thereon


       00115               In the          illustrated        embodiment               a maximum                  dosage count                of   129           medication


       dosages       is    shown This                    lows for some testing                  of the          aerosol         dispensing           assembly           eg 9

                                                                                        21




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       initial        tester           counts        available                with       120 user available                      dispensing           counts           remaining             As

       noted          above           changing               the      frequency              or    spacing           of    indicia        on    the    units          rotational            ring


       andor           tens      cone along                  with          corresponding              changes             in    the    interactive           geometry             between


       those components                        allows modification                           of the possible               count        indicia      shown

 5     00116                    One          reason          to       alter      the     dosage           count            indicia        would        be where                   a    single



       prescribed               dose for a product                           requires        two     actuations                of   the    inhaler           In    this      system          the



       possibility              of     counting              240       actuations            is    achieved           by the          following          modifications                      The

       units rotational                 ring     would have                   only one oblong                   lug       50 not        2 and similarly only one set
       of   slots       48a and              48b     in      the      circumferential                rim 48 not                 2 slots The             indicia             on the units


10     rotational               ring        7 would              be disposed                 in    the        following             order      about         its      circumference


       98765432I0                                             or with            I2 in place of each asterisk rather than the 9 87 6 54
       32        1   0 9    876 54 32                    1   0     indicia pattern                 described          above           The tens cone 8 would                           then   be

       moved           after      every twenty                   actuations         ten dosages                  of the units             rotational          ring         7 rather than

       after         every       ten         actuations               thereof           This       would        allow           the     inventive            dosage          counter          to


15     achieve 240 actuation                         events                rather than         have      it    limited to           120


       00117                    While         the    embodiment                   of the          inventive          dose counter              illustrated            in    FIGS         11    1




       allows          an       indicia        display            changing              in   ones units and                    in   tens     units      it    does          not    allow       a


       change           in      display        of     hundreds                units          FIGS        1220             illustrate       a dose counter                    202       of    the



       present          invention             which           provides            a user with             a possible                dosage      count         ranging            from       0 to


20     299 The dose counter 202                                       is   similar to the            dose counter                   2 of FIGS          111             but       indudes a


       modified              tens       cone        208          a modified              housing              209     and       a hundreds             disk           225        The     other



       components                 of the        dose counter                     202     are essentially                  the    same as those                set      forth      for dose


       counter          2 For instance                       the       lid
                                                                              3 indexer 4 units teeth                           ring      5 compression                    spring      6 and


       units          rotational             ring    7       are       essentially            the     same            and       operate         the    same as                previously


25     described                The         interaction               of   the    lid    3        indexer       4 and           units     teeth       ring        5   is    functionally


       similar to               that    disdosed                 in    WO 2005060535                          A2      for       causing        the    units teeth                 ring      5 to


       rotate         about           the    axis     13         ie to rotate the ring 5 al indexed                                            amount              as each         dose of


       medication                is   dispensed                  The       interaction            between the units rotational                         ring 7 and tens cone


       208       is    also      similar        in    terms of causing                        rotation          of    the       tens cone         208        about         its    axis as      a


30     function            of    rotation       of the units                 rotational           ring   7

       00118                    In this       embodiment                     the tens cone 208                  has numbers                 9 to 0 arranged                  descending


       dockwise                 about        external            conical         surface          284     of    the       tens cone            208 when               viewed          from     a




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       pointed          end    286     thereof          ie         in       the     sequence 9 8 7 6 5 4 3 2                                 1    0 The           orientation           for


       reaclaDi    I
                       ity
                              of the   numbers           is    simi     I
                                                                            a to the orientation on the tens cone 8 On the tens cone

       208 the conical                surface 284 does not extend to the pointed                                                 end 286              The tens cone           conical


       surface 284 extends only                         in    a band adjacent                    al outer circumferential                             edge of the tens cone


 5     208     An annua               recess       284a       is    concentricaly                       disposed within                the band              and a small            cone


       284b protrudes                 concentricaly                within            that        recess        284a            capped        by       the    pointed        end     286

       Also    protruding within                    the recess 284a                    is    a circumferential                    rim 285 surrounding the cone


       284b The rim 285 has a single ga 285a therein                                                          and the recess 284a also has a ramp 289


       projecting            outwadly         therefrom              which            extends            genera           ly   radi     ly
                                                                                                                                                 aid outwadly               from the


10     gap 285a              An interna        surface             287 of the tens cone 208 has a raised frustum 288 pointing


       the   opposite           way      from       the conical                    surface        284 as cal be seen                             in   FIG         18 Also         on    its



       interna          surface       287     of    the tens cone 208                            al annul        a series of equaly                          spaced         pegs 290

       extend          parallel      to aid        in   the sane                  direction           as the frustum 288 generally                                  parallel       to   al


       axis 292          of    rotation       for the         tens cone 208                      as      seen    in       FIG 19             Since          there    ae only ten

15     numbers on the                 extern a      surface         284            of the tens cone              208           there    ae only ten corresponding

       pegs 290 on the interna                      surface         287 thereof


       00119                 The housing            209 agan has                     a genera            ly    cylindrical            body        262 with two forward

       wings       264         projecting           outwadly                  therefrom                 aid    two         legs       266        extending           downwardly

       therefrom              The     cylindrical            body       262          and the wings 264                          and    the       legs       266    are formed to


20     mate with              interior   surfaces             of   the            actuator       housing          68       for the        aerosol           contaner          70    cc
       FIG        16 A          count viewing                 window                272     is    provided            in       the cylindrical               body     262      On       al


       interior        circumferential              surface         274            of the        cylindrical          body         262           a ledge 276           is   disposed


       for alignment with                the units rotation d                        ring    7 as seen               in   FIG 16 The cylindrical                            body 262

       has    a    top        rim with         a plurdity                    eg five                    of    slots       278      shaped             for    reception         of       the


25     projections             17    on the   lid       3 to provide a snap                       fit    connection              of the      lid      3 and housing            209 or


       those      components             may be              press          fit    together             or    maybe            ultrasonically               or otherwise           eg
       laser      welded            together


       00120                 The housing            209 has             a lower rea intern a                          cone shaped                 recess 280          designed           to


       accommodate                  the tens cone 208 therein                               as best           seen    in       FIGS       16      and 18 The                tens cone


30     208     cal thus             rotate    in    a staDle            manner              about            al axis           directed          diagondly           forward         aid


       upwad            from        a rea corner             282        of the        recess            280     The housing                  209       also    has     a generaly


       vertically            aligned     arcuate             slot    279            adjacent            the     recess           280    for           reception       and      partia




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       rotatable           support    of the       hundreds          disk       225 The hundreds                             disk 225             has al extern a              i   ndi ci a



       bearing         surface       227     extending           generally                perpendicular                     to    a rotational             axis 229           thereof



       see       eg          FIG       19       The    extern a                surface              227      has        numbers                  from     2     to    0   aralged

       descending            dockwise         thereon           The        orientation                of    the     numbers                 is   generally           adjacent         aid


 5     talgenti       al   to a ci rcumferenti        a     edge of the                   ci   rcul   a extern a surface 227 with each number
       bisected        horizontally          by a redid           line         extending               outwadly                  from the axis 229                    An internal

       surface        231      of    the     hundreds           disk       225            has       three         anularly               equally          spaced          pegs       233


       projecting           outwadly         therefrom           in    a direction                  generally               paa d  I
                                                                                                                                             to the      axis 229         cc FIG
       17       Higher        counts       ae possible          by     incorporating                      more numbers                      on a lager hundreds                      disc



10     aid correspondingly                   more pegs to match                           When            assembled              the internal             surface       231        of the


       hundreds            disk 225        faces aid engages portions of the extern a                                                  surface      284        of the tens cone


       208


       00121                The     dose counter          202         may        be assembled                      by        inserting           the     hundreds         disk       225


       into     the slot 279 of the housing                      209           The         tens cone 208                     is then         inserted         into the housing



15     209 with the pointed                  end 286 of the                sma        I
                                                                                          cone 284b thereon                            seated      in    the rea corner 282


       of the recess 280              in   the housing          209        I   n the       i   ndi ci a count               mode the hundreds                        units   number

       Z      of the        hundreds        disk    225    is   digneol          for observation                       through           the viewing              window 272

       aid the tens units number                      0     on the tens cone 208                              is   d gned
                                                                                                                        i              for observation                through         the


       viewing         window         272       The   circumferentia                           rim 48 of           the units rotational                         ring      again has


20     three     slots       48c 48d aid 48e such as shown                                           in    FIG         1 that           correspond             to     positions           of


       three     of    the pegs 290 on the tens cone 208                                        such       that    by correct                orientation             of the        ring    7


       aid the cone 208                the units rotational                    ring       7 can        be seated              on the ledge 276 of the housing


       209      with        three     of    the    pegs    290         traversing                   the     circumferentia                       rim     48      Once        initially



       assembled             the     ones     units       number               9          on        the    units            rotational            ring     7    is    d igned          for



25     observation            through        the    viewing           window                   272          The        spring           6        units    teeth       ring     5      aid


       indexer        4 can then            be assembled              in       order           over       the units rotational                      ring       7 aid the            lid    3


       fitted    over the           castdlations       22       of    the indexer                   4 aid then                engaged             with     the       housing         209

       This      complete           assembly        thus        defines          the           dose       counter            202        as       seen    in    FIG        15        Once

       assembled             the     internal      working            components                      of    the     dose           counter             202     ae fairly             well


30     enclosed            by the housing           9 aid       lid    3 thus              inhibiting             the ingress                of    dust        fibers     fluff       aid


       other     debris therein             to protect      those working                           components                   The enclosure                  of the working



       components             of     the    dose     counter          202        with               the     lid    3        engaged              to the       housing         9      also




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       provides         al      assembly             that        is    somewhat                   tamper              resistant          aid     is    durable           aid      shock

       resistant



       00122              In    the     illustrated               second               embodiment                     a    maximum              dosage           count       of     299

       medication            dosages          is     shown             This              lows          for       some       testing        or    the    aerosol          dispensing


 5     assembly           eg 9             initial         tester           counts               wai   I   aDI   e with 200                   user    wai    I   aDI e   dispensing


       counts       remaning               Chalging              the       frequency                  or    spacing            of   indicia      on the units rotational


       ring tens cone aidor hundreds                                   disk        along with                    corresponding                changes        in    the interactive


       geometry           between          those components                                   lows         modification              of    the possible               count       indicia


       shown


10     00123              FIG         16     shows              a vertica               crosssectional                    view       through          pat        of    a press       ad
       breathe       aerosol      inhaer             incorporating                      the      dose counter                  202   of       FIGS         12     15     aid        18 As

       noted     aDove the purpose                          of    the       dose counter                    is    to provide              a display that               indicates          the


       number        of    doses of           medication                   remaning               or       in al           ternative          embodiment                 not      shown

       the number               ready       dispensed                 The     i   ndi ci a provided                   for revi ew         by a user may be a suitaDle


15          phabeti c        numeric                  phanumeri c                      or     color          symbols                or    aly        combination               thereof


       providing          a sequential               count        up       or count              down        of       dispensed           doses        or providing               a more


       general       indication             such           as    full             or    empty                The          indicia        would        be    visible          through           a


       window 94           in   a si de wall 96 of the actuator                                   housing             68 aternatively                 the    si   de wall 96 may

       be transpaent             or have           a least a portion thereof                               made of atranspaent                         materia to provide a


20     viewing       aea or lens for viewing                               the indicia aid count                           The press          ad breathe inhaer                          is   of


       the    sane structure               aid components                         as illustrated                 in    FIG 3         aid likewise                cooperates              with


       the    dose counter            202       in    the sane mainer                            to    initiate        a single ones units dosage count                                       as


       well    as    a change           of     decades                ie tens units                         for       counting           by    cooperation              of   the     units


       rotational         ring 7 aid the tens cone                           208 As illustrated                           in   FIG 16 the              aerosol         container              70


25     is   digned coaxidly                 with the axis 13


       00124              The     housing             9     is    designed                  to    minimize interference                          aid       obstruction              of    the


       medication          spray
                                       aid a rfl           ow paths                in   the       actuator            housing        68         In    one embodiment                      the


       dose counter            202    is     dipped or retaned within                                      the actuator             housing          68 by        suitaDle        dents

       or    other    engaging             structure             not        shown                between           the      actuator          housing        68 aid the dose

30     counter       202        In addition                the dose counter                       202       is   designed           to    be useable with a vaiety                            of



       metering         vave         designs               aid        to    fit
                                                                                       compactly                 within        commercially                wailaDle            actuator



       housing       profiles         so that         it    is   not       necessary to change                             the external              configuration             of    those




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       actuator          housings            to    accommodate              the    inventive             dose counter               202     therein           The    FIGS

       illustrate         the          dose counter           202    of    the present          invention            in   combination              with      al actuator


       housing           for       al    inhaler        of    the    type    used       for    dispensing               medication            from        a pressurized


       aerosol           contaner                 However            inhaers        in    other          forms         may          be used        with      the    present


 5     i   nventi on         i   nd udi ng          for     exampl e        dry     powder           i   nha ers        portable            nebul zers
                                                                                                                                                   i           aid       other



       dispensers that use red procal                           mechanism


           00125                 As seen      in    FIGS        14 16        18   aid 19 portions of the hundreds                                  disk   225 the tens

       cone 208 aid the units rotationd                                ring 7 converge                   adjacent       the viewing           window 272             of the



       housing           209 At the viewing window                               272      a circumferentia                     segment        of the      outer     surface


10     46       of     the units rotation                    ring    7 that       bea     ones units indicia                        al arcuate         segment       of    the


       conical           surface         284      of    the tens       cone       208     that       beas        tens      units       indicia         aid    al    arcuate


       segment            of      the    external         surface      227 of the          hundreds              disk     225 that          beas hundreds                units



       i   ndi ci a     ae aligned to collectively                        present    a medication                dosage count               for example             in    FIG

           14 the count 100                    is   seen       and    in    FIG 15 the count                    098            is   seen     At this juxtaposition


15     of       the    indicia          beaing         surfaces      of    the units rotation d                  ring      7        the tens cone 208               aid the


       hundreds              disk       225 those           surfaces       ae sequentially                talgentia             to each      other      A the viewing

       window            272 which provides                         a common        view        area for observing                    the     indicia        on the three


       sepaate            indicia         beaing            surfaces       The    external        surface          227 of            the hundreds            disk    225    is



       thus       genera          ly    parallel       with    the viewing          area 272              As noted above                    when       a dose counter


20     202        is   disposed within                 the actuator         housing       68     cc FIG 16 the viewing window 272                                           is




       aligned          with       the viewing              window 94         in    the    side wall            96     of the        actuator      housing         68 thus

       presenting                the    common         viewing        area for observation                  by a user The                  common         viewing         area


       is
                genera ly         talgenti             to    a circumferenti              surface          of    a cylinder           disposed          about      the axis


           13

25         00126                 As seen       in      FIG 19        the rotation d            axis 229           of    the hundreds               disk    225      aid the


       rotation d            axis       13   of the       units rotation d          ring 7       ae perpendicular                     to one another               The    axis


       229       of the          hundreds       disk 225        is   disposed       A al obtuse algle                     f3
                                                                                                                               with    respect to the axis 92               of



       the tens cone 208                     The       algl e   13   may assume the sane ranges or value                                     as stated above              with


       respect          to       the    algle      a In one embodiment                         the       axes     13      and       292     are    coplalar         but    not


30     coaxial           parallel         or perpendicular                relative to each               other    Likewise             in   one embodiment the

       axes 292 aid 229                      ae coplalar              but   not    coaxial           parallel        or perpendicular                  relative to each


       other           In other         embodiments of the invention these                                pairs of axes need                 not   be copl mar



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       00127              Every        tenth          movement                of   the     units       rotational          ring    7 results         in    a movement                of


       the    tens   cone        208          due to        interaction              between            one of        the    oblong           lugs       50    on     the      units


       rotational      ring      7     and          one of the pegs 290                     on     the tens cone              208            The tens cone             208 thus


       rotates     about       its   axis 292           as a function               of the       rotation       of the units            rotational         ring 7 about             its



 5     axis    13    Although               the      number           of      pegs        290    on     the    tens        cone        208     is   different         from         that


       illustrated        in   the    first         embodiment                the    mechanics               of the   interaction             between          the tens cone


       208 and the units rotational                           ring       7 are the same as                   illustrated          in   FIGS         10    and     11 The lug


       50 on the units               rotational         ring        7 engages             sequentially          each peg 290 of the tens cone                                 208 to


       cause     the tens cone                208 to rotate as function                           of rotation         of the       units       rotational         ring        7 The

10     circumferentid                ring     48 on the             units      rotational          ring      7 in cooperation                 with the slots 48a and


       48b therein             disposed              relative       to the          lug    50      permit        rotation          of    the    tens cone           208 when


       desired       but       inhibit        its     rotation           at    other      times        while      allowing              continued             rotation        of   the



       units    rotational           ring     7

       00128              Every        complete               rotation         of the tens             cone    208 results              in    a rotational          movement

15     of the     hundreds            disk      225 due to interaction                          between         the    ramp 289               on the tens cone 208

       and     one of the pegs                 233      on         the    hundreds              disk    225      The        relationship             between          the      ramp

       289     and     the       pegs          233       is        illustrated
                                                                                          Khematicdly                 in     FIGS            20A 20F             This         direct



       interaction         between            the     tens cone               208 and hundreds                  disk       225 eliminates the                   need     for       any

       transfer      gear or other              translation              components              between         a component                 bearing          tens units           ie
20     the   tens cone          208         and       a component                  bearing        hundreds        units       ie the hundreds disk 225
       This     arraigement                 requires           fewer           parts       is    more         economic d               in    function           and      is    more


       compact


       00129              The        interaction            and      sequence             for    causing        the    hundreds              disk    225 to change                 the



       hundreds       units          indicia         displayed            in   the     viewing          window 272                involves           engagement               of the



25     ramp 289 on the tens cone                            208 with           one of the pegs                233 on the hundreds                    disk       225 As seen

       in    FIG     20A        the     tens         cone      208         rotates        counterdockwise                    and        the    ramp        289 eventually


       moves       into    engagement                 with the peg                 233a on the hundreds                     disk       225 As the tens cone 208

       continues       its     counterdockwise                       rotation          as seen          in   FIG 20B          the       ramp 289 pushes                  the peg


       233a     down           and to the left                as viewed              in   FIG 20B              and thereby              causes       the       hundreds            disk



30     225 to rotate about                    its    axis     in    a counterdockwise                        manner         As shown            in   FIG 20C              further


       counterdockwise                 rotation          of the          units      rotational          ring 7 causes             the ramp          289 to further push


       the   peg     233a down                and to the             left      thereby          causing         further       rotation         of    the      hundreds             disk




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       225      in    a     counterclockwise                      manner              about      its     axis       As        shown            in    FIG          100            further


       counterclockwise                  rotation          of the tens cone                  208 causes            the ramp 289 to further                        push       the peg


       233a down            and        to the       left    thereby           causing           further      rotation          of    the      hundreds          disk        225     in    a


       counterclockwise                  manner            about        its    axis       Eventually              as    illustrated            in    FIG 20E               the    ramp


 5     289 pushes           the peg          233a so far down                      that    rotation         of the hundreds                   disk    225 moves the peg


       233a out        of the          arcuate      path        of the        advancing           ramp 289             ie out of reach of the ramp 289
       as seen       in   FIG 20E Once                      this happens                  further        counterclockwise                     rotational         movement                of


       the    hundreds           disk     225 stops              and        a new       hundreds            units      number            is   aligned       for      observation



       through        the viewing                 window         272        In     an embodiment               where the hundreds                          disk      is    rotated       to



10     show a count               down        of    the     number            of      dosages         remaining              the    new       hundreds          units        number


       displayed          will    be a smaller              number than                the     previous        number that was displayed


       00130                Rotation          of the        hundreds             disk     225 relative             to the          rotation         of the tens cone                208


       occurs        each time the ramp 289                          engages           one     of the pegs          233        In the embodiment                          illustrated


       there    is    a single          ramp 289            so for every                single        rotation      of the          tens cone         208        the       hundreds


15     disk    225     is   rotated through                     one hundreds              unit      number          or        in   the    case       where       the       hundreds


       disk 225 has              three    hundreds units thereon                           the hundreds                disk 225          is    rotated      1200

       00131                In    FIGS            20A 20F             the     pegs        on    the    hundreds              disk 225          are    referenced             as pegs


       233a      233b and 233c                    As noted            above           the external          surface          284     of the tens cone                 208 has an


       annular        rerss 284a thereon                        The rerss 284a                   is    formed       to accommodate                     the      pegs 233            The

20     circumferential                 rim 285 has a                 slot     285a aligned               adjacent        the       ramp 289 and                 is   provided            to



       prevent        movement               of the        pegs       233 as can be                 seen     in    the       sequential         illustrations               of    FIGS

       20A 20F            Thus          as peg       233a        is    moved by the ramp 289 peg 233c moves                                                through           the    slot



       285a     in    the    circumferential                    ring    285        from below                the    slot
                                                                                                                              285a            as seen      in    FIG         20A         to


       above     the      slot
                                  285a            as seen       in    FIG        20D At the same time peg 233a moves from above
25     the    slot   285a see FIG                   20A to below the slot 285a see FIG 20E

       00132                The        circumferential                 rim 285 acts              to prevent            rotation          of    the    hundreds              disk    225


       except        when        the    ramp 289 engages                      one of the pegs                233 For example                        as seen          in    FIG 20F

       hundreds           disk    225        is   constrained           from movement                       about      its    axis by the            circumferential                 rim


       285     extending               between         the        peg         233c        and     the       peg     233a           and        the     peg       233b             While


30     movement             of the hundreds                 disk 225             is   allowed          when       the tens          cone       208 and hundreds                     disk


       225     are     aligned          as seen            in    FIGS          20A 20E                the    hundreds              disk       225     is    prevented              from


       movement             once        in    the     configuration                   shown         in    FIG 20F The                     circumferential                   rim 285




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       extends between                    the opposed                  pegs 233c            and 233a or pegs 233c                           and        233b           and continued


       rotation         of    the        tens        cone        208     will        maintain          this      relationship              until         the    slot    285a           of    the



       circumferential                   rim 285             again       reaches            the    position           shown        in      FIG         20A       Thus             once       the



       hundreds             disk    225 has been                    moved by           interaction            with      the ramp            289 on the tens cone                         208

 5     it   cannot          begin        further            rotation         until    the     ramp          289       again    presents             itself       for       engagement


       with     the      peg       233c             on   the     hundreds            disk     225       even          though       the      tens         cone        208     is    rotating


       about      its   axis to display                     differing        tens units           numbers


       00133                 In     one embodiment                           cooperative            features           are   provided             between             the     housing             9


       and hundreds                 disk 225 that will                       when      the hundreds               disk 225 has                  been      rotated      to a position



10     that   shows a hundreds                           units      0 numeral          in    the view            window 272                 prevent            further       rotation            of



       the    hundreds             disk        225          The tens cone 208 can continue                                   to rotate as           it    counts        down           its   ten



       remaining             tens        units       counts          and then          it    would          be   prevented           from          further           rotation          by the


       hundreds             disk    225              At this point              the     units       rotational           ring      7 can          continue            to     rotate         as    it




       counts         down         its    nine remaining                     ones units            counts             and then        it    would          be prevented                 from


15     further        rotation           by the tens cone                    208       At     this point              the viewing               window would                   display            a


       zero     count         for     the           dose counter              202      To      the     extent          further      medication                  is   present           in    the


       aerosol          container              it
                                                     may be dispensed                       by a user using                  the    aerosol         dispensing                assembly


       but    the dose counter                       202     will    not      register       any     further          dosage       counts              As an alternative                     the


       aerosol          dispensing                  assembly         could       be designed                to    rea dispensing                         doses of medication


20     once     the      zero       count            has been          reached          for       example             by limiting           the    free        movement                of the


       indexer          4

       00134                 In     essence               the    inventive           dose counter                in   the    embodiment                   illustrated             in   FIGS


        1220          operates            in   the following                  fashion         When          a user actuates                the     inhaler           by pushing              the


       aerosol          container              70 downwardly                     into        the    actuator            housing            68      the     valve           ferrule           110



25     engages          the    indexer               4 to push          it
                                                                             downwardly                Indexer          4 engages               and then causes                    rotation


       of units teeth              ring    5 The unit rotational                            ring 7     is   coupled          rotationally              to the units teeth                    ring


       5 so     it    rotates       as well              A s the aerosol              container         70 red procates                    down and up                to complete                 a


       single        dosage         of    medication                therein          the     indexer          4 and units            teeth         ring        5 also reciprocate


       down          and up        relative              to the units         rotational           ring     7 One complete                       down          and up red procal


30     motion         of the        units           teeth    ring      5 causes        the units            rotational         ring        7 to rotate on              its    axis       13 a

       single        ones units count                     change        in    position        thereof            Rotation          of the        units     rotational             ring 7         is



       translated            into    rotation               of   the    tens     cone         208      by     engagement                   of    the      lug    50     on     the      units




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       rotational         ring    7 with        one of the pegs 290                      on the tens cone                 208        However                  the    tens cone


       208     is
                    only rotated periodically                      relative       to the       units      rotational         ring        7 to indicate                   a change


       in    decade        of    the     counts            ie the tens                cone        208      is
                                                                                                                 only        moved             once           for    every          ten



       movements            of    the units          rotational          ring    7 Each time the units rotational                                    ring       7 counts ten


 5     ones units counts                 the tens cone             208     is    indexed          one position            to change                the tens unit                count


       displayed          thereon        Rotation           of the tens cone              208       is translated           into     rotation            of the          hundreds


       disk 225        by engagement                  of the      ramp 289 on            the tens cone                208 with           one of the pegs 233 on


       the    hundreds           disk     225         However             the     hundreds             disk        225      is     only        rotated          periodically


       relative       to the tens cone               208        to indicate       a change           in   hundreds               units    of the counts                   ie the
10     hundreds           disk    225     is
                                                only moved               once     for     every        ten      movements                of    the       tens       cone        208
       Each     time the tens cone                   208 counts ten tens units counts                              the hundreds                disk       225        is   indexed


       one position            to change           the hundreds           units     count displayed                   thereon


       00135              A third embodiment                       of the inventive               dose counter              is    illustrated            in   FIGS 2130

       FIG      21    illustrates        a dose counter              302 of the present                    invention             which         provides             a user with


15     a possible         dosage       count ranging               from 0 to 129 The dose counter                                  302        is    similar to the dose


       counter        2   of     FIGS          11 1        but     each    component                thereof         is   modified               However                  the     dose


       counter        302 does indude                     the    same     relative        components                  such        as a    lid       303        indexer              304

       units    teeth      ring    305 compress on                      spring     306        units     rotational           ring       307         tens cone             308 and


       housing         309       While         the    components                differ    in      structure           they        operate           similarly             to    those


20     described          with    respect          to the        dose counter         2 of FIGS                 11 1 Actuation                     of the       indexer             304


       by a user causes             indexed           rotation       of the units             rotational         ring     307 and              the tens cone                   308    is




       rotated       as a function         of rotation             of the units          rotational          ring     307


       00136              The      lid   303         is
                                                           generally       annular            A    central         circular        hole         310 has             a plurality


       eg five              of    circumferentially                  equally          spaced         radial        hole          extensions              311        of     slightly


25     greater       radius      thereon           Between          adjacent          hole extensions                 311         the    lid       303    has       a plurality


       eg five              of    circumferentially                  equally          spaced         small         radially         inward            protrusions                   312


       thereon        Adjacent           an outer          circumferential               edge       of the      lid      303       a plurality             eg three                  of



       circumferentially               equally            spaced     cutaways            313        are defined             by     a radius              slightly          smaller


       than     the    outer      edge         A     cylindrical          extension           314 extends                downwardly                 from        the       lid       303

30     and     has    a smaller radius                    than    the    outer      edge       of    the     lid      303        equal         to    the       radius          of   the



       cutaways           313      Below           each      cutaway            313      the      cylindrical            extension             314 has              an    outward


       radial
                    protrusion           315         shorter        in    circumferential                 length         than       the        cutaways              313            The



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       protrusions              315   ae designed                  to form           a snw           fit    with        three        doorframes             376 in the housing


       309 as expl a ned herein

       00137                The indexer                304     is    shaped           generdly                  like     a cylindrical           cap    with        a central       hole


       316      The         indexer         304        has     a plurdity                  eg five                     peripheral           Acid lations             318     that    ae

 5     designed           to pass      through              the hole        extensions                 311 of slightly                    greater      radius       in    the central


       hole     310        of   the    lid    303           The      indexer              304        also       has      a plurdity          eg five                 of   peripheral


       grooves           320 extending              from atop thereof                           to   d most a bottom                   thereof         in   directions paalld


       to al axis 322 of the indexer                               304 aid           its    associated                 lid    303     aid designed to accommodate


       the protrusions 312 of the lid                               On a bottom                  circumferential                     edge 324 of the indexer                   304 a

10     pl
            urd ity        eg five                of    circumferentially                        lewd y     I

                                                                                                                   spaced            sawtooth          projections           326     ae

       provided           for interaction              with        al inner ring of teeth on the units teeth ring 305


       00138                The       units teeth            ring 305           is   also coaxid                 with         axis 322       aid       is   provided       with     two


       rings        of    upstading           teeth          An      outer           ring       of    teeth        330         is    disposed       for      engagement             with


       ratchet           members        331        on the bottom                 surface             of the           lid     303     An inner          ring    of    teeth    332    is




15     aralged            for engagement                    with    the sawtooth                     protrusions 326 on the                      indexer        304        A central

       cylinder           334 extends             upwadly            from the units teeth ring 305 to                                       ad    in    keeping           dust out    of


       the    dosage counter                 mechaiism                aid to serve as a guide                                  for relative         axid       movement             with


       the al inner cylinder 342 of the units rotation d                                                    ring        307 see           FIG    26 A circumferential

       perimeter of the units teeth                           ring 305          has a pl urd ity                  eg four                 of circumferentially                lewdly


20     spaced            features      336 with               each    feature              336 comprising                           a verticd       recess      with       a par      of


       verticd       I
                         y oblong       lugs on each                side thereof



       00139                The       interaction              of    the        lid        303         indexer               304      aid    units          teeth     ring    305     is




       functionally             similar to that               di     losed           in    WO 2005060535 A2 for causing units teeth ring
       305 to rotate                  out     the axis 322              ie to rotate the ring 305 al indexed amount                                                          as each


25     dose of medication                    is   dispensed


       00140                The       units rotation d               ring 307              is   generdly               in    the form of inner aid outer coaxi


       cylinders            342       aid         344        joined        by         al         ainula               base          346     As      seen       in     FIG       26     a


       circumferential                rib 350          is   disposed            on a bottom                 side        of the        ainula base 346 The                     rib 350



       provides           a low friction               surface       for the units rotation                        d         ring    307 to rotate relative to a shdf


30     381     of the       housing          309 on which                  it    rests          An upwadly                     extending         circumferential              groove


       352     is    also provided                on a bottom          surface              of the          ainula base 346 coaxidly                                within    the rib


       350 to accommodate                          a spindle 397 of the tens cone 308                                               A Al rotation d            positions        of the




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       units rotational            ring      307 with          respect           to the tens            cone 308           The         outer    cylinder         344 has           a


       further       extern d      cylindric d           section           356 joined             wproximatdy                   midway up al outer                  surface



       of the    outer      cylinder         344 via al anular wall                              358     An internal            circumferentid               surface             360


       of   the outer           cylinder      344 has          a plurality             eg four                 of    fedures           362     cc FIG 22 Each
 5     feature       362 comprics                  a par       of     grooves           on either             side    of    a verticdly              oriented       radidly


       inwadly         projecting         rib      The    features              362    ae designed to slide in al axial                               orientation            with


       the corresponding                features         336 of the units teeth ring 305                                   The        inner     cylinder         342 of the


       units    rotational            ring    307        has    a diameter                  such       that    it    slides       axially           inside   the        centrd


       cylinder       334 of the units teeth                    ring       305        As seen           in   FIGS 26 aid 27                     al addition              smd       I




10     cylindric d          section      364 of smd ler diameter thal the                                       inner      cylinder           342      extends          from       a


       lower end           of the     units rotational                ring       307 aid           is    designed          to   fit    aound the nozzle block

       102     of     the       actuator          housing       68         The        extern d           cylindric d             section        356        has     al    outer



       cylindric d          surface          366     bearing           indicia             for     indicating           ones           units        dosage       counts           of



       medication           being      dispensed           As illustrated by FIGS                              21    aid    22         the     indicia     may tdce the

15     form     of    digits      from       9 to 0 aralged                     equally       spaced         twice          out        the circumference                of the


       outer    surface          366 of the extern d                  cylindric         d        segment       356         The        digits   ae oriented              so that



       they can       be underlined                by lines pa        d d to the axis 322 aid the digits ae aralged
                                                                            I
                                                                                                                                                                        in   two


       sequences           of    descending          order       in   a dockwise                  direction          when viewed                from the bottom                   of



       the units rotational              ring 307         ie          in   the sequence                  9 8 7 6 5 4 3 2                1   0 9 8 7 6 5 4 3 2                1   0
20     As seen        in    FIG 22         the units rotational                    ring     307 has           al oblong           lug       368 spaced           bdow            aid


       between        each
                                 space
                                             between           a 0 digit aid               its    adjacent          9 digit       Since the digits 9 to 0                        ae

       aralged twice aound                        that units rotational                 ring      307        there    ae two oblong                  lugs    368 thereon


       on opposite              sides of the ring           307

       00141               The     features        362    on the units rotational                         ring      307 are disposed to d ign with the


25     features       336 on the units teeth ring 305                                 The        outer       circumferentid                 edge of the units teeth


       ring    305    is    slightly      smdler in diameter                       thal the internal                 surface          360 of the outer cylinder


       344      thus       d lowing          axid        movement                of    the        units      teeth     ring       305        relative       to    the    units



       rotational      ring       307 However                  while such             axid        movement            is   dlowed the interaction                        of the


       features       362       aid    336        couple       the     units          teeth       ring    305       aid     units rotational                ring    307 for


30     rotational                        relative to the axis 322
                       purpacs

       00142               The     compression              spring          306       is    simila to that                 disclosed           in    the   embodiments

       dDove         For example             it    can   be     in   the form              al anular           leaf    spring           370     In the      embodiment



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       illustrated       in     FIG 21         the    leaf     spring         370    has      a plurality            eg three               of       cutouts          372


       extending         radialy        inwardly        from        al       outer    circumferential                 edge         thereof           Each        of    the


       cutouts     372     is   formed aid             igned to axially               receive        one       of    the features          362 of the units


       rotational        ring   307 therein           thereby           a lowing          axial    movement             of   the     compression                 spring


 5     306   relative to the           units rotational           ring 307 The              leaf    spring 370 has al ainular ring with                                  a


       plurality    eg three              of axially        extending          spring       dements or               leafs 374 thereon                 The       spring


       dements 374            are biased       downwadly                from the leaf spring 370 for engagement                                      with the top


       of the    ainula base 346               of the       units rotational              ring    307     In one        embodiment the                     outer      end


       of   each   leaf    374    is    curved       or otherwise formed to facilitate                           to smooth           sliding           of the     outer



10     end with      respect       to the      ainular       base       346    A top        surface        of    the ring of the                leaf    spring 370



       engages a bottom                surface       of the    units teeth           ring     305 The            leaf      spring 370 thus                 urges the


       units teeth       ring 305       axially      away from the ainular base 346 of the units rotational                                                  ring 307


       aid toward         the sawtooth           projections            326 on the indexer                304 aid the ratchet                    members 331


       on the bottom            surface of the        lid    303


15     00143             While cooperative              features         336 aid 362 are shown                          aly suitaole keyed                   features


       between      units teeth          ring 305      aid units rotational                  ring 307 will              suffice to couple                those two


       components          together       for rotation            yet    a low       relative       axia        movement             In   one embodiment


       not shown              rotation    of the compression                   spring 306 relative to the                        units teeth           ring      305    or


       units rotational          ring    307    is   permitted               However to the               extent      it    is   desired        that rotation           of


20     the compression            spring 306 also             be constraned                 with    respect to the units teeth                         ring      305    or


       units rotational          ring    307 while            features        362 aid cutouts                  372    are    shown        for that           purpose


       aiy suitaole keyed                feature      to accomplish              that       end will           suffice       The     housing            309       has    a


       generally cylindric a             body        375 with       a plurality           eg three              of doorframe features                        376 two

       forward      legs      378 aid         a viewing       window           379 thereon               The housing               309     is    d so generally

25     coaxi a     with respect to the axis 322 ald has a atera                       I            shdf        381    therein        The shdf              381    has a


       central     hole       382 therethrough              for    accommodating                   the    nozzle           block     102        of   the     actuator



       housing      68 as seen           in    FIGS 26 aid 27                  On area             side    thereof          defined        as induding                 the


       viewing      window            379      the     housing           309    has        a conic a           housing           section        383      extending


       downwadly              therefrom aid designed                    to   accommodate             the tens cone 308 therein                           as seen        in




30     FIGS        2428         The     tens    cone        308    is    digned       to rotate           in    a staole         malner                out    al axis


       directed     di
                         agona    ly
                                        forward aid upward                    from the rea of the housing                          309 The             relationship


       of the    axis of the tens             cone 308 relative to the axis 322 of the units rotational                                                ring 307         in




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       this       embodiment               is   similar to that           illustrated           aid stated for those components                                in   FIGS         8


       aid        19 of the       first     aid second            embodiments ie                         for    FIG 8 the axis 92 of tens cone 8 aid

       the axis 13 of units rotational                            ring   7 aid for the FIG                        19 the axis 292              of the tens cone 208


       aid the           axis     13       of   the     units     rotational         ring       7 The conic a housing                               section     383       has    a


 5     centra        hole 384 therethrough                        aid internally               is   shaped        to support             a conic       wall    of the tens



       cone        308     aid to surround                   aid     engage          splines             thereon        as well           as providing          upper          aid


       lower axis passages                      for assembly             aid tooling                In addition           the conic a              housing    section          383


       has        a gutter      portion           385      see FIG 26                A    its
                                                                                                 apex           end    where        it    adjoins the        shelf       381    to



       support        al upper              pat       of    a spindle       of       the tens             cone        308      The        circul    a hole      384 has          a


10     projection           386 extending                  radialy       inwardly          thereon              cc FIGS 30A                   D      Adjacent        a lower


       front       end     of    the housing               309     the cylindrica                   wall        375     has    a stepped            portion    387 which


       patly        conforms to al extern a                         surface      of      units           rotational       ring          307    This stepped           portion


       387 on the extern a profile of the housing                                        309        is   shaped        to minimize potenti                    interference


       with        medication             spray emerging             from the spray orifice                            106 of the nozzle block                  102 when


15     the    i   nha er     s actuated



       00144                Each           doorframe          feature       376          has        al     inverted           Ushaped              section    defined           by


       upwardly extending                         legs 390 aid 391              aid cross beam member                               392       cc    FIGS 24 aid 25


       Upon         assembly              of the    dose counter           302        each          protrusion           315       is    digned within          one      of the



       doorframe features                       376        Each    doorframe             feature           376 flexes outwardly                      as the     protrusion


20     315 passes               by   it
                                            during         assembly        aid then             snaps back                into      place with         the    cross       beam

       member 92                over        the    protrusion        315 thereby                    fixing       the     lid     303      to the      housing       309         Of


       course        the    lid      303 aid housing               309 may be otherwise connected                                        together     such     as by press


       fit   connections               or   may be ultrasonica ly                    or otherwise                eg         laser welded             together


       00145                The        tens cone           308 has        numbers             from         12    to 0 arangeol                descending        dockwise

25           out    ai extern a             conic a        surface       394 of the tens cone                         308 when            viewed      from al apex of


       the        conic a       surface           394      eg       in    the    sequence                  12     11     10    9    8 7       6 5 4 3 2         1    0 The
       orientation          for readability                 of the   numbers             is     similar to the                orientation          on the tens cone             8

       On the tens              cone        308 the conic a               surface         394 extends                   only       in    a bald      adjacent       al outer


       circumferentia                  edge of the tens cone 308                         An internal                  surface       395     of the tens cone             308     is




30     dso        generally          conic a        inversely            aid    is   provided              with        a plurality         eg        thirteen       of    redid



       spokes 396               A forwad              aid upwardly              directed            spindle 397 extends from the center                                  of the


       internal       surface          395 of the tens cone 308




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       00146              The         tens          cone        308      rotates          about        an        axis    398        once        assembled              in    the       dose


       counter          302    as seen               in   FIG         26 On its                 external          side the tens cone                    308      has       a plurality


       eg        thirteen           of     splines           399       arranged           annularly              about       and     parallel
                                                                                                                                                     to    the    axis       398 The


       splines          399      project             externally             from          the         tens       cone        308      in     a       generally             cylindrical


 5     configuration             to      define           a boss       that    is      upon          assembly           received          within        the hole           384      of the


       conical      housing           section             383     in   the housing                309 The              splines       399 thus point              in    an opposite


       direction         from         the       spindle           397       on      the        tens    cone         308       Twelve            of    the     splines         399        are


       identical         in   lateral          cross      section           having         a cross section                similar         to that      of   a fairy cake                  or



       cupcake                see     eg            splines         399a to         3991         in    FIG         30A A curved top portion                                 or    cap     of



10     each      spline        399       is    farthest         from the            axis       398         of the      tens    cone       308        The     thirteenth             spline


       399m        is    in    part       similarly             shaped           but      has        a base       portion       400       extended           axially         inwardly


       toward      the        axis 398          of the tens            cone      308 The               splines         399a to 3991             are formed            to be able to



       flex   slightly         radially             inwardly          relative         to the axis            398 while             the spline            399m        is   more      rigid


       than   the       other    splines            399a to 3991 and                      is   not    able to flex            radially       inwardly


15     00147              The dose               counter           302      may be assembled by                          inserting         the tens cone               308       into    the



       housing          309 with              the    spindle          397     of the tens cone                    308    seated          upon     the      gutter      portion          385


       in   the conical          housing             section          383     of the housing                  309 The boss formed                          by the splines               399


       is   also   aligned           to    extend            into     the     hole       384         of the      conical       housing           section         383 The             units


       rotational         ring    307          is   then      inserted           and      seated           on the shelf 381               of the      housing              309 above

20     the    tens       cone         308        see         FIG        26          In    this        embodiment                   the     units      rotational             ring       307


       completely             covers           the    tens        cone        308        in    the     conical          housing          section          383     to       inhibit       the



       ingress      of dust          fibers          fluff      or other         debris         from falling             into the tens cone                 308


       00148              The         spring         306        units       teeth        ring     305       and     indexer         304     can then          be assembled                 in




       order     over the units rotational                          ring      307 and                the   lid    303    fitted      about       the castellations                311 of


25     the    indexer         304 As explained                         above        the        lid    303    is    snap fit         engaged          with the housing                   309


       by     engagement                  of    the        protrusions              315         and        associated          doorframe               features             376        This


       complete          assembly              thus       defines        the     dose          counter           302    as seen       in    FIGS 24 25 26 and 27

       Once assembled                     the       internal        working            components                 of the      dose counter                302    are       fairly      well


       enclosed          by the housing                    309      and       lid   303         thus        inhibiting         the    ingress         of    dust       fibers          fluff




30     and     other      debris           therein           to     protect         those         working              components                 The       enclosure             of     the



       working          components                   of    the      dose      counter            302        with       the    lid    303     engaged             to    the    housing




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       309        also     provides           al assembly               that       is    somewhat         tamper       resistant             aid       is   durable           aid


       shock resistant


       00149               FIG 27 shows                       a vertica            cross      section a       view    through            part     of      a pressand


       breath      aerosol        inhaer           incorporating               the dose counter               302 of FIGS               21 24 25 26 aid 28

 5     The purpose            of the dose counter                      is    to provide a display that indicates                             the number               of   doses


       of medication              remaning                or   in al aternative embodiment                            not    shown            the number               a ready


       dispensed           The     i   ndi ci a provided               for    revi   ew by a user may be sui tapl e                           phabeti c               numeric


            phanumeric            or color              symbols or aly combination                        thereof       providing             a sequentia                  count


       up    or   count       down            of    dispensed           doses           or    providing       a more general                  indication               such      as


10     full       or   empty             The        indicia          would be visible through                      a window            94    in   aside          wall      96    of



       the actuator          housing           68        Aternatively              the side wall         96 may be transpaent                       or have             A least

       a portion         thereof         made            of    a transpaent              materia         to   provide        a viewing             aea           or    lens     for



       viewing         the    indicia         aid count              The      press and breathe               inhaer        is    of the      sane structure                  aid


       components             as illustrated              in    FIG 3 aid likewise cooperates                           with the dose counter                              302 in


15     a similar mainer                  to        initiate      a single ones                 units    dosage       count         as well         as       a chalge             of


       decades         ie tens units for counting                                  by cooperation             of    the units rotational                    ring      307 aid


       the    tens     cone       308         As        illustrated           in   FIG 27          the    aerosol       container             70     is     Aso            igned


       coaxialy          with     the axis 322                  In    this    embodiment               the ferrule      110 engages atop                         surface         of



       the    indexer        304         It    will       be    appreciated             by     those familiar with                metering valves                      that     the


20     profiles        of various kinds                  of valve       ferrule differ            aid that the indexer                  is   suitdDly        designed to


       aput a the ferrule                flatly         to minimize variations                    in    travd      between         valves         of the         sane kind

       due to tolerances                on components


       00150               The inhaer               is   actuated        to dispense            a dosage of medication                   by pressing down                       on


       the aerosol           container             70    relative to the             actuator      housing         68 When             the inhaer            is
                                                                                                                                                                      actuated


25     downwad               movement               of    the     aerosol          container       70 causes          the valve              ferrule        110 to push


       down       on the          indexer           304        The      lid    303       is   positioned        low    enough            relative           to    the      valve


       ferrule       110     so    that       those components                      never       engage        each    other        thus       ensuring            sufficient



       space      to       low     adequate               metering            valve      travd     to    guaratee       the        dispensing               of    a dose of


       medication               Engagement                    with     the     valve          ferrule    100       causes        the    indexer           304         to   move

30     downwadly              relative to the                  lid    303      aid the sawtooth                protrusions             326 of the indexer                     304


       engage teeth of the inner ring of teeth 332 of the units teeth ring 305                                                               Once the             outer       ring


       of    teeth     330    move            low       enough to           dea the ratchet              members            331        on the      lid
                                                                                                                                                            303 the           ring




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       305     rotates     as described                   in    WO 2005060535                         A2 Such                 rotational          movement               results     in




       coupled       rotational          movement               of the units rotational                      ring       307 The compression                         spring          306


       between         the    units       rotational             ring       307      and      the          units      teeth       ring      305        maintains           relative



       engagement             of    the        sawtooth              protrusions            326            and     inner          ring     of     teeth       332        until      the


 5     downward          actuation             force       on    the    aerosol           container              70    is   removed              and    the    return          spring


       114 urges the valve                 ferrule         110       upwardly             relative         to the nozzle               block       102 This allows the


       compression           spring       306 to urge the indexer                           304 upwards                     whereupon             the interaction              of the


       outer    ring     of teeth        330 on the units teeth ring 305 with the ratchet                                                  members            331    on the          lid



       303     results     in     further       rotational            motion          of    the       units teeth             ring     305       together       with        further



10     coupled       rotational           motion of              the    units       rotational              ring       307        thereby         completing             the     ones


       units change           to the          count        corresponding                  to the           actuation          and      corresponding                to a       single



       dosage of medication                     The dose counter                      302        is   designed              to count        at    or dose before                    the



       firing    point       of    the    metering              valve         108 on       the        aerosol         container          70       and then          lose            any


       subsequent          exrPssive           axial      travel       ie          lost    motion                of the axially              moving          components              of



15     the    dose counter           302 Thus                  for each        actuation              of the      inhaler          the     units rotational               ring      307


       is    indexed     to       move        rotationally             one count             increment                 which        will        change       the    ones units


       count visible via the windows 379 and 94


       00151             The housing                 309        is   designed         to     minimize                 interference              and    obstruction             of   the


       medication          spray         and    airflow          paths        in    the    actuator          housing              68       In    one embodiment                     the


20     dose counter           302    is    dipped or retained                       within        the       actuator          housing           68 by     suitable          detents


       or    other   engaging             structure             not     shown             between            the       actuator         housing         68 and           the     dose


       counter       302        In addition               the dose counter                 302        is   designed to be useable with                             a variety         of



       metering        valve        designs               and    to     fit
                                                                               compactly               within           commercially                   available          actuator



       housing       profiles        so that         it    is   not     necessary           to change                 the    external           configuration             of     those


25     actuator      housings            to    accommodate                    the    inventive              dose counter               302 therein                  The        FIGS

       illustrate      the    dose counter                 302 of the present                     invention              in    combination              with        an    actuator



       housing       for     an     inhaler       of       the       type      used        for    dispensing                medication                from     a pressurized


       aerosol       container                However                inhalers         in     other          forms           may      be used            with       the     present


       invention         induding              for        example             dry    powder            inhalers              portable           nebulizers           and         other



30     dispensers        that use         reciprocal            mechanism


       00152             As seen           in   FIGS 24                 25 26         and        27        portions          of   the    tens cone            308 and            units


       rotational      ring 307 converge                        adjacent        the viewing                 window            379 of the housing                    309 At the



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       viewing          window                   379         a circumferentid                            segment         of       the    outer    surface         366       of       the    units


       rotational        ring       307 that                  bears              ones        units        indicia    aid           al acuate         segment           of    the          conicd


       surface        394 of the tens cone 308                                      ae digned to collectivdy                               present        a least a portion                      of    a


       medication         dosage count                        for example                      in        FIG 24 the count                  129           is   seen    aid    in       FIG 25

 5     the    count      29             is       seen         At this juxtaposition                              of the       i   ndi ci a bearing            surfaces      of       the units


       rotational        ring      307 aid the tens cone 308 those surfaces aetalgential                                                                        to each      other          at   the


       vi ewi
                 ng     window                   379 which              provi des              a common              vi ewi
                                                                                                                                   ng    aea for vi ewi ng             the       i   ndi ci a on


       the two separate                      i   ndi ci a viewing                   surfaces              As noted aDove when                        the dose counter                      302        is




       disposed within                  the actuator                    housing              68      cc FIG27 the viewing window 379                                                 is   digned


10     with the viewing window                                    94    in       the    si   de wall 96 of the actuator housing                                 68 thus       presenting


       the    common           viewing                      aea        for       observation                by    a user           In    one embodiment                  the          common

       viewing          aea        is    generally                 talgential                 to     a circumferentid                     surface        of   a cylinder              disposed

       apout the axis 322


           00153          Every tenth movement                                         of the units rotational                      ring 307 results             in   a movement                      of



15     the    tens      cone       308 due to interaction                                     between             one     of       the    oblong         lugs    368     on the units
       rotational        ring       307                aid one of the                        spokes         396     on the tens cone 308                          The       relationship


       between the lugs 368 aid spokes 396                                                    is    illustrated          schematically              in    FIGS 29A 29D                          This


       direct      interaction                   between           the units rotational                           ring   307 aid the tens cone 308 diminates


       the       need    for       aly                transfer         gear            or    other         motion         translation            components                 between              the


20     component           bearing                         ones    units            indicia              ie        the    units           rotational          ring     307                aid    the


       component          bearing                     tens    units          i   ndi ci a     ie the tens cone 308 This arangement requires
       fevver      pats       is    more economic d                                in    function            aid    is    more compact                   In    addition          the use of


       fevver      components                         in    a dose counter                     reduces            the     number           of    components             that          must        be

       malufactureol                within                  certjn               tolerance               ranges          aid        thus     reduces            the    possibility                    of



25     component          incompatibility                          or    i
                                                                             noperaDi          I   iti   es due to tolerance                stack    up

           00154          The           interaction                    aid        sequence                for     causing          the    tens    cone          308    to    change              the


       i   ndi ci a displayed                    in   the viewing window                                 379 involves              engagement            of    one    of the          lugs       368


       on the units rotational                              ring   307 with                  one         of the    spokes 396 on the tens cone 308                                        As seen

       in    FIG 29A           as the units rotational                                   ring 307            rotates      in        direction       of    arow 393 one of the

30     lugs      368 thereon                     eventudly             moves             into engagement                  with           the spoke 396a on the tens cone


       308 FIG 29A                  illustrates the relationship of the                                           lug 368 aid spoke                  396a       A the time of their

       initial
                   engagement                     caused           by rotation                 of        the units rotational               ring     307 relative to the tens




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       cone     308 As the                  units        rotational         ring    307 continues                  its   rotation              the    lug     368 pushes the


       spoke 396a to the                    left    as viewed              in    FIG 29B             thereby        causing          the tens cone               308 to rotate


       about     its    axis      in    a counterdockwi                            manner           as illustrated             by     arrow           401 As shown                    in




       FIG 29C continued                           rotation       of the units            rotational             ring 307 causes                 the       lug 368 to further


 5     push     the     spoke 396a to the left                            thereby         causing          further       counterdockwise                       rotation        of the


       tens    cone        308 about               its   axis    in       direction       of    arrow            401     Eventually              as        illustrated        in   FIG


       29D      the lug 368 pushes the                          spoke 396a so far that rotation                            of the tens cone                    308 moves the


       spoke 396a out                  of    the      path      of    the       advancing            lug    368     ie below the lug 368 as seen                                      in



       FIG     29D           Once       this happens                  further       counter           dockwise            rotational             movement             of the       tens



10     cone     308        stops        and         a new         tens          units     number            is
                                                                                                                  aligned       for       observation               through         the



       viewing         window           379         In an       embodiment                where          the tens units          number               is    rotated   to      show a

       count    down         of the         number             of dosages          remaining              the     new    tens units             number          displayed          will



       be a number            smaller than the previous                            number            that      was displayed


       00155                Rotation          of the tens cone                    308 relative            to the       rotation       of the          units     rotational         ring


15     307     occurs        each           time         one     of       the     lugs     368           engages         one    of     the           spokes       396         In   one


       embodiment              there         are two           lugs       368 on the units rotational                      ring      307 so for every complete

       rotation       of    the   units        rotational             ring      307 which                represents       twenty           ones units            numbers            the



       tens    cone        308    is   rotated           through           two     tens units            numbers          In    alternative                embodiments              the


       rotation       of the      tens cone               308 as a function                 of rotation            of the units                rotational        ring 307          may

20     be made more               frequent               or less frequent               by providing               more     or fewer             lugs        368 on the units


       rotational          ring   307         In the       illustrated            embodiment                the conical          surface             394 of the tens cone


       308 has         thirteen        tens units              numbers            bearing        arcuate          segments           and        on     its    internal        surface


       395     the    tens cone             308 correspondingly                         has thirteen             spokes 396               If    more         or fewer         arcuate


       number         segments              are desired              to   be provided               on    the tens       cone        308        the        number        of   spokes


25     396 must therefore                    accordingly              be adjusted           in      a likewise fashion


       00156               The     position              of the tens cone                308    is    maintained           as   it   is    indexed            through         each of


       its   tens units        numbers               for   display          by the        interaction             of the    splines             399 and         the projection


       386 on the housing                     309         as   illustrated         in    FIGS 30A 30D This arrangement                                           also     provides


       a mechanism                for       establishing              a zero            count       for     the    dose        counter           302         thus     preventing


30     further       count        down        number            changes           when         that      zero     dosage        count           is   reached        As seen           in




       FIG 30A             the    projection               386       is    shaped        to extend             between         adjacent              splines     399 such            as


       between         splines         399k          and       3991 The             sequence              of     movement            shown            in     FIGS     30A 30D


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       corresponds               generally        in       position       to the       sequential                  movement               positions           of the         tens     cone


       308     in     FIGS 29A 29D                     As seen           in    FIG 30B                    as the tens cone                 308       is   rotated       in     direction



       of    arrow      401        relative        to      the     conical       housing                  section        383          the      spline       3991        engages           the



       projection           386      and     bends           axially          inwardly               to    ride     over        the       projection             386         FIG       30C

 5     illustrates          continued        movement               of     the tens        cone             308     relative          to the         projection           386         Once

       the     spline        3991      has        moved            past        the     projection                  386         it
                                                                                                                                      snaps          back        to     its     original


       configuration               as seen    in      FIG 30D


       00157                When       the       projection             386     reaches              the        spline        399m          a locking            of     components


       occurs         Spline        399m         is    larger       than       the     other              splines        and         thus      unable        to       bend      radially


10     inwardly         upon        engagement               with the projections                          386 This thus                  locks       the tens cone                308     in



       rotational           position       relative          to    the    conical          housing                section           383        and    also       with       respect        to


       further        rotation       relative         to the       units       rotational                 ring    307     Once            one     of the         lugs    368       on the


       units    rotational          ring     307       again       moves         into      engagement                   with         one of the spokes                    396      on the


       tens cone            308     further       rotation         of the       units      rotational               ring       307        is   prevented           At that           point


15     both    the     units       rotational          ring       307     and the tens cone                        308    will
                                                                                                                                      display         a Cr numeral                   in   the



       viewing         window          379 To              the extent          further     medication                    is   present          in    the    aerosol         container


       it
            may be dispensed                 by a user            using       the     aerosol              dispensing               assembly          but    the       dose counter


       302     will    not       register    any        further         dosage        counts                As an alternative                     the      aerosol        dispensing


       assembly         could        be designed              to cease          dispensing                  doses        of medication                    once    the     zero       count


20     has been        reached         for example                by limiting           the free                movement             of the indexer               304


       00158                In     essence         the       inventive          dose       counter                302     in        the   embodiment                  illustrated          in




       FIGS         2130           operates           in    the    following            fashion                  When          a user          actuates          the      inhaler          by


       pushing         the       aerosol      container             70        downwardly                    into    the       actuator           housing           68        the     valve


       ferrule        110    engages        the       indexer       304        to push          it
                                                                                                      downwardly                    Indexer          304    engages            and then


25     causes         rotation       of     the       units       teeth        ring    305                The     units       rotational             ring        307      is    coupled


       rotationally           to the       units      teeth       ring     305        so   it        rotates       as well            As the          aerosol          container           70


       reciprocates           down         and     up       to complete              a single              dosage        of    medication                 therein       the     indexer


       304     and units           teeth    ring       305       also     reciprocate                 down and up                   relative         to the      units        rotational



       ring    307      When          complete              down        and     up     reciprocal                 movement                of   the    units       teeth        ring       305


30     causes       the units        rotational            ring    307        to rotate         on        its    axis   322 the            ring      307 has          a single        ones


       units     count           change       in
                                                       position           thereof          Rotation                of    the         units       rotational            ring        307      is




       translated           into    rotation          of    the    tens       cone     308           by engagement                    of       the    lug    368       on      the    units




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       rotational       ring    307 with              one of the spokes                     396 on the tens cone                             308      However            the tens


       cone 308         is
                             only rotated            periodicdly             relative to the units rotational                                  ring   307        to indicate        a


       change      in   decade           of the      counts          ie the tens cone 308                              is
                                                                                                                            only moved               once for every ten


       movements             of the units rotational                   ring      307         Each time the units rotational                                ring 307 counts


 5     ten    ones units counts                  the tens cone 308                     is   indexed              one position               to change           the tens units


       count displayed           thereon


       00159             In the      illustrated                embodiment             shown               in    FIG 24           a maximum dosage count                           of


       129        medication         dosages              is    shown This d lows for some testing                                          of the    aerosol         dispensing


       assembly         eg nine                initial          tester      counts           wai       I   d31   e with      120       user     wai    I   d31   e dispensing


10     counts     remdning As noted dDove                                    changing             the frequency                   or    spacing        of    indicia          on the


       units rotational          ring         aidor tens cone along with corresponding                                                 changes         in    the interactive


       geometry         between           those components                        d lows modification                         of       the possible              count    i   ndi ci a


       shown


       00160             A fourth             embodiment               of   the inventive                   dose counter               is    illustrated         in   FIGS 31

15     40    This embodiment                    is   referenced             as dose counter                      402    rc FIGS 37A aid 37B aid                                    is




       generally        similar to             the        third      embodiment                  except           that      the    mechalism                for       preventing


       reverse     movement              of the counter                components                 has been             modified             The tens cone no                  longer


       has    splines visible             through               a circula        hole        in    a conic d             housing             section       of    the    housing


       Instead       the      tens       cone        has        al     anular          sawtooth                  aray       disposed           to    engage           a beveled


20     protrusion on           al inner movdDle face of the housing


       00161             FIGS 3134                   illustrate a tens cone                       408 of the fourth embodiment                                   dose counter


       402     The      tens    cone          408        has     numbers          12    to       0 arangeol                 descending              dockwise              out      ai


       extern d     conicd        surface            484        of the tens cone 408                       when viewed from al wex of the conicd

       surface     484        ie         in   the     sequence              12    11    10        9 8 7 6 5 4 3 2                       1
                                                                                                                                             0 The          orientation           for



25     readability       of the      numbers               is   similar to the orientation                         on the tens cone                  8 On the tens cone

       408 the conicd             surface            484 extends only in a bald                                  adjacent     al outer circumferentid                          edge


       of    the tens cone           408         Concentricdly                   within          the       bald        the tens cone                408 has           al anular


       recess 435 sloped                 such       that the         recess 435             is   deepest           nearest al           axis 437           of the tens cone


       408    A    short      cylindric         d    wall        441    forms al inside wall                           of the      recess       435        Radidly            within


30     the cylindric d wall 441                      is   al anular          sawtooth             aray 443 surrounding                             al axid        hole 445         A

       narow       redid       in fill        dement 447 bridges                       the        deepest          pat       of    the recess 435 between                        the




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       extern a          conical    surface 484 and the cylindrica                         wall       441     A about the 6 odock                       position


       as indicated           by the tens units digits on the extern a                           conical         surface      484     cc FIG 32
       00162               An internal          surface      495 of the tens cone 408                       is   formed the sane as the internal


       surface       395      of the tens cone             308 beaing           radial     spokes 496 and a spindle 497 thereon                                 cc
 5     FIGS         33    ad 34

       00163               For this        fourth      embodiment               a housing             409     is   provided           which       agan has               a


       genera       ly     cylindrica           body        462     with       two        forward          legs     466        extending          downwardly

       therefrom           aid a viewing           window 472 thereon                      Like the housing                  309 the housing             409 has


       a pluraity             eg three           of    doorframe features                  476 thereon              shaped          similaly and for the


10     sane function as the doorframe features                                 376 of housing                309 to dip the housing                      409 to a


       lid   for the       dose counter          402        The housing           409 also has a lateral                     shelf    481     therein         which

       has a centra             hole 482 thereth rough                for      accommodating                 the nozzle block                of   the actuator


       housing


       00164               On      a rear side thereof              defined          as     including            the    viewing           window        472      the


15     housing           409    has     a conical          housing        section         483    extending             downwardly             therefrom         aid


       designed          to   accommodate             the tens cone 408 therein                        as seen         in   FIGS 37A             and    37B The

       tens cone           408     is
                                        aligned       to   rotate    in    a staole        manner           about      al axis directed                diagonally


       forward aid             upwad       from the rear of the housing                         409 The            relationship of the             axis 437             of



       the tens cone 408 relative to al axis 422 of the housing                                             409     in   this      embodiment           is   simi   I   a
20     to    that    illustrated         and    stated       for    the    those      axes of          the       sane components                  of    the    third


       embodiment compare                       FIGS         37A     aid       37B with          FIG        26         The    conical       housing          section


       483    is    shaped         internally     to       genera    ly    conform to the                  extern a         side    of the    tens      cone 408


       except within             the cylindric a wall 441                  aid recess 435 thereof                      The     conical       housing         section



       483 has al inner plana                    face 454 that            is   flush with            atop    surface         which corresponds                to the



25     cylindric a         wall     441 except             for a bevded          protrusion 455               designed to fit              between the teeth


       of    the    sawtooth            array   443         That    portion       457       of       the    conical         housing        section      483     that



       corresponds             to the     recess      435 of the          tens cone          408 has             a protruding             ramp 459       directed


       axid ly       inwards and designed                   to abut the         in fill     element          447 when              the tens cone 408 has


       rotated       far      enough      to bring the         ramp 459 and                in fill     element           447       into   engagement           This


30     ultimately          corresponds          to the       zero    position        for the         counter       dements           of    the    dose counter


       402




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       00165                FIGS                37A        and    37B       illustrate     the     tens       cone     408        housing        409     and        other



       components                of    the dose counter                     402    Those        other    components           conform            generaly          to the


       configuration              of        like      components            in    the embodiment illustrated                   in   FIGS 2130                  Thus         a


       lid   403        corresponds                to    lid     303     al indexer        404 corresponds                 to indexer       304        a units teeth


 5     ring       405     corresponds                   to units teeth            ring   305      a compression              spring    406 corresponds                     to



       cornpressi on             ring           306 and a units rotational                      ring 407      corresponds           to units rotational                  ring


       307 The             lid   403            indexer         404      units teeth       ring    405       spring        406 and     units rotational                  ring


       407        are assembled                 with the tens cone 408 aid housing                            409 as illustrated            in   FIGS 37A                and


       37B         This assembly                      other      than the        relationship         between        the tens       cone 408 and housing


10     409        is
                        genera        ly
                                            identical          to that      illustrated     in   the embodiment of                  FIGS 2130                 Indexing


       of the          units rotational                 ring 407       is   accomplished          in    the sane manner              in the      embodiment of

       FIGS 3140                 as        in   the embodiment of FIGS                      2130             In addition       indexing of the tens cone


       408        is    accomplished                  in   the    sane manner              in   the     embodiment           of     FIGS      3140           as     in   the


       embodiment                of        FIGS            2130          The      spokes    496        of    the    tens     cone    408      ae periodicaly

15     engaged            aid     advalced                 by     a lug      468     on the       units       rotational      ring    407         in    the    fashion


       illustrated         schematically                   by    FIGS 29A 29D                   and     as illustrated for like structure                     in    FIGS

       39A 39E


       00166                An outer cylindric a                         surface 466 beas ones units indicia of the units rotational


       ring       407 aid         is       viewable through                 the viewing window                 472         The tens cone 408 beas                        tens


20     units indicia             on        the     extern a        surface        484 thereof               When     assembled         in    the       dose counter


       402 the           indicia           on the surface 466 and the surface                           484     ae talgenti al ly           aligned      within          the


       viewing           window             472          A the common               viewing           area     to   present       a representative                 dosage


       count to a user                     The        indicia     beaing         surfaces       ae aligned          like   those of like structure                  in the


       eal er described
              i                            embodiments


25     00167                As seen                in    FIGS          35 aid      36     the    conical       housing        section       483        has    a center


       pivoting           section          461        which       is   sepaated          from     the conical         housing        section       483 along              its




       side       edges 463                and 465 and             its   top     edge 467         This       configuration          thus    allows the             center



       pivoting           section               461      to     flex     outwards        slightly        from       a bottom          portion          469        thereof


       connected           to the           conical           housing       section      483 to allow          the bevded           protrusion          455 to ride


30     over the sawtooth                        array      443    when       sufficient         force   is   applied       to cause     rotation         of the          tens


       cone 408




                                                                                           43




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       00168                FIGS         40AAKE                   illustrate             schematically                 aid          sequentially              the     interaction


       between         the       bevded         protrusion             455          on the             center       pivoting          section           461     of   the     conical



       housing        section        483 of        the       housing            409            FIG 40A shows the                            relationship             between        the


       bevded         protrusion          455 aid the teeth of the sawtooth                                         array      443     when the tens cone 408                        is



 5     fixed     in    place       rotationally              to    display           one        of       the    tens       units       numbers            thereon          such      as


       aligned        in    FIGS         37A      and        38A As the tens cone                                    408       is    rotated        counterclockwise                 to



       chaige the tens units number                               displayed               in   the viewing                window 472                    a tooth      443a      of the


       sawtooth        array       443     moves         to the          left       as seen              in    FIG 40B                aid pushes               ramp on         ramp

       agd nst the bevded                  protrusion              455        causing             it    to bend       outwadly               downwadly                 as viewed


10     in   FIG      40B When the apex of tooth 443a encounters                                                        the apex of the bevded                          protrusion


       455     the     center       pivoting          section          461      is       bent          A its    most       outwad                position       relative      to the


       conical    housing           section       443 as seen                  in    FIG 40C and as al SD seen                               in    FIGS 37B            aid     38B

       Continued            counterclockwise                   movement                  of the         tens       ring   408 causes               the tooth         443a      of the


       sawtooth        array       443 to move past the bevded                                         protrusion         455 ramp on ramp thus reducing

15     the extent          of interference            and allowing the center pivoting section                                               461        to flex back         toward


       the tens cone 408                 or upwadly                    as viewed                in      FIG        40D         Once a tens               units numeral            has


       been    chaiged             by    rotation            of    the        tens       unit          408     the     bevded           protrusion              455     is   seated


       between        the tooth          443a and a next                      tooth       443b          of the      sawtooth           array       443 thus preventing

       further    forward           or reverse           movement                   of    the tens cone 408                         until    it    is   agd n caused           to   be

20     rotated    as a function of the rotation of the units rotational                                                    ring      407

       00169                Eventually            the        in fill          element             447         on    the     tens       cone         408       is     rotated     into


       abutment        with       the ramp 459 on the housing                                     409         Following             this point          of    abutment        when

       the units rotational                ring    is
                                                        showing               a 9 as        its        ones units digit                as the units rotational                  ring


       408 completes               its   last   ten     ones units counts                          the protruding                   oblong        lug 468 cai no longer


25     move     a radial          spoke 496 on the tens cone 408                                        Thus the units rotational                         ring 407 will         also


       be unable           to advaice       beyond             0 as its        ones units digit once the tens cone 408 has reached 0


       as its tens units numeral despite further actuations                                                    of the inhaler



       00170                In    essence         the    inventive              dose counter                    402       in    the embodiment                     illustrated       in



       FIGS       3140            operates        in    the        following               fashion             When            a user        actuates          the    inhaler       by


30     pushing        the        aerosol    contAner               downwardly                      into       the    actuator          housing            the      valve     ferrule



       engages the               indexer    404         to    push       it    downwardly                      Indexer          404 engages aid then                         causes


       rotation of the            units teeth          ring       405 The                units rotational                 ring 407          is
                                                                                                                                                  coupled       rotationally         to




                                                                                               44




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       the units teeth ring 405                         so    it    rotates      as well              As the aerosol                contaner            reciprocates                 down

       aid up to complete                        a single dosage of medication                                therein         the indexer              404 and units teeth


       ring    405     also       reciprocate              down           aid     up        relative         to       the    units         rotational       ring       407          When

       complete        up aid down                     reciproca              movement                 of   the units teeth                 ring    405 caucs              the units


 5     rotational         ring        407 to rotate                on    its    axis       422         the ring 407             has         a single ones units count


       chalge        in   position               thereof           Rotation           of    the       units       rotational            ring      407      is   translated            into



       rotation of the tens cone 408 by                                  engagement               of the         lug 468       on the units rotational                      ring 407


       with    one     of    the           spokes      496 on            the tens cone                  408           However              the    tens cone 408                 is   only


       rotated   periodicaly                     relative to the units rotational                            ring      407     to indicate             a chalge            in   decade


10     of    the count       ie the tens cone 408                                is
                                                                                       only moved                 once for every ten                    movements                   of the



       units rotational                ring       407        Each        time the               units rotational              ring         407 counts            ten    ones units


       counts    the tens cone 408                      is    indexed           one position to chalge the tens                                   units counts             displayed

       thereon


       00171              A fifth           embodiment of the                    inventive              dose counter               is      illustrated      in       FIGS       Al   Al
15     This    embodiment                   is    referenced             as dose counter                      502       cc      FIGS             45A    aid          45B        and       is




       generaly           simila to the                 third           embodiment                    except          that    the          mechanism            for     preventing


       reverse       movement               of the counter                components                   has been         modified              The tens cone no longer

       has splines visible                       through       a circular             hole        in    a conical            housing             section        of   the    housing


       Instead       the tens              column has al annula                                 array       of   teardrop          shaped           recesses disposed                     to


20     engage a teardrop                    shaped       protrusion              on al inner face of the housing                                     In addition            the tens


       cone     of    this        embodiment                       and    its    associated                  housing          and           units    rotational             ring          ae

       configured           to    allow           a rocking              motion            of    the    tens          cone    as      it    is   rotated        to    engage          aid


       disengage          one         of   its
                                                  teardrop          shaped       recesses with                    the teardrop               shaped     protrusion              on the


       housing


25     00172              FIGS 4143                     illustrate            a tens cone               508 of the            fifth         embodiment dose counter

       502 The        tens cone                  has   numbers           12 to 0 arranged                    descending               clockwise            about al externa


       conical       surface          584 of the tens cone 508 when viewed                                             from al
                                                                                                                               apex
                                                                                                                                    of the conical                              surface


       584    ie      in    the sequence                 12        11    10    9 8 7 6 54               32        1   0 The         orientation            for       reacIdoi   I
                                                                                                                                                                                    ity   of


       the    numbers            is    simila to the                orientation                 on the       tens      cone     8 On the tens cone                          508 the

30     conical       surface           584 extends only                   in    a band adjacent                       al outer circumferential                         edge of the


       tens cone 508                  Concentrically                within        the band                  the tens cone                  508 has al annula                    surface


       535 which            adjoins              the conical            surface        584 and extends                       perpendicula               to al axis 537 of




                                                                                                 45




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       rotation     for the       tens cone                 508    An alnul a aray 537 of teardrop                                        shaped    recesses             539     ae

       disposed      on the alnul ar surface                        535 Each          teardrop           shaped           recess          539 has       its    narower end


       pointed      radi   A ly outwadly                     from the axis 537 of the tens cone 508                                         ConcentricAly                 within


       the   anular        surface             535 the tens cone 508 has al anular                                         recess 541             that     is   sloped         such


 5     that the    recess 541              is    deepest          nearest the        axis 537 of the tens cone                            508 The             alnul ar recess



       541    Aputs aid          surrounds                  a protruding         boss 543           of    the tens cone 508                       with         the boss 543


       being coaxi A with the axis 537                              A narow           radi    A    in fill     dement 545 bridges the                               recess 541


       between      the     anular               surface          535    aid the boss 543                    A Apout            the       6 odock               position             as


       indicated     by the tens units digits on the extern A conicA                                            surface              584

10     00173             An internal                  surface      595       of the tens cone             508    is       formed the sane as the internal


       surface     395     of the tens cone 308                         and the sane as the internal                            surface          495 of the tens cone


       408     bearing       radi     A spokes 596 aid a spindle 597 thereon                                          secs      FIG 43

       00174             For      the          fifth
                                                            embodiment              a housing            509         is    provided              which          again      has        a


       generally       cylindricA                     body        562    with       two       forwad            legs        566           extending             downwardly

15     therefrom         aid a viewing                      window 572 thereon                    Like the housing                    309 the housing                    509 has


       a plurality        eg three                     of    doorframe features                576 thereon                  shaped           similaly aid                for the


       sane function             as the doorframe features                           376 of housing                  309 to dip the housing                           509 to a


       lid   for the     dose counter                  502        The housing            509 also has                a later d            shdf    581     therein         which


       has    a centrA       hole 582 therethrough                            for   accommodating                    the nozzle block                     of    the actuator


20     housing


       00175             On      a rea            side       thereof         defined      as      induding                the   viewing           window             572         the


       housing      509      has       a conic d               housing         section        583        extending              downwardly                therefrom             aid


       designed      to    accommodate                      the tens cone 508 therein                         as seen           in    FIGS 45A                aid   45B         The


       tens cone       508       is   dignecl          to rotate         generally            out    al axis directed                      diagonally           forwad aid


25     upward      from the rea of the housing                                509 The         relationship of the axis 537 of the tens cone


       508     relative      to       al        axis        522    cc         FIGS        45A       aid        45B          of       the     housing            409       in    this


       embodiment           is   si   mi   I   a to that illustrated aid stated for those axes of the sane components
       of    the   third     embodiment                      compae            FIGS       45A        aid       45B          with          FIG      26           However              as


       explained       bd ow during                     rotation        of    the tens cone 508                 it    wobbles              or rocks           relative to the


30     housing      509      so that            its    axis 537 changes              slightly        in      orientation             relative to the             axis 522 of


       the housing         509 such as illustrated by comparison                                         of algle ai                 in   FIG 45A             to algle         132
                                                                                                                                                                                     in



       FIG     45B        wherein              ai      is   greater      thal
                                                                                    a2    The        conic A              housing          section        583       is   shaped



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       internally     to generally                   conform        to the       extern a     side    of the tens cone               508 except within                       the


       anular       surface           535       aid recess 541               thereof     As best        seen       in   FIG 44             the conic a            housing


       section     583     has        a generally            plaor surface           551      that    corresponds             to the anular                 surface         535


       aid recess 541                of     the tens cone              508    A teardrop         shaped        protrusion            553        extends          inwardly


 5     from the plaor surface 551                            A the lowest           point     corresponding             to the alnul ar surface                        535       of



       the tens cone 508                     aid      is    shaped      to conform to each                  one    of   the thirteen                teardrop       shaped


       recesses      539      on         the tens cone              508      A    ramp 555           also    projects          inwardly             from the           plaor

       surface       551             radialy               inwardly          from      the      teardrop           shaped            protrusion                  553        aid


       ci   rcumferenti          I
                                     y     offset     theefrom The ramp 555                      is   designed to project                      inwardly          sufficient



10     to dout the        in fill          dement 545 when the tens cone 508 has                                    rotated         far enough             to bring the



       ramp 555        aid in fill               dement 545             into     engagement            This corresponds                    to the zero            position


       for the     counter            dements              of the    dose counter           502       The conic a              housing              section       583       also


       has a hole 557 shaped                         to    accommodate            the boss 597 of the tens cone 508 Above the hole


       557     a portion             of the       conica         housing         section      583     has    a diagonal             cutout          559 to fad          I   itate




15     assembly       of the tens cone                      508 aid the housing               509 The         cutout      559 aid hole 557 interface


       so that     the diameter                  of the      boss 543         of the   tens     cone 508 must be pushed                                  past    a slightly


       necked      region            561     in      the conic a        housing        section        583    during assembly                        so    that    the boss


       543    dips into place                   in   the housing           509 upon         assembly Like the housing                               309 the conica

       housing      section           is   aso provided             with      a gutter portion 585                for support             of the         spindle 597 of


20     the tens cone 508


       00176             FIGS              45A        aid        45B    illustrate     the      tens        cone    508            housing           509        aid     other



       components           of       the     dose counter              502       These      other     components               conform              generally          to the



       configuration          of         like    components             in   the embodiment             illustrated           in   FIGS 2130                    except for


       a revision to the underside                           of the     units rotational             ring    507 As seen                  in   FIG 47            the units


25     rotational     ring 507 has                    al ainular        base 546       A a bottom            thereof          A circumferentia                     rib 550


       is   disposed       on the anular                     base      546    A circumferentia                groove          552     is       also provided                on    a


       bottom       surface           of    the      anular         base     546     coaxid          within    the       rib       550     The           groove        542       is




       provided      to    accommodate                      the spindle 597 of the tens cone 508                               A    all    rotational            positions


       of    the   units    rotational                ring   507 with            respect      to the    tens      cone        508         In    this      embodiment

30     however       the groove                  552 has two           di ametrica
                                                                                         ly    opposed        smoothly             radi
                                                                                                                                               ly   scooped deeper


       recessed      regions               565       that    extend      radialy       slightly        beyond           the    groove           552        aid     radialy


       inwardly      past     the groove                   552   aid into a cylindrica                section       564 of the units rotational                             ring




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       507    The       recessed         regions       565     ae designed             to    O low the         spindle 597 of the                 tens cone        508


       to   move        to   a temporary               off axis      position          while       registering             a change        in   the   tens     units


       number count               as explained             bd ow


       00177             As       noted        Opove         the     other      components              of     the        dose     counter        502      conform


 5     generally        to the     configuration              of   like    components              in   the embodiment                illustrated       in    FIGS

       2130        Thus       a    lid    503       corresponds           to    lid    303       aid    indexer           504 corresponds             to    indexer


       304 a units teeth              ring      505        corresponds          to units teeth          ring      305        aid a compression               spring


       506 corresponds              to compression                 ring    306 The           lid    503 indexer              504     units teeth        ring    505

       spring 506 aid units rotational                        ring 507          ae assembled with the tens cone 508 aid housing

10     509 as illustrated            in   FIGS 45A             aid        45B     This assembly other thal the relationship of the


       tens cone        508 with the units rotational                       ring 507 aid the housing                         509     is   generally        identical



       to that     illustrated       in the         embodiment            of    FIGS 2130               Indexing            of the units rotational                ring


       507    is   accomplished                in   the     sane mainer               in   the     embodiment               of    FIGS         N AI     as    in   the


       embodiment            of    FIGS 2130                 In addition          indexing of the tens cone 508                           is   accomplished          in




15     the sane mainer               in   the embodiment                  of   FIGS 4147                as   in   the embodiments of                  FIGS 21

       30 The spokes 596                  of the tens cone                508 are periodicOly                     engaged         aid advanced             by a lug


       568    cc FIG 47 on the units rotational                                  ring      507      in the fashion               illustrated      schematically


       by FIGS 29A 29D                    and         as illustrated for like structure                   in   FIGS 39A 39E


       00178             An outer cylindric O                  surface         566 bears ones units                   i   ndi ci a of the       units rotational



20     ring   507       aid   is   viewOple            through       the viewing             window          572 The          tens cone         508 bears tens


       units indicia          on    the    extern d          surface       584 thereof              When          assembled           in    the    dose counter


       502 the      i   ndi ci a on      the surface 566 aid the surface                            584      ae talgentially               A igned within the


       viewing      window           572        A the common                   viewing           area     to   present           a representative            dosage

       count to a user             The     i   ndi ci a bearing           surfaces         ae A igned          like       those of like structure             in the



25     earlier described            embodiments


       00179             As illustrated               in   FIGS      45A        aid 45B           and     in   FIGS          46AA6C               the tens cone


       508 rocks         or moves         off the          axis as   it   indexes from displaying                         one tens    units       number      in   the


       viewing window               572 to a next tens units number                                When      the lug 568 of the units rotational


       ring   507 engages one of the radid                            spokes          596    of the tens          cone 508 the tens cone 508                         is




30     caused      to    rotate          out    its    axis    537         This       rotation      becomes al               off axis      movement          as the


       teardrop         shaped       protrusion             553      rides      out     of   whatever             teardrop         shaped         recess     539      it




       currently        is   in    The     recessed          region       565     that      the    spindle 597 of the tens cone                         508    is    in




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       d lows the spindle 597                 of the tens cone                     508 to swivd           off axis           mdcing        such       rotary off axis


       movement          of the tens cone                508 possible               As rotation           of the tens cone                 508    is
                                                                                                                                                        completed             as


       a function        of   rotation       of     the units rotational                    ring    507        a next teardrop               shed            recess         539


       comes      into    registration         with           the teardrop            shed              protrusion           553        on the   conic            housing


 5     section    583     A s the units rotational                           ring 507 continues            its    rotation          the recessed             region         565


       is   moved     out      of     engagement               with          the    spindle        537     aid        the     spindle again                 rides      in   the


       groove     552 that bears against the spindle 597 aid pushes                                              it    back    on axis where it                   remdns

       for the next       9 ones units digits counts                           of the units rotational                 ring    507

       00180             FIGS 46A             aid 46B correspond                       to the position of the tens cone 508 when                                            one

10     of   the teardrop         shed              recesses           539      thereof       is    in    mated         engagement            with       the teardrop


       shed       protrusion          553      of       the conic d             housing       section       583         as    also       shown         in    FIG       45B
       FIG 460           illustrates         the    off axis           movement              of    the    tens        cone     508        relative          to   the     units



       rotational     ring      507 which               is    d owed by the
                                                                 I                           recessed       region           565        thereof       when        none        of


       the teardrop           shed      recesses              539 on the tens cone 508 are                             in    mated engagement                     with      the


15     teardrop     shed protrusion 553                              of the     conic d      housing        section          583        as also shown               in   FIG

       45A

       00181             Eventually            the       in fill             dement         545    on     the         tens    cone         508    is        rotated         into


       doutment      with      the
                                      ramp 555 on the housing                               509 Following               this point          of   doutment              when

       the units rotational             ring       is   showing              a 9 as   its    ones units digit                 as the units rotational                       ring


20     508 completes            its   last   ten        ones units counts                   the protruding              oblong           lug 568       can       no longer


       move     a radid        spoke 596 on the tens cone 508 Thus                                        the units rotational                  ring 507 will               also


       be undole     to advance          beyond               0 as its        ones units digit once the tens cone 508 has reached                                              0


       as its tens units        numerd despite                       further actuations             of the inhder



       00182             In    essence         the       inventive             dose counter              502     in    the    embodiment                illustrated           in




25     FIGS       4147         operates        in       the     following             fashion           When          a user        actuates       the       inhder          by


       pushing      the       aerosol    container              downwadly                   into   the     actuator           housing           the    vdve         ferrule



       engages the            indexer    504 to push                    it    downwadly                 Indexer        504     engages           aid then           causes


       rotation     of the     units teeth          ring       505 The             units rotational            ring     507        is   coupled       rotationally            to


       the units teeth ring 505                    so    it    rotates         as well       As the aerosol                 container        reciprocates                down

30     aid up to complete               a single dosage                       of   medication           therein        the     indexer          504 aid the units


       teeth   ring 505        also red procate                down aid up               relative to the units rotational                         ring       507 When


       cornplete     up aid down               red procd                movement             of    the units teeth             ring       505    causes          the units




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       rotational         ring    507 to rotate           on   its   axis    522      the ring    507 has       a single ones units count


       change        in
                           position      thereof        Rotation        of     the   units    rotational      ring    507     is   translated     into


       rotation      of    the tens cone          508 upon           engagement         of the    lug   568 on the units rotational               ring


       507 with        one of the spokes 596 on the tens cone 508                                However        the tens cone 508           is   only


 5     rotated       periodicaly         relative to the units rotational                 ring    507    to indicate      a change       in decade



       of the    counts       ie the tens cone 508                    is    only moved          once for every ten movements                    of the


       units ring         507         Each   time the units rotational                 ring   507 counts       ten    ones units counts            the


       tens cone 508             is   indexed    one position to change the tens units counts displayed                                thereon


       00183               In each      embodiment those               portions        of the    components          of the   dose counter        that



10     ae designed           for engagement               eg sawtooth                protrusions        on   al indexer       aid inner     ring    of



       teeth    on    a units teeth ring           el   rcumferenti            rim or oblong           lug on a units rotational          ring aid



       pegs or spokes on a tens cone                       ae formed from mated                    s    eg     suitaDle       polymers     that    ae

       durable       but of adequately            low friction         to facilitate      ready interaction


       00184              Although           the present       invention        has been        described     with    reference       to preferred


15     embodiments workers                      skilled   in   the at will           recognize    that changes         may be made         in    form


       aid   detail       without      departing        from the      spirit    aid scope of the invention




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           What   is    claimed is




  1    A   dose counter       for use        in       connection         with      a device       adapted for metered            dispensing

  of a medication       the dose counter comprising


            a   first    count        indicator        having        a   first     indicia      beaing         surface   the    first      count


                         indicator       rotatable       about a first           axis     aid


            a second       count         indicator          having       a second         indicia       beaing       surface    the      second


                         count indicator rotatable                   about a second axis


                                      wherein          the    second        axis     is    disposed        A    al   obtuse     algle        with


                                                  respect to the           first
                                                                                   axis     aid


                                      wherein         the    first    aid second           indicia       beaing      surfaces        align   A    a


                                                  common             viewing        area to       collectivdy         present        A    least   a


                                                  portion       of a medication             dosage count




  2    A   dose counter       for use        in       connection         with      a device       adapted for metered            dispensing


  of a medication       the dose counter comprising


            a   first    count        indicator        having        a   first     indicia      beaing         surface   the    first      count


                         indicator       rotatable       about a first           axis     aid


            a second       count         indicator          having       a second         indicia       beaing       surface    the      second


                         count indicator rotatable                   about a second axis


                                      wherein         the    first    aid        second     axes        are not   disposed      in       coaxial


                                                  paral Id       or perpendicul           a alignments relative to each other
                                                  and


                                      wherein         the    first    aid second           indicia       beaing      surfaces        align   A    a


                                                  common             viewing        area to       collectivdy         present        A    least   a


                                                  portion       of a medication             dosage count




  3    A   dose counter          of    claim      1    or claim       2 wherein the             first    beaing      surface    is   a conical


  surface relative to the        first   axis




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                                                             Appx263
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  4          A    dose    counter      of       ay one of the               preceding         daims wherein the                     first    ad        second


  i   ndi ci a beaing      surfaces        ae tagenti                A the common              viewi   ng      area




  5          A    dose counter       of aly          one    of the preceding             daims wherein               the   first    ad second               axes


  are disposed            A al ogle             of   greater    thal    90 degrees            ad less thal             180 degrees relative to


  each other




  6          A    dose counter       of    clam 5 wherein the first                      ad second           axes are disposed                A al ogle

  of       110 degrees to         160 degrees relative to each                     other




  7          A    dose counter       of    clam 6 wherein the first                      ad second           axes are disposed                A al ogle

  of       125 degrees to 145 degrees relative to each                             other




  8          A    dose counter        of        any    one    of    the preceding            daims wherein                 the     common          viewing


  area       is
                  generdly        tagenti d          to a circumferentid                 surface      of    a cylinder          disposed          about the


  second          axis




  9          A     dose   counter      of        aly one        of   the     preceding          d aims wherein the                    second           indicia



  beaing surface             is   a cylindrical            surface   relative to the          second        axis




      10     A    dose counter       of
                                           aly
                                                      of the preceding            daims wherein              the viewing            area is generd            I

                                                                                                                                                                  y


  parallel        with the second           i   ndi ci a   beaing surface            of the second           count indicator




      11     A dose counter          of
                                          aly one
                                                            of the preceding             daims and           further comprising



                   a rotation initiating              element on the second                  count indicator            aid


                   a rotation following                element on the            first   count indicator


                                          wherein             rotation      of     the       second        count       indicator            engages          the


                                                           rotation      initiating          element          thereon        with           the    rotation



                                                           following        element          on the        first    count        indicator        to    cause


                                                           rotation    of    the     first    count        indicator       as      a function          of    the


                                                           extent    of rotation of the second                     count indicator




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  12   A dose counter          of   aw one of the preceding                  daims aid further comprising

               a rotation    limiting     dement on the second                   count indicator                aid


               a rotation    following      d ement on the first count                      i   ndi cator


                                    wherein    the    rotation         limiting        dement aid the                   rotation           following


                                              dement        engage           A       times            during    rotation         of     the       second


                                              count       indicator          to      prevent            rotation       of    the        first      count


                                              indicator




  13   A dose counter          of   aw one of daims 1 to 10 aid further comprising
               a rotation    initiating    d ement on the first count                   i   ndi cator          aid


               a rotation    following      d ement on the second                    count        i
                                                                                                      ndicator


                                    wherein    rotation         of    the    first    count            indicator      engages the rotation


                                              initiating        dement            thereon              with     the    rotation            following


                                              dement on the second                     count            indicator      to cause         rotation       of


                                              the   second           count     indicator              as   a function        of    the      extent     of


                                              rotation     of the      first     count          indicator




  14   A dose counter          of   aw one of daims 1 to 10 or daim 13                                     aid further comprising


               a rotation    limiting     dement on the first count                   indicator             aid


               a rotation    following      d ement on the second                    count        i
                                                                                                      ndicator


                                    wherein    the    rotation         limiting        dement aid the                   rotation           following


                                              dement engage                 A times during rotation                         of    the     first    count


                                              indicator to prevent                rotation             of the   second       count indicator




  15   A    dose     counter     of      ay one      of   the    preceding             daims wherein the                         second           indicia



  beaing surface      is    a surface     extending       perpendicula               to the second              axis




  16       A    dose counter        of    aly one of       the       preceding              daims wherein the                     first     axis     aid


  second   axis are   coplana




  17   A dose counter          of aly     one of the preceding               daims aid further comprising



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                 a third    count         indicator           having             a third        indicia           beai ng         surface      the third       count


                            indicator          rotatdDle          about a third axis


                                          wherein            the third           axis    is
                                                                                                disposed                    al obtuse algle with             respect


                                                         to the      first       axis        aid


                                          wherein             the        first     and        third             indicia      beaing         surfaces        align    to



                                                         collectively               present                 a    medication          dosage         count     A     the


                                                         common              viewing               area          in    combination           with     the    second


                                                             ndi ci a beai               surface
                                                         i

                                                                                   ng




  18    A    dose counter            of    claim 17 wherein the                         first          aid third indicia beaing                     surfaces    align


  talgenti   al ly   a the common                viewing            area




  19    A     dose counter            of       daim          17     or     claim        18      wherein               the    second      and third          axes    ae

  disposed       A a90 degree algle relative to each other




  20         A    dose counter            of
                                                any one
                                                        of claims                       17    to       19       wherein         the first    second     and third


  axes ae copl       mar




  21         A dose counter               of
                                               any one
                                                       of the preceding                                daims          in    combination with           a metered


  dose inhaler having               a contaner           filled      with         a medication




  22    A    dose counter            for use        in       connection            with         a device              adgpted for metered              dispensing


  of a medication          the dose counter comprising


                 a first   count      indicator              rotatdDle           about       al axis             the    first    count      indicator    having       a


                            first    indicia       beaing            surface that               is      a conical            surface     relative to the          axis


                            aid


                 a second     count        i   ndi cator       having            a second          i   ndi ci a beai ng           surface


                                          wherein            movement              of    one           of the      count        indicators     is   initiated      as a


                                                         function           of    movement                  of the other          count     indicator       aid




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                                 wherein    the     first        aid second              indicia           beaing            surfaces         align      A   a


                                           common            viewing              area to             collectively           present          A     least    a


                                           portion     of a medication                       dosage count




  23    The dose counter         of   clam 22 wherein the                      first    aid second                i   ndi ci a   beaing           surfaces



  are tangenti   A the common           viewing      area




  24   A dose counter       of   clam 22    or clam 23 wherein the viewing                                       area is generally parallel


  with the second   i   ndi ci a beaing    surface of the second count                                 indicator




  25   A dose counter       of any     one of claims 22               to   24      aid further comprising


            a rotation initiating      element on the second count                                i   ndi cator        aid


            a rotation following        element on the                first    count         i   ndi cator



                                 wherein     rotation            of     the        second              count          indicator         engages          the


                                           rotation          initiating               element             thereon           with        the       rotation



                                           following             element           on the              first    count        indicator         to    cause


                                           rotation         of    the      first       count           indicator        as    a function            of   the


                                           extent    of rotation of the second                                 count indicator




  26   A dose counter       of
                                 any one of claims 22 to 26 aid further comprising


            a rotation limiting element on the second count indicator                                                 and


            a rotation following        element on the                first    count         i   ndi cator


                                 wherei n the       rotation           limiting element                        and the       rotation         following


                                           element
                                                            engage            A       times           during          rotation     of    the        second


                                           count      indicator               to       prevent            rotation          of   the     first       count


                                           indicator




  27   A dose counter       of any     one of claims 22               to   24      aid further comprising


            a rotation initiating      element on the             first       count      i   ndi cator           and


            a rotation following        element on the second count indicator


                                 wherein    rotation         of    the        first    count           indicator         engages the rotation


                                           initiating            element           thereon              with      the        rotation         following




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                                                      dement on the second                     count      indicator        to cause         rotation     of


                                                      the   second     count        indicator           as    a function         of    the     extent    of



                                                      rotation    of the    first    count       indicator




  28       A dose counter          of aly       one of daims 22          to   24 or daim 27 aid further comprising

                a rotation       limiting      d ement on the first count                  i   ndi cator       aid


                a rotation       following         d ement on the second                 count      i
                                                                                                        ndicator


                                            wherein    the   rotation      limiting            d ement aid the              rotation          following


                                                      dement engage            A times during rotation                          of    the    first   count


                                                      indicator to prevent               rotation       of the      second       count indicator




  29   A    dose counter          of    ay one of daims 22 to 27 wherein                                 the     second       count         indicator    is



  rotatable           out a second          axis




  30           A dose counter           of   daim 29 wherein            the   first       axis aid second               axis aecoplana




  31       A    dose    counter        of     daim 29        or   daim      30 wherein                  the    first    aid     second         axes     ae

  disposed          A al algle of greater thal 90 degrees aid less thal                                       180 degrees relative to each


  other




  32       A    dose counter           of    daim 31 wherein            the    first       aid    second            axes   ae disposed A                 al


  algle of      110    degrees to 160 degrees relative to each                           other




  33       A    dose counter           of    daim 32 wherein            the    first       aid    second            axes   ae disposed A                 al


  algle of      125 degrees to 145 degrees relative to each                              other




  34       A   dose counter        of       aly one of daims 29 to 33                     wherein         the    common              viewing         aea is

  generally         talgential    to    a circumferential            surface        of    a cylinder           disposed              out    the second


  axis




  35       A    dose counter           of    aly one of daims 29 to 34 wherein                                the      second        indicia     beaing

  surface      is   a cylindrica        surface     relative to the second                axis




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  36    A     dose counter            of     aly one of claims 29 to 35 wherein                                  the    second      indicia    beaing

  surface    is       a surface extending        perpendicular                 to the second             axis




  37    A dose counter             of any      one claims 29 to 36 aid further comprising

                  a third     count        indicator      having             a third        indicia     beai ng        surface     the third      count


                              indicator      rotatdDle        about a third axis


                                           wherein       the third           axis    is     disposed            al obtuse algle with            respect


                                                     to the      first       axis     aid


                                           wherein        the        first     and        third       indicia    beaing          surfaces      align    to



                                                     collectively               present           a    medication        dosage       count      A     the


                                                     common              viewing             area      in   combination           with   the    second


                                                     i   ndi ci a beaing             surface




  38    A    dose counter          of      claim 37 wherein the                     first    aid third indicia beaing                surfaces     align


  talgenti   al   I
                      y   a the common         viewing          area




  39    A     dose counter            of     daim        37     or     claim        38 wherein the               second      and third         axes    ae

  disposed        A a90 degree algle relative to each other



  40         A        dose counter      of    any one of daims 37                         to 39       wherein     the    first    second    and third


  axes ae copl            mar



  41         A dose counter             of   aly one of daims 22 to 40                            in    combination        with     a metered dose


  inhaler having            a conta ner filled           with    a medication




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                            48b          48c



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                     48        50   4t8b
                                             48c
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                      233c




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                 ir

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                                     FIG 32



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                       9C



        496a    468

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                             3338
                  443       455                443a           443b




           483                                                        483



                           4aA                        461



                                          443a              443b




                                                       461




                                     443a             443b




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                                                                                 DTX161
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                      596                            508




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                                       576




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                 A61J 704 GO6M 108 104                                                                    DE
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                 Center   Post   Office    Box 33427             Saint   Paul   MN 55133        84 Designated                States             regional            ARIPO patent                     GH GM
                 3427    US                                                                              KE LS MW MZ SD SL SZ TZ UG ZM ZW
                                                                                                         Eurasian patent AM AZ BY KG KZ MD RU TJ TM

             72 Inventor and                                                                             European patent AT BE BG CH CY CZ DE DK EE

             75 InventorApplicant           for        US   only         MARX      Eduard                ES FL FR GB GR HU IE IT LU MC NL PT RO

                                                                                                                                                                    Continued               on next page




             54 Title DOSE INDICATORS AND DISPENSING CANISTER INDICATOR                                                    ASSEMBLIES



                                                                                                 57 Abstract                 An        annular          dose       indicator         50        for        use    with

                                                                                                 a dispenser           comprising a              dispensing            canister       10 comprising
                                                                                                 a    substantially         cylindrical           container            1 having                a     closed       end

                                                                                                 2 and an open end 3                            said    open end of the                   container             being
                                                                                                 equipped          with a
                                                                                                                             dispensing            means           4   that
                                                                                                                                                                                comprises                 an outlet
                                                                                                 member           5 movable between                         closed     and      discharge                 positions

                                                                                                 and      an      adaptor      comprising               a    support       block           21            having      a

                                                                                                 socket        22 adapted          to   receive          the outlet       member the container
                                                                                                 and      support      block      being         reciprocally           movable            relative         to    each
                                                                                                 other       to    cause    the    outlet         member to move                      to       its      discharge

                                                                                                 position thereby            dispensing            a dose          said    annular         dose indicator

                                                                                                 50 comprising an annular                               housing         60 having                    an    interior

                                                                                                 surface          64      defining          a   substantially             circumferential                   cavity

                                                                                                 a    counter      ring     80 said counter ring located in the cavity
                                                                                                 and      being      arranged          to       be moveable             relative          to       the     housing
                                                                                                 by      rotation      about      an    axis      parallel         or substantially                     parallel    to

                                                                                                 linear
                                                                                                             reciprocal        movement                 of   container          and        support          block

                                                                                                 a driving         member         90 mounted                  on     the interior           surface             of the

                                                                                                 housing           said    driving      member engaging                        the   counter             ring and

                                                                                                 being       arranged        to   be        selectively            engaged           during             reciprocal
Al                                                                                               movement             of    container            and                      block                           drive
                                                                                                                                                            support                       as       to              an
                                                                                                 incremental               rotational             movement                of        the        counter ring

                                                                                                 wherein          said indicator            50     is   arranged          to   be    circumferentially
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                                                                                                 mountable           about      the     dispensing            canister          10 such that the
                                                                                                 first
                                                                                                           edge     51 of the indicator faces                           towards           the        closed       end

                                                                                                 of    the     container       the      second          edge       52 of the indicator faces
                                                                                                 towards          the outlet    of the dispensing                   canister         so that         at   least    the

                                                                                                 outlet      member of the              canister            will    extend      beyond               the    second

                                                                                                 edge of the          indicator




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    SE SI SK TR OAPI patent BF BJ CF CG CI CM                                         For two letter codes       and other abbreviations        refer to the   Guid
    GA GN GQ GW ML MR NE SN TD TG                                                     once Notes on Codes and Abbreviations             appearing     at the   begin

                                                                                      ning   of each   regular   issue   of the   PCT Gazette
Published

    with international        search
                                       report

    before   the   expiration    of the     time limit     for amending         the

    claims   and    to   be   republished       in   the   event   of receipt    of
    amendments




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     WO 03101514                                                                                                PCTUS0315924




                          Dose Indicators           and Dispensing              Canister Indicator       Assemblies




     Field of the Invention


     The present invention               relates to annular mechanical               dose indicators particularly suitable


 5   for use with medicinal              dispensers more particularly metered dose inhalers The present


     invention          also relates to dispensing canister indicator                  assemblies in particular such


     assemblies including               medicinal       aerosol    dispensing canisters more particular                pressurized


     metered       dose dispensing canisters                 as well as dispensers comprising             such dispensing


     canister indicator           assemblies


10



     Background of the Invention

     Inhalation         therapy   is
                                       becoming an increasingly important method of administering

     medicaments to a patient The medicament is generally formulated with suitable propellant

     and if appropriate           other components             and charged        into a container
                                                                                                        eg an aerosol vial The
15   container      is    typically fitted        by means of a ferrule with a dispensing means such a valve                             in



     particular         a metered dose valve comprising                   an elongate outlet       member eg a valve stem

     movable between              closed    and discharged         positions to provide           a dispensing       canister     The


     dispensing canister           is   typically used in conjunction               with an adaptor       typically having          a


     patient   port for example a mouthpiece or a port adapted                              for nasal   use The adaptor

20   comprises a support block having a socket adapted                              to receive    the outlet   member of the

     dispensing means             and an orifice having            open communication             with the socket       and the


     patient port         The container and the support block                     are reciprocally      movable      relative to each



     other to allow the outlet             member to move            to   its   discharge    position during        the operation       or


     firing   of the device            thereby dispensing a dose


25



     With     a conventional           press
                                               and breathe        device    in which     the patient fires the device          by

     depressing the container towards the support block                             of the adaptor      while inhaling         a rough


     indication         of the amount of medicament remaining                       in the vial   can be obtained          by shaking

     the    whole unit With experience                   the user can distinguish           the difference     in   feel between         a


30   vial   that   is   substantially      full   and one that      is   substantially      empty However           this   method is


     necessarily far from precise                 and   is   even less satisfactory         with a breath actuated          inhaler in




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     WO 03101514                                                                                              PCTUS0315924




     which because of the additional parts the mass of the aerosol contents                                  is   a smaller


     proportion        of the total unit weight          Thus a difficulty          arising    from use of such known


     devices     is   that the patient cannot       precisely determine the             amount of medicament in the


     container at any given time In extreme cases                      a patient       possibly    in an
                                                                                                           emergency situation

 5   and requiring an immediate dose of medicament                               may find that the container will           not


     dispense     a dose because        its   contents    have already been exhausted




     Although         a number of dose counters or indicators                    for metered dose     medicinal       products


     have been proposed           over the last decade         no pressurized metered dose inhaler with a built


10   in dose counter has yet been               marketed




     Proposed         dose indicators     include electrical      andor electronic dose counters                    see for


     example US 5622163              and      WO 9217231 Such counters                   can be disadvantageous               in that



     they are relatively        expensive       Furthermore such counters                require the use of a power


15   source such as a battery Accordingly                   the reliability        of such counters    is    overshadowed          by

     the reliability        of the power source      itself   Here     it   is   to be appreciated    that   some patients         eg
     asthma sufferers often carry a device with them for extended                               periods of time and         may only

     use the device         on an occasional       basis If during this extended               period the power source            is




     exhausted        or runs out the patient would be again faced with uncertainty                           about the precise


20   number of doses contained                in the device




     A number of mechanical dose counters                     have also been proposed              Most of these counters


     comprise quite a number individual components                           andor require significant             modification        of


     the inhaler       device   in particular     the adaptor     This makes mass production                      and assembly


25   often   complicated        andor tedious A number of mechanical dose counters                                require


     additional       counter containing structures            For example each of the documents                      US

     5421482 US 5718355 US 5817007 US 6082358 EP 0 254 391 EP 0 949 584 WO

     9534874          and   WO 9957019 relate to dose counting devices which are provided on the
     exterior of an existing        inhaler as an        addon   counter         component Such addon                counters


30   suffer a    number of disadvantages             including    increased          overall    dimensions of the device


     resulting    in a reduced     ease       in handling   of the device




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     WO 03101514                                                                                        PCTUS0315924




     GB 1317315           GB 1290484            GB 2320489 DE 298              14 647    US 5349945 US

     5482030 WO 9209324                   and   WO 9856444 for example relate to devices with dose
     counters   located    substantially        beneath    the container in a region         near the outlet means of the


 5   dispensing means and near or around the support block of the adaptor                              Such arrangements


     can be disadvantageous             in that modification of the      adaptor     geometry such        as greater



     dimensions in the critical           region
                                                   where atomization         takes   place   is   generally required


     Furthermore such counters              are often     not applicable for breath actuated           devices     because


     this region   usually contains the trigger mechanism for the breath actuated                         firing   of the


10   device




     WO 9324167 for example proposes actuating                       means    for triggering breath actuated           firing


     with an associated      dose indicator        as a type of      addon   system at the end of the dispensing


     canister distant to the outlet         member which disadvantageously increases                     the overall



15   dimensions of the device             and correspondingly        reduces general     handleability         of the device




     WO 0059806 also relates to devices having an adaptor provided with a dose indicating
     means




20   EP 0 414 536 discloses             a breath actuated     inhaler having     an indicator       with a ring


     mechanism located           in the adaptor     and mounted for rotation




     Another problem        is   that
                                        many dose counters do not differentiate between                  the    same


     container being removed and put back                  in the adaptor    eg for cleaning and a new
25   container being inserted as a replacement                so that the count       may or may not properly reset

     to the beginning




     Summary of the Invention

     Thus there     is   an ongoing need for a simple reliable inexpensive                        unobtrusive    mechanical


30   dose counter    for use with a dispenser             such as a medicinal        dispenser or more particularly a


     metered dose inhaler




                                                                 3




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     WO 03101514                                                                                         PCTUS0315924




     Moreover      there   is   a need for a mechanical         dose counter for use with a dispenser


     comprising a dispensing canister comprising                     a substantially cylindrical container having a


     closed end and an open          end said open end of the container being equipped                         with a


 5   dispensing    means        that comprises      an outlet   member movable between                closed    and discharge


     positions    and an adaptor         comprising      a support block       having a socket    adapted       to receive   the


     outlet   member the container and support block                   being reciprocally       movable        relative   to each



     other to cause the outlet           member to move to its discharge            position    thereby dispensing a


     dose


10



     According     to   one aspect of the invention          there    is
                                                                           provided an annular dose indicator


     comprising


     an annular housing having an interior surface                   defining    a substantially circumferential


     cavity


15   a counter ring said counter ring located               in the
                                                                      cavity    and being arranged to be moveable


                                                                axis
     relative   to the housing      by rotation about an               parallel   or substantially      parallel to linear



     reciprocal    movement of container and support block


     a driving    member mounted on the interior surface                    of the housing     said   driving member


     engaging the counter ring and being arranged                    to be selectively   engaged during reciprocal

20   movement      of container and support block as to drive an incremental                      rotational       movement


     of the counter ring


     wherein said indicator         is
                                         arranged   to   be circumferentially mountable about              the dispensing



     canister    such that the     first   edge of the indicator       faces towards     the closed end of the



     container the second edge of the indicator                 faces towards the outlet of the dispensing


25   canister so that at least the outlet           member of the canister will          extend beyond the second


     edge of the indicator




     Typically     the two edges of the annular dose indicator                  are defined    by the two edges of the

     annular housing


30




                                                                 4




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     Suitably the driving         member is engaged by the adaptor             in particular       an element thereof


     during the reciprocal         movement of          the container   and support block          as to drive     an


     incremental rotational             movement of the counter ring The incremental                  rotation     of the


     counter ring       is   suitably   indicative   of the successive    dose firings


 5


     The outer side of the counter ring is preferably adjacent                 to the interior       surface      of the


     housing     The outer       side of the counter      ring advantageously      comprises indicia which                 are


     viewable    through        the housing to provide       a visual indication     of the total quantity             of doses


     dispensed    from or remaining in the container

10



     The    indicator    is   preferably     arranged   such that the counter ring        is   locatable about         a portion


     of the container         Desirably       the inner side of the counter ring     is   adjacent     to an     exterior


     surface   of the container




15   More particularly          for use with dispensing       canisters   in which    the container         is   equipped


     with a dispensing means by means of a ferrule said ferrule having                           a seal edge      an external

     edge of the ferrule near           to   where the open end of the container is sealed                 the indicator         is




     preferably arranged          such that the counter ring is locatable        about         a portion   of the container


     andor a portion          of the ferrule Desirably the inner side of the counter ring                   is   adjacent    to



20   an exterior surface         of the container andor the ferrule Preferably the indicator                      is   arranged

     such that the second edge of the indicator               is   locatable near more preferably            adjacent       to

     the seal edge of the ferrule




     The dose    indicator       desirably includes at least one stop        member provided on the interior

25   surface   of the housing and engaging              the counter ring to
                                                                            prevent        substantial      movement of

     counter ring along said axis In another               preferred embodiment the dose indicator                     further



     comprises at least one non return               member provided on the interior surface                of the housing


     said   non return member engaging               the counter ring to permit incremental rotation                    of the


     counter ring in only one direction The stop                   member andor the non return member are

30   desirably integral        with the housing         more desirably form molded elements on                   the interior




                                                                   5




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     surface      of the housing Desirably the stop              member is integral with the non return member

     more desirably the stop member is simultaneously the non return member




     Annular dose indicators            according        to the invention     are advantageous       in that the indicator



 5   can be manufactured independent of the dispensing canister and the adaptor                                 to provide       a


     selfcontained           assembly They can be easily mounted around the dispensing canister by

     sliding the indicator         over the outlet        or container end of the dispensing canister                 as the   case


     may be This simplifies the production and handling                        of the indicator      itself   as well   as the



     assembly of a complete dispenser or a dispensingcanisterindicator assembly Production

10   is   also   simplified in that the dose indicators            according to the invention          and in particular


     certain preferred         embodiments thereof include a limited number of components                             Because

     the counter ring and driving               member are located        or mounted within the housing of the


     indicator       the sensitive     components         of the indicator    are protected    providing        desirable



     robustness           ease in handling      as well   as resistance    to tampering     during use


15



     hi   use dose        indicators   according     to the   invention    are located    substantially       about   the



     dispensing canister and above the outlet                  means and thus the indicator can be

     advantageously used in both press and breathe                      inhalers and breath actuated           inhalers in


     which       the triggering or breath         actuation    mechanism is located near          or about     the support of


20   the adaptor           Also because the       indicators    are positioned    about    the dispensing canister             so


     that the     first   edge of indicator which faces towards               the closed   end of the container             does


     not extend axially beyond the closed end of the container                         a necessary    increase     in axial



     dimensions           can be avoided       which is particularly advantageous           in a portable inhaler




25   Dose    indicators       according    to the invention      can    be readily used with various types of


     dispensing canisters          Certain preferred embodiments               of the dose indicator          are particularly



     advantageous           for use with dispensing         canisters   having a container      whose diameter of its


     outermost circumference              is   greater   than the diameter of the outermost circumference                    of the


     ferrule andor a container having                a constricted portion       if   applicable near or adjacent           to the



30   ferrule distant         to the outlet     member Here         the space    formed by the recess in the


     dispensing canister profile can be advantageously                       used for the components           of the dose




                                                                   6




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     indicator for example the counter ring and thus the overall dimensions                                        of the counter
                                                                                                                                  ring

     andor indicator can be kept                  in relation    to the dispensing canister               to   aminimum

     Containing       the dose indicator            within the profile of the dispensing canister
                                                                                                                           may also have

     an additional      advantage             of interfering less with the airflow through and within a dispenser


 5   or adaptor       In
                           particular         for use with such canisters            it   is   preferred that the diameter of the


     outermost circumference                   of the counter ring is less than the diameter of the outermost


     circumference         of the container




     It   is   preferred that the diameter of the outermost circumference                               of the indicator       typically


10   the outermost         circumference           of the housing of the indicator                 is   less   than equal      to or



     substantially     equal       to   ie ± up to 05 mm more preferably ± up to 003 mm the diameter
     of the outermost circumference                     of dispensing canister            in particular        the container      More

     preferably the outermost circumference                      of the indicator in particular                 the   housing     is    equal


     to or substantially          equal       to the outermost circumference                   of the dispensing       canister


15




     Furthermore dose indicators in particular                      the     housing can be advantageously                     secured to


     an external surface           of the dispensing canister               preferably to an external             surface      of the


     container or if        applicable the ferrule of the dispensing canister                           to provide         a selfcontained


     canisterindicator            assembly

20


     The provision         of a dispensingcanisterindicator                   assembly as a selfcontained                    or single unit


     in which      the indicator         is   located   substantially       about   the        dispensing canister          eg the
     container of the canister andor the canister closure                           means and above              the outlet means of


     the canister is particularly              advantageous because such an assembly is desirably robust

25   Furthermore       such an assembly allows                  for desirable ease             in handling     and assembly of a


     complete dispenser             In particular        the insertion of the outlet means into the support                        block


     of an adaptor         is   desirably facilitated        for large scale        assembly and more importantly                      if




     desired by a patient               because the outlet means of the dispensing canister                           is   unobstructed


     by components              of a dose counter


30




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     Accordingly         in another aspect         of the present invention           there   is   provided     a canister


     indicator    assembly comprising


     a dispensing canister comprising                a substantially       cylindrical container         having a closed          end

     and an open end said open end of the container being equipped with a dispensing means


 5   that comprises        an outlet   member movable between                    closed    and discharge positions


     and an annular mechanical dose indicator mounted circumferentially about                                     the dispensing



     canister    and secured     to an external        surface       of the dispensing canister           such that the       first




     edge of the indicator        faces towards the closed end of the container and the second edge of


     the indicator       faces towards the outlet of the dispensing canister                       so that at least the outlet


10   member of the canister extends beyond                     the second edge of the indicator




     Preferably        the indicator   is   secured to an external surface             of the container         In particular         the


     indicator    is   desirably secured to the external surface                  of the container in the vicinity of the


     first
             edge of the indicator


15




     Preferred embodiments             comprise a dispensing canister in which the container                           is   equipped


     with a dispensing means by means of a ferrule said ferrule typically having a seal edge


     near the open end of the container                The     indicator    is   preferably    attached    to an   external



     surface    of the ferrule or the container              more preferably        the container       Preferably          the


20   second edge of the indicator             is   located   near more preferably adjacent                to the seal edge            of


     the ferrule Desirably         the diameter of           its   outermost circumference           of the container is


     greater   than the diameter of the outermost circumference                           of the ferrule




     Preferably the diameter of the outermost circumference                           of the indicator     is   less   than equal

25   to or substantially       equal to     ie ± up to 05 mm more preferably ± up to 03 mm the
     diameter of the outermost circumference                       of the dispensing canister          in particular        the


     container




     Canister indicator        assemblies according                to the invention    are particularly suitable for use


30   with an adaptor comprising              a support block having              a socket adapted      to receive      the outlet



     member the container and support block being reciprocally                              movable     relative    to each       other




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     to cause the outlet           member to move to its            discharge       position    thereby dispensing a dose


     from the container




     Desirably          the annular mechanical        dose indicator          comprises an annular housing having an


 5   interior     surface     defining      a substantially circumferential             cavity


     a counter ring said counter ring located                   in the cavity         and being arranged to be moveable


     relative to the        housing by rotation       about an axis parallel or substantially parallel to linear


     reciprocal         movement of container and support block and


     a driving member mounted on the interior                        surface   of the housing said           driving   member

10   engaging       the counter         ring and being arranged            to be    selectively    engaged during      reciprocal


     movement of the container and support block                           as to drive      an incremental rotational


     movement of the counter ring




     Another aspect of the present               invention     is    a canister indicator         assembly in kit of parts form


15
     comprising


     a dispensing canister comprising                a substantially         cylindrical       container having a closed end


     and an open          end     said   open end of the container being equipped with a dispensing means

     that comprises          an outlet     member movable between                  closed    and discharge positions and


     an annular mechanical dose indicator                    arranged       to be   mounted circumferentially about           the


20   dispensing canister and secured to an external surface                           of the dispensing canister         such that


     the first    edge of the indicator          faces towards the closed end of the container and the second


     edge of the indicator faces              towards the outlet of the dispensing canister                   so that at least the


     outlet   member of the canister extends beyond                        the second edge of the indicator




25   A further aspect of the present              invention     is   an annular mechanical dose indicator                for use



     with   a dispensing canister comprising                 a substantially         cylindrical container having        a closed


     end and an open              end    said open end of the container being equipped with a dispensing


     means       that   comprises an outlet       member movable between                     closed    and discharge   positions


     said   annular mechanical dose indicator                 being arranged           to be   mounted circumferentially


30   about the dispensing canister and secured                      to an   external     surface      of the dispensing canister


     such that the        first   edge of the    indicator    faces towards the closed             end of the container and




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     the second edge of the indicator            faces towards the outlet of the dispensing canister                               so that


     at least   the outlet   member of the canister extends beyond                            the second       edge of the indicator




     In another aspect of the present invention there                        is
                                                                                  provided a dispenser for dispensing


 5   doses of medicament comprising               a canister indicator               assembly as described above and an


     adaptor comprising        a support block having a socket                     adapted to receive             the outlet     member

     of the dispensing canister       the container and support block being reciprocally                                     movable

     relative    to each other to cause        the outlet     member to move                   to   its   discharge    position thereby


     dispensing     a dose from the container


10



     Desirably     the adaptor    in particular       an    element thereof              is
                                                                                              arranged       to selectively
                                                                                                                                engage


     the dose indicator in particular           an element thereof                 during reciprocal            movement of the


     container and support       block   as to drive         an incremental count                   of the number of doses


     dispensed     from or remaining          in the container



15


     The adaptor preferably comprises an elongate                          or generally cylindrical portion extending


     opposite the support block defining              a chamber             in    which       the dose indicator         and at least a


     portion    of the container of the canister indicator assembly are locatable                                     Desirably   the



     canister indicator      assembly    is   reversibly      removable from the adaptor                        In particular the        end

20   of the cylindrical portion      distant     to the     support block           is   unobstructed and the canister


     indicator    assembly can    be reversibly inserted and removed                            from the chamber of the


     adaptor     There
                         may be situations       in   which     it    is   desired to minimize access                  to the dose



     indicator     dispensing canister or possibly other internal components of a dispenser                                       by the

     patient     In such cases   preferably      the dose      indicator           and at least a portion             of more


25   particularly the entire container          are located          within said chamber and the canister indicator


     assembly is irremovable        from the adaptor or sealed within the adaptor




     Preferably the adaptor      comprises a patient port wherein the support has an orifice                                      having


     open communication          with the socket           and the patient
                                                                           port
                                                                                The patient port                        may be

30   detachable     to allow   washing and cleaning thereof                       For those embodiments                 in   which the


     adaptor includes an elongate         or generally cylindrical portion the detachable                                portion would




                                                                      10




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     preferably    include the support block to facilitate        washing and cleaning of the support block

     and the orifice For such embodiments              desirably the dispensing canister indicator


     assembly is non removably located within the elongate              or generally cylindrical portion       of


     the adaptor


 5   The dispenser may be a non pressurized metered dose pump spray dispenser or pressurized


     metered dose dispenser suitable for inhalation nasal or sublingual administration                   of


     medicament         The dispenser is preferably a pressurized metered dose inhaler more


     particularly a press and breathe       inhaler or a breath actuated       inhaler




to   These and other features aspects and advantages               of the present invention   will    become

     better understood with regard to the following                                      claims and
                                                                description appended


     accompanying drawings




     Brief Description     of the Drawings


15



     Figures    la to c show isometric     views   of three exemplary dispensing canisters           suitable for



     use in the invention




     Figures 2a and 2b show vertical crosssectional              views of two exemplary conventional


20   adaptors     an adaptor for a press and breathe       type
                                                                  inhaler   and an adaptor for a breath


     actuated   inhaler




     Figure 3 shows      a vertical   crosssectional    view of a breath actuated inhaler ie the adaptor


     shown     in Fig   2b containing a dispensing canister

25



     Figure 4 shows      an isometric    view of a preferred embodiment of a canister indicator


     assembly




     Figure 5 shows      an exploded view     of a preferred embodiment of an annular dose indicator


30




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     Figure 6 shows             an isometric view of the preferred annular dose                  indicator      illustrated    in



     Figure         5



     Figure 7 shows             a cross sectional        view of the preferred annular dose indicator               illustrated in



 5   Figures 5 and            6 mounted and attached to a dispensing canister of the type depicted                             in



     Figure         la providing        a preferred embodiment of a canister indicator                assembly




     Figures 8a and b show vertical                    crosssectional       views of two preferred embodiments of a


     dispenser comprising               a canister indicator        assembly illustrated in Figure          7

10



     Figures 9 a to d represent                 an enlarged      partial   view   of the preferred dispensers        depicted        in



     Figures 8a and            8b showing         the region     of the driving      member of the dose indicator             at


     various dispensing positions




15
     Figure         10 shows     a vertical      crosssectional      view of a further preferred embodiment of a


     dispenser




     Figure         11    shows a vertical crosssectional            view of another preferred embodiment of a


     dispenser


20



     Figures         12 a and b shows           a vertical   crosssectional       view of an additional         preferred


     embodiment of a dispenser




     Detailed            Description    of Invention


25   It   is   to   be understood       that    the
                                                      present
                                                                invention    covers   all   combinations    of particular          and


     preferred aspects of the invention described                      herein




     For a better understanding of the various aspects of the present invention exemplary


     dispensing canisters              suitable for use with the                     invention   as well   as   two exemplary
                                                                           present


30   conventional            adaptors    will    be initially   described     in the following




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     In Figures       1   a to c three exemplary dispensing canisters                         are illustrated          A dispensing

     canister   10 typically comprises a substantially cylindrical container                                         1   in particular      an


     aerosol    container           having a closed end          2      an open end          3 not visible and                a side wall     9
     The open end of the container is equipped                         with a dispensing means                     4   in particular      a


 5   dispensing valve more particularly a metering dose valve                                    having an elongate              outlet



     member      5         in particular        a valve stem movable between                    closed        and discharged       positions


     The dispensing means                 is   normally mounted onto the container by means of a ferrule                                  6
     The    ferrule is typically fastened              onto    the container by crimping                      however    it   can be suitably


     fastened    onto the container by other means such as welding                                      adhesives snap fit          thread fit


10   The term ferrule          is   understood here to mean any component                          or element of the dispensing


     canister    which        is   used   to allow the attachment                 of the dispensing means to the container


     The    ferrule
                          may be an integral component of the dispensing means or alternatively                                       be a


     separate component               eg in the form of a mounting ring or cup Alternatively the ferrule

     may be an integral component of the container                                eg an element or extension of the
15   container to allow the crimping or folding                        of the open end of the container over an


     appropriate element of the dispensing                      means            After fastening        eg crimping the ferrule
     typically    shows       a seal edge         7 eg        a folded      edge      near the open end of the container and


     often a second edge             8 eg          a crimped         edge    about    the container           ie about the side wall
     9     of the container           The portion of the dispensing canister located between                                   the seal edge



20   7     of the ferrule and the elongate                  outlet   member         5   is   referred to       as the nose      14 of the
     dispensing canister             The height of the nose of the dispensing                       canister can
                                                                                                                         vary from being


     relatively    flat     ratio of axial height of nose to container <                       1 28 intermediate                height    nose

     to container height            ratio      from 16 to     128 to being extended nose to container height ratio

     >   16 As can be seen in Figures la to c the diameter of the outermost circumference of
25   the ferrule      may be less than equal                to or greater         than the diameter of the outermost


     circumference           of the container          The container             1 may have        a constricted portion            11
     distant to the closed           end of the container             eg near or adjacent to ferrule as depicted in
     Figures la and          lb and a corresponding non constricted                          portion      12 towards the closed
     end of the container the boundary                      13 between the constricted and non constricted
30   portions    may be relevantly               distinct    or relevantly         continuous      It    is   to   be understood that




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     Figures la to lc show three exemplary dispensing canisters                         which     are suitable for use in


     the present     invention         and that other dispensing canisters may also be suitable for use




     Figures 2a and 2b illustrate            vertical    crosssection    views   of two exemplary adaptors            20
 5   Fig 2a illustrates a conventional adaptor                 used for press and breathe          type inhalers while


     Fig 2b depicts          a conventional      adaptor    including   a breath actuation or triggering


     mechanism suitable              for a breath actuated     inhaler The     adaptor comprises a support block


     21 having a socket 22 The outlet member 5 of the dispensing canister 10 eg the
     dispensing end of the elongate              valve     stem of a metered dose dispensing           valve   is   received


10   by the socket       22 and thus positioned in the support block 21 eg as illustrated in Fig 3
     showing     the    adaptor of Fig 2b containing             a dispensing canister       The container     1 and      the


     support block          21 are reciprocally movable relative to each other along an axis marked as
     A      in Fig     3 The adaptor typically includes a patient port such as a mouthpiece 23 and

     the
            support has an orifice         24 having open communication                 with the socket     and the


15   mouthpiece         23 The adaptor           also typically includes     an elongate     or generally cylindrical


     portion    25 extending opposite the support block defining a chamber 26 to
     accommodate            at least a portion    of the container      1   of the dispensing canister         One or more

     ribs   27 may be positioned within the chamber of the cylindrical portion to aid in locating
     and supporting          the container in the correct        position


20


     Referring     to   Fig 3 the breath actuation            mechanism of the illustrated adaptor           comprises a


     vane    31 which          is   pivotally   mounted within the mouthpiece            23 a rocker element 32
     which supports a catch             33 pivotally mounted on the rocker at 34 When a patient
     inhales through the mouthpiece                inhalation    causes pivotal   movement of the vane The


25   curved    surface      35 of the vane 31 and the curved surface 36 of the catch 33
     effectively     acts    as cooperating       roller   surfaces Pivotal movement          of the vane    31 causes
     the curved    surface          35 to rotate in one direction resulting in curved             surface   36 of the
     catch rotating      in the opposite        direction This displacement of the catch             moves from a


     blocking    to an unblocking          position     allowing pivotal    movement of the rocker element              32
30   which    in turns allows          movement of the container        1    relative    to the   support block     21
     under the influence            of the cocking    pressure   eg the patient pressing downwards on the


                                                                  14




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     container         causing          the valve      to fire    The breath actuation           mechanism     is   described           more in

     detail   in EP 147            028       incorporated        here by reference           Further examples of breath                or


     inhalation        activatable           dispensers       are described in British Patent           Specification           Nos

      1269554           1335378               1392192 and 2061116 and                       US Pat Nos 3456644 3456645
 5   3456646 3565070 3598294 3814297 3605738 3732864 3636949 3789843

     and     3187748         as well as            WO 9209323 WO 9841254 and WO 0170313                                   to   70317




     Referring to Fig 4 showing                        an isometric         view of a preferred embodiment of a canister

     indicator      assembly in accordance                     with the invention the assembly              40 comprises a
10   dispensing canister                 10 and an annular mechanical dose indicator 50 having two edges
     5152 The indicator 50                            is   mounted circumferentially about the dispensing canister


     such that the         first    edge      51 faces towards the closed end 2 of the container and the
     second edge           52 faces towards the outlet of the dispensing canister so that at least the
     outlet   member          5         of the canister extends              beyond     the second edge     52 of the indicator
15   Here it     is   understood that the reference                        to the outlet    member refers to the portion               of the


     outlet   member which                    is   located    externally       when the dispensing means            is   at   rest   ie in its
     closed position               It   is   preferred that the entire portion              of the outlet   member extends beyond

     the second        edge of the indicator




20   Suitably the container                   may be equipped               with the dispensing means by means of a ferrule


     The second edge               52 of the indicator                is   preferably    located near more preferably                  adjacent


     to the    seal edge           of the ferrule not visible                 in Fig    4

     As can be recognized                    in the preferred         embodiment depicted          in Fig   4 the indicator 50                  is




25   secured directly              to an     external       surface   of the dispensing canister         10 preferably an
     external    surface           of the container           1 in         particular   an external surface   of the side wall              9
     of the container               more preferably an external surface                      of the container in the vicinity of the


     first   edge     51 of the indicator


30   As shown         in   Fig 4 the indicator                may be secured by means              an adhesive coated film                  55
     which overlays an external surface                          53 of the indicator extending across the                      first
                                                                                                                                       edge




                                                                                15




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     51 of the indicator and the external surface of the side wall of the container in the
     vicinity of said     first   edge      Alternatively        the indicator     may be secured           to an    external


     surface   of the ferrule The indicator             may be suitably secured by other means                       including


     shrink sleeves heat forming crimping and welding Alternatively the indicator                                         may be

 5   provided with a gripping member for securing                        the indicator      onto an external surface               of the


     container or the ferrule          To prevent      tampering or detachment                 of the indicator the indicator


     is   preferably   secured in a substantially non reversible or substantially permanent manner


     Preferred    is   the attachment       of the indicator       by adhesive         or more preferably           an adhesive


     coated    in particular pressuresensitive adhesive coated                           film Suitable adhesives              in



10   particular               sensitive adhesives           are typically chosen           so as to provide         a high
                  pressure


     adhesive     or permanent bond to the particular                substrate         eg indicator container               ferrule


     etc    For adhesive coated films a suitable film thickness                        ranges        from 005 mm to 07             mm
     more preferably 0075            to   05 mm The         film
                                                                   may be made of any suitable material such as

                                                                                                      the form of a label or
     paper plastic Desirably the adhesive coated film is provided                               in




15
     tape more desirably a label or tape provided or printed with                              indicia   concerning       the product


     contained     in the dispensing canister           andor indicia          to aid the      patient in reading an


     indication    of the total quantity        of doses dispensed             from or remaining          in the container




     The diameter of the outermost circumference of the indicator                              is    preferably    less   than equal

20   to   eg as depicted          in the preferred     embodiment of Fig 4 or substantially equal                           to the



     diameter of the outermost circumference                    of the dispensing canister               More preferably the

     diameter of outermost circumference                 of the indicator         is   equal    to or substantially         equal to


     the diameter      of the outermost circumference               of the container




25   The dispensing       canister desirably comprises a container having                            constricted    portion in


     particular   distant to the closed        end of the container and                a non constricted          portion    towards


     the closed    end of the container          The    first   edge of the indicator           is   desirably near or adjacent


     to the boundary      between         the constricted       and non constricted            portion In preferred


     embodiments comprising               dispensing canisters           comprising       a ferrule desirably the diameter


30   of the outermost circumference              of the container         is   greater   than the diameter of the


     outermost circumference              of the ferrule




                                                                    16




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     Figures 5 and 6 show an exploded diagram and an isometric                             view respectively           of a


                                                                                                 with the invention
     preferred embodiment of an annular dose indicator                        in accordance                                   and


     an annular dose indicator            suitable for use in canister indicator             assemblies according             to the



 5   invention As illustrated by the preferred embodiment shown                             in Fig   5 the annular dose

     indicator   50 typically comprises three main components                             an annular housing          60      a



     counter ring      80 and a driving member 90


     The annular housing        60 has an interior surface 64 defining a substantially
10   circumferential     cavity Although          the housing    is
                                                                      preferably in the form of a closed                  ring as


     shown    in Fig    5 if desired the housing may alternatively                   have an open ring form               eg 34 or
     78 ring The first        and second edges         61 62 of the annular housing are typically
     substantially     parallel to   one another and        are generally          continuous   about the circumference


     of the housing      The housing may include one or more cutout                         sections   65 66 along the
15   edges   6162 for eg manufacturing                andor assembling purposes The                    first    and second


     edges   61 62 of the housing typically define the                     first   and second    edges   5152 of the
     indicator The external surface             63 of the housing typically defines the external surface
     53 of the indicator The housing may include a folded                           lip   or one or more radial


     protrusions     68 along the second edge 62
20


     The annular housing        60 may be made of any suitable rigid durable material such as
     metal   plastic or combinations            of these materials Plastic           is
                                                                                          preferred since      it   can be


     molded preferably by high precision molding                      into a finished       piece   and thereby may be

     less expensive     to   manufacture        Preferably the housing comprises a transparent                       or


25   translucent   plastic Suitable plastics include rigid ductile polymers having good impact


     strength    for example    IZOD        impact strength greater than or equal to 65                  KJm2 preferably

     greater than or equal      to   70   KJm2 as determined by the method ISO 1804A For optimal

     molding     the   polymer desirably         exhibits   good melt flow behavior for example a polymer


     having a melt temperature around 280°C would desirably exhibit a melt volume flow rate


30   as determined      by ISO 1133        at   300°C 12 kg from 17 to 30 preferably                   17 to        22 cm310

     min Polycarbonates        are preferred        The housing       is    desirably provided with a window                  67


                                                                17




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     optionally a magnifying window                          The window           may be formed           as a     cutout portion of the


     housing as a polished portion of the housing or as fitted window                                        in the    housing




     The    internal surface           63 of the housing 60 may be provided with one or more additional
 5   preferably       integral more preferably                    formmolded components                   For example the internal


     surface    is
                     desirably provided with a bearing element                            70 to facilitate the mounting of the
     driving    member 90 on the                  interior surface          of the housing          The    internal     surface      of the


     housing    is
                      desirably provided with an annular ridge                           71 to help support and position the
     counter ring         80 The annular                  ridge   is   typically   non continuous          having two longitudinal


10   edges    7273 extending towards the second edge 62 of the housing                                                A limit member

     74 may also be desirably provided to facilitate movement of the driving member The
     interior surface        is   preferably provided with                  at   least   one stop   member          75 The preferred
     embodiment depicted                 in Figures 5         and 6 includes         three
                                                                                             stop
                                                                                                    members          75 one visible
     located    towards the           first   edge   61 distant to the cutout portion 66 and two not visible
15   located    between        the    two pairs of cutout portions                   65 along the          first
                                                                                                                    edge As can be better

     seen in Fig          6 the stop member engages                      the counter     ring in order to prevent             substantial



     movement of the counter ring along the axis about which the counter ring is moveable by

     rotation    The       interior     surface      is   also desirably provided            with   at    least one     non return

     member      76        typically in the          form of one or more teeth which engages                           the counter ring to



20   permit incremental            rotation      of the counter ring in one direction Preferably                             the   non return

     member 76 is integral with                      the stop      member         75 more preferably the               stop    member 75

     is   simultaneously          the non return            member       76 The stop member andor                      the   non return

     member also desirably facilitate                      the biasing of the counter ring into engagement                           with the


     driving    member

25



     Thickness of housing                including         components provided on              the interior          surface       typically



     ranges    from 09 to 3            mm preferably 11 to 25 mm more preferably 12 to 17 mm most
     preferably       14 to 16 mm The wall thickness                             of the housing      ie excluding components

     provided        on   the interior        surface      typically ranges         from 03 to 10          mm preferably 04              to



30   075    mm more preferably about 04                           to   06 mm most preferably about 05 mm




                                                                             18




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     The counter ring             80 has an inner 84 and outer 83 side Although the counter ring                                     is




     preferably         in the    form of a closed ring               as   shown       in Fig   5 if desired the counter ring may

     alternatively           have an open            ring form    eg 34 or 78 ring As can be seen in Fig 6 the
     counter ring            80       is   located    in the cavity    of the housing           60 preferably such         that the outer



 5   side     83 of the counter ring                  is   adjacent    to the interior surface          64 of the housing The
     counter ring            80       is
                                           arranged    to be    moveable       relative      to the housing   60 by rotation about
     an axis parallel or substantially parallel to the linear reciprocal movement                                    of the container


     and support            eg axis depicted as              A     in Figure           6 The    outer side   83 of the counter ring
     desirably comprises indicia                      85 which         are viewable          through the housing to provide        a


10   visual indication            of the total quantity of doses dispensed                      from or remaining in the

     container of the dispensing canister The                              indicia     may be suitably alphabetical        numerical


     alphanumeric             or color symbols providing                     a sequential count up or count down of


     dispensed         doses or providing              a more general indication                such as   Full Empty etc



15   The counter ring has two edges                        81 82 the           first
                                                                                        edge   81 towards the    first
                                                                                                                         edge   61 of
     the housing and the second edge                        82 towards the second edge 62 of the housing and the
     driving     member          90 As can be see                in Figures        5   and   6 the counter ring desirably has a set

     of teeth    86 along the second edge 82 of the counter ring and one or more teeth of the
     set of teeth           86 are in engagement                with the driving          member The number of teeth            in the



20   set of teeth           86   is
                                       generally a function           of the dispensing canister in which            the indicator       is




     used with in particular                   the number of doses to be dispensed                  from the dispensing canister


     Generally         the set of teeth includes an appropriate number of teeth to allow for the counting


     of up to 220 doses more preferably up to 190 doses even more preferably up to 160 doses


     and most preferably up to 130 doses Desirably                                   the set of teeth   86 along the second edge
25   includes        a spacer gap            andor a spacer block            87 to prevent more than one            full   revolution


     of the counter ring In alternative embodiments in which the counter ring                                       is
                                                                                                                         provided in


     the     form of an open ring the gap in the open ring would allow                                  for the prevention      of more


     than one        full    revolution         Desirably       the counter ring has a second set of teeth               88 along the
     first    edge    81 of the counter ring One or more teeth of the second set of teeth 88 are
30   preferably        in
                             engagement          with the stop        member 75 andor non return                 76 member As
     will    be appreciated                by those   skilled   in the art the indicator
                                                                                                  may be arranged        such that the




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     non return member may alternatively be in engagement                               with one or more teeth of the         first




     set of teeth     86

     The counter ring             60 may be made of any suitable rigid durable material such as metal
 5   plastic    or combinations          of these materials Again               due   to manufacture     considerations and


     costs      plastic    is
                                preferred   Preferably the counter ring comprises a printable polymer The


     counter ring         is    typically prepared     by high precision molding Preferably                the   polymer

     exhibits     good melt flow behavior               for example        a polymer having a melt temperature


     around 220 to 225 °C would                desirably exhibit a melt volume flow rate                  as determined      by

10   ISO 1133       at 250°C         216 kg between 25 and 45 cm310 min preferably                         37 to 42 cm310


     min Polybutylene              terephthalate     PBT polymers are preferred


     The wall thickness of the counter ring typically ranges from 04 to 20 mm                                    preferably     07

     to    15   mm more preferably 090                 to   13   mm most preferably about 095 mm
15



     As depicted          in Figure    6 the driving member 90 is mounted on the interior                        surface   64 of
     the   housing The driving member 90 engages the counter ring                               80     in particular   the



     driving     member desirably includes at least one pawl                      93 preferably two         or more pawls in



     engagement           with teeth of the    first    set of teeth    86 of the counter ring As described in
20   more detail below the driving member is arranged                            to be selectively   engaged      in particular



     by the adaptor             more particularly an element thereof during                 reciprocal    movement of the

     container and support block as to drive an incremental rotational movement of the


     counter ring In particular the driving                      member as better seen in Figure 5 preferably

     includes an      Vshaped          spring portion        91      integral    with a shallow   Ushaped        portion   92
25   including      a pawl        preferably   two pawls          93 provided at the end of Ushaped portion
     distant to the        spring portion




     It   should be appreciated          that the driving         member of the preferred dose indicator            of Figures


     5 and 6 represents one possible form of a suitable driving                          member Suitable driving

30   members may be provided                in a
                                                 variety of suitable forms including              one or more pawls for


     engagement           with the counter ring




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     The driving member                 90 may be made of any suitable durable material such as metal
     plastic or combinations              of these materials preferably            plastic For optimal molding


     preferably high precision              molding       the polymer       desirably exhibits        good melt flow

 5   characteristics      Suitable polymers includes polymers having a                            Youngs modulus greater

     than or equal to 2500              MPa preferably greater than or equal to 3000 MPa as determined

     by ISO 527     parts      I    and II and a tensile strain at break greater than or equal                     to   4
     preferably greater to or equal to 55                     as determined by ISO 527 parts I and II                       Preferred


     are   PBT polyoxymethylene POM and LCP polymers Desirably                                         the material       of each the


10   driving    member housing and counter ring is selected                         such that the frictional            behavior


     between     the driving         member and each          the housing and counter ring              is
                                                                                                             low   preferably a


     substrate substrate            friction   coefficient    less than     or equal to      03



     The thickness of the driving member typically                          having substantially       the   same thickness         as


15   the counter ring generally                ranges from 04 to           20 mm preferably 07 to 15 mm more

     preferably   090     to       13   mm most preferably about 095                to   10   mm


     In   assembly of the preferred indicator                depicted       in Figures   5   and    6 the driving member is

     mounted on the bearing element                  70      at   the interface    94 of the spring and pawl bearing
20   portions    91 92 of the driving member The end 95 of the spring portion 91                                          is




     positioned against            a longitudinal     edge    72 of the ridge 71 while the pawl bearing

     portion    92   is   positioned           adjacent   to and substantially       about    the limit      member      74 The
     counter ring    80        is   then inserted into cavity of the housing                 60 by     sliding the       counter


     ring over the stop            member or members              75 The cutout portions 65 along the                     first   edge

25   61 of the housing 60 facilitate the insertion of the counter ring 80 by deflecting
     outwards     Once the counter ring 80                   is   inserted beyond     the
                                                                                             stop   members 75 into

     engagement      with the driving member                 90      the
                                                                           stop   members prevent            any   substantially


     linear   movement of the ring along axis                     A
30   Figure 7 shows       a partial crosssectional                view of a preferred embodiment of a canister


     indicator   assembly           In particular Figure 7          shows    the preferred        dose indicator    assembly as




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     depicted       in Figures 5     and 6 mounted and secured                     to a dispensing           canister of the type



     depicted       in Figure     la As can be recognized from Figure 7 the annular dose                                       indicator   50
     is   mounted onto the dispensing                  canister       10 by sliding        it    over the dispensing canister in


     particular     over the outlet end of the dispensing canister                              The indicator          in particular    the


 5   housing     60      is   secured to the external surface                    of the dispensing canister                 10   in particular



     the side wall      9      of the container          1   in the vicinity of the              first
                                                                                                          edge of the       indicator   and


     housing     5161 desirably by means of an adhesive coated film 55 in a similar manner as
     described      above The indicator                housing        60   is
                                                                                 advantageously            immovable         in relation   to



     the   dispensing canister             enhancing       overall     robustness        and handleability             of the canister


io   indicator      assembly       The      first    edge of the indicator and housing 5161                            is   desirably located


     near the boundary            13 between the constricted and non constricted                                   portions of the


     container        The second edge of the               indicator       and housing          52 62         is   desirably located


     adjacent     to the   seal edge        7       of the ferrule     6 To         facilitate     positioning         of the indicator


     adjacent     to the   seal edge        of the ferrule the second edge                  62 of the housing 60 may be
15
     desirably provided with one or more radial protrusions                                68 These protrusions
     advantageously           facilitate    positioning      by providing           a reference           to aid the    control of the



     relative positions         of the indicator         and an actuation           pin so that manufactured assemblies


     operate
                within a narrow
                                range
                                      of a specified counter actuation                                    travel   between      the container



     and the support block            As can be seen in Figure 7 the counter ring                              80      is   desirably


20   located    about    a portion in particular             a constricted portion                 of the container          1   and a


     portion    of the ferrule      6       The inner side of the counter ring is desirably adjacent                               to an



     exterior surface         of the container and ferrule                  In   alternative        preferred embodiments               the



     counter ring may be located                    just about    a portion       of the container           The driving member             90
     of the preferred embodiment depicted                        in   Figure 7     is   located     adjacent       to an    exterior surface



25   of the ferrule     6

     In the   embodiment          illustrated        in Figure    7 both the nose 14 as well as the outlet means

     5     extend     beyond     the second          edge of the indicator In alternative                     preferred embodiments


     the second       edge of the indicator             and housing may be located                       about the dispensing canister


30   on a level     or height       near or adjacent             to the level      or height             of the edge of the nose


     adjacent    to   the outlet    means The            counter ring           may be desirably            located    about    a portion     of




                                                                           92




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     the ferrule      or about       a portion       of the nose the latter being particularly advantageous                                        with


     dispensing canisters            having extended               noses




     As illustrated        in Figure        7 advantageously              the diameter of the outermost circumference of


 5   the indicator        50       in particular        the housing           60         is    equal to or substantially equal to the


     diameter of the outermost circumference                            of the container                      For embodiments           in    which   the



     counter ring of the annular dose indicator                          is   located          about          a portion      of the container andor


     the ferrule the inner diameter                   of the counter ring                 is
                                                                                               typically greater             than the diameter of


     the outermost circumference                     of the ferrule For embodiments in which                                    the counter ring is


10   located      about    the    nose      the inner diameter           of the counter ring                     may be less the diameter of

     the ferrule      However         for such        embodiments             it    is
                                                                                         preferred that inner diameter of the


     counter ring         is   greater than         the diameter of the outmost circumference                                   of the ferrule More


     particularly         for ease    in manufacturing              the counter ring                  it   is
                                                                                                                preferred that the outer


     diameter of the counter ring be large as possible while                                          still     providing      an    indicator    and


15
     housing having an outermost circumference                                whose diameter                    is
                                                                                                                     equal    to or substantially



     equal to the diameter of the outermost circumference                                        of the container




     It   is   to be appreciated         that the     dimensions         eg outer and inner diameter height etc of
     the dose indicator            and   its   respective         components             will    be selected           in consideration          of the


20   dimensions of particular                  dispensing canister                 on which the indicator                    will    be mounted       In



     order to provide            one example of the possible dimensions of a dose indicator in the


     following reference             will      be   made to a dispensing canister and a dose indicator                                       as illustrated



     in Figure      7 For example for a canister in which the diameter of the outermost

     circumference             of the container         1    is   245    mm and the diameter of the outermost
25   circumference             of the ferrule       6   is   21   mm     a suitable diameter                     of the innermost


     circumference             excluding any radial protrusions                          68 of the indicatorhousing                          5060

     would be about 211               mm or greater preferably about 211 to about 213 mm A suitable
     diameter of the outermost circumference                            of the indicatorhousing                        5060 would be about
     240 to about         25     mm preferably about 242                      to    248 mm For a canister in which the axial

30   distance      between the boundary                 13 and the seal edge 7 of the ferrule                                   is   166 rum and        the



     axial height of the constricted                  portion of the container                   is     106      mm     a suitable axial         height




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     of the housing would be about            12 to about     148       mm preferably about 14             to   144 nun

     while a suitable height of the counter ring would be about                      45 to about 49 mm



     It   should be appreciated    that   although dose indicators            according to the invention              are


                                     for use with                                     in which
                                                  dispensing canisters
 5                                                                                                   the diameter       of the
     particularly advantageous


     outermost circumference        of the ferrule    is    less than      the diameter   of the outermost


     circumference     of the container       the indicators          may be also be advantageous               use with


     dispensing canisters     in which    the corresponding ferrule diameter                   is
                                                                                                    equal to or greater than


     the diameter of the outermost circumference                  of the container


10



     Figures 8a and b show vertical           crosssectional           views of two preferred dispensers              100 in
     particular   a press and breathe      inhaler and a breath actuated              inhaler respectively            in



     accordance     with the invention        each dispenser           comprises an adaptor and a canister


     indicator    assembly of Figure      7

15




     The adaptor     20 comprises a support block 21 having a socket 22 adapted to receive
     the outlet   member    5   of the dispensing canister              10 The container 1 and                  the support



     block    21 are reciprocally     movable      relative to each other           along a linear axis            marked as

     A       to cause the outlet   member to move           to   its   discharge    position    thereby dispensing a


20   dose from the container       The adaptor desirably includes a patient port in particular a


     mouthpiece      23 and the support has an             orifice      24 having open communication                  with the


     socket   and the mouthpiece      23 The adaptor desirably includes an elongate                             or generally



     cylindrical portion    25 extending opposite the support block defining a chamber 26 in
     which    the dose indicator   50 and at least a portion of the container 1 of the dispensing
25   canister are located   or locatable       As can be appreciated           from Figures 8a and              b the canister

     indicator    assembly is reversibly      removable from the adaptor                In particular        the   end of the


     elongate    or generally cylindrical portion distant to the support block                      is   unobstructed       and


     the canister indicator     assembly can be       reversibly         inserted   and removed from the chamber

     of the adaptor    As illustrated     in Figure   8b the adaptor may desirably include a breath

30   actuation    mechanism to provide         a breath actuated          inhaler   The components              and the




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     operation principle           of the breath actuation           mechanism shown              in Figure   8b   are discussed



     above       in conjunction         with the breath actuated           inhaler depicted       in Figure    3

     In a   comparison          to the conventional         press and breathe         inhaler     and breath actuated            inhaler


 5   adaptors       illustrated    in Fig       2a and   2b it can be seen that the adaptors                of the preferred


     dispensers shown             in Figures      8a and 8b reveal a minimum of structural change The adaptor


     20      in particular        the elongate     or generally cylindrical portion               25 of the adaptor              is




     desirably provided            with a window          28 to allow the user of the dispenser to read the indicia
     concerning       the total quantity of doses dispensed                  from or remaining in the container of the

10   dispensing canister               For ergonomic       reasons the       window        of the adaptor     28        is   desirably


     positioned       at the front side of the adaptor               ie the side of the adaptor in which the patient

     port   is   located    or locatable




     Desirably       the adaptor         in particular    an element thereof          is   arranged    to selectively          engage

15   the dose indicator in particular                  the driving   member during reciprocal movement of the

     container and support block                 as to drive     an incremental       count of the number of doses


     dispensed       from or remaining            in the container         More particularly        the adaptor         is




     advantageously             provided with an actuation           pin    29   typically as a       form molded element of


     the adaptor       In the     embodiment shown               in Figure   8a the actuation         pin    29    is   provided      as



20   an extension of a rib              27 While        in the   embodiments shown            in Figures 8a        and b the


     actuation      pin    29     is   provided as a molded element of the adaptor                    other embodiments can


     be envisaged          in   which    the actuation     pin    29 forms a part of the dose indicator itself


     When        the outlet     member      5    of the canister indicator        assembly         40   is   inserted in the



25   socket      22 of the support block 21 the actuation                       pin   29     is   received    within the dose


     indicator      eg passing through a cutout portion 66 in the second edge 62 of the housing
     see Figure       5 During           reciprocal     linear   movement along            axis   A     of the container and


     support block          the actuation        pin   29   in particular     the head of the actuation             pin       selectively



     engages the driving
                                       member as to drive an         incremental rotational           movement of the


30   counter ring This            is   better   understood by reference          to Figures 9 a to          d which show an

     enlarged view          of the dose indicator         in the region of the driving            member as well as the




                                                                      25




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     actuation       pin at various dispensing positions                        at   the rest or closed position            at a



     transitional      position between               the closed position             and the final discharge position               at the


     final   discharge        position       and again      at   the closed          position




 5   As illustrated in Figure 9a                   at the rest position          the   head of the actuation      pin       29      is   located


     at a position      adjacent        an inclined       receiving       surface       96 of the pawl bearing portion 92 of
     the driving       member        90 The pawls 93 of                    the driving       member are engaged              with teeth of


     the   first   set of teeth      86 of the counter ring 80 while the non return member 76 in the
     form of two        teeth       which     is   in this preferred        embodiment simultaneously the stop member

10   75       are   engaged with            teeth of the    second        set of teeth     88 As       the container        of the


     dispensing canister moves                     towards the
                                                                   support block
                                                                                 of the adaptor               to allow       the outlet



     member to move             to   its   discharge position             the   dose indicator moves towards the actuation


     pin   29 such           that   the head of the actuation              pin   moves       relative to the    dose indicator


     towards and engages the receiving                      surface       96 of the driving member 90 see Figure 9b
15   As the head of the actuation                   pin   29 moves along the receiving surface 96 the driving
     member         90       in particular      the   pawl bearing portion               92 thereof      is   urged   to slide in a


     direction       substantially         perpendicular         to the   movement         the actuation      pin This movement of

     the   driving     member in turn urges a rotational movement of the counter ring                                       80 The
     limit   member 73 desirably facilitates                       the sliding         movement of the driving member in


20   particular to prevent            over movement of the driving                       member and correspondingly                  an over


     rotation      of the counter ring              The prevention          of an over rotation of the counter ring is also


     advantageously           facilitated      by the non return member                   76 As depicted         in Figures          9b and


     9c during the rotation of the counter ring the teeth                               of the second set of teeth           88 with
     which     the   non return member was                  originally      engaged moves past the non return member

25   so that the non return             member moves into engagement                        with the next teeth        at   final



     discharge       position As can           be seen there         is   a squeezing        action
                                                                                                       upon   the counter      ring

     between        the actuation          pin and the non return member thus the angle of the inclined


     surface       of each    tooth of the non return             member is desirably smaller with respect                         to the


     horizontal       than the angle of the receiving surface                         of the driving   member

30




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     Upon return           to the rest position      as the container     of the dispensing canister moves
                                                                                                                               away

     from the support block                the dose indicator    moves away from the actuation                   pin   29 such
     that the   head of the actuation          pin in a relative movement              returns to   its   original position



     adjacent       to the receiving       surface    96 of the driving member 90 see Figure 9d                                The


 5   tension on the spring portion             91 of the driving member 90                 is   released allowing the


     driving member in particular pawl bearing portion                       92 thereto to slide in the opposite
     direction       and thus moving         the pawls   93 in engagement             with next teeth of the           first   set of



     teeth   86 of the counter ring 80 During this movement the non return member 76
     which     is    in
                          engagement     with teeth of the second         set of teeth   88 of the counter ring 80
10   desirably aids in preventing             rotational   movement       of the counter ring




     Figure     10 shows       a vertical    crosssectional     view of a further preferred embodiment of a


     dispenser        in particular    a breath actuated       inhaler provided        with a cocking          mechanism             This


     dispenser is similar to the dispenser               shown in Figure 8b The dispenser                 100 further

15   comprises a housing            126 formed of a sleeve 127 and a crown 128 which can be

     mounted over the closed end of the container onto the adaptor                         20       in particular        the


     elongate        or generally cylindrical        portion   25 thereof eg by a threaded coupling 129 To
     prevent tampering           of the indicator      50 andor the breath actuation              triggering       mechanism

     the housing can          be desirably sealed or irreversibly coupled               onto the adaptor          for example



20   by welding adhesives              or by means of a oneway snap             fit   connection     In such



     embodiments            the dispensing canister indicator            assembly can not be removed from the


     adaptor        The cocking mechanism comprises a lever                  130 which acts on a spring 131

     facilitated      by a spring guide 132 Figure 10 shows                  the dispenser       in the    unprimed position


     Upon pivoting           the lever     downward pressure is applied to the aerosol container providing


25   the cocking          force for the breath actuation        firing   of the dispenser The dispenser may


     include    a protective       cover    133 for the mouthpiece 23



     Figure     11    shows a vertical crosssectional           view of another preferred embodiment of a


     dispenser        in particular    a press and breathe       type inhaler The dispenser               is   similar to the



30   dispenser shown in Figure              8a but in this embodiment          the    dispenser     100 further

     comprises a cap           135 which       is    mounted    preferably    irreversibly mounted              over the closed




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     end of the container onto the adaptor           20         in particular   the elongate       or generally


     cylindrical portion      25 thereof such that at least a portion of the cap                    is   movable along

     axis   A     so that the dispenser user can depress the dispensing canister                         10      in particular



     the container    1      towards the support block            21 to dispense a dose In the embodiment
 5   shown in Fig 11 the connecting            end of the cap preferably comprises an annular edge


     turned outward      136 connected         to a corresponding          annular edge      137 typically turned

     inward     of the adaptor    in particular    the elongate         or generally cylindrical portion thereof


     so as to prevent the separation        of the cap      from the adaptor           The type of coupling              is




     generally understood as a oneway snap                fit    coupling Thus the canister indicator

10   assembly is non removably located             within the adaptor           The     internal   surface       of the adaptor


     in particular   the elongate    or generally cylindrical portion             is
                                                                                       desirably provided with a


     guide portion      or depression    138 to allow axial translation of the cap Thus in use as the
     container and                      downwards               towards the                 the           annular edge
                        cap are pressed                                       support block


     136 of the cap moves downwards within the guide portion 138 For airflow slits 139
15   not   shown may be provided          in the   cap andor in the adaptor             in the vicinity         of the support


     block




     Figures 12a and b show         vertical   crosssectional          views of an additional        preferred


     embodiment of a dispenser           in particular     a press and breathe          type inhaler The dispenser


20   shown     in Fig 12a comprises       a canister indicator          assembly   40 of the type shown in Fig 7
     and an adaptor      20 comprising two parts a support portion 220 as well as an elongate                                        or


     generally cylindrical portion       or sleeve       225 defining a chamber              or cavity         adapted    to



     receive    the dispensing canister indicator         assembly       40 The support portion 220 which
     comprises a patient port in particular          a   mouthpiece        23 and a support block 21 having a
25   socket    22 adapted to receive the outlet member of the dispensing canister 10 and an
     orifice   24 having open communication with the socket and mouthpiece                                 is
                                                                                                                reversibly


     attachable    and detachable     This can be best seen in Fig 12b showing the dispenser with


     the   support portion    detached    As can be recognized from Figures 12a and 12b the support


     portion    220 is attached to and detached            from the dispenser by inserting               and removing            the


30   outlet    member    5   into and out of the     socket block        21 of the support portion The
     support portion is typically held securely in place                due to the interference          fit    between        the




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     outlet      member   5 and         the socket     22 of the socket block To facilitate positioning of the
     support portion relative to the elongate                or generally cylindrical portion one or more


     positioning      guides     may be provided          For example the support portion           221 may include a

     guide slot      221 adapted          to receive    a guide pin    226 provided on the elongate or generally

 5   cylindrical portion         225 as the support portion is attached or reattached Alternatively or

     in conjunction       thereto       the elongate     or generally cylindrical portion       may be provided        with a


     guide groove       227 adapted to receive a guide notch 222 provided on the socket block                                as


     the                         is   attached    or reattached
            support portion




10   As shown        in Figures       12a and    b one or more extensions 228 are desirably provided on

     the internal     surface    of the chamber to aid in retaining the canister indicator                  assembly


     within the elongate         or generally cylindrical portion             as the support portion   is   detached


     During the detachment              and reattachment of the support portion the dispensing canister


     will   typically be fired dispensing a             dose which     will   be counted    by the indicator As shown

15   in Figures      12a and    b the dispenser preferably comprises a cap 135 irreversibly mounted

     over the closed       end of the container onto           the elongate or cylindrical portion          225 such
     that   at   least a portion      of the cap is movable       along axis     A   so that the dispenser user can


     depress the dispensing canister              10     in particular   the container      1   towards the support


     block       21 to dispense a dose            The cap elements thereof           etc   have been described      above


20   in connection       with the dispenser embodiment              shown      in Figure    11 For airflow slits 139

     may be provided           in the
                                        cap andor in the adaptor in the vicinity of the support block                  The


     dispensing canister indicator              assembly is thus advantageously            non removably located

     within the elongate         or cylindrical      portion   of the adaptor      and thus desirably protected        from


     eg tampering while the support portion of the adaptor                         including    the patient port   and


25   support block        is
                               advantageously        detachable   from the dispenser        for purposes    of cleaning


     etc




     Dispensers in accordance              with the invention      are suitable for dispensing       medicament        in



     particular     medicinal      aerosol   products     eg suitable for administration          to the lung   by nasal

30   or oral inhalation




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    It will
    It will be
            be understood
               understood that
                           that the
                                 the present
                                     present disclosure
                                             disclosure of
                                                        ofparticular
                                                           particular preferred
                                                                      preferred embodiments
                                                                                embodiments in
                                                                                            in
    accordance with
    accordance with the
                    the invention
                         invention is for
                                    is for the
                                           the purpose of illustration
                                               purpose of  illustration only
                                                                        only and
                                                                             and the
                                                                                 the invention
                                                                                     invention
    extends to modifications
    extends to modifications, variations
                              variations and
                                         and improvements
                                              improvements thereof
                                                            thereof.


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     WO 03101514                                                                                         PCTUS0315924




     Claims




     1        An annular dose indicator

 5                       for use with a dispenser             comprising       a   a dispensing canister comprising            a


                         substantially       cylindrical      container having a closed        end and an open end


                         said open end of the container being equipped                     with a dispensing means that


                         comprises an outlet           member movable between               closed   and discharge


                         positions     and    b     an adaptor comprising          a support block having a socket


10                       adapted     to receive       the outlet   member the container and support block                  being


                         reciprocally    movable relative           to each     other to cause the outlet     member to

                         move to its discharge              position thereby dispensing a dose from the container


              comprising


              an annular housing having               an interior surface       defining a substantially


15            circumferential      cavity


              a counter ring said counter ring located                  in the cavity      and being arranged        to   be


              moveable      relative    to the housing         by rotation about an        axis parallel   or substantially


              parallel   to linear reciprocal          movement of container and support block


              a driving member mounted on the interior surface                       of the housing        said driving



20            member engaging           the counter ring and being arranged                 to be selectively      engaged


              during reciprocal        movement of container and support block                   as to drive    an


              incremental rotational           movement of the counter ring

              wherein said indicator           is
                                                    arranged     to be slidably mountable        about     the dispensing


                          such that the                                                                    closed end of the
              canister                        first   edge of the indicator        faces towards the



25            container and the second edge of the indicator                     faces   towards the outlet of the


              dispensing canister        so that       at   least the outlet   member of the dispensing canister

              will   extend beyond the second edge of the indicator




     2        An annular dose indicator               according    to claim     1 wherein the indicator       is
                                                                                                                   arranged


30            such that the counter ring is locatable                about     a portion   of the container




                                                                   31




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                                                            Appx340
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     3       An annular dose indicator according to claim                      1   or   2 wherein the outermost
             circumference        of the indicator       is   less   than equal     to or substantially     equal to the


             diameter of the outermost circumference                    of the dispensing canister




 5   4       A dispensing canister indicator assembly comprising

             a dispensing canister comprising                 a substantially cylindrical container having a


             closed end and an open           end said open end of the container being equipped                       with a


             dispensing means that comprises an outlet                   member movable between                closed    and


             discharge positions


10           and an annular mechanical dose indicator                    mounted circumferentially about              the



             dispensing canister and secured to an external surface                        of the dispensing canister


             such that the      first   edge of the indicator         faces   towards the closed end of the


             container and the second edge of the indicator                     faces towards the outlet of the


             dispensing canister          so that   at   least the outlet     member of the canister extends

15           beyond     the second edge of the indicator




     5       A canister indicator assembly according to claim 4 wherein the indicator is

             secured    to an   external surface         of the container




20   6       A canister indicator assembly according to claim 5 wherein the indicator is

             secured    to the external surface          of the container in the vicinity         of the    first   edge of


             the indicator




     7       A canister indicator assembly according                   to any      one of claims 4   to   6 said assembly

25           for use with an adaptor         comprising         a support block having a socket adapted                 to


             receive    the outlet      member the container and support block                  being reciprocally


             movable     relative to each other to cause the outlet                  member to move to its discharge

             position   thereby dispensing a dose from the container                       wherein the indicator


             comprises


30           an annular housing having an interior surface                    defining a substantially        cylindrical



             cavity




                                                                 32




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                                                         Appx341
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             a counter ring said counter ring located              in the cavity      and being arranged             to    be


             moveable     relative   to the housing    by rotation      about an axis parallel or substantially


             parallel to linear   reciprocal     movement        of container and support block                 and


             a driving   member mounted on the interior surface                 of the housing          said driving


 5           member engaging         the counter ring    and being arranged                to be selectively     engaged

             during reciprocal       movement of container and support block                      as to drive   an


             incremental rotational movement             of the counter ring




     8       A canister indicator assembly according to claim 7 wherein the counter ring is

10           located about a portion       of the container




     9       A canister indicator      assembly in kit     of parts form comprising


             a dispensing canister comprising          a substantially        cylindrical container         having a


             closed end and an open        end said open end of the container being equipped with a

15           dispensing means that comprises an outlet               member movable between                 closed         and


             discharge    positions and


             an annular mechanical        dose indicator       arranged      to be   mounted circumferentially

             about   the dispensing canister        and secured      to an   external surface         of the dispensing


             canister    such that the   first   edge of the     indicator    faces   towards the closed end of the


20           container and the second edge of the indicator               faces towards the outlet              of the


             dispensing canister       so that at least the outlet      member of the canister extends

             beyond the second edge of the indicator




     10      A canister indicator assembly according to any one of claims 4 to 9 wherein the

25           diameter of the outermost circumference               of indicator       is   less   than equal    to    or


             substantially   equal to the diameter of the outermost circumference                        of the


             dispensing canister




     11      An   annular mechanical       dose indicator      for use with a dispensing canister


30           comprising    a substantially cylindrical container having a closed end and an open




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            end    said   open end of the container being equipped                    with a dispensing means that


            comprises an outlet      member movable between                    closed    and discharge         positions


            said   annular mechanical dose indicator              being arranged to be mounted


            circumferentially      about    the dispensing canister and secured to an external surface


 5          of the dispensing canister         such that the      first
                                                                           edge of
                                                                                       the indicator        faces   towards the


            closed     end of the container and the second edge of the indicator                          faces towards the


            outlet of the dispensing        canister    so that at least the outlet            member of the canister

            extends     beyond the second edge of the indicator




10   12     An annular mechanical dose indicator                 according       to claim      11 wherein the diameter

            of the outermost circumference             of indicator       is   less   than equal      to or substantially



            equal to the diameter of the outei most circumference of the dispensing canister




     13     A dispenser for dispensing doses of medicament comprising a canister indicator

15          assembly according       to any    one of claims 4 to 8 and an adaptor comprising                          a


            support block having a socket         adapted        to receive       the outlet    member of the

            dispensing canister      the container and support block being reciprocally                             movable

            relative    to each other to cause the       outlet   member to move               to   its
                                                                                                          discharge   position


            thereby dispensing a dose from the container


20


     14     A dispenser according          to claim    13 wherein         the adaptor     is   arranged       to selectively



            engage the dose indicator         during reciprocal           movement of the container and support

            block as to drive an incremental           count     of the number of doses dispensed                     from or


            remaining      in the container



25


     15     A dispenser according          to claim 13    or 14 wherein the adaptor                  further   comprises an


           elongate       or generally cylindrical portion extending opposite the support block


            defining a chamber       the dose indicator          and at least a portion of the container of the


           canister indicator      assembly being locatable               within said chamber


30




                                                            34




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     16     A dispenser according     to claim   15 wherein     the canister indicator      assembly is


            reversibly removable from the adaptor




     17     A dispenser according     to claim   15 wherein     the dose indicator      and at least a portion


            of the container of the canister indicator                                  within said chamber
 5                                                           assembly are located


            and the canister indicator   assembly is irremovable       from the adaptor




     18     A dispenser according     to any   one of claims 13 to 17 wherein           the adaptor   further



            comprises a patient port and wherein the support has an orifice having open


10          communication      with the socket   and the patient
                                                                 port




     19     A dispenser according    to claim    18 wherein     the patient port   is   detachable    from the


            adaptor




15   20     A dispenser according    to claim    19 wherein     a portion of the adaptor including        the


            patient port
                           and the support block   is   detachable   from the adaptor




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                               19




                 Fig 1 a




                                                Fig lb




              Fig 1 c




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                                        29
     2O




     27




                                             20



                 Fig 2a




                                                  Fig 2b




                 t   A   31




              Fig 3


                                                                       DTX165
                                                                       39 of 49

                              Appx346
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                                     39
          40
                  4
     10                           >1




                                     55


     504

              1




                       0
                       CT
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         52

                            5




                      Fig 4



                                    13

                                    80

                                   50


                                    go

                                 52 62




                                                      A
                                                      f



                                                Fig 7



                                                                               DTX165
                                                                               40 of 49

                                 Appx347
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                             49




              Fig 5
                              SO




                                                            80




                                                            60




                                       Fig 6



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                                      59
                                             100


               40




              51


              50
               27

              52
               2g

              20




                                Fig 8a

                                           K10°
                         40




                     51




                    50



                    52
                    2g
                                                        23
                    20
                          5


                          21




                                Fig 8b


                                                                                  DTX165
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                                   Appx349
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                                 69




              8O

              30                                      86

                                                      36
              31




                          70      32
                   72
                                              23


                           Fig 9a




                                     <=i




                           Fig 9b




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                                79




              80




                                f19
                   72    70
                                            23

                          Fig 9c




                           Fig 9d




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                                            89

                                        A
                                                  r100
                           132

                            cri17c1
                   128
                                                              130
                            NI   IA

                                            111
                                                        131

                                                    40

                   126                              1


                                                    25
                                                    51

              4
                  cy
                                                    21
                  50

                   2g
                   52
                                                               23
                       5                                            133
                    21



                   20




                                      Fig 10

                                      FA Zl°O
                                            r
                                                   137
              137                                 136
                                                       110
              136
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              138
                                                  25
                                                   51
                                                        27
              50
                                                  28
                  27


                  2g




                    5
                            21



                                      Fig 11


                                                                                           DTX165
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                                       Appx352
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                                         99


                                    ic100
                        135    t    r

                                               137
                                              136
                                                     1


                                              138
                                              225

                                               51
                                                    27
               50
                                               28
                   27

                   2g
              52

                   5

                   13g




                                        220


                              Fig 12a




        Fig 12b




                                                                                DTX165
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                                                   INTERNATIONAL                                    SEARCH REPORT
                                                                                                                                                                                          PCTUS                 0315924
 A CLASSIFICATION OF SUBJECT                                            MATTER
 IPC 7       A61M1500                                                      A61J704                                    GO6M108                                  GO6M104



 According           to International              Patent       Classification       IPC or to both national                  classification          and IPC


 B FIELDS SEARCHED
 Minimum         documentation                  searched           classification          system         followed     by   classification        symbols
  IPC       7                   A61M               A61J                 GO6M



  Documentation                  searched         other    than minimum             documentation                to the   extent      that   such documents               are included        in   the fields searched




                  data
  Electronic                    base consulted             during the          international        search          name of data         base     and       where        practical    search terms used



  EPO Internal                                     WPI           Data




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                                  page             9        line               30     page                  11            line           16




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 ElFurther

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     Special
                                                                                                                                                      later document         published after the international   filing date

                                                                                                                                                       or priority       date and not in conflict with the application   but
 A° document                defining        the    general       state of the        art   which      is   not
                                                                                                                                                       cited      to   understand        the principle     or theory                      the
                                                                                                                                                                                                                          underlying
        considered                to   be of particular          relevance
                                                                                                                                                       invention

       earlier     document
                  date
                                          but     published        on   or after the       international
                                                                                                                                              X       document of particular               relevance  the claimed invention
        filing                                                                                                                                         cannot be considered                novel or cannot be considered    to

       document             which        may throw         doubts on           priority    claims or                                                   involve         an inventive      step   when      the   document      is   taken alone
        which
        citation
                      is   cited

                           or   other
                                       to establish

                                          special
                                                          the

                                                       reason
                                                                 publication

                                                                      as   specified
                                                                                    date    of     another
                                                                                                                                              Y       document           of particular     relevance       the   claimed      invention

                                                                                                                                                       cannot          be considered       to involve      an inventive step when the
 0     document                 referring      to an     oral   disclosure          use    exhibition          or                                      document           is   combined     with    one    ormore other   such docu
        other        means                                                                                                                             ments           such combination         being     obvious      to a   person   skilled


       document published                                   the                                     date
                                                                                                                                                       in   the   an
                                                prior to           international          filing
                                                                                                            but

        later than the                 priority
                                                   date    claimed                                                                                    document           member      of the     same    patent    family



 Date of the actual completion                           of the international             search                                                       Date    of                of the    international        search
                                                                                                                                                                       mailing                                           report




                 29             September                        2003                                                                                          07102003
 Name    and         mailing           address     of the       ISA                                                                                   Authorized          officer


                                 European          Patent       Office     PB 5818 Patentlaan 2
                                  NL 2280           HV     Rijswijk

                                 Tel+3170 3402040                             Tx 31 651        epo nl
                                 Fax +3170 3403016                                                                                                             Merte                 B


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                             INTERNATIONAL                            SEARCH       REPORT
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 CContinuation         DOCUMENTS             CONSIDERED           TO BE RELEVANT

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                            INTERNATIONAL               SEARCH REPORT
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19 United States

12 Patent Application                              Publication                    10 Pub No US 20020078950 Al
     OLeary                                                                       43 Pub Date     Jun 27 2002

54   RESERVOIR         PRESSURE SYSTEM                 FOR                            of provisional        application    No 60213382              filed    on
     MEDICAMENT INHALER                                                               Jun 23 2000


76   Inventor     David



     Correspondence
     VAX Corporation
     4400
                            OLeary

                           Address
                                        Essex    GB
                                                                            51
                                                                            52
                                                                                      Int

                                                                                      US Cl
                                                                                            CI    A61M
                                                                                                  Publication      Classification




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                                                                                                                                                       1100


             Biscayne Boulevard
     Miami FL 33137          US                                             57                              ABSTRACT

             No                                                             A   new      and   improved       inhaler     includes   an    accurate         and
21   Appl                  09888199
                                                                            consistent      mechanical      dose metering system that dispenses

                                                                                               medicament        in discrete     amounts          doses     for
22   Filed                 Jun 23    2001                                   dry powdered                                                    or

                                                                                       inhalation     a                 relief             that
                                                                            patient                         pressure             system            manages
             Related   US Application           Data                        pressure     within   a   medicament         reservoir   of the       inhaler    to

                                                                            ensure     consistently    dispensed        doses and     a   dose counting

63   Non provisional        of    provisional    application
                                                                   No       system indicating         the    number of doses         remaining        in    the

     60213668      filed    on   Jun 23 2000 Non provisional                inhaler




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                                                                                                                                     CIPLABDI0184200
                                                                                                                                                             DTX159
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                  FIG 3                                                FIG 4




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                    FIG 6




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                                                                    64


                       FIG 7                                       FIG 8




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         FIG 9




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                                     70                               26




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               78




                          FIG 11
                                                                FIG 12




                                                                            0b


                                                                  I
                                                                                        9




          POSITION 1         POSITION   2       POSMON     3             BACK




                                             FIG 13




                                                                                  CI   PLABD10184206
                                                                                               DTX159
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                                                                          i   Go




                                     bit       Pf5


                                              FIG 14




                                                                                   140




                                           FIG 15




                                                                                   CI   PLABD10184207
                                                                                                DTX159
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Patent
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          15Lf                             FIG. 16




                                                                           CIPLA-BDI_0184208
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             RESERVOIR                       PRESSURE SYSTEM FOR                                                                             SUMMARY OF THE DISCLOSURE
                              MEDICAMENT INHALER
                                                                                                                            0008            The       present            disclosure                therefore             provides a                  new
                                                                                                                            and     improved            medicament                      inhaler        having             a    unique               dose
                   CROSSREFERENCE                                      TO RELATED
                                                                                                                            metering system                       The      inhaler            includes            a      mouthpiece                   for
                                        APPLICATIONS
                                                                                                                            patient     inhalation                a delivery                 passageway                  for    directing              an

0001             The present              application
                                                                   claims priority                    to   co pend          inhalation       induced              air flow                           the                                    a       chan
                                                                                                                                                                                    through                     mouthpiece
ing   provisional
                                US patent                   application
                                                                                      serial         No 60213               nel
                                                                                                                                  extending from the delivery passageway                                                  and a reservoir

668     filed       Jun         23        2000            entitled              Breath Actuated                     Dry     for    containing               medicament                   with        the        reservoir             having             a

Powder    Inhaler and co pending provisional US patent                                                                      dispenser       port       connected              to    the channel In a preferred form

             serial No 60213382 filed Jun 23 2000                                                                           the    dose
application                                                                                                                                 metering system includes                                   a    cup          received               in    the

entitled         DeAgglomerator                            for     Breath            Actuated             Dry     Pow       channel which                   is    movable            between           the
                                                                                                                                                                                                                 dispenser             port
                                                                                                                                                                                                                                                      and
der
       Inhaler                 Each          of    these          co pending                   applications
                                                                                                                      is    the                                                     a                                                   the
                                                                                                                                   delivery           passageway                             cup     spring           biasing                         cup
assigned           to     the       assignee
                                                          of     the
                                                                            present
                                                                                               disclosure           and     towards       one of the dispenser                                      and the passageway                                and
                                                                                                                                                                                         port

incorporated              herein       by reference                                                                         a   yoke    movable              between               at least         two positions                     The yoke

                                                                                                                            includes        a ratchet             engaging              the       cup and preventing                            move
                          FIELD OF THE DISCLOSURE                                                                           ment of the cup                 when       the     yoke          is   in one        of the positions                      and

                                                                                                                            allowing        movement                of the cup                when        the
                                                                                                                                                                                                                  yoke         is    in another
0002             The      present         disclosure relates                         to   an    apparatus           and
                                                                                                                            of the positions
method        for
                        administering
                                                          medicament                 for    inhalation
                                                                                                                    by a
             and more                                                                                       medica          0009            The present
patient                              particularly                 to    a    dry powdered                                                                              disclosure also
                                                                                                                                                                                                      provides a medicament
ment inhaler                                                                                                                inhaler                         a                       reservoir                                                        The
                                                                                                                                          having                  unique                                  pressure             system
                                                                                                                            inhaler includes                a     sealed       reservoir             having           a dispenser                   port
              BACKGROUND                              OF THE DISCLOSURE                                                     and a channel              communicating with the dispenser                                             port and a
                                                                                                                            cup    assembly movably                           received              in the       channel              In        a    pre
0003             Metered            dose medicament                         inhalers are well                   known
                                                                                                                            ferred     form           the
                                                                                                                                                             pressure           system              includes             a pressure                 relief
for   dispensing               medicament                   to    the        lungs         of a patient              for
                                                                                                                            port    in the       channel and a conduit                               providing                fluid     commu
treating      asthma            for example                 Existing              types        of medicament
                                                                                                                            nication      between                an interior of the sealed reservoir and the
dispensing              inhalers include                   pressurized                propellant            inhalers
                                                                                                                            pressure
                                                                                                                                            relief          port         of    the       channel                The        cup        assembly
aqueous          solution           inhalers              and dry powdered                          inhalers
                                                                                                                            includes        a     recess           adapted              to    receive            medicament                         when
0004             US Pat No 5503144                                       to       Bacon             for    example          aligned       with         the        dispenser              port         a     first        sealing            surface

shows        a     dry        powdered                inhaler           The           inhaler            includes       a   adapted         to    seal           the     dispenser                 port     when              the     recess            is


reservoir          for        containing              a    dry powdered                        medicament               a   unaligned            with       the        dispenser              port        and        a    second            sealing

metering chamber                    for      removal of the powdered                                 medicament             surface       adapted            to     seal      the
                                                                                                                                                                                        pressure
                                                                                                                                                                                                            relief        port        when            the

from    the       reservoir in discrete                          amounts and an                      air    inlet    for    recess     is    aligned              with        the    dispenser              port          and       unseal            the

entraining          the        removed             powdered                  medicament                   through       a   pressure        relief      port        when           the       recess       is    unaligned              with           the

mouthpiece              upon        patient           inhalation                                                            dispenser        port


0005             Another            example                is    US Pat No 5971951                                    to    0010            The        present
                                                                                                                                                                          disclosure
                                                                                                                                                                                                    additionally                    provides             a

Ruskewicz                which         shows               an     inhaler             including             a    motor      medicament                inhaler          having            a        unique         dose          counter               The
driven       cam mechanism  for extruding aqueous medicament                                                                inhaler includes                a mouthpiece                     for patient             inhalation                 a   dose

through       a porous membrane to form a medicament aerosol                                                                metering system                     including           a    pawl movable                     along         a       prede
for inhalation by a patient                           The inhaler also includes                             sensors         termined path during the                           metering of a dose of medicament

circuitry
                 and      a    microprocessor that                              determines the rate of                      to the     mouthpiece                 by the dose metering system and a dose

patient      inhalation              and          operates
                                                                       the      extrusion             mechanism             counter         In    a    preferred              form the dose                      counter            includes             a

only upon           adequate           inhalation                levels                                                     bobbin a rotatable                    spool and a rolled ribbon received                                            on the
                                                                                                                            bobbin rotatable                 about an axis of the bobbin The ribbon has
0006             A pressurized propellant                                    or      aerosol               inhaler    is
                                                                                                                            indicia thereon
                                                                                                                                                                                     extending             between              a   first       end of
shown        in   US Pat No 5447150                                             to    Bacon           which         also
                                                                                                                                                        successively

                                                                                                                            the    ribbon        secured            to    the       spool and               a    second             end         of the
discloses         a simple mechanical                            actuation            assembly for ensur
                                                                                                                            ribbon
                                                                                                                                        positioned                on      the       bobbin           The         dose          counter               also
ing
      that   medicament                is
                                              dispensed            from the inhaler only upon
                                                                                                                            includes        teeth      extending radially outwardly                                       from the spool
adequate           inhalation           by        a   patient           The          actuation             assembly
                                                                                                                            into the
                                                                                                                                          predetermined path of the pawl so that the spool                                                              is
works        by     applying            a     pre
                                                      load         to       a    valve         of the           aerosol
                                                                                                                            rotated     by the pawl and the ribbon advanced                                                onto       the spool
container          sufficient to             cause a dose release but prevents                                       the
                                                                                                                            during the metering of a dose to the mouthpiece
release
             by applying a pneumatic                               resisting              force The dose of

medicament               is   then    released             upon a patient                  inhalation strong                0011            Thus        the
                                                                                                                                                                   present
                                                                                                                                                                                    disclosure              provides a                 new            and

enough        to    move        a    door within                  the
                                                                            assembly which in turn                          improved inhaler including a simple accurate                                                      and consistent

releases         the    pneumatic             resisting            force                                                    mechanical            dose           metering system                     that       dispenses             dry           pow
                                                                                                                            dered      medicament                 in discrete                amounts            or    doses for patient
0007             What          is    still        desired              however                 is    a     new      and
                                                                                                                            inhalation           a reservoir pressure                         system            that     ensures            consis
improved inhaler for administering medicament                                                            for patient
                                                                                                                            tently     dispensed                doses and                a    dose counter                    indicating              the
inhalation          Preferably the                    new and improved inhaler can be
                                                                                                                            number of doses remaining                                   in    the    inhaler
used with dry powdered                             medicament                        In   addition          the     new
and    improved                inhaler        will         preferably                include          mechanical            0012            Further             features        and          advantages                of the         presently

assemblies              for    metering doses                      of medicament                          managing          disclosed       inhaler will               become more readily apparent                                         to those

medicament               reservoir
                                             pressure and counting                              the       number      of    having     ordinary             skill      in the        art      to    which        the      present           disclo

doses     remaining in the                        inhaler                                                                   sure    relates       from the drawings and the detailed                                            description




                                                                                                                                                                                                                  CIPLABDI0184209
                                                                                                                                                                                                                                                        DTX159
                                                                                                                                                                                                                                                        10 of 14

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           BRIEF DESCRIPTION                           OF THE DRAWINGS                                           patient      inhalation             The inhaler 10 of the present                                      disclosure

                                                                                                                 provides          many beneficial                   features          including           but       not     limited
0013              So   that   those       having       ordinary            skill       in the       art   will
                                                                                                                 to    a    dose        metering              system that              dispenses           dry powdered
more readily understand                       how      to construct                a   dry powdered              medicament                  in discrete            amounts           or    doses for patient                  inha
medicament               inhaler in       accordance             with the present                   disclo
                                                                                                                 lation a          medicament                 reservoir pressure                  system            for      manag
sure     a    preferred       embodiment               is    described             below           with    ref
                                                                                                                 ing pressure               within    the reservoir                   and a dose counting                    system
erence       to    the   drawing figures wherein
                                                                                                                 indicating            the    number of doses remaining in the inhaler                                              10

0014              FIG 1       is    a     first    side       isometric            view         of a       dry
                                                                                                                 0032              The inhaler 10 generally includes                                  a housing              18 and
                      medicament              inhaler                              to        the
powdered

disclosure
                                                            according                               present
                                                                                                                 an assembly 12 received                             in     the
                                                                                                                                                                                      housing       see FIG                  2 The
                                                                                                                 housing       18 includes                a    case    20 having             an open end 22 and a

0015              FIG 2 is an exploded                      second side isometric view                           mouthpiece                 24 for patient           inhalation             a cap     26 secured              to   and

of the inhaler of FIG                    1                                                                       closing
                                                                                                                               the
                                                                                                                                            open     end 22           of the case                20       and       a    cover      28

                                                                                                                 pivotally
                                                                                                                                       mounted        to      the     case    20 for covering                       the      mouth
0016              FIG 3 is a second side isometric                                 view of a main

assembly          of the inhaler of FIG 1
                                                                                                                 piece      24 see FIGS                   12 and           9 The housing 18                     is
                                                                                                                                                                                                                        preferably

                                                                                                                 manufactured                 from a plastic such as polypropylene                                         acetal or

0017     FIG 4 is a second side isometric view of the main                                                       moulded polystyrene                          but
                                                                                                                                                                      may be manufactured                            from metal

assembly  of the inhaler of FIG 1 shown       with a yoke                                                        or another             suitable         material

removed                                                                                                                            The
                                                                                                                 0033                         internal
                                                                                                                                                               assembly 12                 includes        a    reservoir           14

0018              FIG 5 is an exploded                      first   side     isometric              view of      for
                                                                                                                           containing             dry powered                medicament               in       bulk          form     a

the    main assembly               of the inhaler of FIG                       1                                 deagglomerator                     32        that     breaks           down          the        medicament

                                                                                                                 between           a    delivery         passageway               34 and the mouthpiece                             24
0019              FIG 6 is an exploded                      enlarged         isometric              view of
                                                                                                                 and a spacer 38 connecting                                the reservoir to               the       deagglom
a   medicament             cup of the inhaler of FIG                          1
                                                                                                                 era tor

0020              FIG 7 is an exploded                      first   side     isometric              view of
                                                                                                                 0034              Reservoir
a   hopper        and a deagglomerator                      of the inhaler of FIG                          1
                                                                                                                 0035              The       reservoir         14 is generally               made up of a collaps
0021              FIG 8 is an exploded                     second         side         isometric          view
                                                                                                                 ible bellows               40 and a hopper                 42 having            an dispenser                port   44
of the hopper             and a swirl chamber                       roof    of the           deagglom
                                                                                                                 see FIGS 25 and 78 for dispensing                                           medicament                   upon the
erator       of the inhaler of FIG                  1                                                            bellows 40                 being    at    least      partially            collapsed           to       reduce      the

0022              FIG 9 is an exploded                      first   side     isometric              view of      internal          volume           of the           reservoir             The      hopper              42    is    for

a   case     cams and         a   mouthpiece            cover        of the inhaler of FIG                       holding the dry powder                         medicament                 in bulk        form and has an

1                                                                                                                open end 46 closed by the flexible accordion like bellows 40
                                                                                                                 in a substantially air tight                        manner An air filter 48 covers                                 the
0023     FIG 10 is an enlarged side isometric                                                view of one
                                                                                                                 open       end        46     of the          hopper         42       and    prevents               dry powder
of the cams of the inhaler of FIG 1
                                                                                                                 medicament                 from leaking              from the hopper                 42 see              FIG 7
0024     FIG 11 is a second side isometric view of the yoke
                                                                                                                 0036              Spacer
of the inhaler of FIG 1

                                                                                                                 0037    A base 50 of the hopper 42 is secured to a spacer
0025              FIG 12 is a first side isometric view of the yoke of
                                                                                                                 38 which is in turn secured to the deagglomerator 32 see
the    inhaler      of FIG 1 showing a ratchet and a push bar of
                                                                                                                 FIGS 35 and 78 The hopper 42 the spacer 38 and the
the    yoke                                                                                                                                         32                                      manufactured                     from
                                                                                                                 deagglomerator                               are    preferably                                                       a

0026              FIG 13 is a schematic                    illustration            of lateral move               plastic      such           as   polypropylene                   acetal       or   moulded polysty

ment       of     a    boss   of        the    medicament              cup         in        response
                                                                                                            to   rene        but
                                                                                                                                        may be            manufactured                  from        metal            or      another


longitudinal           movement           of the ratchet             and the push bar of the                     suitable          material          The           hopper         42       the
                                                                                                                                                                                                  spacer
                                                                                                                                                                                                                    38     and      the

yoke     of the inhaler of FIG                     1                                                             deagglomerator 32 are connected                                       in a manner             that       provides
                                                                                                                 an air tight seal between                           the
                                                                                                                                                                            parts
                                                                                                                                                                                        For this purpose                     heat or
0027              FIG 14 is         an enlarged               isometric            view        of a dose
                                                                                                                 cold       sealing          laser    welding              or ultrasonic             welding could                  be
counter         of the inhaler of FIG                   1
                                                                                                                 used       for example

0028              FIG 15 is an exploded                     enlarged          isometric             view of
                                                                                                                 0038              The spacer 38 and the hopper 42 together                                             define      the
the   dose counter            of the inhaler of FIG                        1 and
                                                                                                                 medicament                  delivery           passageway                  34      which               preferably

0029              FIG 16 is an enlarged                     isometric         view            partially     in   includes      a venturi            36 see FIG 16 for creating                                 an entraining

section         of a portion of the                 inhaler          of    FIG           1    illustrating       air    flow The spacer 38 defines                                a    slide     channel            52    commu
medicament               inhalation       through          the      inhaler                                      nicating      with the dispenser                         port        44 of the hopper                   42 and a
                                                                                                                 chimney               54    providing              fluid    communication                      between             the
0030              Like     reference          characters            designate
                                                                                             identical      or
                                                                                                                 medicament                                                           34 and a supply port 56 of
                                                                                                                                            delivery          passageway
                                                  and units throughout                        the several
corresponding
views
                           components
                                                                                                                 the       deagglomerator                     32     see      FIGS           7      and     8 The                slide

                                                                                                                 channel       52 extends                                   normal with respect to the axis

                   DETAILED DESCRIPTION OF THE
                                                                                                                 A         of the inhaler
                                                                                                                                                      generally

                                                                                                                                                      10

                     PREFERRED EMBODIMENTS                                                                       0039              DeAgglomerator


0031              Referring        to    FIGS          1     through               16        the
                                                                                                    present      0040              As its name implies the deagglomerator 32 breaks
disclosure            provides      a     new      and        improved                 inhaler       10    for   down        agglomerates                 of dry powder                    medicament                   before      the

dispensing            a dry powdered              medicament              in metered            doses for        dry powder leaves the inhaler 10 through                                           the   mouthpiece                24




                                                                                                                                                                                                    CIPLABDI0184210
                                                                                                                                                                                                                                     DTX159
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The deagglomerator                                                     a swirl chamber                     58 extending                 allow the yokes                  66 68 to be moved
                                                                                                                                                                                         A
                                                 includes                                                                                                                                                            by the actuation                spring

from the supply port 56 to an outlet port 60 connected                                                                      to the      69 parallel with the                     axis              of the inhaler 10                           in the     first


mouthpiece                   24    see FIG 16 The deagglomerator 32                                                            also     direction           towards         the    mouthpiece                   24 through                 first     second
includes           two diametrically opposed                                   inlet
                                                                                        ports
                                                                                                          62 that extend                and third positions as the cover                                   28 is      opened The cams 70
                                                                                                                                                                               6668 in a second direction parallel with
substantially
swirl       chamber Radial
                              tangential                to

                                                    vanes
                                                              the      circular

                                                                   64 are positioned
                                                                                       crosssection of the

                                                                                                              at   the      top    of
                                                                                                                                        also

                                                                                                                                        the axis        A
                                                                                                                                                push the yokes

                                                                                                                                                                  against        the actuation               spring         69 and towards                 the

the      swirl      chamber               and are sized such that                                at   least         a portion           cap 26 of the housing                      18 through                   the third            the    second        and

of breath actuated air streams                                      entering          through              the      diametri            the    first    positions          as the       cover          28       is   closed

cally       opposed               inlet ports                62 collide             with the              vanes
                                                                                                                                        0047            The dose metering system                                     further         includes         a   cup

0041               The         inhaler              10 preferably                   includes              a    deagglom                 assembly 96 movable                        between             the dispenser
                                                                                                                                                                                                                                      port
                                                                                                                                                                                                                                                44 of the

erator       of the type                  disclosed               in   co pending                provisional
                                                                                                                               US       reservoir            14    and      the     delivery               passageway                     34    The       cup
patent       application
                                          serial        No 60213382                         filed         Jun 23 2000                   assembly 96                includes        a    medicament                    cup 98              mounted         in   a

entitled           DeAgglomerator                                 for    Breath Actuated                           Dry        Pow       sled     100        slidably       received           in       the      slide       channel            52 of the

der      Inhaler             10 which has been                                  incorporated
                                                                                                                   herein
                                                                                                                                  by    spacer         38    below the            hopper          42       see FIGS 5 and                          6 The
reference               It    should           be understood                   that    although                    the    inhaler       medicament                cup 98 includes             a recess               102 adapted to receive

10       of the          present           disclosure                  is     shown          with             a     particular          medicament                from     the dispenser                   port      44 of the reservoir 14

deagglomerator                       32 the inhaler 10 is not limited to use with                                                       and sized            to    hold a         predetermined                      dose of dry powdered

the     deagglomerator shown                                  and can be used with other                                      types
                                                                                                                                        medicament                when      filled       The cup sled                     100        is   biased      along
of deagglomerators or a simple swirl chamber                                                                                            the slide channel                52 from the dispenser                         port 44            of the hopper
                                                                                                                                        42 towards               the delivery          passageway                 34 by a cup spring 104
0042               Dose            Metering System
                                                                                                                                        which      is       secured        on the hopper                   42    see FIGS 4 and                           5
0043               The dose metering system includes                                                  a    first
                                                                                                                         yoke     66
                                                                                                                                        0048            The dose metering system                                     also    includes           a ratchet
and a second                  yoke         68 mounted                   on the internal assembly                                  12
                                                                                                                                        106 and a push bar 108 on one of the                                           cam           followers        78 of
                                               18        and       movable

                                                A
within            the    housing                                                      in     a    linear             direction
                                                                                                                                        the    second            yoke    68 that engage                    a boss         110 of the cup sled
parallel          with an axis                               of the inhaler 10 see                            FIG           2 An        100 see FIGS                    511      and    12 The ratchet 106                            is   mounted          on
                                     69                                      between
actuation           spring                     is   positioned                               the
                                                                                                          cap 26 of the                 a flexible          flap   112 and is shaped to allow the boss 110 of the
housing            18        and the           first     yoke          66 for biasing the yokes                                 in a
                                                                                                                                        sled    100 to depress                  and pass over the ratchet                             106 when             the
first     direction               towards              the    mouthpiece              24         In particular                    the
                                                                                                                                        boss     110 is engaged                                                       108 Operation                  of the
                                                                                                                                                                                 by the push bar
actuation               spring            69     biases           the       first     yoke            66       against            the
                                                                                                                                        dose metering system is discussed                                        below
bellows 40 and the second                                    yoke 68 against cams 70 mounted

                                                                   see FIG 9                                                            0049
on the mouthpiece                          cover             28                                                                                         Reservoir Pressure System


0044               The            first    yoke              66     includes          an         opening                 72     that    0050            The        reservoir pressure                      system           includes           a pressure

receives           and retains a crown 74 of the bellows 40 such that                                                                   relief conduit             114 in fluid communication with the interior of

the      first     yoke           66 pulls              and expands                  the     bellows 40                       when      the reservoir              14    see FIGS 7 and                          8 and           a    pressure        relief

moved towards                       the    cap          26 ie against                  the        actuation
                                                                                                                            spring      port    116 in a wall of the slide channel                                     52 see             FIGS 5 and
69      see FIG                   2 The second yoke 68                       includes  a belt 76                                        8 providing                fluid    communication                        with       the
                                                                                                                                                                                                                                     pressure
                                                                                                                                                                                                                                                      relief

which receives                      the    first                    66 and two cam followers 78                                         conduit         114 of the hopper                    42
                                                        yoke

extending               from the belt in a direction opposite                                              the      first
                                                                                                                               yoke
                                                                                                                                        0051            The        medicament            cup           assembly              96 includes              a   first
66      see       FIGS              3 11 and 12 towards                                the        cams 70 of the
                                                                                                                                        sealing         surface          118 adapted              to       seal      the     dispenser             port     44
mouthpiece                   cover        28
                                                                                                                                        upon      the
                                                                                                                                                            cup     assembly being                     moved           to     the         delivery        pas
0045               The         dose metering system also                                     includes                    the    two     sageway             34    see FIGS 5 and                           6A         sealing spring                 120       is



cams 70 mounted on the mouthpiece cover 28 see FIGS 9                                                                                   provided between                   the sled      100 and the cup 98 for biasing the

and 10 and movable with the cover 28 between open and                                                                                   medicament                cup 98 against              a    bottom surface                         of the hopper

                                          The                                                                                           42 to seal the dispenser                              44 of the reservoir 14 The cup
closed           positions                          cams 70 each                    include           an       opening            80                                                   port

for                                                                                          82 of the case                       20    98 includes              clips   122 that allow the cup to be biased against
         allowing             outwardly extending hinges
to                                               and be received                     in first         recesses                84 of     the    reservoir           yet retain          the
                                                                                                                                                                                              cup          in the      sled          100
        pass therethrough
the      cover      28 The cams 70 also include bosses 86 extending
                                                                                                                                        0052            The sled 100               includes            a   second sealing surface                         124
outwardly               and received                    in    second           recesses           88 of the cover
                                                                                                                                        adapted to seal the pressure                          relief port               116      when          the   recess
28 such that the cover                                 28 pivots about the hinges                                  82 and the
                                                                                                                                        102 of the cup 98                  is
                                                                                                                                                                                aligned
                                                                                                                                                                                              with the dispenser                           port    44 and
cams 70 move with                               the     cover          28 about            the        hinges
                                                                                                                                        an     indentation            see FIG 6 adapted to unseal the
                                                                                                                                                                         126

                                                                                                                                                        relief port 116 when the first         surface 118 is
0046               Each           cam 70               also       includes          first    second                 and third           pressure                                       sealing

cam        surfaces            90 92 94 and                            the    cam      followers                    78 of the           aligned
                                                                                                                                                       with the dispenser                port
                                                                                                                                                                                                   44 Operation                      of the pressure

second                        68 are biased                                                                                             system is discussed                     below
                  yoke                                        against
                                                                               the    cam         surfaces                  by the
actuation               spring
                                          69           The        cam        surfaces            90 92                    94      are
                                                                                                                                        0053            Dose           Counting System
arranged
                    such the cam followers 78 successively                                                         engage the
first    cam surfaces 90 when                                 the      cover 28 is closed the second                                    0054            The dose counting                         system             16     is    mounted            to    the

cam       surfaces            92 when                  the    cover 28          is    partially               opened and                hopper         42        and     includes        a    ribbon             128 having                    successive

the      third cam surfaces                         94 when             the    cover 28 is fully opened                                 numbers             or other suitable indicia                        printed          thereon in align
The       first    cam        surfaces              90 are spaced further from the hinges                                               ment with a transparent                     window 130 provided in the housing
82      than       the        second            and      the        third      cam surfaces while                                 the   18     see FIG             2 The dose counting system 16                                               includes        a

second            cam        surfaces            92 are spaced                  further           from             the      hinges      rotatable           bobbin       132 an indexing spool 134                                        rotatable       in a

82 than the third                         cam       surfaces            94 The cams 70 therefore                                        single     direction             and the ribbon 128 rolled and received                                             on




                                                                                                                                                                                                                             CIPLABDI0184211
                                                                                                                                                                                                                                                               DTX159
                                                                                                                                                                                                                                                               12 of 14

                                                                                                                          Appx368
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the     bobbin            132    and         having           a    first     end     127 secured              to     the   medicament                  dispensed              from the              dispenser              port         44    of the

spool        134 wherein the                         ribbon        128 unrolls from the bobbin                             reservoir          tills       the    recess       102 of the medicament                                cup 98 such
132 so that the indicia                         is
                                                     successively                 displayed as the               spool     that    a      predetermined                    dose       is    provided            In      the     second          posi
134     is     rotated      or       advanced                                                                              tion        however              the       ratchet          106        prevents
                                                                                                                                                                                                                     the
                                                                                                                                                                                                                              cup        sled      100

                                                                                                                           from being               moved            to the delivery                passageway                  34 such that
0055               The spoo1134                   is   arranged             to rotate      upon       movement
                                                                                                                           the    recess           102      of the medicament                            cup 98         remains aligned
of the yokes               66        68 to effect             delivery             of a dose of medica
                                                                                                                           with        the
                                                                                                                                                  dispenser            port        44       of the         reservoir               14      and     the
ment from the reservoir 14 into the delivery passageway                                                              34
                                                                                                                           pressure          relief        port       116 of the spacer 38 remains sealed                                           by
such        that     the     number on                      the     ribbon          128     is    advanced            to
                                                                                                                           the    second            sealing surface                    124 of the cup assembly 96
indicate           that    another         dose has been dispensed                               by   the inhaler

10 The             ribbon       128 can be arranged                           such        that    the    numbers           0061           Upon the cover 28 being fully opened such that                                                           the

or other suitable indicia increase                                         or decrease           upon       rotation       third       cam surfaces 94 engage the cam followers 78                                                                 the

of     the      spool       134            For       example                the     ribbon         128      can      be    actuator          spring             69    is    allowed to                  move         the      yokes           66    68

arranged
                    such        that       the       numbers               or other suitable                indicia        further         towards              the     mouthpiece                  24     to     the      third         position
decrease
                    upon         rotation            of      the     spool          134     to     indicate          the   When           moved            to    the       third      position            the     ratchet           106        disen
number of doses remaining in the inhaler                                                  10 Alternatively                                                 below the boss 110 of the cup sled                                              100 and
                                                                                                                           gages or               falls

the     ribbon        128 can              be     arranged            such         that    the     numbers            or   allows the cup sled 100 to be moved                                            by the cup spring 104
other suitable               indicia              increase
                                                                     upon          rotation       of the         spool     such that the filled                      recess      102 of the cup 98                      is position            in the

134 to indicate                 the    number               of doses dispensed                   by the inhaler            venturi         36 of the delivery passageway                                     34 and the                 dispenser

10                                                                                                                         port     44       of the            reservoir           14       is    sealed        by the           first        sealing

                                                                                                                           surface         118 of the cup assembly                                96 In addition                   the pressure
0056               The      indexing spool 134 preferably                                        includes         radi
                                                                                                                           relief      port        116      is   uncovered                  by the indentation 126 in the
ally    extending            teeth         136 which                 are     engaged           by a pawl 138
                                                                                                                           side     surface            of the sled               100         to    release
                                                                                                                                                                                                                   pressure
                                                                                                                                                                                                                                         from      the
extending            from one of the                        cam       followers           78     see FIGS              3
                                                                                                                           reservoir          14 and allow the bellows 40 to further collapse                                                      and
and 11 of the second yoke 68 upon movement of the yoke
                                                                                                                           accommodate                    the    movement                   of the yokes             6668 to the third
to rotate or advance the indexing spool 134 More particu
                                                                                                                           position           The         inhaler          10     is    then
                                                                                                                                                                                                   ready
                                                                                                                                                                                                                  for    inhalation              by a
larly        the     pawl            138     is      shaped          and         arranged          such       that    it

                                                                                                                           patient         of the          dose of medicament                             placed           in    the      delivery
engages            the teeth          136 and advances                        the    indexing spool                134
                                                                                                                           passageway                 34
only upon the mouthpiece                                24 cover 28 being closed and the

yokes          66 68 moved back towards                                    the    cap 26 of the housing                    0062              As shown                 in   FIG 16 a breath induced                                      air   stream
18                                                                                                                         150      diverted              through           the       delivery           passageway                   34      passes
                                                                                                                           through           the venturi              36 entrains the medicament                                   and carries
0057               The dose counting system 16 also includes                                                  a chas
                                                                                                                           the    medicament                    into    the      deagglomerator                      32 of the                inhaler
sis    140 that secures the dose counting system to the hopper
                                                                                                                           10      Two        other            breath induced                     air    streams           152        only one
42 and includes                  shafts         142 144 for receiving the bobbin 132
                                                                                                                           shown           enter          the    deagglomerator                         32 through              the      diametri
and     the     indexing              spool          134 The bobbin shaft 142                               is   pref
                                                                                                                           cally       opposed             inlet      ports      62 and combine                      with the              medica
erably
               forked       and includes                    radially
                                                                             nubs 146 for creating                     a
                                                                                                                           ment entrained                  air stream             150 from the delivery passageway
resilient resistance                   to rotation                of the bobbin             132 on the shaft
                                                                                                                           34 The             combined                 flows          154         and     entrained              dry          powder
142         A clutch            spring            148        is    received          on     the       end     of the
                                                                                                                           medicament                  then          travel      to        the     outlet       port       60       of the         de
indexing            spool
                                 134 and locked                      to     the    chassis        1441   to      allow
                                                                                                                           agglomerator and pass through                                     the        mouthpiece              24 for patient
rotation           of the spool 134                     inonly                 coun
                                                                           a single        direction
                                                                                                                           inhalation
terclockwise               as    shown            in    FIG 14 Operation of the dose
counting            system           16    is    discussed             below                                               0063              Once           inhalation                 is    completed                  the        mouthpiece
                                                                                                                           cover       28     can         be     closed          When             the    cover       28       is   closed          the
0058               Operation
                                                                                                                           trigger        cams 70               force      the     yokes   66 68 upwardly such that
0059               FIG 13 illustrates the                             relative           movements            of the       the    first      yoke         66 expands               the bellows 40 and the pawl 138

boss        110 of the cup                   sled       100 and              the    ratchet        106 and           the   of the second                  yoke        68 advances                  the    indexing spool                      134 of

push bar 108 of the second yoke                                      68 as the mouthpiece                        cover     the dose          counting            system 16 to provide                        a visual indication                    of

28     is
            opened and closed In the first                                  position        of the yokes             66    a dose         having          been dispensed In addition the cup assembly
68 wherein                the    cover 28              is    closed and the cam followers 78                               96 is forced               back       to the       first        position        by the pusher bar 108

are in contact             with the first                   cam surfaces 90 of the cams 70                                 of the upwardly moving second                                          yoke 68 see              FIG 13 such
the ratchet           106 prevents                   the    cup spring 104 from moving the                                 that the        boss 110 of the cup sled 100 is engaged                                               and retained

cup         sled     100        to     the       delivery            passageway                34       The       dose     by the ratchet                  106 of the second                        yoke        68
metering system is arranged such that                                             when      the
                                                                                                   yokes are in
                                                                                                                           0064              It    should          be understood                   that    the
                                                                                                                                                                                                                   foregoing detailed
the    first
                   position the recess 102 of the medicament                                                  cup 98
                                                                                                                           description                and preferred embodiment are only illustrative
is
     directly        aligned
                                      with the dispenser                      port
                                                                                         44 of the reservoir
                                                                                                                           of inhalers constructed                           in    accordance               with the present                       dis
14 and the pressure relief port 116 of the spacer 38                                                     is   sealed
                                                                                                                           closure           Various alternatives                           and modifications                      to    the
                                                                                                                                                                                                                                                pres
by the second                sealing
                                                surface            124 of the cup sled                   100
                                                                                                                           ently
                                                                                                                                       disclosed            inhalers            can be devised                    by those skilled                  in

0060        Upon the cover 28 being partially opened such that                                                             the    art      without             departing           from           the    spirit      and        scope          of the

the    second cam surfaces 92 of the cams 70 engage the cam                                                                present
                                                                                                                                           disclosure                For example                   the    medicament                    cup could
followers            78 the actuator                    spring         69     is   allowed to move                   the   be provided                on a rotary sled advanced                                 by    movement                 of the

yokes          66     68     linearly             towards             the     mouthpiece                24 to        the   yokes In addition                         the outlet port               of the pressure relief could
second          position         and partially collapse                            the    bellows 40 of the                be provided in other locations                                    than       the side        wall       of the slide
medicament                reservoir          14 The partially                      collapsed          bellows 40           channel           Furthermore                    the        dose counting                  system             could      be

pressurizes               the        interior          of     the     reservoir            14     and       ensures        adapted           to     provide           an audible                 indications            in      addition to          a




                                                                                                                                                                                                                     CIPLABDI0184212
                                                                                                                                                                                                                                                     DTX159
                                                                                                                                                                                                                                                    13 of 14

                                                                                                              Appx369
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visual          indication                 of    a     dispensed                dose Accordingly                          the         9 An inhaler according                           to       claim       8 wherein the cup spring
present          disclosure                is   intended                to    embrace         all   such          alterna        biases the               cup assembly                to    a position                wherein the recess                 is


tives          and modifications                      that       fall        within    the     spirit       and scope            unaligned                with the dispensing                         port      of the reservoir
of an          nhaler        as recited              in    the     appended             claims                                        10 An               inhaler        according               to    claim          9 wherein the yoke
                                                                                                                                 further includes                      a push    bar       adapted to align the recess of the
What is claimed is
                                                                                                                                 cup      assembly               with      the       dispensing              port      upon        movement              of
  1 An inhaler comprising
                                                                                                                                 the      yoke       to      one of the positions
      a sealed           reservoir including                            a dispensing              port                                11 An              inhaler        according               to    claim       9 further comprising
      a   channel            communicating                         with        the
                                                                                       dispensing                port
                                                                                                                          and         at least        one movable                cam including at least two successive
           including             a    pressure
                                                           relief
                                                                           port                                                            cam surfaces and

      a    conduit                                      fluid         communication                     between            an         a    spring            biasing        the       yoke            against
                                                                                                                                                                                                                       the     cam         such        that
                              providing
           interior          of the sealed                  reservoir             and       the                         relief             movement                    of the
                                                                                                                                                                            cam causes the yoke to successively
                                                                                                  pressure

           port         of the       channel                                                                                               engage            the       cam surfaces and move the yoke between
                                                                                                                                           the       at   least        two positions of the yoke
      a    cup       assembly movably                              received            in    the        channel           and
                                                                                                                                      12 An              inhaler         according               to    claim          11 wherein the cam
           including                                                                                                             includes            three       successive           cam surfaces                    for
                                                                                                                                                                                                                             moving the yoke

           a recess                              to     receive              medicament             when                         between             three
                                                                                                                                                                  positions           wherein the ratchet                          is
                                                                                                                                                                                                                                         adapted         to
                              adapted                                                                             aligned
                with the dispensing port                                                                                         hold the recess unaligned                             with the dispensing                         port     when        the


                                                                                                                                 yoke      is    in a          first     and     a   second            of       the    three
                                                                                                                                                                                                                                positions
                                                                                                                                                                                                                                                       and
           a    first                       surface                               to    seal      the
                          sealing                             adapted                                     dispensing             allow         movement                 of the cup assembly                        when        the                is   in a
                                                                                                                                                                                                                                        yoke
                port when              the      recess        is
                                                                   unaligned            with the dispensing
                                                                                                                                 third     of the three                  positions
                port and                                                                                                              13 An                                                           claim
                                                                                                                                                         inhaler        according           to                    12 further comprising
           a   second sealing surface                             adapted to sealing the pressure                                a collapsible                bellows adapted to increase pressure within the

                relief       port          when         the      recess         is   aligned        with          the    dis     interior        of the reservoir upon                               being      collapsed            and wherein

                pensing          port        and unseal the pressure                           relief port when                  the      yoke       is    arranged         to collapse                the      bellows        when          the   yoke

                the      recess        is       unaligned               with the dispensing                                      is   in the         first     and the second                    positions
                                                                                                                 port
   2 An                 inhaler        according                 to        claim       1 wherein                 the     cup
                                                                                                                                      14 An inhaler according                               to claim             11 further comprising
assembly                includes           a sealing spring biasing the                                  first    sealing
                                                                                                                                      a   mouthpiece                   for patient          inhalation                 and
surface          against             the    reservoir

   3 An inhaler according                                  to     claim         1 wherein the reservoir                               a    cover             movable            to    open            and       close        the     mouthpiece

includes             a collapsible                bellows adapted                      to    increase
                                                                                                                                           wherein the at least one cam                                    is   secured        to the       cover for
                                                                                                                 pressure

within          the      interior           of the reservoir upon                                                                          movement                    therewith           whereby              opening        and closing the
                                                                                              being collapsed
when           the                         relief port             is      sealed                                                          mouthpiece                  causes the yoke to move between                                       the three
                        pressure
   4 An                 inhaler        according                 to        claim       1 wherein                 the     cup               positions             of the        yoke
                                                                                                                                      15 An inhaler according                               to       claim       14 wherein the cam                      is
assembly                includesa cup received  in a cup sled  movable
within          the     channel the cup defining the recess and the first                                                        movable             by rotation

                  surface             and        the       sled                         the       second                              16 An           inhaler according                     to       claim 1 wherein the reservoir
sealing                                                                 defining                                  sealing
surface                                                                                                                          includes            a    volume of dry powdered                                 medicament

   5 An                 inhaler
                                       according                 to      claim         4 wherein                 the     sled         17 An              inhaler        according               to    claim       1 further comprising
defines          an indentation                   adapted               to             with and unseal                    the
                                                                                                                                                                                                                                                  move
                                                                              align                                                   a   pawl movable                    along       a predetermined                       path     upon
pressure             relief port            when           the    first
                                                                              sealing surface               is
                                                                                                                  aligned                                 of     the                       of        the                                    from        the
                                                                                                                                           ment                           recess                            cup        assembly
with the dispenser                         port                                                                                            dispensing                  port and
      6 An              inhaler
                                       according                 to        claim       4 wherein                 the
                                                                                                                         cup
                                                                                                                                      a   dose counter                   including
assembly                includes           a sealing spring                    between            the
                                                                                                         cup and the
cup       sled biasing the                      first
                                                           sealing surface                  of the cup against                             a   bobbin
the       reservoir
                                                                                                                                           a rotatable                 spool
   7 An inhaler according                                   to     claim        1 wherein the channel
extends                              and the cup assembly is movable                                          in oppos                     a   rolled           ribbon         received               on    the       bobbin and             rotatable
                  linearly

          directions within                      the      channel                                                                               about an axis of the bobbin the ribbon having                                                     indicia
ing

   8 An inhaler according                                                                                                                       thereon                                                               between             first   end of
                                                            to     claim        1 further comprising                                                               successively                 extending                            a

                                                                                                                                                the       ribbon         secured           to    the
                                                                                                                                                                                                           spool
                                                                                                                                                                                                                       and a second               end of
      a                                              the                                                the      channel
          cup spring biasing                                cup assembly along                                                                  the       ribbon                                 on the bobbin                  and
                                                                                                                                                                         positioned
           and
                                                                                                                                           teeth         extending radially outwardly from the spool                                                   into

      a    yoke          movable                between                 at    least     two                               and
                                                                                                    positions                                   the       predetermined path of the pawl so that the spool
                                 a     ratchet             engaging             the     cup         assembly              and
           including                                                                                                                            is       rotated
                                                                                                                                                                         by the       pawl and                  the    ribbon        is     advanced
                                     movement                 of the           cup assembly when                          the                   onto
           preventing                                                                                                                                        the       spool during the metering of a dose
           yoke         is   in one         of the positions and allowing                                  movement
           of the cup            when           the     yoke          is     in another        of the positions




                                                                                                                                                                                                                         CIPLABDI0184213
                                                                                                                                                                                                                                                         DTX159
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                                                                                                                   Appx370
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                                                   January 25, 2021



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OF:



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                                                                                              Consolidated


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                                                                                        TEVAQVAR-00024954
                                       Appx371
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                                             Application Number             15262818
                                             Filing Date                    2016-09-12
INFORMATION DISCLOSURE                       First Named Inventor    I Declan Walsh
STATEMENT BY APPLICANT                       Art Unit                       2876
( Not for submission under 37 CFR 1.99)
                                             Examiner Name           I Daniel A. Hess
                                             Attorney Docket Number         026723-5043-15US
                                                                            026723-5043-1 SUS




            6     :>0100089395
                  20100089395               ~010-04-15
                                            )010-04-15     Power




            7     :>0030209239
                  20030209239               ~003-11-13
                                            )003-11-13     Rand




            8     20060107949               ~006-05-25
                                            )006-05-25     pavies
                                                           Davies




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                  20020047021               ~002-04-25
                                            2002-04-25     ~laGker
                                                           Blacker




            10    :>0020078949
                  20020078949               ~002-06-27
                                            )002-06-27     pLeary
                                                           Oleary




            11    :>0020078950
                  20020078950               ~002-06-27
                                            )002-06-27     pLeary
                                                           Oleary




            12    :>0050028815
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                                            D005-02-10     pealon
                                                           Deaton




            13    :>0050087191
                  20050087191               ~005-04-28
                                            )005-04-28     Morton




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                                                           Bonney




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                                                           Geser




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                                                           Strobel




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                                                                                                  TEVAQVAR-00025109
                                                         Appx526
                  Case: 23-2241            Document: 27-1          Page: 377            Filed: 03/22/2024


                                              Application Number            15262818
                                              Filing Date                   2016-09-12
INFORMATION DISCLOSURE                        First Named Inventor   I Declan Walsh
STATEMENT BY APPLICANT                        Art Unit                      2876
( Not for submission under 37 CFR 1.99)
                                              Examiner Name          I Daniel A. Hess
                                              Attorney Docket Number        026723-5043-1 SUS
                                                                            026723-5043-15US




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                                                                          :ambridge Consultants
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            19   )008119552
                 ~008119552        wo
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                                                                           vax Pharmaceuticals
                                                                           reland




            20   )008261423
                 2008261423        jp
                                   UP                       2008-10-30    NSK Ltd.




                                                                          ptsuka            Ltd.
                                                                          8tsuka Pharma Co. Ltd_
            21   ~009233308
                 2009233308        JP
                                   UP                       2009-10-15
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                 ~009257392        jp
                                   UP                       2009-11-05    ~tekt
                                                                          Jtekt Corp.




            23   )010096308
                 ~010096308        JP
                                   UP                       2010-04-30    NSK Ltd.




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                 2011012325        wo
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                                                                           vax International B.V.




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                                                                                                      TEVAQVAR-00025112
                                                         Appx529
       Case: 23-2241            Document: 27-1       Page: 378        Filed: 03/22/2024




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                            15/262,818                                                        Page 2
Art Unit: 2876

                                      DETAILED ACTION



        This action is responsive to applicant's arguments of 7/612017, which have been entered
                                                           of7/6/2017,

into the electronic file of record.

        The present application is being examined under the pre-AlA
                                                            pre-AIA first to invent provisions.



                                      Response to Arguments

        Applicant's arguments filed 7/612017
                                    7/6/2017 have been fully considered but they are not

persuasive.

        The applicant argues:



"In particular, O'Leary does not teach, suggest or disclose the claimed regulator as highlighted

above. And, unsupported speculation as to the significance and functionality of a prior art

disclosure or how that prior art might be modified does not satisfy the Office's burden of

articulating a reasoned basis for a determination of prime facie obviousness. Indeed, the

Examiner acknowledges that "O'Leary does not show what is inside the bobbin 132 beyond the

hexagonal part." Office Action page 3. Instead, the Examiner states that features of independent

claim 1 could be met by 0 'Leary "if there are some kind of complementary features inside of the

bobbin 132 that match the nubs 146 of the shaft 142." Id. (emphasis added). The Examiner also

notes that "[i]t is reasonable that there should be some complementary features in the bobbin 132

[of O'Leary] that correspond to nubs 146 because the alternative, a smooth opening, would seem

to render the nubs pointless and non-functional." The speculative nature of these observations




                                                                                    TEVAQVAR-00027120
                                          Appx2537
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Art Unit: 2876

were acknowledged while noting that the rejection incorporates what is "merely... one probable

assumption." Yet, even if it were possible to modify the subject matter disclosed in O'Leary to

arrive at the claimed invention, the mere possibility of doing so does not make the claimed

invention obvious in view of 0 'Leary. That is especially true where, as here, there is no

articulated rational to so modify O'Leary to arrive at the claimed invention."



The examiner appreciates the applicant's argument, but maintains that the text of 0 'Leary itself

provides a clear motivation to have grooves that match with the radial nubs 146. The examiner is

not merely speculating but is following O'Leary's statements about these nubs.



O'Leary teaches at para 0057,

"The bobbin shaft 142 is preferably forked and includes radially nubs 146 for creating a resilient

resistance to rotation of the bobbin 132
                                     l32 on the shaft 142."



If the corresponding inner surface of O'Leary were smooth, then the nubs would not "create a

resilient resistance to rotation" as O'Leary requires. In order to "create a resilient resistance to

rotation" as O'Leary states that there is, the nubs should slip into con'esponding
                                                                     con·esponding concavities.



The examiner does not believe he is engaging in undue speculation or departing from the text of

O'Leary. The examiner maintains that there must be corresponding concave features to match the

nubs in order to "create a resilient resistance to rotation" which is O'Leary's stated requirement

of para 0057.




                                                                                        TEVAQVAR-00027121
                                            Appx2538
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This follows the physics principle of surface friction. Surface friction, especially on a

microscopic scale, results when small protmsions on one surface press against small indentations

on the other surface. A perfectly smooth surface would provide no friction. From a physics

perspective, it is plain that in order to "create a resilient resistance to rotation", the inner surface

opposite the nubs of O'Leary should have concavities.



                                       Claim Rejections-
                                             Rejections - 35 USC§
                                                             USC § 103

        The following is a quotation of pre-AlA 35 U.S.c.
                                                   U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described as set
        forth in section 102, if the differences between the subject matter sought to be patented and the prior art
        are such that the subject matter as a whole would have been obvious at the time the invention was made
        to a person having ordinary skill in the art to which said subject matter pertains. Patentability shall not
        be negatived by the manner in which lhe the invention was made.

                                  f011h in Graham v. John Deere Co., 383 U.S. 1, 148 USPQ 459
        The factual inquiries set fm1h

(1966), that are applied for establishing a background for determining obviousness under pre-

AlA 35 U.S.c.
       U.S.C. 103(a) are summaIized
                         summalized as follows:

        1. Determining the scope and contents of the prior art.

        2. Ascertaining the differences between the prior art and the claims at issue.

        3. Resolving the level of ordinary skill in the pertinent art.

        4. Considering objective evidence present in the application indicating obviousness or

nonobviousness.

        Claims 1-13, 16, 17 and 20-29 are rejected under pre-AlA 35 U.S.C.
                                                                    U.S.c. 103(a) as being

unpatentable over O'Leary (US 2002/0078950).




                                                                                                          TEVAQVAR-00027122
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        Reclaim
        Re claim 1:

        Attention is drawn particularly to figures 14 and 15 of O'Leary and paragraphs 0053 to

0057 of O'Leary.

        O'Leary teaches a dose counter with a counter display to indicate dosage information

(counter numerals on the tape in figures 14 and 15). There is a pawl138
                                                                pawl 138 (see para 0055, and

figures 3 and 11) that engages teeth 136 to drive the counter incrementally in a first direction

from a first station (bobbin 132 onto which ribbon 128 is initially placed) onto a second station

(uptake spool 134 which collects the ribbon as it unrolls from bobbin 132.)

        There is a regulator in O'Leary that is almost identical to the regulator of the claims. In

particular, O'Leary teaches at para 0057, "The bobbin shaft 142 is preferably forked and includes

radially nubs 146 for creating a resilient resistance to rotation of the bobbin 132 on the shaft

142."



        Regarding a regulator that acts on the counter in an incremental way, the claim

limitations could be met if there are some kind of complementary features inside of the bobbin

132 that match the nubs 146 of shaft 142.

        O'Leary does not show what is inside the bobbin 132 beyond the hexagonal part.

Nevertheless, it is reasonable to expect that there would be some kind of complementary features

to match the nubs 146 because connecting parts are typically complementary.

        It is reasonable that there should be some complementary features in the bobbin 132 that

conespond to nubs 146 because the alternative, a smooth opening, would seem to render the




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nubs pointless and non-functional. In short, the nubs 146 should be interacting with something

complementary inside of 132, otherwise the nubs aren't interacting with anything



           If the inside of bobbin 132
                                   l32 is simply complementary (i.e. with indentations exactly

matching the nubs) -- a reasonable/obvious assumption since connectors are usually
             nubs)--

complementary, then an incremental regulator would result. If the opening of bobbin 132
                                                                                    l32 were

merely matched to the nubs, then there would be resistance as the nubs nestle in matching

indentations, less resistance when the nubs slide between indentations, and more resistance again

as the nubs fall into the next indentations. This would regulate toward incremental movements.



The examiner is not merely speculating but is following O'Leary's statements about these nubs.



O'Leary teaches at para 0057,

'The bobbin shaft 142 is preferably forked and includes radially nubs 146 for creating a resilient

resistance to rotation of the bobbin 132
                                     l32 on the shaft 142."



If the corresponding inner surface of O'Leary were smooth, then the nubs would not "create a

                                     0 'Leary
resilient resistance to rotation" as 0' Leary requires. In order to "create a resilient resistance to

rotation" as O'Leary states that there is, the nubs should slip into corresponding concavities.



           Reclaims
           Re claims 2 and 3: As figures 14 and 15 illustrate, the counter display is a tape with

indicia.




                                                                                         TEVAQVAR-00027124
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         Re claim 4: As figures 14 and 15 of O'Leary and paragraphs 0053 to 0057 show, the tape
         Reclaim

unwinds from the first shaft to move onto the second shaft.

         Reclaim
         Re claim 5: See figure 15. Element 132 is mounted for rotation on the fixed shaft 142 of

the dose counter.

         Reclaim
         Re claim 6: See discussion re
                                    reclaim
                                       claim 1, above.

         Reclaims
         Re claims 7 and 8: There are exactly two projections, or nubs. Figure 15 shows one nub

146 and the symmetrical shaft 142 would plainly have second matching nub hidden from view

on the second fork, as is apparent in figure 15.

         Reclaim
         Re claim 9: The nubs 146 of O'Leary figure 15 can be regarded as radiused.

         Reclaim
         Re claim 10: The nubs 146 are located on shaft 142 which rotationally fixed, and the

shaft/bobbin 132 is rotationally mounted thereon.
shaftlbobbin

         Reclaims
         Re claims 11-13: Again, view figure 15 of O'Leary which shows the fixed shaft 142 with

                                                                                    reclaim
two flexible legs, each with a nub. As for complementary formations, see discussion re claim 1,

above.

         The difference between six and "eight to twelve" formations is a matter of obvious design

choice. For example, if the numbers on the tape were smaller so that it takes more numbers to

travel the circumference of the bobbin, there should be correspondingly more grooves closer

together for the nubs to rest.

         Various solutions with different numbers of formations on the interior of the shaftlbobbin
                                                                                       shaft/bobbin

132 are equivalent.




                                                                                    TEVAQVAR-00027125
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       Re claim 16: The six corners of the interior hexagon of the shaftlbobbin
                                                                   shaft/bobbin 132 are

concavities.

       Reclaim
       Re claim 17: Although not directly shown in O'Leary, it is obvious and conventional for a

receptacle to be complementary in shape to that which plugs into it. If the receptacle inside 132
                                                                                              l32

of O'Leary was merely complementary to the outer shape of shaft 142, then the claim limitation

would be met.



       Reclaims
       Re claims 20-22: See figure]
                            figure 155 of O'Leary.

       Reclaims
       Re claims 23-25: See figures 14 and 15 of O'Leary and paragraphs 0053 to 0057 of

O'Leary.

       Reclaim
       Re claim 26: The dose metering system in O'Leary is described as a ratchet (para 0048).

                              mi, a ratchet is a one-way gearing system which operates by an
As commonly understood in the ali,

anti-back-drive pawl. The ratchet is an old and conventional mechanical system.

       Reclaims
       Re claims 27-29: O'Leary is silent on the specific amounts of rotationally-resisting force

involved in his regulator. However the rotationally-resisting force is a function of the shape of

the shaft 142 and the shape of the interior of
                                            ofbobbin
                                               bobbin 132
                                                      l32 in figure 15 of O'Leary. With

complementary indentations as per claim 1 above, it would be reasonable to expect that the

resistance forces will be similar.




                                                                                     TEVAQVAR-00027126
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                                     Allowable Subject Matter

       Claims 14-15 are objected to as being dependent upon a rejected base claim, but would

be allowable if rewritten in independent form including all of the limitations of the base claim

and any intervening claims.

       The examiner also takes one obviousness step by judging that there may be

complementary formations to the nubs in bobbin 132. To say that the number is particularly 8 to

12 would be overreliance on hindsight in the examiner's view.

       Claims 18-19 are objected to as being dependent upon a rejected base claim, but would

be allowable if rewritten in independent form including all of the limitations of the base claim

and any intervening claims.

       Claims 17+ 18 recite, "The dose counter as claimed in Claim 16 in which each concavity

comprises a radiused surface wall portion which merges on at least one side thereof into flat wall

portion surface and in which the engagement sUlface
                                            smface includes a series of said concavities and in

which convex wall portions of the engagement surface are fOlmed
                                                         fmmed between each adjacent two

said concavities, each said convex wall portion comprising a convex radiused wall portion."

       The examiner understands that the applicant is describing the interior profile seen in

instant figure 16, which is not shown or suggest in the prior art.



                                            Conclusion

       THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time

                              1. 136(a).
policy as set forth in 37 CPR 1.136(a).




                                                                                    TEVAQVAR-00027127
                                           Appx2544
